Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 1 of 238 PageID #: 16196
                                                                         218


1    UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
2    ----------------------------------------x
     UNITED STATES OF AMERICA,
3                   Plaintiff,
                                            04-CR-1016
4                                              (NGG)

5                  versus                     United States Courthouse
                                              Brooklyn, N.Y. 11201
6    RONELL WILSON,

7                   Defendant.
     ----------------------------------------x
8
                                                  November 27, 2012
9                                                 9:00 A.M.

10

11                TRANSCRIPT OF CRIMINAL CAUSE FOR HEARING
                     Before HON. NICHOLAS G. GARAUFIS,
12                      UNITED STATES DISTRICT JUDGE

13                       A P P E A R A N C E S:
     ATTORNEYS FOR GOVERNMENT:
14
     LORETTA LYNCH, ESQ.
15   United States Attorney - Eastern District of New York
     271 Cadman Plaza East
16   Brooklyn, New York 11201
     BY: JAMES G. MCGOVERN, ESQ.
17        CELIA COHEN, ESQ.
     Assistant United States Attorneys
18

19   ATTORNEY FOR DEFENDANT:

20   ROTHMAN, SCHEIDER, SOLOWAY & STERN, P.C.
     Attorney for the Defendant
21   100 Lafayette Street - Suite 501
     New York, New York 10013
22
     BY: DAVID STERN, ESQ.
23

24

25

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 2 of 238 PageID #: 16197
                                                                         219


1    LAW OFFICE OF MICHAEL BURT
     Attorney for the Defendant
2    1000 Brannan Street - Suite 400
     San Francisco, California 94103
3
     BY: MICHAEL N. BURT, ESQ.
4

5

6    LAW OFFICE OF COLLEEN QUINN BRADY
     Attorney for the Defendant
7    99 Hudson Street - 8th Floor
     New York, New York 10013
8
     BY: COLLEEN QUINN BRADY, ESQ.
9

10

11   ALSO PRESENT:

12   SPECIAL AGENT KELTAR MUI

13   VERONICA RAMIREZ - PARALEGAL

14   MAYERLIN ULERIO - PARALEGAL

15

16

17

18   Court Reporter: Judi Johnson, RPR, CRR, CLR
     Official Court Reporter
19   Telephone: (718) 613-2582
     Facsimile: (718) 613-2480
20   E-mail: Judi_Johnson@nyed.uscourts.gov
     Proceedings recorded by computerized stenography.        Transcript
21   produced by Computer-aided Transcription

22

23                                  *******

24

25

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 3 of 238 PageID #: 16198
                                                                         220
                           Proceedings

1    (In open court.)

2    (Defendant present in open court.)

3                COURTROOM DEPUTY:   All rise.    The United States

4    District Court for the Eastern District of New York is now is

5    session.    The Honorable NICHOLAS G. GARAUFIS is now presiding.

6                (Honorable NICHOLAS G. GARAUFIS takes the bench.)

7                COURTROOM DEPUTY:   Calling CRIMINAL CAUSE FOR

8    HEARING in Docket No. 04-CR-1016, United States of America

9    against Ronell Wilson.

10               Counsel, please note your appearances for the

11   record.

12               MR. McGOVERN:   For the United States of America,

13   Assistant United States Attorney Celia Cohen and James

14   McGovern.    With us is Special Agent Keltar Mui and Veronica

15   Ramirez.

16               Good morning, Your Honor.

17               MR. BURT:    Michael Burt, Colleen Quinn Brady and

18   David Stern for the defendant.      With us is Mayerlin Ulerio

19               THE COURT:   Good morning.   Please be seated.

20               All right.   We'll resume with the witness's

21   cross-examination.      I remind the witness that he is still

22   under oath.

23               You may proceed.

24               MR. BURT:    Your Honor, one housekeeping matter.

25   Yesterday I identified the binders that the experts had relied

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 4 of 238 PageID #: 16199
                                                                         221
                           Proceedings

1    upon and marked them as C1 through 4 and discovered afterwards

2    that there are actually two more binders.       So I've now marked

3    them C1 through 6 and would move those into evidence at this

4    point.    I don't believe there's any objection to that.

5                THE COURT:   Any objection to C1 through 6?

6                MS. COHEN:   No objection, your Honor.

7                THE COURT:   Are these Defense Exhibits C1 through 6?

8                MR. BURT:    Correct.

9                THE COURT:   Defense Exhibits C1 through 6 are

10   received in evidence without objection.       Thank you very much.

11               (Defendant's Exhibit C-1 to C-6 received in

12   evidence.).

13               THE COURT:   Mr. Stern.

14               MR. STERN:   We talked yesterday about Mr. Wilson's

15   problem with not being fed.

16               THE COURT:   Yeah.

17               MR. STERN:   And it's documented on his record that

18   he has acid reflux.      So this morning he didn't have anything

19   to eat.    Last night, he got back at 9:30.     For him to eat, he

20   has to take a pill, then wait a half hour, then eat, then wait

21   two hours.    So we need -- by "we" I don't mean you, but we

22   need somehow to figure out how to get him fed, because this is

23   a long day for all of us.      I'm not complaining about it.    But

24   he has to be taken carry of somehow.      So we just need to find

25   a solution for it.      If we can get him food here, that's fine.

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 5 of 238 PageID #: 16200
                                                                         222
                           Proceedings

1    They don't send him with his medication.       So I'm not sure what

2    the solution is.    I'm only sure what the problem is.

3               THE COURT:    Well, why don't you -- I'm going to ask

4    the marshals to try to work something out so that you can

5    provide him with something from the cafeteria at the beginning

6    of the day, which you first have to show to the marshals to

7    make sure that it is acceptable.      And today, we're going to

8    probably finish around 5:30, so he'll be able to get back for

9    dinner.

10              MR. STERN:    Good.   That's not a problem.

11              THE COURT:    So what I would say is work it out with

12   the marshals, get him something like a sandwich or whatever

13   from the cafeteria that he can have in the morning, but it has

14   to be worked out with the marshals.      I'm going to ask the

15   marshals to cooperate with that.      But whatever it is that you

16   do has to be given to the marshals for them to examine.        He

17   can have it in the back during the break.       And that is the

18   best we can do.

19              MR. STERN:    That sounds like a good solution.     And

20   with your permission, at the first break, I'll go get him

21   something.

22              THE COURT:    All right.   Very good.

23              MR. STERN:    Thank you.

24              THE COURT:    Okay.   Let's proceed then.

25              Ms. Cohen, let's keep going.

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 6 of 238 PageID #: 16201
                                                                         223
                     B. Shapiro - Cross/Cohen

1    CONTINUED CROSS-EXAMINATION

2    BY MS. COHEN:

3    Q     Good morning, Dr. Shapiro.

4    A     Good morning.

5    Q     Since we spoke last night, have you discussed your

6    testimony with anyone?

7    A     I have talked about some of the concerns that I had with

8    Mr. Burt.

9    Q     And this was since you've been on the stand during

10   cross-examination; is that correct?

11   A     I'm sorry, I didn't hear you.

12   Q     And this is since last night, correct?

13   A     This was last night, after I left.

14   Q     And yesterday, during direct examination, you talked

15   about the fact that individuals with mental retardation -- I

16   think you used the term they walk the walk, but they can't

17   talk the talk.    Do you recall that?

18   A     Yes.

19   Q     And this is because people with mental retardation seem

20   on the outside, right, to be normal, correct?

21   A     People at the higher levels of intellectual disability

22   very much appear to be typical, yes.

23   Q     Right.   Because you said you can't tell just from seeing

24   someone, right?

25   A     Right.

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 7 of 238 PageID #: 16202
                                                                         224
                     B. Shapiro - Cross/Cohen

1    Q     And you might have a conversation with that person during

2    a cocktail party.     Do you recall that testimony?

3    A     In terms of being more specific, at the level of

4    superficial conversation that most of us engage in most of our

5    lives, you're not going to be able to tell.

6    Q     Right.   And that's because when you really dig down into

7    the conversation, that's where we can see the difference,

8    right?

9    A     Right.

10   Q     And you've --

11   A     In the areas of reasoning and generalization and

12   extraction.

13   Q     Right.   And you said you might ask someone with mental

14   retardation if they like -- I think you gave an example of a

15   rock band, right?

16   A     Yes.

17   Q     Did you give a specific rock band?      I'm sorry, I didn't

18   catch that yesterday.

19   A     No, I didn't, because I'm out of that.

20   Q     But generally, music, right?

21   A     Correct.

22   Q     And the person would be able to say which band they

23   liked, but they wouldn't be able to answer the why, right?

24   Why do they like the band?

25   A     Right.   To be able to talk about the characteristics of

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 8 of 238 PageID #: 16203
                                                                         225
                     B. Shapiro - Cross/Cohen

1    what it is that they liked about the band.       And then you might

2    follow it up with another question:      Well, what about this

3    band?    They have a similar kind of -- type of music.      And, you

4    know, what do you think about this singer as opposed to that

5    singer.    You know, typical conversation.     Then you would kind

6    of go into greater detail in terms of other things to see how

7    well the concept is generalized.

8    Q     Right.

9                 Well, let's -- you know that Mr. Wilson is a

10   prolific E-mailer, right?

11   A     Yes.

12   Q     In fact, in this case, we have over 7,000 pages of

13   E-mails, right?

14   A     Correct.

15   Q     And you also indicated in one of the adaptive functioning

16   boxes that Mr. Wilson is illiterate, right?

17   A     Correct.

18   Q     Mr. Wilson is not illiterate, right?

19   A     I said that he was illiterate.

20   Q     So someone who is illiterate can get on E-mail and write

21   paragraphs and paragraphs of E-mails?

22   A     The definition of literacy is being able to pick up the

23   New York Daily News and read it for information.        So people

24   who may not be fully literate may be able to do those kinds

25   tasks.

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 9 of 238 PageID #: 16204
                                                                         226
                     B. Shapiro - Cross/Cohen

1    Q     They may be able to read a newspaper?

2    A     No.   One of the definitions of literacy is to be able to

3    read the newspaper for information.

4    Q     Okay.

5    A     People with a lower level of educational performance --

6    that's roughly somewhere between fifth and sixth grade in

7    terms of where literacy is set.      Someone with a reading

8    ability of around fourth grade may still be able to construct

9    simple sentences and string them together in what looks like a

10   paragraph but in fact, when you look at it, is not really

11   well -- not really a paragraph, but rather just a stream of

12   consciousness in terms of a series of simple sentences that

13   are just linked together and giving the appearance that that

14   is a paragraph, but it's not.

15   Q     Okay.   But someone who has trouble putting sentences

16   together could also have trouble because of a learning

17   disability, correct?

18   A     Correct.

19   Q     And they might have trouble with their vocabulary, a

20   person with a learning disability, correct?

21   A     Correct.

22   Q     Someone with a learning disability, just one I'm familiar

23   with, dyslexia, they might have words -- the letters are not

24   in the right spot, right?

25   A     That's a common misconception, but yes, that's the common

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 10 of 238 PageID #: 16205
                                                                         227
                      B. Shapiro - Cross/Cohen

 1    thought.

 2    Q    That's a layman's term of dyslexia, I think, right?

 3    A    Actually, what it is when people reverse their letters,

 4    it's because they don't understand what the letters really

 5    mean.   So it's another example of lack of meaning causing a

 6    behavior that then may be perceived as specific as a specific

 7    syndrome.

 8    Q    Okay.

 9                Now, another difference, and I don't know, is

10    someone who is illiterate probably would not be able to read

11    and apply what they're reading perhaps to another situation.

12    That might be something that's a little higher level of

13    thinking; is that right?

14    A    It depends on what the reading level is.

15    Q    But applying a concept, an abstract concept to something

16    else would be a little bit more difficult, correct?

17    A    Applying an abstract concept in a concrete fashion or

18    applying an abstract fashion?     I'm sorry.   I'm not trying to

19    be difficult.

20    Q    Well, let's take both.

21    A    I don't understand your question.

22    Q    Let's --

23                THE COURT:   Don't over speak the witness.    Wait

24    until he's finished with his.

25                MS. COHEN:   Sure, Your Honor.

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 11 of 238 PageID #: 16206
                                                                         228
                      B. Shapiro - Cross/Cohen

 1    BY MS. COHEN:

 2    Q    You asked me if I was to clarify whether I was talking

 3    about applying an abstract concept to an abstract -- to

 4    another abstract area.

 5    A    Correct.

 6    Q    That's something that's difficult not only for someone

 7    who's illiterate but also someone who's mildly mentally

 8    retarded, correct?

 9    A    Correct.

10    Q    And there may be cases -- it's a little bit easier to

11    apply an abstract concept to a concrete concept, correct?

12    A    Correct.

13    Q    But it still takes quite a bit of reasoning, right?

14    A    I don't know how much reasoning it takes, because what

15    may happen is they may incorporate it as a rule and then walk

16    around with a bunch of rules in their pocket and apply the

17    rule when they think it's appropriate, and sometimes it is,

18    and sometimes it isn't quite right; and that's one of the ways

19    that you may be able to pick that up after a substantial

20    behavioral observation.

21    Q    Okay.   Well, we're talking very abstractly, so let's take

22    a look at some of these E-mails.

23               You gave the example of music before.      We just

24    discussed that.

25               MS. COHEN:   Can we have what's marked as Bates No.

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 12 of 238 PageID #: 16207
                                                                         229
                      B. Shapiro - Cross/Cohen

 1    -- and I'm going to mark this as an exhibit as well -- 3302.

 2    The government is going to mark this as Government Exhibit 1.

 3                Your Honor, the government has marked these in paper

 4    with the exhibit tabs.     The ones that are showing on the

 5    screen do not have the exhibits on them, but I will keep these

 6    separate and give a pile in the end, keep our exhibits

 7    together.

 8                THE COURT:   Do I have a copy of that Exhibit?

 9                MS. COHEN:   I can hand up copies now as we go along,

10    and it's also coming up on the screen.

11                THE COURT:   Yes, but I'd like a paper copy.

12                MS. COHEN:   Sure.   And I can hand defense counsel a

13    paper copy as well.

14                THE COURT:   And the defense has the exhibits,

15    correct?

16                MR. BURT:    I have them electronically, yes, Your

17    Honor.   Thank you so much.

18                THE COURT:   Government Exhibit 1?

19                MS. COHEN:   Government Exhibit 1, correct.

20                THE COURT:   Are you moving that into evidence?

21                MS. COHEN:   We are.   We can do it subject to

22    connection, if necessary.

23                MR. BURT:    No objection.

24                THE COURT:   All right.   Government Exhibit 1 is

25    received in evidence without objection.

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 13 of 238 PageID #: 16208
                                                                         230
                      B. Shapiro - Cross/Cohen

 1                (Government's Exhibit 1 received in evidence.)

 2    BY MS. COHEN:

 3    Q      Now, drawing your attention, Dr. Shapiro, to this

 4    paragraph, which I'm going to circle on the screen.       We'll get

 5    into this further before we go ahead, but are you aware some

 6    of these are -- these are all Mr. Wilson's E-mails from the

 7    MDC.    This E-mail, in particular, was to a person who he was

 8    operating a Facebook page remotely through.       So that's why

 9    these appear a little bit different.      We'll talk about that

10    later.

11                But particularly going to the second sentence of

12    this, we can start above there.     "It's good to just hear from

13    you, my G.    We repped it.   And we're older now so things are

14    getting different.    At the same time so is the music.      Good

15    looking because the goal is for the music to be universal so

16    everybody can vibe to it, black, white, young and old.        Like I

17    said, we're working on it.     We're working on it together."

18                Dr. Shapiro, in this E-mail, Mr. Wilson is

19    describing what it is about music that he likes or how music

20    has changed, correct?

21    A      He's stringing together a series sentences.     I'm not

22    exactly sure where he's going with this.      If I had to do a

23    rough approximation of the level of the language that's

24    contained in this communication, it probably would be at the

25    lower end of middle school.

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 14 of 238 PageID #: 16209
                                                                         231
                      B. Shapiro - Cross/Cohen

 1    Q    Okay.

 2               But the point here is that he does say things are

 3    getting different, right?

 4    A    He says that, correct.

 5    Q    And then he applies that to music, to the concept of

 6    music, correct?     "At the same time so is the music," he says.

 7    A    Okay.   Yes.

 8    Q    And then he says "because the goal is for the music to be

 9    universal," right?

10    A    He says that, yes.

11    Q    And then he describes what he means by that, right?        He

12    says "so everybody can vibe to it, black, white, young and

13    old."

14               So in that sentence, he's applying -- he's

15    explaining what it means to be universal, right?

16    A    He's saying that, yes.

17    Q    Now, this is one of those concepts that we were talking

18    about in applying one situation to another, right?       That

19    somebody with mental retardation can't dig down.       Isn't that

20    what he's doing here?

21    A    I don't know.

22    Q    All right.

23    A    This could simply be repeating an ad that was on a rock

24    music station that he had heard and wanted to incorporate into

25    his communication with somebody.     So I really can't say.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 15 of 238 PageID #: 16210
                                                                         232
                      B. Shapiro - Cross/Cohen

 1    Q    Right.   Now, if he had come up with this on his own, that

 2    would be different than copying it, obviously, right?

 3    A    Right.   And that's why you would not need to go off of

 4    E-mail but actually do this in part of the evaluation in terms

 5    of being able to try to discern what the ideology is for

 6    the -- where the statement is coming -- from where the

 7    statement is coming.

 8    Q    Right.   Because somebody with mental retardation would

 9    have trouble explaining these kinds of concepts, correct?

10    A    They could repeat this kind of statement where they may

11    have heard it someplace else.

12    Q    Okay.    Now, let's talk about another example.     I'll just

13    stick with music for a moment, and then we'll move on.

14               MS. COHEN:   I'm going to take a look at -- this

15    document is Bates numbered 1149.     Now, I'm anything to mark

16    this as Government Exhibit 39.

17               Your Honor, this Bates number is out of order only

18    because I missed it and had to go back when I was premarking

19    them.   So I just want to make that clear.

20               THE COURT:   All right, Government Exhibit 39.      Are

21    you moving that into evidence?

22               MS. COHEN:   Yes, Your Honor.

23               THE COURT:   Any objection?

24               MR. BURT:    No, Your Honor.

25               THE COURT:   Government Exhibit 39 is received into

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 16 of 238 PageID #: 16211
                                                                         233
                      B. Shapiro - Cross/Cohen

 1    evidence without objection.

 2               (Government's Exhibit 39 received in evidence.)

 3    BY MS. COHEN:

 4    Q    Now, I'm going to draw your attention, Dr. Shapiro, to

 5    the last paragraph.

 6               By the way, before we get into this -- actually,

 7    that's fine.    We'll read this.   It starts out.    This is from

 8    just this past July.    "Sweetheart, I do not understand fully

 9    how you think I feel.     You don't know the answer to that

10    because you still think I'm like every other dude in your past

11    life.   That's what's wrong with a lot of women nowadays.       See,

12    when a real dude, such as myself, come along and want to do

13    right, y'all just find something or make a person feel some

14    type of way, shy away from love.     I've been there.    Trying to

15    get over something as it is.     I'm in here.   I feel like I

16    shouldn't be in no relationship because of what y'all can do

17    and me sitting here.     It real hurts when you can't" --

18               THE COURT:   Could you stop for one second.     You're

19    reading too fast.

20               MS. COHEN:   Sorry.

21               "How you want to" --

22               MR. BURT:    Excuse me, Your Honor, I have an

23    objection, which is counsel is reading this, but the record is

24    not going to reflect the changes between the abbreviations.

25    For instance, the word "too" is not T-O-O it's, the number

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 17 of 238 PageID #: 16212
                                                                         234
                      B. Shapiro - Cross/Cohen

 1    two.   And as counsel is reading this, she's using -- not

 2    making any reference to those sorts of changes.        So it's a

 3    little bit misleading the way it's being read.

 4               THE COURT:   Well, it's being read in, but the

 5    exhibit itself is the evidence, and her rendition of it is

 6    simply the way it sounds when you read it.      So the best

 7    evidence is the exhibit, and that's what I will utilize.

 8               MR. BURT:    Yeah.    And that's fine.   I just didn't

 9    want somebody reading this record some day to hear her

10    question and say, well, that sounds all grammatical and

11    everything is spelled properly, when she's doing some

12    interpretation.    So as long as we understand that there are

13    differences, I think that's --

14               THE COURT:   Yeah.    It's more like a tweak than like

15    a -- how you would write in a novel, for instance.

16               MR. BURT:    Right.

17               THE COURT:   There's a lot of shortcuts in this kind

18    of communication.    So your point is made.    It's in the record.

19               MR. BURT:    Thank you.

20               THE COURT:   And anyone who reviews the record should

21    understand that the actual document has many of these

22    shortcuts that may not be reflected in the transcript.

23               MR. BURT:    Thank you very much.   Appreciate it.

24               THE COURT:   You're very welcome.

25

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 18 of 238 PageID #: 16213
                                                                         235
                      B. Shapiro - Cross/Cohen

 1    BY MS. COHEN:

 2    Q    Okay.    So I'll pick up here.

 3               THE COURT:   And just go slowly, please.

 4               MS. COHEN:   Sure.

 5    BY MS. COHEN:

 6    Q    "I feel like I shouldn't be in no relationship as it is

 7    because of what y'all can do and me sitting here.       It really

 8    hurts when you can't be there.     How you want to for the

 9    person.   You're willing to give a chance with.      And when I do,

10    I just fall on my face looking for someone to help me pick up

11    the pieces.    You know that song by Force MD's called Tears.

12    You know, go look it up after this missive, because I feel

13    like that all the time.

14               Dr. Shapiro, this E-mail, Mr. Wilson is talking

15    about his feelings, correct?

16    A    He's talking about his feelings, correct.

17    Q    And he's talking -- and then when he talks about the

18    Force MD's song called Tears -- did you see that part?

19    A    Yes, ma'am.

20    Q    Are you familiar with that song?

21    A    No, ma'am.

22    Q    Neither was I.     But I looked up the lyrics, and we can

23    look at the lyrics, although the lyrics themselves obviously

24    don't -- aren't important to the case, but they do talk about

25    exactly what Mr. Wilson is saying.      For example, part of the

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 19 of 238 PageID #: 16214
                                                                         236
                      B. Shapiro - Cross/Cohen

 1    lyrics say --

 2               THE COURT:   Stop.    Are you going to -- how do we get

 3    the lyrics into this hearing?      I know that this is not before

 4    a jury, but there still has to be some foundation for putting

 5    something in the record.     How do we do that, in your view?

 6               MS. COHEN:   Well, Your Honor, let me ask a different

 7    question, and then -- without getting into the specific

 8    lyrics.

 9               THE COURT:   Go ahead.   I'm just saying that if

10    you're going to put the lyrics in the record, you've got to

11    have some way of putting it in the record that comports with

12    the rules of evidence.

13               MS. COHEN:   Right.

14    BY MS. COHEN:

15    Q    If these lyrics described emotion and tears falling

16    because of emotion -- let's just hypothetically say that it

17    did -- that would be something that shows that this person,

18    that Mr. Wilson is applying lyrics to his own situation,

19    right?

20    A    Yeah.    And so does every other ballad and every country

21    song.

22    Q    There are a lot of songs about emotion, correct?

23    A    And unrequited love, yes.

24    Q    Right.   And in this one, Mr. Wilson chose a specific

25    song, correct?

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 20 of 238 PageID #: 16215
                                                                         237
                      B. Shapiro - Cross/Cohen

 1    A    Correct.

 2    Q    Now, he does this again.

 3               MS. COHEN:   And I'm going to show what's been

 4    marked -- what's been Bates numbered 497, and I'm marking this

 5    as Government Exhibit 2.

 6               Let's take it out of the music concept for a second

 7    and move on to another -- the same idea but without music.

 8               You also talked about someone with mild mental

 9    retardation wouldn't necessarily be able to describe why they

10    like a certain person, correct?

11    A    I'm sorry, could you repeat the question?

12    Q    You testified on direct examination yesterday that a

13    person with mental retardation might not be able to describe

14    why or how it is that they like a person, correct?

15    A    I don't think so.

16    Q    Well --

17    A    I don't think I said that is what I'm saying.       Could you

18    put that in context for me, please?

19    Q    Sure.   I don't have the transcript from yesterday.       But

20    it would be the same thing as music, right?       Someone likes a

21    band, but they can't say why.     So in the same vein, someone

22    with mild mental retardation wouldn't be able to describe --

23    they wouldn't be able to dig down and describe why they like a

24    person, right?

25    A    They might describe certain characteristics of the person

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 21 of 238 PageID #: 16216
                                                                         238
                      B. Shapiro - Cross/Cohen

 1    that they like and that might be interpreted as saying they

 2    know the reason why they like somebody.      But when you start

 3    talking about the abstract qualities, like trustworthiness,

 4    loyalness, thriftiness, et cetera, that may give them more

 5    difficulty, yes.

 6    Q    Okay.   Well, let's take a look at this E-mail, which has

 7    now been marked as Government Exhibit 2?

 8               THE COURT:   Are we putting that in the record?

 9               MS. COHEN:   Sorry?

10               THE COURT:   Are we putting that in the record?

11               MS. COHEN:   Yes.   I'm offering this as Government

12    Exhibit 2.

13               THE COURT:   Any objection?

14               MR. BURT:    No objection.

15               THE COURT:   Government Exhibit 2 is received in

16    evidence without objection.

17               (Government's Exhibit 2 received in evidence.)

18               THE COURT:   Go ahead.

19               MS. COHEN:   Thank you, Your Honor.

20    BY MS. COHEN:

21    Q    I'm going to skip to the middle of it.       "We," in

22    parenthesis, "need to have the thing together.       Away you go,

23    take my words out of my mouth of what you do to me.       Really

24    it's your eyes that's ever so sleepy, your smile that makes me

25    say, damn, I want to make this woman the happiest woman

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 22 of 238 PageID #: 16217
                                                                         239
                      B. Shapiro - Cross/Cohen

 1    alive."

 2               In that E-mail, Mr. Wilson is describing to a woman

 3    what he likes about her, right?

 4    A    Her physical characteristics of her eyes and her smile,

 5    correct.

 6    Q    And what it makes him feel inside when he looks at her

 7    smile and her eyes, right?

 8    A    Correct.

 9    Q    This goes really beyond what I think you said before --

10    I'm not sure on direct examination yesterday, but you've used

11    the words when you testified in Davis "beyond the veneer,"

12    correct?

13    A    No.

14    Q    So your testimony is this is on the surface; is that

15    right?

16    A    Your assertions may not be correct.

17    Q    So in your opinion, this is very much a surface

18    description?

19    A    It may very well be because you can get into something

20    like suppose, for example, that when he was writing these

21    specific things that are there, "it's your eyes that ever so

22    sleepy, your smile that makes me say, damn, I want to make

23    this woman the happiest woman alive," that could have very

24    easily been lifted from a song and just put in there.

25    Q    Now, you also realize that Mr. Wilson does not have

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 23 of 238 PageID #: 16218
                                                                         240
                      B. Shapiro - Cross/Cohen

 1    access to the internet, right?

 2    A    Yes.

 3    Q    He doesn't have Google, right?

 4    A    Correct.

 5    Q    Now, if it wasn't lifted from a song and he created this

 6    himself, that would be going beneath the veneer, right?

 7    A    Possibly.

 8    Q    Well, let's look at another description.       You testified a

 9    minute ago that another way in which you could tell someone

10    has mild mental retardation is that when they describe a

11    person, they might not describe concepts like honesty,

12    correct?    Do you recall that?

13    A    Yes.

14    Q    This is marked Bates No. 2736.

15                MS. COHEN:   Your Honor, for some reason, I didn't

16    have the printout of this, so I'm going to mark this as

17    Government Exhibit 2A.     I apologize, I don't have copies of

18    this in paper, but we will get a copy to the Court.

19                THE COURT:   It's in your binder, is that it?

20                MS. COHEN:   Yes.   These have all been produced.    I

21    can pull it out of the binder.

22                We will mark this as Government Exhibit 2A.      And the

23    government moves this exhibit into evidence.       I will hand up a

24    copy to Your Honor.

25                THE COURT:   All right.

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 24 of 238 PageID #: 16219
                                                                         241
                      B. Shapiro - Cross/Cohen

 1               Are those binders there additional binders for the

 2    Court?

 3               MR. BURT:    Those are copies of Defense Exhibit C1 to

 4    C6.

 5               THE COURT:   These are for the witness in case the

 6    witness need to refer to them?

 7               MR. BURT:    Yes.

 8               THE COURT:   Thank you.   Government Exhibit 2A?

 9               MR. BURT:    I haven't seen it, but I don't think I

10    have an objection to it.

11               THE COURT:   Why don't you take a look at it, sir, so

12    we're all on the same page.

13               Any objection?

14               MR. BURT:    No, Your Honor.

15               THE COURT:   2A is received in evidence without

16    objection.

17               (Government's Exhibit 2A received in evidence.)

18    BY MS. COHEN:

19    Q     So I'm going to draw your attention to this paragraph and

20    I'm going to -- oh, actually, I'm going to go back for a

21    moment.   I need to put this into context.

22               The question posed by the woman who E-mails

23    Mr. Wilson is "I asked you about what you like in a woman."

24    And Mr. Wilson describes that as "I like in my woman just to

25    be real, honesty, loyalty, respect and make it all about me

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 25 of 238 PageID #: 16220
                                                                         242
                      B. Shapiro - Cross/Cohen

 1    and her and kid or kids, if any, and understand my situation

 2    and how much she may have to do to make the things work out

 3    for the better for us while I'm in here doing the same."

 4                In that E-mail Mr. Wilson is using some of those

 5    qualities you mentioned to describe what he likes about women,

 6    correct?

 7    A      Well --

 8    Q      Why do you see it differently?

 9    A      He's using a list of words.     There's no evidence there

10    that he understands what those words mean.

11    Q      Okay.   But then he expounds on that, and he says he wants

12    to make it about them, right?       About him, her or potentially

13    kids.   And have her understand his situation, right?       Is that

14    correct?

15    A      That's what it says, yes.

16    Q      That's what it says.    And that goes to loyalty, correct?

17    A      Correct.

18    Q      And how much she may have to do to make the things work

19    out.    That would be the quality of being real, correct?

20    A      The quality of being?

21    Q      Being real.    Being true.

22    A      I don't know what you mean by "real."

23    Q      Being real to the situation, true.

24    A      Okay.   Yes.

25    Q      All right.

                            JUDI JOHNSON, RPR, CRR, CLR
                              Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 26 of 238 PageID #: 16221
                                                                         243
                      B. Shapiro - Cross/Cohen

 1                Now, another example of something someone with mild

 2    mental retardation might have trouble doing is explaining what

 3    something like a quote is, right?     Like something that is a

 4    quote -- strike that.

 5                A quote from someone would be easy for someone with

 6    mild mental retardation to copy, right?

 7    A    And anybody else.

 8    Q    And anybody else, right.      Even if the quote is pretty

 9    high up there.    When I say "high up," pretty analytical or

10    deep, right?    Just to copy it.

11    A    Right.    You're just copying the words.

12    Q    And where we get into more analytical thinking is if

13    somebody can explain what a quote really means, right?

14    A    Yes.

15    Q    And understand it, right?

16    A    Correct.

17    Q    And apply it to another situation, correct?

18    A    Correct.

19    Q    Well, let's take a look at Government -- sorry, Bates

20    No. 5856, which has been marked as Government Exhibit 3.

21                MS. COHEN:   We'll offer this into evidence.

22    (Handing.)

23                THE COURT:   Any objection?

24                MR. BURT:    No, Your Honor.

25                THE COURT:   Government Exhibit 3 is received into

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 27 of 238 PageID #: 16222
                                                                         244
                      B. Shapiro - Cross/Cohen

 1    evidence without objection.

 2                (Government's Exhibit 3 received in evidence.).

 3                MS. COHEN:   Thank you, Your Honor.

 4    BY MS. COHEN:

 5    Q    Going down to the first E-mail here from Mr. Wilson, he

 6    quotes, "There are two ways of exerting one's strength.        One

 7    is pushing down.    The other is pulling up."     The person he

 8    E-mails with answers back, "Brew, what are you saying in this

 9    last E-mail?"   And there are multiple question marks.       "I'm

10    trying to read between the line, but I don't want to unless

11    you clarify it.    Love you, Bro."

12                So this person he's E-mailing with clearly does not

13    understand this quote, correct?

14    A    Correct.

15    Q    And then Mr. Wilson responds back, "I'm saying, pull,

16    show your strength.      All you have to do is the two.   That's

17    what I said, but let me look into the Booker T. book I'm

18    reading."

19                So Mr. Wilson is explaining what he means by that

20    quote, correct?

21    A    Incorrectly.

22    Q    This is his interpretation, right?

23    A    Yes.

24    Q    And his interpretation is, hey, pull, show your strength.

25    All you have to do is the second one.      One is pushing down,

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 28 of 238 PageID #: 16223
                                                                         245
                      B. Shapiro - Cross/Cohen

 1    the other is pulling up, right?     And the second one, the

 2    pulling up, is the good one, right?

 3    A    That's your interpretation.     That's not what's written.

 4    Q    Well, he's saying all you have to do is the two.        So

 5    you're interpreting the two as something else; is that what

 6    you're saying?

 7    A    All I'm saying is that he may be, and I don't know,

 8    saying that there are two ways of exerting, and all you have

 9    to do is the two.    And I'm not sure where that takes you.

10    This is an incomplete thought.     And it then goes on to say,

11    "Let me look into the Booker T. book I'm reading."       So he may

12    well be using that resource to help get the explanation,

13    because I think he was struggling with the explanation for

14    that.

15    Q    Because this is a quote from Booker T. Washington.        Do

16    you recognize it?

17    A    No.

18    Q    The Booker T. book?

19    A    Well, that's what I assumed.

20    Q    So he's going to go back and look at the book is what

21    he's saying.

22               Okay.   Well, let's take another quote.     Let's look

23    at Bates No. 3227, which has been marked as Government

24    Exhibit 4.

25               MS. COHEN:   And the government will move this into

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 29 of 238 PageID #: 16224
                                                                         246
                      B. Shapiro - Cross/Cohen

 1    evidence.    (Handing.)

 2                THE COURT:    Any objection?

 3                MR. BURT:    No objection, Your Honor.

 4                THE COURT:    Government Exhibit 4 is received in

 5    evidence without objection.

 6                (Government's Exhibit 4 received in evidence.).

 7                MS. COHEN:    Thank you, Your Honor.

 8    BY MS. COHEN:

 9    Q    Focus down here (indicating).      So first this is a quote

10    from Theodore Roosevelt, a very famous quote:        "In a moment of

11    decision, the best thing you can do is the right thing to do.

12    The worst thing you can do is nothing."      Theodore Roosevelt.

13    Mr. Wilson expounds on that in the next part of this.        "It's

14    like we always want to do the right thing, but some do the

15    wrong thing when we do not make a decision about what to do.

16    Decisions have power.      Decisions have force.   They usually

17    take us to the exact place we need to be.      You made the right

18    decision, making sure you have a warm home to rest your head

19    peacefully.    You are good."

20                Mr. Wilson is describing what the Theodore Roosevelt

21    quote means to him, correct?

22    A    I can't speak to what Mr. Wilson was thinking when he

23    wrote this.

24    Q    Well, you don't know what he was thinking, but you know

25    what he wrote, right?

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 30 of 238 PageID #: 16225
                                                                         247
                      B. Shapiro - Cross/Cohen

 1    A     I know what he wrote, correct, because you showed it to

 2    me.

 3    Q     And what he's written is something that explains what the

 4    quote means, right?

 5    A     I don't think it's a correct explanation of the quote.

 6    And then he kind of goes off and talks about a bunch of

 7    associational pieces relating to decisions.

 8    Q     He's telling the person that that person made the right

 9    decision because the decisions usually take us to the exact

10    place we need to be, right?

11    A     He said that, yes.

12    Q     And in this case, the decision was to make sure this

13    person had a warm home to rest his or her head, correct?

14    A     Correct.   But I fail to see how that relates to the

15    quote, which is to say -- which speaks to the issue of

16    indecision or not making a decision.      So consequently, I think

17    this is probably an example of somebody who is using a quote

18    in a not quite correct fashion, which would not be atypical

19    for someone with intellectual disability.

20    Q     Okay.   Well let's turn then to another area.

21               Now, by the way, we're now into the field of

22    adaptive functioning, correct?     That's what we're talking

23    about here today?    Because that's where we have -- I mean, you

24    say they can't talk the talk, right?

25    A     Well, adaptive behavior in this particular case is not

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 31 of 238 PageID #: 16226
                                                                         248
                      B. Shapiro - Cross/Cohen

 1    independent of cognition.

 2    Q    Right.    They overlap.   I guess that's why I started with

 3    a broader concept, and that's what you were doing yesterday.

 4    A    I would say they interact.

 5    Q    Definitely.    Let's sort of move in then into the adaptive

 6    functioning.    Let's categorize these now.    In addition to

 7    being cognitive functioning, it's also in the part of adaptive

 8    functioning, we're talking about the DSM of communication

 9    accident correct?

10    A    Correct.

11    Q    All right.    Because communication is the ability to

12    comprehend and express information, correct?

13    A    Correct.

14    Q    And specific examples of communication -- again, this is

15    from the DSM -- include the ability to comprehend and/or

16    receive a request, an emotion, a comment, a protest or

17    rejection, right?    That's from the DSM?

18    A    I don't have it in front of me, and I don't have it

19    memorized.

20    Q    We can actually pull out your report, Defense Exhibit A,

21    Tab 2.   It's Page 9 of your report.     Just so you have the

22    definition in front of you.

23    A    Okay, I'm with you now.

24    Q    This is a very long definition, but at the end it says

25    higher level skills of communication, e.g., writing a letter,

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 32 of 238 PageID #: 16227
                                                                         249
                      B. Shapiro - Cross/Cohen

 1    would also relate to functional academics, correct?

 2    A    That's what it says, yes.

 3    Q    Now, under communication -- sorry.

 4               If you go a little bit forward in your report to

 5    page 19, the bottom of 19, top of 20, your notes in your

 6    report indicate that Mr. Wilson has a deficit in communication

 7    because he has poor vocabulary, could not undertake a serious

 8    conversation, could not follow multi-step directions and did

 9    not understand humor, correct?

10    A    That is what it says, yes.

11    Q    Now --

12    A    I should also note that is based on Dr. Olley's report.

13    Q    Okay.    But you took Dr. Olley's report and formed an

14    opinion, correct?

15    A    Correct.

16    Q    And that opinion was he has a deficit in communication,

17    correct?

18    A    Correct.    And it's based on the information that was

19    contained in Dr. Olley's report.

20    Q    But you also reviewed the records in this case, correct?

21    A    Correct.

22    Q    Now, the ability to understand humor is another

23    high-level -- well, it depends on the level of humor as to

24    whether it would be a high level of thinking, correct?

25    A    The ability to understand -- let me ask you to repeat it

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 33 of 238 PageID #: 16228
                                                                         250
                      B. Shapiro - Cross/Cohen

 1    and expand on that question, because I'm not sure what you're

 2    saying.

 3    Q    Sure.

 4                Humor can be very simple for a child in some

 5    instances, right?

 6    A    Correct.

 7    Q    For example, a knock-knock joke, right?

 8    A    Yes.

 9    Q    But then there are jokes that we tell as adults, right?

10    A    Yes.

11    Q    And a lot of those jokes require a higher level of

12    thinking, correct?

13    A    Correct.

14    Q    And that's because in some jokes, you have to apply an

15    abstract concept to maybe a totally different situation and

16    make it funny, right?

17    A    Correct.

18    Q    And often I would imagine that people with mild mental

19    retardation aren't really what you'd call witty, correct?

20    A    Correct.

21    Q    So let's take a look at what's been Bates marked as 70610

22    and I've marked as Government Exhibit 5.

23                MS. COHEN:   The government moves this into evidence.

24                MR. BURT:    No objection.

25                THE COURT:   All right.   Government Exhibit 5 is

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 34 of 238 PageID #: 16229
                                                                         251
                      B. Shapiro - Cross/Cohen

 1    received in evidence with no objection.

 2               (Government's Exhibit 5 received in evidence.)

 3               MR. BURT:    Your Honor, just to keep the record

 4    straight, when counsel is referring to Bates stamp numbers in

 5    this series of documents, she's not referring to the GOV

 6    numbers that are in the defense exhibits is my understanding.

 7    This is their own Bates stamp numbering system.       I just didn't

 8    want there to be confusion about that.

 9               THE COURT:   Is that right?

10               MS. COHEN:   That is correct, Your Honor.

11               THE COURT:   Where do we have the documents that are

12    Bates stamped with the government's Bates stamps?

13               MS. COHEN:   Where do we have them?

14               THE COURT:   Are they part of the record or are they

15    simply something within the government's exclusive control?

16               MS. COHEN:   We produced them to defense counsel.      We

17    have not moved all of them into evidence.      I've been moving

18    them piecemeal.

19               Give me one moment, please.

20               At the end, to make the record complete, we'll mark

21    them separately, each binder, as exhibits.      I think there are

22    nine binders, Your Honor.

23               THE COURT:   Well, the question would then become

24    whether there was an objection to the materials in all nine

25    binders being introduced into evidence.      For the time being,

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 35 of 238 PageID #: 16230
                                                                         252
                      B. Shapiro - Cross/Cohen

 1    let's go forward with your numbering that you're utilizing,

 2    and we'll address at the end whether the rest of the materials

 3    should be in or not or whether some of them should be in.        But

 4    the point that Mr. Burt is making is that the Bates stamp

 5    numbers are not part of the record at the moment.

 6                MR. BURT:    Correct.

 7                MS. COHEN:   Thank you, Your Honor.

 8    BY MS. COHEN:

 9    Q    Now, in this document, the person corresponding with

10    Mr. Wilson sends him an E-mail and says, "So, did you miss me,

11    baby," she asks.    And he responds, "Is Bill Gates rich?"

12                That was a joke, right?

13    A    Yes.

14    Q    And that kind of a joke isn't a knock-knock joke, right?

15    A    That is not a knock-knock joke.      There are no

16    knock-knocks there.

17    Q    And that kind of joking takes a higher level of thinking,

18    correct?

19    A    No.

20    Q    Well, you'd have to know who Bill Gates is, right?

21    A    Correct.

22    Q    You have to know that he's rich?

23    A    Correct.

24    Q    You have to know that you can't argue with that, right?

25    A    But you could just be repeating something that someone

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 36 of 238 PageID #: 16231
                                                                         253
                      B. Shapiro - Cross/Cohen

 1    says.    Telling a joke is not what I'm talking about when I'm

 2    talking about humor.      It's understanding the joke.

 3    Q    Okay.    But clearly --

 4    A    Particularly when you're doing it in verbal form or

 5    written form, because you have no idea in terms of the origin

 6    of that information.

 7    Q    So you're saying that if Mr. Wilson saw this joke, it

 8    wouldn't be abstract thinking, correct?

 9    A    It may not be.

10    Q    But if he made it up himself, it would be, correct?

11    A    Right.

12    Q    And in fact -- withdrawn.

13                Now, let's go on to another one then.

14                MS. COHEN:   This is -- these are a little out of

15    order.   This is marked as Government Exhibit 5180 -- sorry,

16    not Government Exhibit.     Bates No. 5180.   The government has

17    marked it as Government Exhibit 7, and we move this into

18    evidence.

19                MR. BURT:    No objection.

20                THE COURT:   Government Exhibit 7 is received in

21    evidence without objection.

22                (Government's Exhibit 7 received in evidence.).

23    BY MS. COHEN:

24    Q    Now, on the bottom, Government Exhibit 7, you note the

25    date is 5-6-2012.    You know what the date 5-6 is, correct,

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 37 of 238 PageID #: 16232
                                                                         254
                      B. Shapiro - Cross/Cohen

 1    Dr. Shapiro?

 2    A    No, I don't.

 3    Q    Well, the date of 5-6, that's Mr. Wilson's birthday.

 4    A    Thank you.

 5    Q    And the person who E-mailed him tells him to "rise and

 6    shine, it's workout time, LOL."     He E-mails back and says,

 7    "Good morning, baby girl.     I'm taking a day off, because it my

 8    party, and I cry if I want to."

 9                This is Mr. Wilson's birthday, and he's using the

10    song It's My Party and I'll Cry If I Want To, right?

11    A    Correct.

12    Q    And he's using it in a different situation, in his

13    situation, and making it funny, correct?

14    A    Yes.

15    Q    So these are E-mails.     I also want to now play a phone

16    call.

17                MS. COHEN:   Now, Your Honor, these phone calls have

18    been provided to defense counsel.     I am going to mark -- and

19    these phone calls are not all of Mr. Wilson's phone calls.

20    They are an excerpt -- all of the phone calls have been

21    produced in discovery.     We are just going to move into

22    evidence particular phone calls on one CD and play a few of

23    them.

24                THE COURT:   Has that been provided to the defense?

25                MS. COHEN:   Yes, Your Honor.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 38 of 238 PageID #: 16233
                                                                         255
                      B. Shapiro - Cross/Cohen

 1               THE COURT:   What is the exhibit number?

 2               MS. COHEN:   This will be Government Exhibit 50.

 3               THE COURT:   Has the defense received this exhibit?

 4               MR. BURT:    I have, Your Honor.

 5               THE COURT:   Any objection?

 6               MR. BURT:    We do have an objection, which is my

 7    understanding is that these phone calls are all post arrest,

 8    and they are far removed from the time of the crime where the

 9    Court's opinion is focused us in terms of intellectual

10    disability.   And I think the witness has testified that the

11    standards are that verbal behavior in a custodial situation is

12    simply not relevant.     So the objection would be to relevancy,

13    a 403 objection.

14               MS. COHEN:    Your Honor, these are highly relevant

15    because, as the witness testified yesterday, reasoning and

16    abstract thinking are very difficult for someone with mild

17    mental retardation to learn, no matter what the environment

18    is.   That's not something that a structured environment can

19    teach you.    It's something inherent in our brains.     And it's

20    the exact reason why all of their experts went to speak with

21    Mr. Wilson and exactly why they gave them the tested proverbs,

22    because proverbs test the exact same thing that we're showing

23    in these E-mails and these phone calls.

24               THE COURT:   Well, I think that the defense's

25    objection can be termed as an argument against giving these

                         JUDI JOHNSON, RPR, CRR, CLR
                           Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 39 of 238 PageID #: 16234
                                                                         256
                      B. Shapiro - Cross/Cohen

 1    any weight --

 2               MS. COHEN:    Right.

 3               THE COURT:    -- but that they may be relevant.     The

 4    extent to which they are relevant, the Court will decide

 5    later.   The objection is noted and overruled and subject to

 6    further review of the Court as to whether these -- whether

 7    this evidence has -- should be given any weight in reaching a

 8    determination.

 9               MR. BURT:    Thank you.

10               THE COURT:    Go ahead.

11               THE WITNESS:    Your Honor, can we take some time to

12    use the facilities?

13               THE COURT:    Sure.    Let's take a 10-minute break.

14               (Whereupon, a break was taken.)

15               (Continued on the next page.)

16

17

18

19

20

21

22

23

24

25

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 40 of 238 PageID #: 16235
                                                                         257
                      B. Shapiro - Cross/Cohen

 1                THE COURT:    All right.    Bring in the defendant,

 2    please, and the witness may retake the stand.

 3                (Witness retakes the stand.)

 4                On the record?    All right.    Mr. Stern?

 5                MR. STERN:    Yes, sir?

 6                THE COURT:    You've resolved the issues about the

 7    food?

 8                MR. STERN:    We have.    Thank you very much.   We got

 9    him stuff from downstairs and he's good.

10                THE COURT:    All right.    Good to go.

11                The witness is reminded he's still under oath.

12                THE WITNESS:    Yes, sir.

13                THE COURT:    Thank you for your patience, everyone.

14                You may continue your cross-examination.       Can you

15    give me a sense about how much more you have for this witness,

16    time-wise.

17                MS. COHEN:    Yes.    Sure, Your Honor.   I have -- I

18    think I have about a half-hour, 45 behind minutes.

19                THE COURT:    And on direct, what can I expect from

20    Mr. Burt, do you think?

21                MR. BURT:    Probably about an hour, maximum.

22                THE COURT:    Okay.   And you have your next witness

23    lined up?

24                MR. BURT:    He's outside, ready to --

25                THE COURT:    This afternoon?

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 41 of 238 PageID #: 16236
                                                                         258
                      B. Shapiro - Cross/Cohen

 1               MR. BURT:    Yes.

 2               THE COURT:    Very good.   Let's move on.

 3               MS. COHEN:    Thank you.   One thing I wanted to

 4    correct on the, record, I had -- when we were talking about

 5    the IQ, all the different IQ tests yesterday, we were referred

 6    to the Exhibit C-4.     I just want to correct the record,

 7    because of the corrections this morning.        There are six

 8    binders now.   It's actually C-5.

 9               THE COURT:    Binder C-5, you need?

10               MS. COHEN:    Binder C-5 contains all the prior IQ

11    tests, and all the references from yesterday to C-4 should

12    have been C-5.

13               THE COURT:    Okay.

14               MS. COHEN:    And one other -- I'm sorry -- that I had

15    forgotten.   Defense counsel and I spoke this morning about

16    marking the marked-up chart from yesterday.        Whether or not

17    they will agree or disagree, just to make the record complete,

18    that when we marked up the record yesterday, the chart we were

19    going to mark that as Government Exhibit 44.

20               THE COURT:    That was your marking of the chart?

21               MS. COHEN:    My markings.   They don't to have to take

22    that --

23               THE COURT:    All right.

24               MS. COHEN:    -- just mark it for the record.

25               THE COURT:    For that limited purpose, do you consent

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 42 of 238 PageID #: 16237
                                                                         259
                      B. Shapiro - Cross/Cohen

 1    to putting it in the record?

 2                MR. BURT:    Yes, Your Honor.

 3                THE COURT:    All right.   Government Exhibit 44, which

 4    is the marked up chart, is received in evidence with that

 5    limitation, that it contains markings that were made by

 6    counsel -- by government's counsel during the course of the

 7    cross-examining this witness.

 8                (Government's Exhibit 44 received in evidence.)

 9                Would you just tap the microphone?

10                MS. COHEN:    Okay.

11                THE COURT:    The other one?

12                MS. COHEN:    Other one?   Testing.

13                THE COURT:    All right.

14                MS. COHEN:    Yeah.   Can you hear me now?

15                THE COURT:    Keep that up a little now.

16                MS. COHEN:    That one doesn't work?

17                THE COURT:    All right.

18                MS. COHEN:    There we go.

19                THE COURT:    Okay.   Thank you.   May proceed, Ms.

20    Cohen?

21                MS. COHEN:    Thank you, Your Honor.

22    BY MS. COHEN:

23    Q    In right before the break, we were talking about humor.

24    Do you recall that, Dr. Shapiro?

25    A    Yes.

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 43 of 238 PageID #: 16238
                                                                         260
                      B. Shapiro - Cross/Cohen

 1    Q    Now, I'm going to play a phone call between Mr. Wilson

 2    and a woman.   This is from last March.

 3               THE COURT:    Does it have a number?     I mean, this is

 4    an exhibit, I take it?

 5               MS. COHEN:    This is on the CD.

 6               THE COURT:    All right.

 7               MS. COHEN:    And that is Government Exhibit 50.

 8               THE COURT:    All right.   It's on 50.   And does it

 9    have a separate marking of any kind or identification.        Is

10    there a date and a time?

11               MS. COHEN:    Yes, the date and the time, April 3rd,

12    2012.   Sorry, I said March.

13               THE COURT:    April 3rd, 2012?

14               MS. COHEN:    Yes.   That's correct.

15               THE COURT:    Go ahead.

16               (Audio played in open court.)

17               MS. COHEN:    Your Honor, is the sound on in the

18    courtroom?

19               THE COURT:    It's definitely on.    The question is,

20    how loud is it?

21               MS. COHEN:    It's on.

22               THE CLERK:    It's on as loud.

23               MS. COHEN:    You want to try it again?

24               THE COURT:    (Confers with the clerk.)

25               MS. COHEN:    We tested the equipment yesterday, Your

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 44 of 238 PageID #: 16239
                                                                         261
                      B. Shapiro - Cross/Cohen

 1    Honor.

 2               THE COURT:    No, no, no.   It's got to be checked.

 3    Believe me, you need to check this equipment almost hourly.

 4               (Audio played in open court.)

 5               MS. COHEN:    Go ahead.

 6               (Audio played in open court.)

 7    BY MS. COHEN:

 8    Q    Okay.    So, Mister -- sorry, excuse me -- Dr. Shapiro, in

 9    that conversation, Mr. Wilson talks about the fact that he's

10    turning 30.   Did you hear that?

11    A    No.   All I heard is him say he's turning 30.      I'm sorry.

12    Q    He's turning 30?

13    A    All right.

14    Q    And the woman answered back and said or the woman

15    indicated that she was older than him?

16    A    I didn't hear.

17    Q    We can play it again?

18    A    I'm sorry.    It's my hearing.

19    Q    Yeah.    Yeah.   Let me describe it first and then you can

20    hear it again.

21    A    Okay.

22    Q    And in response, he said, well, I like my women like I

23    like my money and my wine.     We can play this again.

24               MS. COHEN:    Just play it.   Veronica.   Speed it up.

25    Start it a little bit later.

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 45 of 238 PageID #: 16240
                                                                         262
                      B. Shapiro - Cross/Cohen

 1                (Audio played in open court.)

 2    BY MS. COHEN:

 3    Q    Did you hear it that time, Dr. Shapiro?

 4    A    Yes, I did.    Thank you.

 5    Q    Mr. Wilson is making a joke in this instance, right?

 6    A    Yes.

 7    Q    And he's taking the concept of old money and wine that

 8    needs to be aged and he's comparing it to what he likes -- how

 9    he likes his women, correct?

10    A    That's your interpretation.

11    Q    Okay.    And you're speculating as to what else he might be

12    saying, correct?

13    A    Correct.

14    Q    I mean, you said in a lot of these examples that I gave,

15    you said you have to talk to him and understand what he meant

16    by something, right?

17    A    Right.

18    Q    But you didn't sit down and talk to him about any of

19    these emails, correct?

20    A    Correct.

21    Q    You didn't sit down and talk to him about any of these

22    phone calls, right?

23    A    Correct.

24    Q    And you do realize the stakes are important in this case,

25    correct?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 46 of 238 PageID #: 16241
                                                                         263
                      B. Shapiro - Cross/Cohen

 1    A    Very much so.

 2    Q    Now, let's listen to another one of those, then.

 3                MS. COHEN:    Can you play it, the next one?

 4    BY MS. COHEN:

 5    Q    By the way, before we play this, unlike the email, in

 6    this instance, we can actually tell how quickly Mr. Wilson

 7    comes up with a joke, correct?

 8    A    Yes.

 9    Q    Because he is responding instantly, right?

10    A    He's responding quickly, yes, but you don't know, whether

11    this was an association again.

12    Q    So but he's actually applying it correctly in the correct

13    situation, right?

14    A    Well, not to quibble with you, but I don't know that he

15    necessarily implied there was age involved with wine or money.

16    Q    You don't think he implied that?

17    A    I don't know.

18    Q    It was just coincidence that he came up with two things

19    that show appreciation of age, is that what you're saying?

20    A    I didn't appreciate it on the first pass.       I assume that

21    was the thing.

22    Q    I'm sorry.    Can you repeat that?

23    A    When he first said it, I did not appreciate the

24    relationship to age.

25    Q    You didn't appreciate that liking older women is like

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 47 of 238 PageID #: 16242
                                                                         264
                      B. Shapiro - Cross/Cohen

 1    liking aged wine?

 2    A    No, I didn't.

 3    Q    But you agree that the concept is the same, right?        As

 4    you age, some women in his view get better, and as wine ages,

 5    it gets better, right?

 6    A    Yes.

 7    Q    Okay.   Let's play this one?

 8                THE COURT:    All right.   Before you play it, is there

 9    a date associated with this?

10                MS. COHEN:    Yes, Your Honor.

11                THE COURT:    Is this also in Government Exhibit 50?

12                MS. COHEN:    Government Exhibit 50.

13                THE COURT:    And the date of the recording?

14                MS. COHEN:    Yes.    July 14th --

15                MS. RAMIREZ:    2012.

16                MS. COHEN:    2012.

17                THE COURT:    All right.   Go ahead.

18                (Audio played in open court.)

19                MS. COHEN:    Doctor, I don't know if it would help if

20    you want to come a little closer to these.         I know that it was

21    difficult to hear.

22                THE COURT:    Do you want to step down?

23                THE WITNESS:    That would help.

24                THE COURT:    Please.   You may do so.

25                MS. COHEN:    Okay.   I'll explain what this says and

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 48 of 238 PageID #: 16243
                                                                         265
                      B. Shapiro - Cross/Cohen

 1    then you can listen to it again.

 2    BY MS. COHEN:

 3    Q    He's talking to somebody who's saying here -- he's

 4    talking to somebody and he comes back and says, "Excuses are

 5    like assholes.    Everybody's got one."

 6                (Audio played in open court.)

 7    BY MS. COHEN:

 8    Q    I mean, in this conversation, Dr. Shapiro, the person?

 9                THE COURT:    Just hold on a second.    No, Dr. Shapiro,

10    let him retake the witness stand before you ask him a

11    question.

12                MS. COHEN:    Oh, sure.

13                THE COURT:    Take your time, sir.

14                (Witness retakes the witness stand.)

15                THE COURT:    All right.

16                MS. COHEN:    I only have two other phone calls in the

17    whole cross to play.

18                THE COURT:    That's all right.   Go ahead.

19    BY MS. COHEN:

20    Q    In this conversation, the person speaking with Mr. Wilson

21    is explaining -- giving excuses as to why she couldn't come to

22    visit.   Did you get that?

23    A    Yes.

24    Q    And he's coming back with a joke:        "Yeah. Yeah.   Excuses

25    are like assholes.    Everybody's got one."      That was a joke,

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 49 of 238 PageID #: 16244
                                                                         266
                      B. Shapiro - Cross/Cohen

 1    right?

 2    A    That's a common phrase that everyone uses.

 3                THE COURT:    That's -- excuse me.   That's a common

 4    phrase that everyone uses?

 5                THE WITNESS:    Not -- I mean, let me restate that.

 6    I'm sorry.   That is a common phrase that's used not

 7    infrequently.

 8                THE COURT:    You're familiar with that phrase?

 9                THE WITNESS:    Yes.

10    BY MS. COHEN:

11    Q    Okay.   The key here is that Mr. Wilson is using it in the

12    appropriate situation, right?

13    A    Yes.

14    Q    And that's something that you said yesterday is difficult

15    for somebody with mild mental retardation, right?

16    A    In what context, please?

17    Q    Well, it requires a level of abstract thinking, right?

18    A    Yes.

19    Q    I mean, often he's explaining -- he's taking his concept

20    of excuses and putting it into a joke, right?

21    A    I'm sorry.    I didn't hear the question.

22                MS. COHEN:    Strike that.   We made the point.

23                THE WITNESS:    Okay.

24    BY MS. COHEN:

25    Q    Now, another aspect of communication that you talked

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 50 of 238 PageID #: 16245
                                                                         267
                      B. Shapiro - Cross/Cohen

 1    about in your report, one of the other deficits is that was an

 2    inability to undertake a serious conversation.       And that's

 3    again, in your chart there -- could not undertake a serious

 4    conversation.

 5                And in fact, you've already seen a few emails in

 6    which Mr. Wilson did undertake a serious conversation,

 7    correct?

 8    A    (No response.)

 9    Q    Let me defer your attention.      When he talked about his

10    emotions with the one woman and he compared that to a song

11    "Tears," do you recall that?

12    A    Yes.

13    Q    Mr. Wilson actually doesn't appear to have any difficulty

14    engaging in a serious conversation.        Let's take Bates number

15    3005.

16                MS. COHEN:    The government is marking this

17    Government Exhibit 8.      Did you pass that already?   Exhibit 8.

18    (Handing.)

19                THE COURT:    Government Exhibit 8, any objection?

20                MR. BURT:    No, Your Honor.

21                THE COURT:    Government Exhibit 8 is received into

22    evidence without objection.

23    BY MS. COHEN:

24    Q    Okay.   Now that this is up on the screen, let's focus on

25    this paragraph that I circled.      I circled a little wider at

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 51 of 238 PageID #: 16246
                                                                         268
                      B. Shapiro - Cross/Cohen

 1    that time.   Okay.

 2               I'm going to direct you to Mr. Wilson's email.

 3    "Yeah.   The feeling is the same.    In a degree, the aspect of

 4    missing you and the old days, but we can't change the past.

 5    All we have now is the now.     So let's make it last.    Please

 6    don't cry.   It's not tears of joy, which it may be, but I

 7    don't like to see you cry.     Because when you cry, I cry, (we

 8    cry together.)    However, I appreciate the gesture, but how

 9    would it look if I take money" -- money is indicated with a

10    symbol -- "from you and you ain't on your mo way of living."

11               Mo is the person he's emailing with.      That's her

12    email address is mo.

13               "Your mo way of living.    I hope I'm not offending

14    you in any way.    At this time, my morals won't allow me to

15    accept money from you right now, but when you get on your

16    feet, all to have do is Western Union money to me.       You're

17    looking good as a mother still.     Grandma My Butt."

18               This email touches on a few things in adaptive

19    functioning.   First, this is a serious conversation, correct?

20    A    No.

21    Q    Is this a serious conversation?

22    A    I said no.    I think that this is cocktail talk and not

23    what I consider to be a serious conversation.

24    Q    Okay.

25    A    And it expresses a good deal of emotion, and I'm not

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 52 of 238 PageID #: 16247
                                                                         269
                      B. Shapiro - Cross/Cohen

 1    meaning to imply that he's not expressing strong feelings

 2    here, but it's at a superficial level.

 3    Q    Okay.    But again, you haven't spoken to Mr. Wilson about

 4    this email, right?

 5    A    That is correct.

 6    Q    And you have to -- whether or not it's superficial, it's

 7    certainly a serious subject matter, right?

 8    A    The subject matter is serious.

 9    Q    Right.   And in fact, we'll get this to this later when we

10    talk about other adaptive functioning domains, but the ability

11    to understand money is often a problem and something you cited

12    with Mr. Wilson as being a problem, right?

13    A    That's correct.

14    Q    And Mr. Wilson in this email, not only is he talking

15    about his emotion -- emotion, but he's turning down money,

16    correct?

17    A    Correct.

18    Q    He's turning down money because this person, he feels,

19    can't afford it right now, right?

20    A    Correct.

21    Q    And that's when this person gets on her feet, she could

22    then send him money, right?

23    A    That's what he said.

24    Q    All right.    We'll discuss what that means.

25    A    But that does not mean that he has an understanding of

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 53 of 238 PageID #: 16248
                                                                         270
                      B. Shapiro - Cross/Cohen

 1    money.

 2    Q    Okay.    Well, he's?

 3    A    In the broader sense of that term.

 4    Q    But even when you talk about money, you talk about

 5    knowing when to save and when to spend and not being impulsive

 6    about it, right?

 7    A    And being able to budget, et cetera.

 8    Q    But here, he is not being impulsive.        He is

 9    understanding, you know what?      I can't take this money from

10    you, right?

11    A    Correct.    That's what he said.

12    Q    He's using his judgment, too, correct?

13    A    Yes.

14    Q    Now, let's look at -- skip around a little bit.       Bates

15    number 5702.

16                MS. COHEN:    And this is going to be marked as

17    Government Exhibit 10.

18                THE COURT:    All right.   Government Exhibit 10, any

19    objection?

20                MR. BURT:    No objection.

21                THE COURT:    I'm sorry.   I didn't hear.

22                MR. BURT:    No objection.

23                THE COURT:    Okay.   Thank you.

24                No objection.    Government Exhibit 10 is received

25    into evidence, without objection.

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 54 of 238 PageID #: 16249
                                                                         271
                      B. Shapiro - Cross/Cohen

 1               (Government's Exhibit 10 received in evidence.)

 2    BY MS. COHEN:

 3    Q    Okay.   Just look at -- whoops.     I'm sorry -- this is an

 4    email from August of 2011.     It says, "The joint is called

 5    Fighting For Your Life, by John something."

 6               Mr. Wilson is referring to a book in that case.       Oh,

 7    let me, by the way, give you some background here.       At this

 8    time, Mr. Wilson was -- this was a sad time in their family.

 9    An aunt had died at this time.     And this is what the rest of

10    the email is commenting on.

11    A    And he was still in jail at this time?

12    Q    Yeah.   And he's talking to his sister.

13    A    Okay.

14    Q    "I hope you feel better, because like I told Vaness,

15    everything is looking at y'all with strength.       Everyone" --

16    excuse me -- "Everyone is looking at y'all for the strength.

17    Through this time, I know it's big, but God only puts us

18    through things he knows we can handle.      I'm still at a loss

19    because it didn't really sit yet that my haunt will never be

20    here to tell people off and protect me from everyone and keep

21    me on track, and I feel it's too much to handle.       Like the MJ

22    song, I told to you play, all we have to do is call her name

23    and talk, because I know she'll show me a sign or something.

24    Well -- again, I tell you -- again, I tell you just stay

25    strong.   We'll get through it together and no one can stop

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 55 of 238 PageID #: 16250
                                                                         272
                      B. Shapiro - Cross/Cohen

 1    that.   Before I forget, I told Vaness -- Vanessa that she can

 2    share our mother or -- sheer our mother even, though she won't

 3    replace hers.    Is that is that okay with you?     Which I know it

 4    is because you're just like me."

 5                And his sister responded, as you can see above, "Wow

 6    Bernetta would be so proud of us because we both said the same

 7    exact thing."

 8                And this another example of a serious conversation,

 9    correct?

10    A    How old is the sister in this one?

11    Q    This is his older sister he's corresponding with.

12    A    And how old is she?

13    Q    Currently, mid -- I'm not sure.

14    A    Because I think that the exhibit really demonstrates the

15    difference between a serious conversation and an associational

16    conversation, because I think that if you compare the answer

17    to the work of Mr. Wilson, as you can see a substantial

18    difference in the complexity of the thought that's being

19    communicated there.

20    Q    Well, clearly, his sister has much better grammar than he

21    does, correct?

22    A    But it's not just the grammar.      It's not just the

23    spelling.   It's not just the sentence structure, all of which

24    is substantially less well developed in Mr. Wilson than in

25    another adult, but rather -- and I'm assuming this is an

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 56 of 238 PageID #: 16251
                                                                         273
                      B. Shapiro - Cross/Cohen

 1    adult --

 2    Q      Yes.

 3    A      Because this was done --

 4    Q      Yes?

 5    A      -- in 2011.   This is one not one of the earlier ones.

 6                  But when you compare that to the thought that's

 7    expressed, I think that his sister's is much more organized

 8    and much more complex than the information that he's provided.

 9    Q      Yes.    Now, if you look at Mr. Wilson's, though, he

10    says -- this before he hears a response:        "I told Vanessa she

11    can share our mother, even though she won't replace ours."

12    And if you look up, DePetra, his sister says, "I told Vanessa

13    they could share our mother, although no one could replace

14    theirs.      Aren't they saying the exact same thing?

15    A      No.    At least in terms of the content is similar, but

16    they're not saying exactly the same way.        To me, it doesn't

17    reflect the same degree of thought.

18    Q      The same degree of thought is, your mother's no longer

19    here, but you can share ours.     That offers cover to someone,

20    right?

21    A      And that's something that a ten year old might very well

22    say.

23    Q      Okay.   Well, then DePetra goes on and says that she told

24    Henry, "I also told Henry that me, you and him no longer have

25    our greatest protector, that we're going to have to protect

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 57 of 238 PageID #: 16252
                                                                         274
                      B. Shapiro - Cross/Cohen

 1    each other."

 2               Now, he told her earlier -- Mr. Wilson said, "I told

 3    Vaness, everyone is looking at y'all for the strength through

 4    this time.    I know it's big.   God only puts us through things

 5    he knows we can handle."

 6               He's talking about the same thing, right, that we

 7    have to -- we can all be there to support each other, and that

 8    we're going to get through this.     Isn't that what they're all

 9    saying here?

10    A     Would you take the yellow off.

11    Q     Oh, sure.

12    A     The yellow off -- up and down off it, because I'm losing

13    it.

14               So could you repeat your question?

15    Q     Actually, let me go on.    Let me withdraw that for a

16    minute, because I think this is easier to look at.

17               "I'm still lost, because it didn't really sit yet

18    that my aunt will never be here to tell people off and protect

19    me from everyone, and to keep me on track."

20               DePetra is responding to same thing, that she said,

21    that we don't have our greatest protector any more here.

22    They're talking about the same thing, right?

23    A     They're talking about the same subject, but they're

24    talking about it quite differently.

25    Q     Okay.   Well, then, he compared it again, the situation,

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 58 of 238 PageID #: 16253
                                                                         275
                      B. Shapiro - Cross/Cohen

 1    he said -- he compared it to a song, right?

 2    A    He does that a lot, apparently, in the emails that you

 3    have been showing me, compares lots of things to songs.

 4    Q    And actually, DePetra went ahead and listened to that

 5    song, because she said, "I played your song and I cried,"

 6    right?

 7    A    Correct.

 8    Q    So he's applying the song -- the emotions in the song to

 9    the same -- to the situation that's going on with them, right?

10    A    I think that he's using music to guide his life.

11    Q    Hum.    Well, he's certainly -- that's not really the

12    question.    Is he taking a song and being able to interpret the

13    emotion from it correctly?

14    A    Yes.    But then the question that you have to ask is what

15    age can you do that.

16    Q    Okay.   Well, these are some things, though, that we were

17    talking about yesterday that apply reasoning, abstract

18    thinking, right?

19    A    Correct.

20    Q    And those are things that are tested in IQ scores in an

21    early age, correct?

22    A    Correct.

23    Q    So those things are something that is are inside, part of

24    our intellect?    That was one of your slides, right?

25    A    Yes.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 59 of 238 PageID #: 16254
                                                                         276
                      B. Shapiro - Cross/Cohen

 1    Q      Now, let's talk --

 2    A      Can I respond?

 3    Q      I didn't -- I just asked you yes or no question.

 4    A      Okay.

 5    Q      You answered the question.

 6    A      Okay.

 7    Q      So let's move on.

 8                On Bates number 2690, I'm sorry.     Yes.    2690,

 9    Government Exhibit 10.

10                THE COURT:    We already have a ten.      That's 5702.

11                MS. COHEN:    Oh, I'm sorry.   I mismarked this

12    exhibit.    Government Exhibit 11.     I'm sorry.     Let's give this

13    10A.    Actually, I did mark it as 10A, I realized.       I'm sorry.

14    Okay.   10A, 2690.    You have that?     (Handing.)

15                Okay.   Is there any objection?

16                THE COURT:    Any objection?

17                MR. BURT:    No objection.

18                THE COURT:    All right.   Government Exhibit 10A is

19    received in evidence, without objection.

20                (Government's Exhibit 10A received in evidence.)

21    BY MS. COHEN:

22    Q      Okay.   Let's take a look at the top part.       And again,

23    this on not only serious conversation, but also the ability to

24    really -- well, let's look at it first, and then we'll talk

25    about it.

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 60 of 238 PageID #: 16255
                                                                         277
                      B. Shapiro - Cross/Cohen

 1                "Baby girl, this why I don't like this email thing."

 2    Oh, I'm sorry.    Let's just go back for context, below that.

 3    This one says, "Okay.    Don't talk to me like that, please.      I

 4    just wanted to know.    I won't ask anymore.    I'll just wait to

 5    receive."   So clearly, she thinks he's angry with her.

 6                He emails back, "Baby girl, this is why I don't like

 7    this email thing.    People may think you're being smart out of

 8    the mouth" -- he spelled it wrong -- "and it's not like that.

 9    That's why some things are better talk face-to-face or by the

10    phone."

11                In this conversation, not only is this a serious

12    issue, Mr. Wilson is understanding that words sometimes get

13    misinterpreted, right?

14    A    Correct.

15    Q    And that's something that would, again, be more difficult

16    for someone to understand because on the surface, what is the

17    difference in writing, right?     But when you dig down, you

18    understand that there are differences.      Sometimes some things

19    can come across incorrectly, correct?

20    A    I'm sorry.    I didn't understand the question.

21    Q    Sometimes some things can come across like you're angry

22    in an email when you're not.     That's what he's saying, right?

23    A    Email?

24    Q    Now, let's look at one more of these and then we'll move

25    onto another category.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 61 of 238 PageID #: 16256
                                                                         278
                      B. Shapiro - Cross/Cohen

 1                And by the way, as we're moving on, the category in

 2    the DSM -- and we can sort of -- I know that there -- the DSM

 3    and the AIDD -- wait, AAIDD -- are pretty much talking about

 4    the same thing in adaptive functioning, but they categorize

 5    them a little bit differently, right?

 6    A      It's not exactly the same thing, but they're similar.

 7    Q      Right.   We have the conceptual, the practical and the

 8    social with respect to the AAIDD, right?

 9    A      Correct.

10    Q      And then we have the ten domains that you put in from the

11    DMS, right?

12    A      DSM, yes.

13    Q      And you could probably take a lot of these categories

14    from the DMS and put them into one of the three in the AAIDD,

15    right?

16    A      Sometimes it's a little bit of -- a not exact fit, but

17    they're similar that yes, you can.

18    Q      Okay.    All right.   But since you lay them out like this

19    in the different domains in the DSM, we'll stick with that for

20    now.

21                You mentioned social interpersonal skills is another

22    problem for Mr. Wilson, right?

23    A      Correct.

24    Q      And that social interpersonal skills relate to social

25    exchanges with others, right?

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 62 of 238 PageID #: 16257
                                                                         279
                      B. Shapiro - Cross/Cohen

 1    A    Correct.

 2    Q    Terminating and what, interacting and terminating

 3    interaction with other others, right?

 4    A    Correct.

 5    Q    Executing and responding to pertinent situational --

 6    should be clues, I think.     It's course, but I think it's just

 7    a typo.

 8    A    (Peruses document.)     Yes.   Clues.

 9    Q    Recognize feelings, right?

10    A    Correct.

11    Q    Foster in forming friendships, correct?

12    A    Correct.

13    Q    There are more.    I know this is large.     I just was giving

14    a summary.

15                And with respect to Mr. Wilson, you indicated that

16    he was childlike in his interaction, right?

17    A    That was reported by his girlfriend, yes.

18    Q    And he could not distinguish friends from acquaintances,

19    right?

20    A    That was already reported in one of the notes, yes.

21    Q    He's a social chameleon, assumes the conduct of the

22    group, right?

23    A    Yes.

24    Q    That also goes to the gullibility issue, is that -- or is

25    that something different?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 63 of 238 PageID #: 16258
                                                                         280
                      B. Shapiro - Cross/Cohen

 1    A    That's something a little bit different.       You may have to

 2    be gullable in order to do that.     But the social chameleon is

 3    more out of a desire to belong.

 4    Q    Okay.

 5    A    And therefore, you'll assume -- you'll assume the

 6    behavior and the mores of the group to which you choose to

 7    belong.

 8    Q    Okay.   And then he could not take the perspective of

 9    another person, right?

10    A    That was in his school records, correct.

11    Q    And he could not resolve interpersonal issues on prison

12    work crew, right?    That's what you said?

13    A    To explain it a little bit further, yes, I said that.        To

14    explain it a little bit further is that there was a note in

15    the -- his record that he had done a very good job in terms of

16    working on the cleaning while he was in prison.       And while he

17    was in a structured situation and he did such a good job, that

18    they decided to make him foreman for the group because he was

19    doing his duties, dutifully, and he did a very good job at

20    that.

21               But then where the social interpersonal piece comes

22    in is that the other prisoners, other inmates, did not work,

23    and the way that Mr. Wilson chose to resolve the conflict was

24    to take all the work on himself.

25    Q    Okay.   So in this aspect, though, you are looking at

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 64 of 238 PageID #: 16259
                                                                         281
                      B. Shapiro - Cross/Cohen

 1    his -- you're looking at what he does in prison here, correct?

 2    A    Correct.    But it also refers to his interpersonal skills,

 3    which I think still have problems.

 4    Q    Right.   But in this instance, a lot of these adaptive

 5    functioning domains, you're saying, hey, you can't look at

 6    what he does in prison because it's structured, right?

 7    A    Correct.

 8    Q    But in this instance, you are looking at what he does in

 9    prison, right?

10    A    It was another example that persists to the present time.

11    I thought it was good example.

12               The records of full of instances where Mr. Wilson,

13    at an early age, would just not be able to resolve conflicts

14    with other children.    So for example, when he was run into

15    difficulty in the classroom situation, he would act out.

16    Q    Okay.    Well, let's --

17    A    One of things that was involved with his -- I'm sorry.

18    Sometimes I hesitate.    You have to give me a little breath.

19    Q    Sure.

20    A    Some things one of the things that precipitated the

21    second admission to Elmhurst was that he spat on another child

22    --

23    Q    Right.

24    A    -- which suggests that he was having interpersonal and

25    social difficulties and not being able to resolve things, long

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 65 of 238 PageID #: 16260
                                                                         282
                      B. Shapiro - Cross/Cohen

 1    history that persists at least until the time of the work

 2    crew.

 3    Q    Okay.    When he's spit on the girl's face, he was very

 4    young, correct?

 5    A    It was enough to be considered one of major reasons why

 6    he was being admitted to the hospital at that time.

 7    Q    Right.    And that is also something that could happen with

 8    somebody who is severely emotionally disturbed, correct?

 9    A    Correct.

10    Q    Now, let's look at --

11    A    But we also said that there's no specific behavior to

12    someone who has intellectual disability.

13    Q    Wait.    There's no -- sorry.   Would you say that again?

14    A    There's no specific behavior to someone who has

15    intellectual disability.     People with intellectual disability

16    can exhibit the same range of behavior as everyone else in the

17    world.

18    Q    My simple question is, that is also that could be caused

19    by emotional disturbance?

20    A    Correct.

21    Q    Bates --

22               THE COURT:    Can I just clarify something?

23               In answer to this question, what was your answer?

24    Question counsel posed was, "Sometimes somethings can come

25    across like you're angry in an email when you're not.        That's

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 66 of 238 PageID #: 16261
                                                                         283
                      B. Shapiro - Cross/Cohen

 1    what he is saying, right?"       And what was your answer to that?

 2               THE WITNESS:    I didn't have a chance to answer

 3    because she went onto the next point, Your Honor.

 4               THE COURT:    Well, that's the reason why I asked you

 5    the question, because I don't have an answer here that makes

 6    any sense.

 7               THE WITNESS:    Okay.

 8               THE COURT:    So what is your answer?

 9               THE WITNESS:    My answer is yes.    There's no emotion

10    in emails, so you can't tell that.      So it's not infrequent for

11    people to think that you're angry in an email when in fact,

12    you're not.

13               THE COURT:    Okay.

14               Try to wait for him to answer the question --

15               MS. COHEN:    Sure.

16               THE COURT:    -- so that I have a record.    And there

17    was nothing really there.      The answer that was on the line

18    was, answer, "Email."      And I know that's not the answer.    So

19    now we have an answer.      Let's move on.

20               MS. COHEN:    Thank you, Your Honor.

21    BY MS. COHEN:

22    Q    Bates number 5772, which has been marked as Government

23    Exhibit 6.    (Handing.)

24               THE COURT:    Thank you.

25               Any objection?

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 67 of 238 PageID #: 16262
                                                                         284
                      B. Shapiro - Cross/Cohen

 1               MR. BURT:    No, Your Honor.

 2               THE COURT:    Government Exhibit 6 is received in

 3    evidence, without objection.

 4               (Government's Exhibit 6 received in evidence.)

 5    BY MS. COHEN:

 6    Q    Now, this email -- let me just bring it forward a

 7    little -- touches on a few things here.       Again, seriousness of

 8    the conversation, and an ability to apply an abstract concept

 9    to what's going.    Okay?   Let's see.    I'll get the beginning.

10               "All I have to say" -- this is the second sentence

11    -- "all I have to say is no matter what you have, to stay

12    focused on your good and keep focused and in time, things will

13    get greater later.     I have faith it will.    Because we have

14    been through it all and it can't rain every day.       The sun has

15    to shine some day.     Like the saying goes, the sun shines on a

16    dog's ass every now and then.     So with that said, I need and

17    want you to stay above the water out there, because there's

18    people out there waiting to say I knew she was going to fall

19    on her face.    It's just like we meet -- just like with me in

20    here what they say -- what they don't know is that person

21    can't fall if he knows how to walk the right way.       So walk the

22    right way and keep walking and watch things come together for

23    you."

24               Now, in that email, Mr. Wilson applied the abstract

25    concept of, hey, you know it can't always be bad.       Things have

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 68 of 238 PageID #: 16263
                                                                         285
                      B. Shapiro - Cross/Cohen

 1    to get better at some point, right?

 2    A    I'm having trouble with this, just in terms of just

 3    reading it and understanding what he's trying to say.

 4    Q    Again, he didn't talk --

 5               THE COURT:    Let him finish his answer.

 6               MS. COHEN:    I'm sorry, Your Honor.

 7    A    Based on just the English there in terms of what's trying

 8    to be communicated, so.

 9    Q    Are you finished?

10    A    If I might just talk a little time to --

11    Q    Oh, sure.    Take as long as you want.     Sometimes at the

12    end, you drop off, and I didn't hear you were still talking.

13    A    (Peruses document.)     Okay.

14    Q    Okay.    In this instance, Mr. Wilson is talking about the

15    fact that we all have we got to all have a good day sometime,

16    right?

17    A    Correct.

18    Q    And he's saying it in many ways.      He's saying like, look,

19    it can't rain every day, right?

20    A    He said that, it can't rain every day.

21    Q    Right.   And then he applies something that he's heard to

22    that, which means the same thing in a different with a

23    different phrase, right?

24    A    There's a fair list of sayings that kind of go along with

25    this in terms of associational kinds of sayings that are

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 69 of 238 PageID #: 16264
                                                                         286
                      B. Shapiro - Cross/Cohen

 1    there.

 2    Q    Right.   But the ability to associate these things is

 3    certainly a higher level of abstract thinking, right?

 4    A    Wrong.

 5    Q    Okay.    So --

 6    A    We see this in autism all the time, for example.

 7    Q    Right.   So he's -- so his ability to pull something out

 8    from somewhere else and apply it correctly to the situation,

 9    your testimony is that anybody, even people with mental

10    retardation can do that?     Is that your testimony?

11    A    To answer your question correctly, what I need to be able

12    to do is to tell you that this is not an absolute.       So very

13    young children show some abilities to abstract.

14                And what you're putting forth is in terms of your

15    whole line of questioning, it seems to me, is this is an

16    absolute.    So if he does this, then he can't have an adaptive

17    behavior deficit, and I think that misses the point.

18                What's happening is that I think that he has an

19    ability to abstract.    It's a limited ability to abstract, and

20    and consequently, I think that it is substantially limited,

21    but it's not absent.

22    Q    Okay.    So here you're saying abstract thinking doesn't

23    get us out of mental retardation; however, things like not

24    having a bank account or not using a credit card are things

25    that would?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 70 of 238 PageID #: 16265
                                                                         287
                      B. Shapiro - Cross/Cohen

 1    A    Those are things that are I encountered within the

 2    adaptive behavior domain are manifestations are people who

 3    have difficulty with cognition.     There are other reasons for

 4    those things, which is why when you asked me before whether or

 5    not we would do adaptive behavior on somebody who didn't have

 6    intellectual disability, and I said absolutely yes, because

 7    you would then need to look into the answer in terms of why it

 8    was the person was having that trouble.

 9               So you're going to have a behavior, but then you

10    need a number of different ways of being able to explore why

11    that behavior is occurring.     So you need to kind of understand

12    as best you can at a broad, at a deeper level, to understand

13    what the mechanism of that behavior is.

14               So someone may not have a bank account because,

15    number one, they may not have any money; number two, they may

16    not have a bank nearby that they can go to; number three, they

17    may not the cognitive abilities to do be able to do the

18    numbers associated with banking; number four, they may be

19    agoraphobic and not choose to go outside of their house.        So

20    there are lots of reasons that you can say someone has no bank

21    account in addition to intellectual disability.

22    Q    Absolutely.    In fact, somebody night not have any money,

23    right?

24    A    I said that as the first one.

25    Q    Okay.   And someone might not ever -- might not ever

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 71 of 238 PageID #: 16266
                                                                         288
                      B. Shapiro - Cross/Cohen

 1    get -- because they have no money, they might not an ATM card,

 2    right?

 3    A    Correct.

 4    Q    So there were a lot of factor, is what you're saying,

 5    that go into this, right?

 6    A    Correct.

 7    Q    Okay.   But in one of your slides yesterday, and I think

 8    both on cross and on direct, you admitted that there are

 9    certain things in our intellect, in people's intellect that

10    are inherent in there, and those things are tested in IQ,

11    right?

12    A    That's too broad a question for me to answer directly.

13    What are the things that you're talking about, specifically?

14    Q    Reasoning?

15    A    Yes.

16    Q    Executive thinking, right?

17    A    Yes.

18    Q    Those things are higher levels of thinking, right?

19    A    Correct.

20    Q    So whether or not you agree that these emails show that

21    on not, you are agreeing that those things are things that

22    people with mild mental retardation cannot do, correct?

23    A    They may have difficulty with it, I think is what I

24    termed.

25    Q    Let's go back to this email for a minute, because I just

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 72 of 238 PageID #: 16267
                                                                         289
                      B. Shapiro - Cross/Cohen

 1    want to focus on some of the other aspects of it.       One thing

 2    and we'll get to this later is self-direction, right?        That's

 3    another problem you think Mr. Wilson has?

 4    A    Yes.

 5    Q    And in self-direction, that would encompass giving

 6    direction to other people as well, right?

 7    A    No.

 8    Q    Okay.    Well, telling somebody what to do in the

 9    appropriate concept falls into some of these domains, right?

10    A    Probably put it into the social interpersonal skills

11    domain.

12    Q    Okay.    So in this email, when he's telling this person,

13    hey, stay above water, right?     He means, you know, keep your

14    head up.    Keep going.   Because there's people out there who

15    are waiting for you to fall on your face.      Don't let them.

16    Right?

17    A    He's being a supportive person, yes.

18    Q    Yes.    He's providing advice to another person, correct?

19    A    Correct.

20    Q    All right.    Let's move on.   Let me just play another

21    phone call.   Again, along the same lines of somebody with

22    mental retardation, they may not be able to direct someone in

23    the same way that someone without mental retardation could do

24    that, correct?

25    A    I don't like the term "direct," because what we're

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 73 of 238 PageID #: 16268
                                                                         290
                      B. Shapiro - Cross/Cohen

 1    talking about is interpersonal interactions.

 2    Q    Right.

 3    A    So it's an interactional process where you have to be

 4    able to put forth your desires or your needs or your demands,

 5    and convince the other person to accept them.       And then come

 6    to -- or if they don't, then come to some sort of conclusion,

 7    to how to resolve the differences.

 8    Q    Okay.    So in convincing another person in something, that

 9    you're reasoning with them correctly, that would be something

10    that would show, again, a higher level of thinking, right?

11    A    That would require a higher level of thinking, I believe.

12    Q    Okay.    So let's play this now.    Okay.   This is from

13    Government Exhibit 50.     It is dated March 2nd of 2006.

14               THE WITNESS:    Your Honor, may I go up to hear it up

15    there?

16               THE COURT:    Yes, you may.   You may stand down, sir.

17               (Witness stands down.)

18               MS. COHEN:    And Dr. Shapiro, while you're walking

19    down there, let me just give a little bit of background, so

20    that you can know from the get-go what this conversation is

21    about.   This is about a woman who tells Mr. Wilson that she

22    found out she was pregnant and he's giving her some advice.

23               (Audio played in open court.)

24               MS. COHEN:    Wait.   Could we pause this for a second?

25    I think it seemed to be much louder last time.

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 74 of 238 PageID #: 16269
                                                                         291
                      B. Shapiro - Cross/Cohen

 1                (Audio played in open court.)

 2                MS. COHEN:    Okay.   So --

 3                THE COURT:    Hold on.

 4                MS. COHEN:    Oh, sorry.

 5                (Witness retakes the stand.)

 6    BY MS. COHEN:

 7    Q    Dr. Shapiro, fair to say this is a serious conversation,

 8    correct?

 9    A    It's fair to say that the topic is serious.

10    Q    Yes.   And Mr. Wilson in this conversation is giving

11    advice to this young woman, correct?

12    A    I think that he is being supportive to this young woman.

13    Q    He tells her that her family can help her take care of

14    the baby, right?

15    A    Correct.

16    Q    He tells her to have the baby for her, for no one else,

17    correct?

18    A    Correct.

19    Q    He told her that this is part -- this baby is part of her

20    soul, right?

21    A    Correct.

22    Q    And having an abortion would be equivalent to talking

23    another human being's life, right?

24    A    Correct.

25    Q    So Mr. Wilson is understanding in this call, that the

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 75 of 238 PageID #: 16270
                                                                         292
                      B. Shapiro - Cross/Cohen

 1    things that go through a decision like this as to whether or

 2    not to keep a baby, right?

 3    A    I don't know at what level the understanding is there,

 4    but I think all you need to do is watch enough TV -- at least

 5    in Baltimore.   I'm not sure if it's in New York or not, where

 6    they have major emphasis to get moms to keep their babies and

 7    they talk about pretty much the same things.

 8    Q    Okay.   But this isn't someone saying, Mr. Wilson, what's

 9    your opinion on abortion?     This is him giving advice to

10    someone, correct?

11    A    Correct.

12    Q    So in other words, even if he has seen such a show on

13    TV -- and again, we're speculating, right?

14    A    Correct.

15    Q    He is applying the reasoning in the proper manner here,

16    right?

17    A    He -- I don't know.     He may be just repeating what he has

18    heard in this situation.

19    Q    But when we're having a conversation back and forth, it's

20    almost impossible to repeat a conversation and have it make

21    sense, right?

22    A    No.

23    Q    Well, I mean if he had heard on a television program,

24    women should try to keep babies because it's not right to have

25    an abortion, he goes further than that in this conversation,

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 76 of 238 PageID #: 16271
                                                                         293
                      B. Shapiro - Cross/Cohen

 1    right.

 2    A    You mean as far as saying she's having the baby for

 3    herself?

 4    Q    Well, he digs down, doesn't he?

 5    A    (No response.)

 6    Q    He digs down.    He calls her baby part of her soul, right?

 7    A    Correct.

 8    Q    That's recognizing that when you give human life, it's a

 9    part of you, right?

10    A    I think that what's happening is that you're interpreting

11    his statements based on your perspective, and I think that

12    that may be an overreach.     I don't know the answer.

13    Q    Okay.   And you don't know because you never talked about

14    this conversation with Mr. Wilson?

15    A    I did not go to the jail to talk to him about this

16    conversation.   That is correct.

17    Q    But certainly, you've talked to other people he knows in

18    his life, right, that has happened in this case, in order to

19    determine somebody's ability to have these adaptive

20    functioning domains, right?

21    A    I would -- since my report, I've talked to a few people

22    who have known him, but my report in terms of his adaptive

23    function has been primarily based on the information gathered

24    by Mister 0Dr. Ollie in his report, and augmented by my review

25    of Mr. Wilson's records.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 77 of 238 PageID #: 16272
                                                                         294
                      B. Shapiro - Cross/Cohen

 1    Q     Right.   But certainly -- so you didn't interview people.

 2    But certainly, an individual's interactions with someone and

 3    their conversations with someone are going to affect how it is

 4    you determine whether they have a deficit in adaptive

 5    functioning, correct?

 6    A     Could you repeat the question?

 7    Q     Right.   So let's just say this person that he had the

 8    conversation with, that person -- or actually strike that.

 9                 People that you speak with to say, hey, how does he

10    communicate, right?    And when you do adaptive functioning, you

11    ask them about conversations they might have had with the

12    person, right?

13    A     Yes.

14    Q     So those things are important, correct?

15    A     Yes.

16    Q     All right.   Now, one final point on this, is that another

17    thing with interpersonal relationships is that person with

18    mild mental retardation wouldn't necessarily know when to

19    terminate a relationship or keep it going, right?

20    A     Correct.

21    Q     And --

22    A     Rather than saying wouldn't necessarily know, because

23    that puts him in a whole lot of different what if's on that.

24    So.

25    Q     Okay.    What I think you use -- let's use your words,

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 78 of 238 PageID #: 16273
                                                                         295
                      B. Shapiro - Cross/Cohen

 1    "Could not distinguish friends from acquaintances," correct?

 2    A    Correct.

 3    Q    Now, I mentioned this to you yesterday briefly, but you

 4    are aware that Mr. Wilson was operating a Facebook page from

 5    prison, correct?

 6    A    No.

 7    Q    Well, that's something -- so.      Wait.   I'm sorry.   You

 8    made this entire analysis and you never knew he was operating

 9    a Facebook page?

10    A    I didn't know he was operating a Facebook page.

11                This issue in terms of friends and acquaintances was

12    reported back when he was a child, and not at the time that he

13    was in jail.

14    Q    Okay.   Because you're saying --

15    A    Again, so the review of the records was dealing with

16    behavior that was not necessarily current behavior, but

17    representative behavior that was there near the time of the

18    crime.

19    Q    Okay.   But it's important to know the entire picture of a

20    person, correct?

21    A    Yes.

22    Q    To get a sense of the picture of the person?

23    A    Yes.

24    Q    In fact, that's why you ultimately -- you went to talk to

25    Mr. Wilson because Mr. Burt told you to go there, right?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 79 of 238 PageID #: 16274
                                                                         296
                      B. Shapiro - Cross/Cohen

 1    A      Correct.

 2    Q      So he made that decision in this case?

 3    A      Correct.   He thought it would be useful for me to have

 4    additional information that resulted from meeting with

 5    Mr. Wilson.

 6    Q      Okay.    Mr. Burt's not the doctor.   You're the doctor,

 7    right?

 8    A      Correct.

 9    Q      You also agree that it's important to talk to the person

10    now, correct?

11    A      In an effort to get additional history, to get

12    explanation of things that you might have questions about in

13    reviewing the records.      And the answer to that question is

14    yes.

15    Q      But you didn't meet with Mr. Wilson before you formed

16    your opinion, correct?

17    A      That's correct.    I had enough information from reviewing

18    his previous records to say that he met criteria for adaptive

19    behavior deficits long before the crime.

20    Q      Okay.    When you went to meet him, you gave him problems

21    to see how he did with those, right?

22    A      Right.

23    Q      So that's important, as you said, to test certain things

24    in a person's intellect, right?

25    A      (No response.)

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 80 of 238 PageID #: 16275
                                                                         297
                      B. Shapiro - Cross/Cohen

 1    Q    Even though it's not now, correct?

 2    A    Yeah.

 3    Q    Now, so getting back to the Facebook page, Mr. Wilson --

 4    you understand how a Facebook page works, Dr. Shapiro?

 5    A    No.

 6    Q    Well, in a Facebook, a friend, somebody who sees your

 7    Facebook page can reach out to you, and it's your decision

 8    whether or not to accept that friend.      You understand that?

 9    A    Yes.

10    Q    Okay.   So in other words, you're judging who you want to

11    speak to and who you don't want to speak to, right?

12    A    Correct.

13    Q    Okay.   Now, in this instance -- and I don't need -- I can

14    read this email, if that's okay, just to move it along, since

15    it's just one line.

16                This woman -- and we'll hear about this a little

17    later -- but she believed -- this is back in May of 2012 --

18    that her child could be Mr. Wilson's child.       And she was

19    emailing -- corresponding with him on Facebook.

20                This person, Mr. Wilson, decided he no longer wanted

21    to talk to her.    And in his email, he said, he told the person

22    who was operating the Facebook account for him to block her

23    messages.    So Mr. Wilson in this instance was distinguishing

24    between a person he wanted to talk to and a person he didn't

25    want to talk to, correct?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 81 of 238 PageID #: 16276
                                                                         298
                      B. Shapiro - Cross/Cohen

 1    A    So does my four-year-old granddaughter.

 2    Q    But that was one of the things you put in, in terms of

 3    his inability to have social interpersonal skills, right?

 4    A    It's a difficulty that they have.      It doesn't mean that

 5    people with mild intellectual limitation can't chose not to

 6    socialize with somebody.     It means that they have more

 7    difficulty terminating relationships.

 8    Q    All right.    Well, let's move into another category,

 9    self-care.   You mention in -- self-care and that involves

10    hygiene and grooming and those sorts of things, correct?

11    A    Correct.

12    Q    And you indicated that Mr. Wilson was delayed in personal

13    grooming, right?

14    A    That was based on the reports of Monica, his girlfriend.

15    Q    And Monica Cooke was Mr. Wilson's girlfriend after the

16    age of 18, correct?

17    A    I don't know exact age.

18    Q    She was his girlfriend much later on.      I actually, I

19    believe -- I don't know the exact date, but it was certainly

20    in his -- right before the crime was committed?

21    A    Correct.

22    Q    Now, Mr. Wilson, though, throughout his life, didn't have

23    any trouble with hygiene.     Are you aware of that?

24    A    I would suggest that's not a true statement.       There are

25    other reports in the file that suggest that he was, at times,

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 82 of 238 PageID #: 16277
                                                                         299
                      B. Shapiro - Cross/Cohen

 1    not appropriately groomed.     For the most, part he was, but

 2    there were other times that he was not.      And at those times,

 3    the question always comes up, is his lack of grooming his

 4    issue or his parents' issue.

 5    Q    Absolutely.    In fact, certainly as a -- especially as a

 6    very young child, there could be some issues there if you

 7    don't have the right environment at home, of course, right?

 8    A    Correct.

 9    Q    And we know that in this instance, Mr. Wilson had a very

10    difficult early childhood, right?

11    A    I would agree.

12    Q    Especially when he was with his mother very early on,

13    right?

14    A    I think for a good part of his early life, he had a very

15    difficult time.

16    Q    Absolutely.    He had -- his mother was taking -- using

17    crack cocaine, correct?

18    A    Correct.

19    Q    And then when he went to live with his aunt, there were

20    way too many people living there in a small apartment,

21    correct?

22    A    It was a busy apartment, yes.

23    Q    Yes, so those things might at an early age go into this

24    area, right?    I mean, this could affect this area without

25    getting into -- I'm sorry.     Let me restate that.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 83 of 238 PageID #: 16278
                                                                         300
                      B. Shapiro - Cross/Cohen

 1                His inability to have hygiene at an young age, if in

 2    fact he did, could be attributed to that chaotic household,

 3    correct?

 4    A    As we talked about before, these behaviors can result

 5    from many different causes.

 6    Q    Okay.   But there are many records in this case that

 7    indicate that Mr. Wilson was adequately groomed.       Do you

 8    recall any of those?

 9    A    Yes, there was some in there.

10    Q    In fact, at Brookwood, in his admission, his intake and

11    assessment form, the person wrote that, "The resident appeared

12    adequately groomed."    Do you recall that?

13    A    Yes.

14    Q    And he was 15 years old at that time?

15    A    Uh-hum (affirmative response).

16    Q    Is that a yes?

17    A    Yes.    The question, though, is the same question that

18    would be asked earlier, which is, was there anybody else

19    responsible for saying, look sharp and get yourself together,

20    and do the things you need to do, because you're going to

21    Brookwood.

22    Q    Okay.   Well, let's look at times when he wasn't at

23    Brookwood.    Let's talk about Dr. Frank's evaluation right

24    before he went to Brookwood.     "He appeared for the evaluation

25    with adequate hygiene, wearing casual clothes."       Do you recall

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 84 of 238 PageID #: 16279
                                                                         301
                      B. Shapiro - Cross/Cohen

 1    that?

 2    A    Yes.

 3    Q    Dr. Pop actually -- Dr. Pop said -- or actually.        I'm

 4    sorry.   This was when he got out of Brookwood and he was at

 5    Far Rockaway High School.     There was another -- there was

 6    Dr. Pop and there was another school -- let me get the

 7    psychologist.   It was a record in here.     She also evaluated --

 8    oh, gave Mr. Wilson some testing.

 9                And she said that, "Earl is a handsome young man who

10    seemingly takes pride in his appearance who wears his hair

11    tightly in neat braids to his scalp.      He appears to exercise

12    excellent personal hygiene."     Do you recall that?

13    A    Yes.

14    Q    And at that same time, Dr. Pop said that he was groomed

15    appropriately, and dressed in a manner common for students in

16    the local area.    Do you remember that?

17    A    Yes.

18    Q    Okay.   And going to -- produce these --

19    A    But none of those people lived with him, and Monica did.

20    So she had the opportunity to see how he groomed himself

21    beforehand, in the real world situations and not view the end

22    product, which is what all the evaluators did.

23    Q    The "end product," what do you mean by the "end product"?

24    A    You're making the assumption that he was responsible for

25    the way that he looked at it, the way he presented himself.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 85 of 238 PageID #: 16280
                                                                         302
                      B. Shapiro - Cross/Cohen

 1    Q    Okay.    So in this chaotic world that he was living,

 2    somebody else is neatly braiding his hair and making sure that

 3    he's showered and ready to go?

 4    A    Someone may have said, it's time to take a shower.        I

 5    don't know.

 6    Q    Okay.    Let's -- I'm going to -- I marked a few --

 7               MS. COHEN:    -- previously marked a few photos, Your

 8    Honor.   I'm going hand them up to the Court.      I've provided

 9    them already Bates stamped to defense counsel.       Government

10    Exhibit 41, 42 and 43.     (Handing.)

11               THE COURT:    Are these for the Court?

12               MS. COHEN:    Yes, Your Honor.

13               THE COURT:    All right.   Go ahead.   Are you going to

14    show them to the witness?

15               MS. COHEN:    Yes.

16               THE COURT:    Is there any objection?

17               MR. BURT:    The objection is that there has to be

18    some foundation as to when these were taken.       If there is a

19    stipulation about that, that's fine.      I think the Court needs

20    to know that information.

21               THE COURT:    Is there a stipulation?

22               MS. COHEN:    Stipulation as to when they were taken?

23               MR. BURT:    Correct.

24               MS. COHEN:    These were -- these were actually trial

25    exhibits in the 2006 trial, so these were --

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 86 of 238 PageID #: 16281
                                                                         303
                      B. Shapiro - Cross/Cohen

 1               THE COURT:    They're part the record already?

 2               MS. COHEN:    Part of --

 3               THE COURT:    This is the same case.

 4               MR. BURT:    If they're already in, I have no

 5    objection.   Perhaps we can consult the transcript, but I think

 6    the Court ought to be informed if we know when the pictures

 7    were taken, to evaluate them.

 8               THE COURT:    Well, why don't you provide that

 9    information?

10               MS. COHEN:    Sure.

11               THE COURT:    Subject to providing that information,

12    they're admitted for purposes of this hearing.

13               Anything that was part of the trial record in the

14    earlier trial can be considered in this hearing, as far as

15    this Court is concerned.

16               MS. COHEN:    Okay.    And Your Honor, I know that these

17    were submitted as exhibits.       Is it -- we'll remark them for

18    the purpose, but --

19               THE COURT:    You can mark them as they're marked, but

20    then provide the Court with a representation in writing that

21    they are the same as exhibits, whatever the exhibit numbers

22    are from the prior trial.

23               MS. COHEN:    Great.   Okay.   Thank you.

24    BY MS. COHEN:

25    Q    Okay.   Taking Government Exhibit -- I'm sorry.

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 87 of 238 PageID #: 16282
                                                                         304
                      B. Shapiro - Cross/Cohen

 1               MS. COHEN:    Veronica, can we just switch to Elmo?

 2               THE COURT:    All right.   The Elmo is on?

 3               MS. RAMIREZ:    Yes.

 4               THE COURT:    Is the Elmo on.

 5               MS. COHEN:    Forty-two, 43, 44, I just marked.

 6               THE COURT:    No, 41, 42 and 43.

 7               See if the Elmo is on.     There's light.    It should

 8    be.

 9    BY MS. COHEN:

10    Q     Okay.   So let's take a look at Government Exhibit 41.

11    And obviously, this photo, we know one thing, we know that was

12    taken prior to 2003, right, Dr. Shapiro?

13    A     I'm not seeing anything.

14               MS. COHEN:    Oh, is it on the Court's?

15               THE COURT:    I'm sorry?   What's the question?

16               MS. COHEN:    It's appearing on our screens, not

17    appearing on the witness as screen.

18               THE WITNESS:    It just came up now.

19               MS. COHEN:    Okay.

20               THE COURT:    Go ahead.

21    BY MS. COHEN:

22    Q     We can agree that this picture was taken prior to 2003,

23    correct?

24    A     I have no knowledge of that.

25    Q     Well, Mr. Wilson -- you know that Mr. Wilson's been in

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 88 of 238 PageID #: 16283
                                                                         305
                      B. Shapiro - Cross/Cohen

 1    prison since 2003, correct?

 2    A    Okay.

 3    Q    So that's for sure, right?

 4    A    Correct.

 5    Q    And in this picture, Mr. Wilson is right here with the

 6    baseball heart on and the white jersey.      Do you see that?

 7    A    Yes.

 8    Q    And you agree in that picture, Mr. Wilson looks, as you

 9    can see next to the other people, he's dressed, to quote from

10    Dr. Pop, in a manner common for students in the local area,

11    right?

12    A    Correct.

13    Q    And he looks perfectly groomed in that picture, right?

14    A    He looks appropriate.

15    Q    Appropriately.    I should say appropriately, right.

16                Let's look at Government Exhibit 42, and this is

17    taken at Six Flags Great Adventure.      Actually that is the old

18    circle that is circling Mr. Wilson again.

19                And in this picture, Mr. Wilson took some care about

20    when he got a dressed in the day.     He put a red bandana around

21    his head, right?

22    A    I see a red bandana.

23    Q    And he put a red bandana around his angle too, correct?

24    A    I'm not sure where that's coming from, but okay.

25    Q    Okay.   And he's got a chain around his neck, right?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 89 of 238 PageID #: 16284
                                                                         306
                      B. Shapiro - Cross/Cohen

 1    A    I can't see it.

 2    Q    Okay.   He doesn't look inappropriate in light of what

 3    everybody else is wearing, correct?

 4                THE COURT:    Is that better?

 5                THE WITNESS:    Much better.

 6                THE COURT:    Okay.   Can you see the chain around his

 7    neck now?

 8                THE WITNESS:    Yes, I can see the chain around his

 9    neck.

10                THE COURT:    Okay.   I showed the witness the Court's

11    copy of the actual photo.

12                MS. COHEN:    Thank you, Your Honor.

13                THE COURT:    Go ahead.

14    BY MS. COHEN:

15    Q    So he had a chain around his neck, correct?

16    A    Correct.

17    Q    And he has dressed pretty much like the other guys are

18    dressed, right?

19    A    Correct.

20    Q    All right.    And now, in this last picture of Mr. Wilson,

21    again, I don't know.      He looks quite young in this picture.

22    He is here -- oh, one minute.      Here.    And again, Mr. Wilson

23    seems appropriately groomed in this instance, as well,

24    correct?

25    A    He is wearing an overcoat.       I can't make a statement

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 90 of 238 PageID #: 16285
                                                                         307
                      B. Shapiro - Cross/Cohen

 1    about that.     The overcoat's a nice overcoat.     It looks like

 2    it's in good repair.

 3    Q      It looks like it's in good repair, right?

 4                  Okay.   Now, we can go back to the -- sorry.   Go back

 5    to the Elmo now.

 6                  Now, you are aware that Mr. Wilson exercises

 7    regularly, correct?

 8    A      Yes.

 9    Q      And in fact, in emails, Mr. Wilson sent other people

10    workout schedules.       Are you aware of that?

11    A      No.

12    Q      And in those workout schedules for one was a man, and he

13    said -- he gave him the schedule.      Told him to what to do and

14    he said, tell me if you can hang.      Hang, if you can do it.

15                  And then in another email -- we'll get to those in a

16    second -- he sent the same workout to a woman.        And after the

17    bottom of it, he explains, if you can't do 50 pushups, let me

18    know and I'll lower the pushup count.

19                  So in these emails, this is -- I'll just -- let's

20    talk -- just talk to it as a concept.       The idea that

21    Mr. Wilson is concerned and understands workout routines is

22    something that's important to consider, right?

23    A      I'm sorry.     You trailed off at the end.   I didn't hear

24    you.

25    Q      It's something that's important to consider when looking

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 91 of 238 PageID #: 16286
                                                                         308
                      B. Shapiro - Cross/Cohen

 1    at he hygiene, his workouts, right?

 2    A    These emails were sent when he was in jail, correct?

 3    Q    Correct.

 4    A    So there's not much else to do as far as working out than

 5    to workout in jail, correct.

 6    Q    Correct.    But he is also giving advice to others on the

 7    workout routine?

 8    A    But you don't know whether he created the workout routine

 9    or he copied somebody else's.

10    Q    I think it's clear in this instance, he copied.       That's

11    very difficult to work come up with a workout routine, right?

12    A    I would think so.

13    Q    But understanding that different workout routines apply

14    in different situations is something that's a little bit more

15    difficult, right?

16    A    Meaning that boys and girls are different?

17    Q    That somebody might not be able to handle the amount of

18    workout that another person could.

19    A    So, yes, if he offered to modify it for someone he didn't

20    think would be able to do the whole workout.

21    Q    That's important to consider, right?

22    A    No.

23    Q    It's not important to you?

24    A    I don't think so.    I don't think it reflects any higher

25    skills.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 92 of 238 PageID #: 16287
                                                                         309
                      B. Shapiro - Cross/Cohen

 1    Q     Okay.   Well, let's talk about you know, I think we have

 2    got enough with this delay in personal grooming.       Let's move

 3    on.   We're getting long here.

 4                 Let's talk about a leisure for a moment.    You said

 5    leisure -- in there you said that Mr. Wilson never played

 6    cards, right?

 7    A     That was in one of the reports, correct.

 8    Q     Okay.   And he never played games and you cited an example

 9    of Monopoly, right?

10    A     That was from the records, yes.

11    Q     And the reason for citing is that is because games that

12    require patience or strategy might be more difficult for

13    someone with mild mental retardation, correct?

14    A     Yes.

15    Q     And in Monopoly, you have to strategize about what

16    properties to purchase, right?

17    A     Correct.

18    Q     And you have to budget money, right?

19    A     Correct.

20    Q     And a game that you uses strategy is a game that would

21    require a higher level of intellectual functioning, right?

22    A     Correct.

23    Q     You're aware -- when you formed your opinion, you didn't

24    consider the fact that Mr. Wilson played chess early on?        Did

25    you consider that fact?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 93 of 238 PageID #: 16288
                                                                         310
                      B. Shapiro - Cross/Cohen

 1    A    I didn't find that in the records.

 2    Q    You didn't find at Brookwood that he played chess?

 3    A    That's correct.     I did not find that in the records.

 4    Q    Okay.    Well let me show you -- so you didn't find it.

 5    Had you found it, he clearly wouldn't have a deficit or

 6    wouldn't -- it would show that your statement that he couldn't

 7    play card games would be pointless, right?

 8    A    (No response.)

 9    Q    In other words, chess requires a much higher level of

10    thinking than card games do, right?

11    A    Assuming the level of play, because there are all kinds

12    of chess players that you're probably aware of.

13    Q    But chess is probably one of the highest-level thinking

14    games, correct?

15    A    Correct.

16    Q    And --

17    A    To play it well, it is, yes.

18    Q    If you play it well.

19               Okay.   Well this is Government Exhibit -- or sorry,

20    Exhibit C-4 that is already in evidence contains many words.

21               MS. COHEN:    Just show GOV 0030 -- we don't have

22    the -- do we have this in here, Veronica?

23               MS. RAMIREZ:    Yes?

24               MS. COHEN:    3235?

25               MS. RAMIREZ:    Yes.

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 94 of 238 PageID #: 16289
                                                                         311
                      B. Shapiro - Cross/Cohen

 1    BY MS. COHEN:

 2    Q    And by the way, there are many records in Brookwood that

 3    indicate the same thing.     I won't go through all of them, but

 4    you can see that, "The youth, Mr. Wilson, manages his free

 5    time by playing chess, table games and watching TV."       You see

 6    that?

 7    A    I see that, yes.

 8    Q    And in fact, since you weren't aware that he did that at

 9    Brookwood, you were not aware that he continued to play chess

10    regularly at the MDC?    You weren't aware of that?

11    A    Correct.    I'm not aware of it.

12    Q    Because you didn't think it was important, no one from

13    the defense actually interviewed any inmates to see how

14    Mr. Wilson was interacting with others, what he was doing in

15    prison, correct.

16    A    That's correct.

17    Q    All right.    Now, let's talk about community resources,

18    because I know you said that was a big one where you see a

19    deficit there.    And the reason you see a deficit in community

20    resources is because Mr. Wilson could not use public

21    transportation.    He could not shop.    He could not use an ATM,

22    and he did not know that checks required endorsements, right?

23    A    Correct.    Those were all in the records.

24    Q    Now, basically, use of community resources, that's

25    defined as something like traveling in the community, grocery

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 95 of 238 PageID #: 16290
                                                                         312
                      B. Shapiro - Cross/Cohen

 1    and general shopping at stores and markets, purchasing or

 2    obtaining services from other community businesses, right?

 3    Like gas stations or repair shops.      Attending church or

 4    synagog, and using public facilities like libraries, parks

 5    recreational areas, streets and sidewalks, attending theaters

 6    and visiting other cultural places and events, right?        That's

 7    the definition in the DSM?

 8    A    Right.

 9    Q    You agree that Mr. Wilson, in his background, where he

10    grew up, was not going to the theater, correct?

11    A    Correct.

12    Q    He wasn't buying theater tickets, correct?

13    A    Correct.

14    Q    Those types of things would not apply in his situation,

15    right?

16    A    Correct.

17    Q    And we have to look at what his situation was to

18    determine if he was using the resources that were available to

19    him, correct?

20    A    (No response.)

21    Q    Want me to rephrase that?

22    A    Yeah.    Could you.

23    Q    We talked about this before.      If you didn't have any

24    money, whether or not you had a bank account would be

25    irrelevant, right?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 96 of 238 PageID #: 16291
                                                                         313
                      B. Shapiro - Cross/Cohen

 1    A    Right.

 2    Q    You have to look at the person, where they came and where

 3    they group up, right?

 4    A    Correct.

 5    Q    It is also important --

 6               MS. COHEN:    Let me mark this.   We have just a chart,

 7    Your Honor, that that we showed defense counsel already, just

 8    a demonstrative that we're going to mark as Government Exhibit

 9    51, and I've an extra copy for the Court, as well. (Handing.)

10               THE COURT:    This is a demonstrative exhibit?

11               MS. COHEN:    Yes.

12               THE COURT:    It compiles information from different

13    places?

14               MS. COHEN:    Correct.

15               THE COURT:    Any objection?

16               MR. BURT:    No objection, Your Honor.

17               THE COURT:    All right.   Government Exhibit 51 is

18    received in evidence, without objection.

19               (Government's Exhibit 51 received in evidence.)

20               MS. COHEN:    I can come up, since we don't have a

21    jury to block.

22    BY MS. COHEN:

23    Q    So there is a time line of Mr. Wilson's life from the age

24    of ten years old in 1992, and it goes through the present.

25    The green is where Mr. Wilson was incarcerated.       Okay.   I

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 97 of 238 PageID #: 16292
                                                                         314
                      B. Shapiro - Cross/Cohen

 1    mean, this is the Brookwood, but of course, I mean, that's a

 2    jail for juveniles.

 3    A    (Nods head affirmatively.)

 4    Q    And again, here so he was 19 -- January of 1998, to

 5    November 1999, then he went back in at Rikers in April 2000,

 6    got out in March 2001.    A short time in September of 2002 to

 7    November of 2002, then of course in 2003.

 8                So while it is difficult sometimes to look at a

 9    person what they're doing in prison for the reasons you

10    explained, when we have such limited time here, we also have

11    to consider that much of Mr. Wilson's life has been in prison,

12    correct?

13    A    Correct.

14    Q    And in fact, when we even judge getting out of Brookwood

15    in this small period of time, that would be when Mr. Wilson

16    was living with his cousin, Vanessa, that would be a time when

17    Mr. Wilson didn't ever any money, right?       I mean, he just got

18    out juvenile prison?

19    A    (Nods head affirmatively.)

20    Q    He was institutionalized for a year, right?

21    A    (Nods head affirmatively.)

22    Q    You have to --

23    A    Yes.

24    Q    -- do and answer.

25    A    I'm sorry.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 98 of 238 PageID #: 16293
                                                                         315
                      B. Shapiro - Cross/Cohen

 1    Q    So those things are a little bit more difficult, things

 2    like community resources.     Even some of the -- the hygiene,

 3    but even some of the self-care, right, because somebody who's

 4    going in and out of prison might have difficulty getting

 5    themselves back on their feet, even someone without mild

 6    mental retardation, right?

 7    A    So the question is when people who have mild mental

 8    retardation have difficulty integrating into the greater

 9    society after discharge from an institution?

10    Q    No.    My question is anybody who is institutionalized and

11    gets out of an institution, there are things that are more

12    difficult to do, right?    Because you've got to get back on

13    your feet, right?

14    A    Correct.

15    Q    Okay.   Now, so while you say that Mr. Wilson could not

16    use an ATM, he certainly can use a computer, right?

17    A    At the current time, yes.

18    Q    And he avails himself of Facebook, despite the fact that

19    he can't actually get on Facebook, right?

20    A    At the present time, yes.

21    Q    Now, you also talk about shopping, right?

22    A    Yes.

23    Q    You don't -- you said that he could not shop?

24    A    Correct.

25    Q    Correct.    Now, again, we only have a limited time here to

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 99 of 238 PageID #: 16294
                                                                         316
                      B. Shapiro - Cross/Cohen

 1    look at when Mr. Wilson would actually do shopping, right?

 2    A    Well, this was at the time before he was 15.

 3    Q    I mean, what instance are you referring to specifically?

 4    A    I think it was his aunt saying that she couldn't trust

 5    him to go to the store to buy things.

 6               It was another incident that was talked about.       I'm

 7    sorry.   I don't remember the age of it.      But they said if they

 8    sent him to the store to buy Wonder Bread and they didn't have

 9    Wonder Bread at the store, that he didn't know what to do and

10    came back with nothing.

11    Q    Right.   That was Monica Cooke, right?

12    A    Right.

13    Q    That was when he was much older, correct?

14    A    Yeah.

15    Q    Are you aware that at some point while he was at MDC, I

16    don't exactly know when, Mr. Wilson had maybe he still has

17    Dolce examine Gobana sunglasses?     Are you wear of that?

18    A    I'm sorry.    I didn't hear.

19    Q    Dolce and Gobana?     It's a designer.     Do you know?

20    A    No knowledge.

21    Q    I guess you don't have any daughters.       It's a very

22    expensive designer.

23               In -- let's look at Government Exhibit 5913 --

24    sorry, Bates number 5913 --

25               MS. COHEN:    -- which is now being marked as

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 100 of 238 PageID #: 16295
                                                                          317
                      B. Shapiro - Cross/Cohen

  1    Government Exhibit 15. (Handing.)      This is another email.

  2                THE COURT:    Thank you.

  3                Any objection to 15?

  4                MR. BURT:    No, Your Honor.

  5                THE COURT:    Government Exhibit 15 is received in

  6    evidence, without objection.

  7                (Government's Exhibit 15 received in evidence.)

  8    BY MS. COHEN:

  9    Q    Okay.   Let's look at the top email here.     This was an

10     email from Mr. Wilson to his sister, DePetra, and he says,

11     "Here is something for you to give to mommy for my glasses, so

12     it won't cost that much. (Denny Optical.com)"

13                 So in this instance, Mr. Wilson is recognizing that

14     there are places to shop for things that cost more money and

15     get bargains at them, right?

16     A    I can't make that conclusion based on what you had

17     provided me.

18     Q    Okay.   But he's giving his sister a place to go to get

19     his glasses, right?

20     A    Correct.

21     Q    Okay.   Now, in another instance, going -- this is Bates

22     number --

23     A    But the key question is, would he have been able to go to

24     this place himself, pay for the glasses and realize that he

25     got the right amount of money back and be able to choose from

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 101 of 238 PageID #: 16296
                                                                          318
                      B. Shapiro - Cross/Cohen

  1    a variety of different frames to decide on which one he liked

  2    best and which was the best buy.      That's probably more what I

  3    mean when I'm talking about shopping.

  4    Q    Right.

  5    A    Rather than just saying, I have a need.      Meet my need.

  6    Q    And it's difficult for us to really know this, right?

  7    Because -- I'm sorry.    Withdrawn.

  8               It's difficult to know this for sure what Mr.

  9    Wilson's capabilities were in shopping because we have a

10     limited time in his life where we can look at that, right?

11     A    But his shopping abilities were not even those of

12     somebody -- even at a younger age were not those of somebody

13     who was of similar age.

14     Q    But in Mr. Wilson's background, we also have to consider

15     the fact that he didn't have any money growing up, right?

16     A    He did not have any money growing up, I assume.       Correct.

17     Q    Right.   He wasn't going out, buying himself a bunch of

18     clothes whenever he wanted.    He didn't have the resources,

19     correct?

20     A    Correct.

21     Q    So we're really relying on Monica Cooke's statement,

22     right?

23     A    Primarily.

24     Q    And his Aunt Lou, who said something about she couldn't

25     trust him with shopping, right?     Of course, we don't know what

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 102 of 238 PageID #: 16297
                                                                          319
                      B. Shapiro - Cross/Cohen

  1    trust means, right?

  2    A    (Nods head affirmatively.)

  3    Q    We don't know what she meant by --

  4    A    You don't know the context in which the statement was

  5    made, correct.

  6                MS. COHEN:    Okay.   So Government Exhibit 16 --

  7                THE COURT:    All right.   Any objection to 16?

  8                MR. BURT:    No, Your Honor.

  9                THE COURT:    Government Exhibit 16 is received in

10     evidence, without objection.

11                 (Government's Exhibit 16 received in evidence.)

12     BY MS. COHEN:

13     Q    In this email, Dr. Shapiro, Mr. Wilson tells his sister

14     to go to -- you can see at the bottom -- to this best -- he

15     spells it wrong -- Best College Deals.com, to get help with

16     Daphne and her pick of college.

17                 Now, Mr. Wilson has a niece, Daphne, DePetra's

18     daughter.   I'm not sure if you're you aware of that,

19     Dr. Shapiro?

20     A    (No response.)

21     Q    Dr. Shapiro?

22     A    I'm sorry.   I was reading it.

23     Q    Oh, I'm sorry.      I just put this into the context.    This

24     is Mr. Wilson corresponding with his sister about Mr. Wilson's

25     niece, Daphne.

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 103 of 238 PageID #: 16298
                                                                          320
                      B. Shapiro - Cross/Cohen

  1               So the fact that Mr. Wilson is sort of touching

  2    here -- I mean, again, we have limited time, but he's thinking

  3    about of a place for her to go and look for colleges, so that

  4    she can get the best deal on a college, right?

  5    A    (Peruses document.) I can't make that conclusion.       Again,

  6    you are putting your perspective on it because of the website.

  7    It may just as well have been this is a place to look for

  8    colleges, period.

  9    Q    Okay.   Well, actually, we don't really have to guess

10     here, because DePetra emails back and asked him, "Hey, you

11     mean best college deals?    Where did you hear of this website?

12     I will forward the information to her."

13                So, in other words, she obviously went on or thinks

14     that she's going to provide this information to her daughter,

15     so that he can be helping her in selecting colleges, right?

16     A    Correct.

17     Q    Okay.   Let's move onto -- let's just touch on home

18     living, working -- health, safety, health and safety.       Okay.

19     Home living is a very difficult area to the look at Mr. Wilson

20     in, right, because of his lack of living in a home, correct?

21     A    Correct.

22     Q    I mean, we have for really from age ten to 15, I mean,

23     well, you know, a young age, but we were talking about a

24     making a home and being able to do the things that require

25     home living, you've got to be a little bit older, right?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 104 of 238 PageID #: 16299
                                                                          321
                      B. Shapiro - Cross/Cohen

  1    A     Well, the information was primarily collected from when

  2    he was a child.

  3    Q     Right.    But there's certain time when even a child cannot

  4    cook by themselves, right?

  5    A     Correct.

  6    Q     And they can't use the stove, right?

  7    A     Right.

  8    Q     At least you wouldn't want them to?

  9    A     If you're saying at three or four, we could make note of

10     it.

11     Q     Okay.    But here, you mention that Mr. Wilson learned to

12     make a bed at a later age.    Do you remember that?     Or you said

13     that in your report?    I'm sorry.

14     A     Yes.

15     Q     And you would you agree that making a bed might be not

16     the first thing that was happening in these places where

17     Mr. Wilson was living, right?

18     A     I think that was with Ms. Cooke at the time who made that

19     statement.

20     Q     Okay.    And Ms. Cooke was much later in his life before he

21     went into prison, right?

22     A     Yes.

23     Q     And we know that Mr. Wilson now keeps his cell

24     immaculate, correct?    He is the cleanest on the unit, right?

25     A     Yes.

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 105 of 238 PageID #: 16300
                                                                          322
                      B. Shapiro - Cross/Cohen

  1    Q    So he could not maintain a home, is another indicator you

  2    said you put down, right?

  3    A    Correct.

  4    Q    But again, we have to look at the fact that Mr. Wilson

  5    didn't have much time in his life to really make a home,

  6    correct?

  7    A    Correct.

  8    Q    So let's go to work for a moment, and you also -- citing

  9    the fact that Wilson -- Mr. Wilson could not fill out a job

10     application by himself, that his longest work experience was

11     three days, right?

12     A    Correct.

13     Q    And that he had no consistent work history, right?

14     A    His total work experience was one day and three days.

15     Q    Right.

16     A    That's not a consistent work experience.

17     Q    So it's very difficult, again, to evaluate Mr. Wilson in

18     this context, because let's face it, he went into a juvenile

19     facility at age 15, and wasn't very much time for him to work,

20     correct?

21     A    Well, he did so poorly at one of the jobs, that after one

22     day, they asked him not to come back.     The other one is after

23     three days, they did not ask him to come back.

24                So he did not possess the work skills necessary to

25     be successful.   It may not just be to work schedule -- use

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 106 of 238 PageID #: 16301
                                                                          323
                      B. Shapiro - Cross/Cohen

  1    that in the broad sense of work skills, to be able to be

  2    successful at the positions.

  3    Q    And that information came from Monica Cooke, is that

  4    right?

  5    A    No, there were a couple of other areas where they spoke

  6    to his total Social Security earnings being $338, and I made

  7    note of the fact that his longest work experience was three

  8    days.

  9    Q    Okay.   And no one went to speak with any of these people

10     that Mr. Wilson worked with, right?

11     A    Correct.

12     Q    Now, Mr. Wilson --

13     A    The other part of that, though, in terms of work is that

14     he could not fill out a job application.      So not only did he

15     lack the work -- the skills necessary to be successful at

16     work, he also lacked the skills that were necessary to -- as

17     preliminary to working.

18                And there were a couple of reports.     I think one was

19     with his sister the other again was with Ms.      Cooke.   In one

20     area, where he was in prevocational program, and when they

21     realized that he couldn't fill to the job application, they

22     put him into a program to teach him how to fill out job

23     applications.

24     Q    You're actually talking about when he got out of

25     Brookwood with Vanessa Linley, correct?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 107 of 238 PageID #: 16302
                                                                          324
                      B. Shapiro - Cross/Cohen

  1    A    Correct.

  2    Q    Someone who has a severe learning disability would also

  3    have trouble filling out a job application, correct?

  4    A    Potentially.

  5    Q    Potentially?

  6    A    We've already stipulated that's the case.

  7    Q    Right.    Now, someone who has been in -- for the first

  8    time the filling out a job application is a little bit more

  9    difficult, correct?

10     A    Correct.

11     Q    Especially when they've been incarcerated?

12     A    I think this first job application was filled out before

13     he was incarcerated.

14     Q    With Vanessa Linley, that job application was filled out

15     when he got out of Brookwood?

16     A    Okay.    You're calling Brookwood incarceration?

17     Q    Have you seen Brookwood?

18     A    No.

19     Q    Well, there's barbed wire in Brookwood.

20     A    Okay.

21     Q    You're not allowed to leave Brookwood.      Are you aware of

22     that?

23     A    Yes.

24     Q    So we don't really know, again, if Mr. Wilson's lack of

25     work was effort or he could not literally do the job, right?

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 108 of 238 PageID #: 16303
                                                                          325
                      B. Shapiro - Cross/Cohen

  1    A    He lacked the work skills to be able to be successful at

  2    the work.

  3    Q    Were you aware of specific skills he lacked?

  4    A    No.

  5    Q    Now, he did, though, work in a non -- he did illegal

  6    work, correct?

  7    A    He did illegal activity.      I'm not sure of his employment.

  8    Q    I mean, selling drugs would be illegal work, correct?

  9    A    Selling drugs would be an illegal activity.       I'm not sure

10     I would call it work.

11     Q    You can make money from drugs, right?

12     A    Correct.

13     Q    In fact, some people, that's their entire -- that's how

14     they make money, right?

15     A    Correct.

16     Q    Okay.   Now, okay let's go onto --

17                 THE COURT:    About how much longer do you have with

18     this witness?

19                 MS. COHEN:    Oh, sorry, Your Honor.   I only have --

20     and I went a little bit longer than I thought.      I have one,

21     two quick categories -- three quick categories to just touch

22     on, one phone call, and I'm done.

23                 THE COURT:    In terms of days, hours --

24                 MS. COHEN:    Time?

25                 THE COURT:    -- weeks?   I'd like something time-wise?

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 109 of 238 PageID #: 16304
                                                                          326
                      B. Shapiro - Cross/Cohen

  1               MS. COHEN:   Sorry.

  2               THE COURT:   Not category-wise.

  3               MS. COHEN:   About 15 minutes.

  4               THE COURT:   All right.   We should take a lunch

  5    break.   We'll take an hour for lunch.

  6               MS. COHEN:   Okay.    Thank you, Your Honor.

  7               THE COURT:   All right.

  8               THE WITNESS:   Thank you, Your Honor.

  9               THE COURT:   Thank you.

10                (Lunch recess.)

11                (Continued on the next page.)

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 110 of 238 PageID #: 16305
                                                                          327
                      B. Shapiro - Cross/Cohen

  1               (The Honorable Nicholas G. Garaufis takes the bench

  2    at 2:10 p.m.)

  3               THE COURT:   Please be seated.

  4               (Defendant present in open court.)

  5               THE COURT:   We'll continue with the

  6    cross-examination of the witness.      The witness is reminded

  7    that he is still under oath.

  8               Ms. Cohen, you may continue.

  9    CONTINUED CROSS-EXAMINATION

10     BY MS. COHEN

11     Q    Dr. Shapiro, just prior to when we broke, I was looking

12     at many E-mails.   And I just want to show you one last E-mail.

13     This is Bates-numbered 91 -- excuse me.      This is

14     Bates-numbered 6132, and it's been marked and admitted as

15     Government Exhibit 37.    (Handing.)

16                THE COURT:   Exhibit 37.    Any objection?

17                MR. BURT:    No, your Honor.

18                THE COURT:   Government Exhibit 37 received in

19     evidence without objection.

20                (Government's Exhibit 37 received in evidence.)

21     BY MS. COHEN

22     Q    And, Dr. Shapiro, you're aware that Mr. Wilson has been

23     working on publishing a book, correct?

24     A    He told me that he wanted to become a book publisher.

25     Q    He told you when you met with him?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 111 of 238 PageID #: 16306
                                                                          328
                      B. Shapiro - Cross/Cohen

  1    A    Correct.

  2    Q    And you're aware that -- by the way, when we were talking

  3    about the literacy, I just want to make sure that we're

  4    specific here.

  5                You said in your report that Mr. Wilson is

  6    illiterate, right?

  7    A    Yes.

  8    Q    But there's a difference between being illiterate and

  9    what you were describing as functionally illiterate; is that

10     correct?

11     A    There are -- just as there are degrees of adaptive

12     behavior, there are degrees of literacy, yes.      So there is

13     literacy that will enable you to read the Daily News and not

14     the New York Times.    And there is literacy that would then

15     deal with things like reading and understanding a lease.

16     Q    But the term "being illiterate" is someone who cannot

17     read, correct?

18     A    No.

19     Q    So there is --

20     A    I defined it as somebody who could not read for

21     information.

22     Q    Isn't there also a term "functionally illiterate"?

23     A    Yeah.    But it's not a meaningful term.

24     Q    So you put everybody under the term of "illiterate"; is

25     that right?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 112 of 238 PageID #: 16307
                                                                          329
                      B. Shapiro - Cross/Cohen

  1    A    Right.

  2    Q    Now, in this E-mail -- let's focus here -- in this E-mail

  3    Mr. Wilson is talking with a woman who's handling the

  4    publishing of his book for him.     And he writes, "It's a lot

  5    that need to be done, like copyright the books and agreements

  6    as far as the percent of income going to them and to us, the

  7    publisher, then you and me.    You know the legal stuff, as you

  8    said.   That's about four ways.    So let me make it rough draft

  9    of everything."

10                In this E-mail Mr. Wilson is talking about the

11     logistics about how the book is going to be published, right?

12     A    He's talking not about how the book is going to be

13     published but how, after the book is accepted, that they might

14     decide and enter into a legal agreement with the publisher to

15     be able to decide how to ensure that he has copyright, because

16     he's probably heard that's important to do, and how to split

17     the money from -- the proceeds from the book.

18     Q    Right.

19                And publishing a book, that takes quite a bit of

20     initiative, right?

21     A    There are many manuscripts that are submitted and not

22     many that are accepted, so the answer to your question is

23     probably yes.

24     Q    It takes creativity, correct?

25     A    Creativity to submit a manuscript?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 113 of 238 PageID #: 16308
                                                                          330
                      B. Shapiro - Cross/Cohen

  1    Q    To write a book.

  2    A    Yes.

  3    Q    And in this instance, Mr. Wilson is talking about, as I

  4    said, the logistics, which involves a certain sense of

  5    planning, correct?

  6    A    I'm sorry.   I didn't hear the question.

  7    Q    It involves a certain sense of planning, right?

  8    A    What's the word?    Sent?

  9    Q    Sense of planning.

10     A    Sense of planning.

11                 It requires to set up a goal.    I'm not sure how much

12     planning is evidenced in this E-mail.

13     Q    But the concept of writing a book and getting it

14     published requires a person to think into the future, right?

15     A    Yes.

16     Q    All right.

17                 And by the way, a lot of these people in which you

18     obtain the adaptive-functioning information from -- withdrawn.

19                 You obtained the adaptive functioning from the

20     experts' reports, correct?

21     A    And reviewing the records that were recorded in

22     real-time.

23     Q    Right.

24                 And the people who provided the experts with the

25     information were Mr. Wilson's family members, right, and

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 114 of 238 PageID #: 16309
                                                                          331
                      B. Shapiro - Cross/Cohen

  1    his -- were his family members and former girlfriend, right?

  2    A    His very extended family, yes.

  3    Q    And, in fact, you talked a lot about Monica Cook, right?

  4    A    Yes.

  5    Q    And Monica Cook -- I just double-checked the records

  6    during the break -- was actually his girlfriend of 19 -- when

  7    he was 19, he began dating her?

  8    A    Okay.    Yes.

  9    Q    Now, Ms. Cook and the other family members obviously have

10     an interest or have a bias here, correct?

11     A    Most of the information that I got from Monica -- let me

12     retract that.   Potentially.

13     Q    Right.

14                 I mean, the people that you spoke to care about

15     Mr. Wilson, right?

16     A    Yes.

17     Q    And they understand the stakes that are present here,

18     correct?

19     A    I don't know.     I assume so.

20     Q    Okay.

21                 Now, I just want to play one last phone call.     So

22     before we play it, I'm just going to give you a little

23     background, because I know it's hard to hear.      In this

24     conversation, Mr. Wilson is talking to the woman who I

25     mentioned before who believed that her son might be

                            JUDI JOHNSON, RPR, CRR, CLR
                              Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 115 of 238 PageID #: 16310
                                                                          332
                      B. Shapiro - Cross/Cohen

  1    Mr. Wilson's son.

  2               So with that, I'd like to play this one last phone

  3    call, ask you a few questions.

  4               THE COURT:   All right.    What is -- that's on

  5    Disk 50?

  6               MS. COHEN:   Fifty.

  7               THE COURT:   Government Exhibit 50?    And the date of

  8    the phone call is --

  9               MS. COHEN:   May 7th, 2012, your Honor.     And,

10     actually, there are two phone calls.      They go right after

11     another in quick succession.

12                THE COURT:   So there are two phone calls, one after

13     the other.

14                Doctor, would you like to step down and listen?

15                THE WITNESS:   I would.    Thank you so much.

16                THE COURT:   Please do.

17                (An audio recording was played.)

18                MS. COHEN:   This follows immediately after.       It's

19     very quick.

20                (An audio recording was played.)

21                MS. COHEN:   You can stop -- oh, no, sorry.     Keep

22     going.

23                (Audio recording resumed.)

24                THE COURT:   Is that it?

25                MS. COHEN:   Yes.

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 116 of 238 PageID #: 16311
                                                                          333
                      B. Shapiro - Cross/Cohen

  1    BY MS. COHEN

  2    Q      Dr. Shapiro, that was a lengthy conversation, right?

  3    A      It was a lot to process on the first time, yes.

  4    Q      Right.

  5                  During that conversation -- and the reason I'm

  6    playing this now is because we've been talking about all of

  7    these adaptive-functioning aspects, right?      Or domains.

  8    Sorry.

  9    A      You've been talking about it; and I've been responding,

10     yes.

11     Q      Right.

12                   And we talked about reasoning, right, today?

13     A      Yes.

14     Q      And reasoning -- in this conversation, we saw a lot of

15     reason, right?     Reasoning.   Let me withdraw that.

16                   When Mr. Wilson is telling this person to go take a

17     test, he reasons with her, right?

18     A      I think he orders her.    I'm not sure there's that much

19     reasoning that went on.     If you listen to the tape, the

20     efficiency of the communication is not very good.       There are a

21     lot of words being used and not much communication being

22     spoken.

23                   Basically, he's asking her to take the test -- I

24     understand he's asking her to take the test in order to ensure

25     that this child -- I have no idea how old this child is -- is

                            JUDI JOHNSON, RPR, CRR, CLR
                              Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 117 of 238 PageID #: 16312
                                                                          334
                      B. Shapiro - Cross/Cohen

  1    his and not somebody else's.

  2    Q    Right.

  3    A    Which is the typical plot on everyday TV as far as Maury

  4    Povich or Montell Williams.    I forget which one of those two

  5    gentlemen runs a daytime show that just specializes in folks'

  6    getting paternity tests.

  7               And, in fact, he did not know the name of the test.

  8    Q    Okay.

  9               Well, let's not talk about the subject.      I mean,

10     whether or not to get a test or not to get a test is pretty

11     simple, as you said.

12                But the way in which Mr. Wilson tries to convince

13     this woman goes like this:    He tells her take the test, right?

14     And then he backs off at a certain point, correct?

15     A    He seemed to back off, and then he came back at her

16     again.   And finally they disconnected as far as the first

17     phone call; and then he began talking to somebody else, who is

18     not privy to the first conversation, and restated the same

19     stance as well.

20                I thought it interesting in the second call that he

21     was talking about taking custody of the child, if it was his,

22     while he was in jail; and that raised the question in terms of

23     how well that represents forward thinking and self-direction.

24     Q    Well, he was asking his sister, in fact, to take custody,

25     correct?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 118 of 238 PageID #: 16313
                                                                          335
                      B. Shapiro - Cross/Cohen

  1    A    No.    He said, "I'll take custody," is what I thought I

  2    heard him say.

  3    Q    We can go back.     He actually asks his sister to take

  4    custody.    And she says, "Well, he's 9 years old.    Why would he

  5    want to go with me?"

  6    A    I didn't hear that part.

  7    Q    Do you want me to replay it?

  8    A    Sure.

  9                THE WITNESS:   Your Honor, is it okay?

10                 THE COURT:   Yes, you may.

11                 (Witness moves closer to the recording.)

12                 (Audio recording played.)

13     BY MS. COHEN

14     Q    Okay.

15                 So, Dr. Shapiro, you can hear that he's asking his

16     sister to take custody of this child, right?

17     A    If that's who he's talking to, yes.

18     Q    Right.    The woman he's talking to, right.

19                 And he talks about this boy -- "Don't play with this

20     boy's mind," right?

21     A    Yes.

22     Q    And he's concerned about this boy's future, correct?

23     A    Yes.

24     Q    And he's telling her -- while he does tell her "Get this

25     test," at some point he backs off, right?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 119 of 238 PageID #: 16314
                                                                          336
                      B. Shapiro - Cross/Cohen

  1    A    Yes.

  2    Q    And he says -- he gives her, really, a choice:       "Look,

  3    you don't want to get the test.     That's up to you.    But then

  4    don't come back, trying to say that this is my son.       Let's

  5    stop talking about it, then."     Right?

  6    A    That's what he said, yes.

  7    Q    And he makes a judgment about her, correct, about her

  8    mental state?

  9    A    Yes.

10     Q    Yes.

11                 In fact, he says that she has mental problems,

12     right?

13     A    Yes.

14     Q    And he also uses some problem solving here, right?       I

15     mean he says -- as I said, he gives her this choice:       "Either

16     take the test or move on and stop talking about it."       Right?

17     A    Yes.

18     Q    And he certainly is not being -- not showing that he's a

19     follower in this conversation, right?

20     A    In this particular conversation?

21     Q    Right.

22     A    Yes.

23     Q    He's not showing that he's gullible, correct?

24     A    He's not showing that he's --

25     Q    That he's gullible.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 120 of 238 PageID #: 16315
                                                                          337
                      B. Shapiro - Cross/Cohen

  1    A    I think that he is advocating from a point of view in

  2    this conversation.    I wouldn't say anything about gullibility

  3    or not gullibility based on the conversation.

  4    Q    Well, someone who's gullible might more likely be willing

  5    to believe that a child could be theirs, instead of going and

  6    getting the proof, right?

  7    A    The problem I'm having with the question is you can be

  8    gullible and still -- in certain circumstances and not

  9    gullible in other circumstances.     So it isn't something that's

10     pervasive in all behaviors and all times.      And that's what I'm

11     having difficulty with in terms of answering your question

12     directly.

13     Q    Okay.

14                 But just in general, somebody who's gullible is more

15     likely to believe something versus somebody that is not

16     gullible?

17     A    That is correct.

18     Q    And all of these things -- just to close the loop here,

19     going back to your original slide when you talked about a

20     general mental ability includes reasoning, planning, solving

21     problems, thinking abstractly, comprehending complex ideas,

22     learning quickly and learning from experience -- that was in

23     your slide, right?

24     A    Yes.

25                 MS. COHEN:   Thank you, Your Honor.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 121 of 238 PageID #: 16316
                                                                          338
                      B. Shapiro - Cross/Cohen

  1               And thank you, Dr. Shapiro.

  2               I have no further questions.

  3               THE COURT:   Redirect?

  4    REDIRECT EXAMINATION

  5    BY MR. BURT

  6    Q    Dr. Shapiro, was there anything in that nine -- almost

  7    nine hours of cross-examination that changed your opinion

  8    regarding whether Mr. Wilson is intellectually disabled?

  9    A    No.

10     Q    Do you still believe he has a significant deficit or

11     limitation in intellectual functioning?

12     A    I do.

13     Q    Do you still believe he has a significant deficit in

14     adaptive behavior, as it's defined within the DSM and the --

15     the green book?

16     A    And relative to the time of the crime, yes.

17     Q    And do you still believe that his developmental

18     disability originated before 18?

19     A    Yes, I do.

20     Q    Now, you were asked about a number things in that nine

21     hours.   And, of course, I'm not going to have time to go

22     through all of them; but I just want to hit a few of the

23     highlights.

24                She started with an implication that there was some

25     impropriety in you considering the opinions of other experts.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 122 of 238 PageID #: 16317
                                                                          339
                          B. Shapiro - Redirect/Burt

  1    How do you diagnose people with intellectual disabilities in

  2    your practice?

  3    A    In my practice I will draw upon history, usually from

  4    parents and their other caretakers and available records from

  5    school, previously evaluations, other people who have

  6    evaluated the child and have knowledge of the child or young

  7    person's behavior.

  8    Q    And what is the role of other experts in that process?

  9    A    Well, the other experts administer -- may administer

10     instruments that are used before coming to a conclusion

11     regarding the person's function.

12     Q    And do you operate as a multidisciplinary team in your

13     hospital when you diagnose intellectual disability?

14     A    Yes.

15     Q    So who typically is part of that team, and what input do

16     they give you in reaching a diagnostic opinion?

17     A    So, I may frequently work with a psychologist.       I also

18     frequently work with a speech-and-language pathologist; less

19     frequently work with an educator; depending on the child's

20     other needs, maybe working with an occupational or physical

21     therapy.

22     Q    All right.

23                 And in this case, a forensic case, you worked with a

24     number of different professionals to reach your opinion?

25     A    Correct.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 123 of 238 PageID #: 16318
                                                                          340
                          B. Shapiro - Redirect/Burt

  1    Q    Including a neuropsychologist, Dr. James?

  2    A    Yes.

  3    Q    Including a psychologist, Dr. Olley, who specializes in

  4    assessing adaptive behavior?

  5    A    Yes.

  6    Q    Including a neuropsychiatrist, Dr. George Woods, who

  7    specializes in neuropsychiatric issues?

  8    A    Yes.

  9    Q    Is there anything unusual about that approach; that is, a

10     multidisciplinary approach involving a neuropsychologist,

11     adaptive-behavior expert, a neuropsychiatrist?

12     A    I don't think -- I don't think it's unusual.       I think

13     we -- we share information, but come to our independent

14     conclusions.

15     Q    In fact, the green book that's in evidence at page 85

16     says, does it not, "Members of a variety of professions --

17     such as psychologists, physicians, diagnosticians, expert

18     educators, special education teachers, and social workers --

19     are frequently involved in the diagnosis, classification, and

20     provision of individualized supports s to persons with

21     intellectual disability."

22                 Eighty-five.

23     A    Yes.

24     Q    And it says, "These individuals are members of their

25     primary provision and may also be members of the unique

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 124 of 238 PageID #: 16319
                                                                          341
                          B. Shapiro - Redirect/Burt

  1    interdisciplinary group of ID professionals," end quote.

  2    A    Yes.

  3    Q    So is there anything at all unusual about you relying on

  4    other experts in the context of diagnosing intellectual

  5    disability in this case?

  6    A    I think it's the preferred method because this is a

  7    complicated case in a sense that early on not only were

  8    cognitive and adaptive-behavior issues but there were also

  9    issues relating to mental health that were at least comorbid

10     in the presentation of this child.     So I felt that would

11     probably make the most sense to have an interdisciplinary team

12     with this child.

13     Q    Now, have you some slides on comorbid diagnosis.       And I

14     don't think we covered it on direct examination.       But some

15     issues were raised about that, correct, in relation to

16     Dr. Drob's diagnosis a learning disability?

17     A    Yes.

18     Q    Do you recall that?

19     A    Yes.

20     Q    And if we could, let me draw your attention to one of

21     your slides that we didn't talk about.     And this is about

22     Slide 97.   This is Slide 97, right?

23     A    Yes.

24     Q    What does this reference in terms of the issue that was

25     raised on cross-examination about, well, didn't Dr. Drob

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 125 of 238 PageID #: 16320
                                                                          342
                          B. Shapiro - Redirect/Burt

  1    diagnosis him with a learning disability?

  2    A    I think the importance of this is that you can have

  3    intellectual disability and a learning disability at the same

  4    time.   Similarly, you can have attention deficit/hyperactivity

  5    disorder at the same time.    You can have major depression

  6    order at the same time.    You can have anxiety disorder at the

  7    same time.    You can have -- you can have almost anything else

  8    as a coexisting diagnosis.

  9                The -- both the DSM and the AAIDD say that if you

10     meet criteria for intellectual disability, you -- that

11     diagnosis should be made.

12     Q    Right.

13                 And it goes to an issue the judge raised the other

14     day, which is what is the difference between mental illness

15     and intellectual disability.     Do you recall that question?

16     A    Yes, I do.

17     Q    So is your answer that an individual can have both, a

18     mental illness and an intellectual disability --

19     A    Yes.

20     Q    -- or no?

21     A    Yes.

22     Q    And in that situation, where you see -- and can certain

23     mental illnesses have the same symptoms as intellectual

24     disability?

25     A    You may see behavioral disturbance arising primarily from

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 126 of 238 PageID #: 16321
                                                                          343
                          B. Shapiro - Redirect/Burt

  1    the intellectual disability, yes.

  2    Q    Okay.    And how about learning disability?    For instance,

  3    do learning disability and intellectual -- do learning

  4    disability and intellectual disability share common symptoms?

  5    A    Well, some of them are.     So, for example, learning

  6    disability and intellectual disability typically will both

  7    show academic underachievement.

  8    Q    And how do you distinguish the two?      Say you've got

  9    somebody who is academically underachieving -- underachieving.

10     How do you tell whether the person has an intellectual

11     disability, a learning disability, or has both?

12     A    The way that it is most common -- traditionally has been

13     most commonly used is looking at a severe discrepancy, which

14     is looking at a discrepancy between the person's potential and

15     their achievement.    That is to say, their potential for

16     learning typically is measured by IQ and their actual

17     achievement.

18                And it is possible to have a situation exist where

19     someone with intellectual disability doesn't achieve to the

20     level predicted by their IQ alone, in which I case then they

21     may have both conditions coexisting.

22     Q    And give me an example of where that would take place, in

23     terms of an example where someone would have a certain level

24     of IQ, would not be performing up?

25     A    Right.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 127 of 238 PageID #: 16322
                                                                          344
                          B. Shapiro - Redirect/Burt

  1               So let us say we have somebody who has a full-scale

  2    IQ after all the -- assuming it's done in the most pristine

  3    fashion -- of 69 --

  4    Q    Okay.

  5    A    -- and at age 15, they are only reading at about a mid

  6    first-grade level.    That would be a situation where somebody

  7    had a substantial discrepancy between the cognitive potential,

  8    as predicted by the IQ, and their reading ability.

  9    Q    And how about in this case?     Given the IQ numbers and the

10     evidence of academic deficits, is this a situation where both

11     the reading disability and intellectual disability are

12     properly diagnosed?

13     A    The reason why I'm hesitating is because while it's

14     probably true that that would be the case, I'd be more

15     inclined to class him as a person with intellectual disability

16     who has a superimposed language disorder because his language

17     is much lower functioning.

18     Q    Much lower functioning than you would expect given his --

19     A    For his IQ.

20     Q    Okay.

21                And does the fact --

22                MS. COHEN:   Objection, your Honor, to the diagnosis

23     of the superimposed learning disability.      It's not in this

24     witness' report.   And we weren't noticed that this was indeed

25     another diagnosis.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 128 of 238 PageID #: 16323
                                                                          345
                          B. Shapiro - Redirect/Burt

  1               THE COURT:   Is that a subject of your report?     Is

  2    that covered by your report?

  3               MR. BURT:    I don't think it's in his report; but

  4    it's responsive to the point made by Drob, which is Drob

  5    diagnosed him with a learning disability and, therefore, he

  6    don't diagnosis him with mental retardation.

  7               So what I'm asking this witness is, is that correct

  8    and if it's not correct, you know, how should he be

  9    classified.    But I think it's fair game given the cross,

10     whether it's in his report or not.     I think that point may go

11     to the weight of his opinion, but it doesn't rebut the point

12     that was -- it doesn't negate the right to address what was

13     raised in cross.

14                MS. COHEN:    Your Honor, Dr. Shapiro had all of

15     these records.    He's relying on Dr. Drob's score.     Nowhere in

16     his report does he diagnosis him with intellectual disability

17     and a superimposed learning disability.      He doesn't mention

18     it.   He doesn't explain away Dr. Drob's diagnosis.

19                And now, in response to what was brought out, he's

20     making another diagnosis.    So I'm objecting because it wasn't

21     in the report and it's now an opinion that's coming out later

22     that we didn't have notice of.     We in this case prepared for

23     one response.    It's just to counter the diagnosis of mental

24     retardation.

25                THE COURT:   Are we opening up a new avenue here

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 129 of 238 PageID #: 16324
                                                                          346
                          B. Shapiro - Redirect/Burt

  1    that's going to result in requiring additional expert

  2    testimony later on?      Because if we are, then I'd have some

  3    real concerns about it.

  4                MR. BURT:    I don't think we are, your Honor.   He

  5    does discuss at length, page 14 through 17, under a heading

  6    "Comorbidity," which is what we're talking about; in other

  7    words, is there more than one disorder that can be diagnosed

  8    here.    And that's all we're really addressing:    Is it just ID?

  9    Is it learning disability and ID?      And if so, you know, what

10     is the reason for that?

11                 MS. COHEN:   Again, Dr. Shapiro had all the

12     information, didn't indicate a diagnosis of this in his

13     report; and in addition, he's relying on this part now of the

14     DSM when there's another part of the DSM that specifically

15     talks about a diagnosis of mental retardation and learning

16     disability and when, in what circumstance, that possibly could

17     exist.   And that's a very, very, very rare circumstance.      So

18     that would go into a whole other can of worms here.

19                 THE COURT:   I hear you.

20                 Are you going to argue that, assuming the doctor

21     were to make a response indicating a learning disability, that

22     the defendant -- if it were not enough to base a decision

23     granting your motion on an intellectual disability, that a

24     combination of learning and intellectual disability would be

25     sufficient to result in granting your motion?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 130 of 238 PageID #: 16325
                                                                          347
                          B. Shapiro - Redirect/Burt

  1                MR. BURT:    No, we're not going to make that

  2    argument.

  3                THE COURT:   Then, why is it the subject of your

  4    redirect?

  5                MR. BURT:    Because an important point that was being

  6    sought to be made on cross was that since Dr. Drob diagnosed

  7    him only with a learning disability in a situation where he

  8    had an incentive to diagnosis him with mental retardation,

  9    therefore, Mr. Wilson does not have an intellectual

10     disability.

11                 And I'm trying to address that issue by showing that

12     just because he has a learning disability does not rule out

13     intellectual disability.      And that's really the whole point.

14     It's just responsive to the cross.

15                 So we're not doing this for the purpose of laying

16     the groundwork for some argument that a learning disability

17     alone or in combination with something else should lead to

18     barring the death penalty.      It's simply to respond.

19                 THE COURT:   I hear you.

20                 All right.   If the question is posed to the witness

21     as to whether the fact that there's been a finding of a

22     learning disability does or does not rule out intellectual

23     disability, would that be a problem for you?

24                 MS. COHEN:   Well, with this particular witness, yes,

25     because he doesn't address this in the report.      He makes a

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 131 of 238 PageID #: 16326
                                                                          348
                          B. Shapiro - Redirect/Burt

  1    diagnosis of mental retardation, doesn't address the fact of a

  2    learning disability.     Just says he's got mental retardation.

  3               And because we bring out on cross the fact that

  4    someone else said this when they were trying to find mental

  5    retardation, that he should now be allowed to come back and

  6    say, "Oh, hey, you know what.     He's got both of them, and

  7    that's the explanation" -- if they want to delve into that

  8    with -- and call Dr. Drob, I don't know -- I don't think it

  9    was in any of the reports, but that would be a different

10     issue.

11                THE COURT:   Well, the question --

12                MR. BURT:    He did raise that in his report, though,

13     because he says in page 2, "Mr. Wilson presents a complex

14     picture because from early childhood, his neurodevelopmental

15     dysfunction was diagnostically overshadowed by severe behavior

16     disturbance.   Comorbid conditions are not exclusions for

17     mental retardation, intellectual disability.      The diagnosis of

18     mental retardation does not require identifying the cause of

19     the disability.    In most cases, no specific causative factor

20     can be identified."

21                So he is addressing the very issue that I'm trying

22     to explore here.    There's no lack of notice as to this area.

23     They've been provided with it in the report.

24                THE COURT:   Well, there's no -- well, we can -- I'm

25     not running a school on the different kinds of disabilities.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 132 of 238 PageID #: 16327
                                                                          349
                          B. Shapiro - Redirect/Burt

  1    That's -- we can go on forever doing that.        I don't want to

  2    open the door to something that wasn't within the context

  3    of -- the overall context of this witness' report.        That's the

  4    point that's being made.

  5                I'll let you ask your question; but if you think

  6    this is opening the door to a new avenue of argument in terms

  7    of the types of disabilities, you are going down the wrong

  8    alley.   It's a dead end, as far as I am concerned.

  9                MR. BURT:    I understand that.

10                 THE COURT:   You got the picture?

11                 MR. BURT:    I got the picture.

12                 THE COURT:   Because I'm not sitting here until

13     New Year's Eve to watch the ball drop in this courtroom.

14                 MR. BURT:    Judge, we're going to be finished on or

15     before December 11th, as I've said in our scheduling order.

16                 THE COURT:   Not based on where we are this afternoon

17     at 3 p.m.   I'll tell you that.

18                 Go ahead.    Ask him your question.    I'll take it for

19     what it's worth.

20                 MR. BURT:    Thank you.

21     BY MR. BURT

22     Q    Do you remember the question?

23     A    No, sir.

24     Q    Which was, looking at the information that you reviewed

25     and the information that Dr. Drob had, is he correct in

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 133 of 238 PageID #: 16328
                                                                          350
                          B. Shapiro - Redirect/Burt

  1    diagnosing Mr. Wilson with a learning disability?

  2    A    I think it's incomplete.

  3    Q    And could you explain why?

  4    A    Because I think he also meets -- Mr. Wilson also meets

  5    criteria for intellectual disability.

  6    Q    Okay.   And does the fact that Dr. Drob just diagnosed him

  7    with a learning disability exclude the diagnosis of

  8    intellectual disability?

  9    A    No.

10     Q    What does the DSM say you do in a situation where you

11     have more than one disorder.

12                This is Slide 97, right?

13     A    Well, if you have more than one disorder, you make the

14     diagnosis of both disorders.

15     Q    What does that mean:    Should be made, there is no

16     exclusion criteria?    "Do not include an exclusion criteria."

17     What does that mean?

18     A    So in the DSM-IV, for example, they say that if you have

19     the diagnosis of autism, you cannot make the diagnosis of

20     ADHD.   What they're saying relative to intellectual disability

21     is that exclusion doesn't exist.     If you meet criteria for

22     intellectual disability -- or, as they term it, mental

23     retardation -- then you should use that diagnosis, and there's

24     no exclusion on it.

25     Q    Dr. Drob said in his report that he was diagnosing a

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 134 of 238 PageID #: 16329
                                                                          351
                          B. Shapiro - Redirect/Burt

  1    learning disability because Mr. Wilson's verbal performance

  2    was lower than his -- verbal IQ was lower than his performance

  3    IQ, correct?

  4    A    Yes, he said that.

  5    Q    Do you agree with that?

  6    A    No.

  7    Q    Why not?

  8    A    Because in my clinical practice, I see learning

  9    disabilities with all kinds of cognitive profiles.       I don't

10     think that there is a specific cognitive profile for specific

11     learning disability.

12     Q    Okay.

13                 Now, you were asked a lot of questions about the

14     scores on your -- your summary sheet, correct?

15     A    Yes.

16     Q    This is Exhibit 44.    Do you remember the discussion about

17     this exhibit?

18     A    Yes, I do, very vividly.

19     Q    Okay.

20                 And you and the prosecutor went through this and she

21     made some changes and you agreed with them?

22     A    I assumed that the information that she was giving me was

23     correct.    It disturbed me because it didn't match my

24     recollection.

25                 So last night I went home -- went back to the

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 135 of 238 PageID #: 16330
                                                                          352
                          B. Shapiro - Redirect/Burt

  1    hotel -- I didn't go home -- and looked at the AAIDD manual

  2    where they had a different age of standardization.       Normative

  3    sample for the WASI, which was the one that we had originally.

  4    And it was originally normed in 1995 and then published in

  5    1997.    And then I went back to the original Flynn article --

  6                MS. COHEN:   I'm sorry.   Can I just get a page number

  7    from Dr. Shapiro?

  8                THE WITNESS:   Thirty-seven, middle of the page.

  9    BY MR. BURT

10     Q    Okay.

11                 And so you started there?

12     A    Correct.

13                 And then I asked you to obtain the Flynn article for

14     me -- that's when I spoke to you last night -- because I

15     wanted to see what Flynn wrote since he defined the phenomena.

16     And --

17     Q    And that's the article that's cited in the green book?

18     A    That article is cited in the green book.      That's the

19     Flynn 2006 article.

20     Q    Okay.

21                 MR. BURT:    I've marked it as Defendant's Exhibit D.

22     And, unfortunately, I don't have a copy of this; but I will

23     get a copy for the Court and show the -- may I approach, your

24     Honor?    Thank you.

25                 THE COURT:   Yes, you may.

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 136 of 238 PageID #: 16331
                                                                          353
                          B. Shapiro - Redirect/Burt

  1    BY MR. BURT

  2    Q    Is that the article that you went back and checked on

  3    last night?

  4    A    Yes, indeed.

  5    Q    Okay.

  6               Is there a table in that article --

  7               THE COURT:   Excuse me.   The Flynn article -- can we

  8    just get a title and a date and so forth?

  9               MR. BURT:    Sure.

10     BY MR. BURT

11     Q    Could you -- could you answer the Court's question?

12     A    It's called "Tethering the Elephant:      Capital Cases, IQ,

13     and the Flynn Effect" by James Flynn.     That's F-L-Y-N-N.    And

14     it was published in Psychology, Public Policy, and Law, 2006.

15                THE COURT:   Thank you.

16     BY MR. BURT

17     Q    Is there a chart or a table in that article which

18     references the date when the various tests were normed?

19     A    The table that references the dates of when the different

20     instruments were normed is Table 1.     And within that table, it

21     says that the WAIS-III was normed in 1995 and the WISC-III was

22     normed in 1989.

23     Q    Okay.    Could I see the table?

24     A    (Handing.)

25                MR. BURT:    I would move D into evidence, your Honor.

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 137 of 238 PageID #: 16332
                                                                          354
                          B. Shapiro - Redirect/Burt

  1                THE COURT:   I'm waiting to hear from the Government.

  2                MS. COHEN:   Yes.    I'm sorry.   No objection to that.

  3                THE COURT:   And that's Defense D?

  4                MR. BURT:    Correct, your Honor.

  5                THE COURT:   All right.   Defense D is received into

  6    evidence.

  7                And the Court will receive a copy of it as soon as

  8    you have one?

  9                MR. BURT:    Yes.

10                 THE COURT:   All right.

11                 (Defendant's Exhibit D received in evidence.)

12                 MS. COHEN:   Your Honor, for the record, I happen to

13     have my own copy.

14                 THE COURT:   Oh, I didn't ask for a copy for you.     I

15     assumed you already had your own copy since you agreed to have

16     it in evidence.

17                 MS. COHEN:   Yes.

18                 THE COURT:   Okay.   All right.    Defense D is received

19     in evidence.

20     BY MR. BURT

21     Q    And the chart you're referring to says, "All dates

22     assigned to tests refer to the date at which the test was

23     normed.   This is what is relevant, of course, not the date

24     when the test was published."

25                 And then the chart sets forth the dates when the

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 138 of 238 PageID #: 16333
                                                                          355
                          B. Shapiro - Redirect/Burt

  1    tests were normed?

  2    A    Yes.

  3    Q    And it indicates that the WISC-C was normed in 1989,

  4    correct?

  5    A    Correct.

  6    Q    And that the WAIS-III was normed in 1995, correct?

  7    A    Correct.

  8    Q    Did you do anything else to investigate whether your

  9    original chart was correct in terms of the date of norm?

10     A    Well, if you use those dates, then the changes proposed

11     by the Government are no longer correct.

12     Q    Okay.

13     A    In addition, one of the interesting -- there are two

14     other things that came up as a result of going back and

15     reviewing the chart.

16                 One was that we contacted -- or asked you to contact

17     Dr. Alan Kaufman.    Dr. Kaufman is an internationally known

18     personage who has a great deal of experience -- had extensive

19     experience with the Wechsler series.     He's written any number

20     of articles and books about the subject.      He has made

21     assessment his life's work and is recognized widely as an

22     expert on this area.

23     Q    So you said you had me contact him.      And did you rely on

24     the information which was produced as a result of that

25     inquiry?

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 139 of 238 PageID #: 16334
                                                                          356
                          B. Shapiro - Redirect/Burt

  1    A    I think that that information was illuminating because

  2    Dr. Kaufman spoke about the difference between the copyright

  3    on the normative sample and the normative sample.       And his

  4    statement was that the normative -- that you needed to do --

  5    use the date that the sample was collected, and not the date

  6    that it was published, which was the two-year-later date that

  7    the Government put forth for us.

  8                So the copyright date of the normative sample was

  9    not the date that should've been used.      It was the earlier

10     date.

11     Q    And was that information conveyed to you in writing by

12     Dr. Kaufman last night?

13     A    Yes.

14                 MR. BURT:    I've had marked next in order an E-mail.

15     It's Exhibit E.

16                 May I approach, your Honor?

17                 THE COURT:   Go ahead.

18     BY MR. BURT

19     Q    Did you rely upon that E-mail in forming your opinion

20     about whether your scores in the chart were accurate in terms

21     of the norming date?

22     A    Yes.

23                 MR. BURT:    I move that into evidence, your Honor.

24     That's Exhibit E.

25                 MS. COHEN:   No objection, your Honor.

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 140 of 238 PageID #: 16335
                                                                          357
                          B. Shapiro - Redirect/Burt

  1               THE COURT:   All right.   Exhibit E is received in

  2    evidence without an objection.

  3               (Defendant's Exhibit E received in evidence.)

  4    BY MR. BURT

  5    Q    What was the question posed to Dr. Kaufman, and what was

  6    his answer?   Just read it verbatim, if you could.

  7    A    "Sorry to bother you, but we are in the middle of our

  8    hearing and a question has come up that I hope you can answer.

  9    For purposes of the Flynn effect, we're using 1989 as the date

10     of norming for WISC-III and 1995 for the WAIS-III.       We got the

11     dates from Flynn's 2006 article attached.      The 2005 date for

12     the WAIS-III is also cited in the AAIDD 2010 manual.

13                "The Government, citing the normative date and

14     copyright of 1991 in the WISC-III manual and 1997 normative

15     date and copyright in the WAIS-III manual, says that these are

16     the dates that should be used.

17                "Who is right about the dates?     Is there a

18     literature cite for this besides what we already have?

19                "Your prompt reply would be greatly appreciated."

20                And then Dr. Kaufman responded.     "The correct dates

21     are 1989 for the WISC-III and 1995 for the WAIS-III.       The key

22     is" -- and this is capitalized -- "when were the individuals

23     and the standardization sample actually tested?"      So he puts

24     some emphasis there.

25                "The copyright dates only apply to when the test is

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 141 of 238 PageID #: 16336
                                                                          358
                          B. Shapiro - Redirect/Burt

  1    published and available for purchase.     There is a lag time

  2    between the collection of data and the subsequent analysis of

  3    data, development of norms, and writing the manual.       The

  4    publication dates have nothing" -- and that's emphasis -- "to

  5    do with the Flynn effect.    The only dates of concern are the

  6    dates of the actual testing."

  7    Q    Okay.

  8                So based on that E-mail, based on your review of the

  9    Flynn article, based on your review of the green book, do you

10     stand by the chart that you originally testified about on

11     direct examination that's in your report?

12     A    Yes.

13     Q    Okay.

14                 Now, you were also asked a lot of questions about

15     things that Mr. Wilson has said or written since he's been

16     incarcerated, correct?

17     A    Correct.

18     Q    And do you recall any examples of his writing or his

19     language or ability -- verbal abilities that were presented to

20     you that did not relate to the period when he was

21     incarcerated?

22     A    I'm sorry.   You're going to have to refresh my memory as

23     to what you want me to --

24     Q    Yeah.   The only question is whether you recall any of the

25     examples that were cited to you during that nine hours of

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 142 of 238 PageID #: 16337
                                                                          359
                          B. Shapiro - Redirect/Burt

  1    cross-examination that involve pre-18 verbal behavior; that

  2    is, tape-recorded calls prior to 18 or writings prior to 18.

  3    A    No.

  4    Q    You had a slide -- and I'm not sure whether we explored

  5    this or not, but relevant to the cross -- in which you set out

  6    the standards on the issue of whether you can use verbal

  7    behavior to diagnose or to not diagnose intellectual

  8    disability, right?

  9    A    Correct.

10     Q    And on that slide, you cited three sources.        One was an

11     article -- well, let's start with the second one, which is the

12     green book, correct?

13     A    Correct.

14     Q    And what does it say?

15                THE COURT:   Can I have the number of the slide for

16     the record, please.

17                MR. BURT:    I'm sorry?

18                THE COURT:   The number of the slide for the record,

19     please.

20                MR. BURT:    Thank you.   Slide Number 23.

21     BY MR. BURT

22     Q    And the second reference on your slide is from the green

23     book, is it not?

24                Let's start with the third one.     The last one there

25     is from the green book, page 102, correct?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 143 of 238 PageID #: 16338
                                                                          360
                          B. Shapiro - Redirect/Burt

  1    A    Correct.

  2    Q    Okay.

  3                And the full quote from the green book is:     "Do not

  4    use past criminal behavior or verbal behavior to infer level

  5    of adaptive behavior or about having ID.      Greenspan and

  6    Switzky 2006 discussed two reasons for this guideline:        There

  7    is not enough available information and there is a lack of

  8    normative information."    Correct?

  9    A    Correct.

10     Q    And the Greenspan article they're citing is the one you

11     have cited in the first part of your slide there?

12     A    Yes.

13     Q    Okay.

14                 And what that says is "People with MR typically have

15     normal language syntax and can be very facile verbally."

16     Correct?

17     A    Yes.

18     Q    And that article is in evidence as part of Exhibit B, is

19     it not, in the literature finder?

20     A    Yes.

21     Q    Okay.

22                 And would you turn to that article at page 292.

23     A    (Witness complies.)

24     Q    Do you have that in front of you?

25     A    I do.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 144 of 238 PageID #: 16339
                                                                          361
                          B. Shapiro - Redirect/Burt

  1    Q    I have it up on the screen, and the portion of it that I

  2    have highlighted is "A problem with inferring non-MR status

  3    from normal language is that it is contradicted by research

  4    showing that adults with mild MR have relatively normal

  5    syntax, grammar, and vocabulary.     Their deficits are more in

  6    the area of sociolinguistics, adjusting communication, and

  7    taking into account informational leads of others rather than

  8    psycholinguistics."

  9                Is that true what that statement says?

10     A    Yes.    And I think that listening to the last two

11     telephone calls that Ms. Cohen put on demonstrates that

12     because to most people's ears that conversation that

13     Mr. Wilson had sounded pretty good, except that when I was

14     listening to it, or trying to listen to it, it seemed to me

15     that he was having difficulty with defining the concept of

16     "stringing along."    It came at the end in terms of an

17     explanation.

18                 And he also talked about illegitimate, when he was

19     talking of the child, and he then said "or whatever you want

20     to call it."

21                 So there were a number of areas in his conversation

22     that suggested that the usage wasn't entirely proper,

23     appropriate.

24     Q    Okay.

25                 And then in the next paragraph, they say, "The same

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 145 of 238 PageID #: 16340
                                                                          362
                          B. Shapiro - Redirect/Burt

  1    argument that we made in the previous section involving

  2    problems in inferring MR status from someone's criminal

  3    history can be made with respect to using material -- for

  4    example, vocabulary, verbal fluency, or seeming degree of

  5    verbal insight -- from a clinical interview.      This is not

  6    randomized data which is purely qualitative in nature and does

  7    not really provide a basis for making diagnostic judgment.

  8    People with MR typically have normal language syntax and can

  9    be very facile verbally."       Correct?

10     A    With the exception and correction of a word that you

11     misread, which was "nonstandardized," as opposed to

12     "nonrandomized," yes.

13     Q    Okay.

14                 And do you agree with that, what's written there?

15     A    Yes.

16     Q    Okay.

17                 And then on the very next page of that article,

18     there's a paragraph that begins "One interesting fact."

19                 MS. COHEN:   Can you zoom a little bit?   I couldn't

20     see it.

21                 Is this from the blue book, blue binder?

22                 MR. BURT:    Yes.

23     BY MR. BURT

24     Q    There's a paragraph that begins there "One interesting

25     fact."    Do you see that?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 146 of 238 PageID #: 16341
                                                                          363
                          B. Shapiro - Redirect/Burt

  1    A    Yes.

  2    Q    Could you read that paragraph for us.

  3    A    "One interesting fact that we have learned about life on

  4    death row is that condemned prisoners often spend a great deal

  5    of time watching the History Channel, the Discovery Channel,

  6    and other TV shows which contain relatively sophisticated

  7    information about the world.     As a result, Atkins defendants

  8    may occasionally use words or make comments which one may

  9    assume are beyond the repertoire of people with MR.

10                 "Such exposure may be expected to elevate an

11     individual's general information and other crystallized

12     subscale scores and IQ tests, although it would likely not

13     affect the quality of one's fluid problem solving or

14     information-processing-based scores.

15                 "Because isolated bits of data taken from

16     conversations or interviews can be misleading, the standard

17     practice is to use formal IQ assessment, rather than clinical

18     description, in determining the precise level of an

19     individual's cognitive deficits."

20     Q    And what does that mean to you in terms of the usefulness

21     of interviews that were conducted, say, in 2011 or 2012 on the

22     issue of whether Mr. Wilson was intellectual disabled in 2003?

23     A    I don't think that those -- I don't think that that data

24     is relevant to the question after 2003.

25     Q    And why not?

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 147 of 238 PageID #: 16342
                                                                          364
                          B. Shapiro - Redirect/Burt

  1    A    For a number of reasons.     One of the reasons is that

  2    because people with intellectual disability may improve.       And

  3    we've talked about that before.      One of the reasons is that

  4    Mr. Wilson has made a substantial effort to improve himself

  5    through reading dictionaries and through talking to people and

  6    to -- learning words and, as a consequence, may -- and as

  7    suggested here -- may have had those particular areas improved

  8    over a previous ones on a cognitive assessment battery.

  9    Q    Okay.

10                Now, you were asked some questions about whether the

11     AAIDD is an advocacy group, correct?

12     A    Correct.

13     Q    In preparation for your testimony, did you read the

14     Court's opinion --

15                THE COURT:   You don't have to go into that.     I've

16     already ruled on that.    And I don't care what the Government

17     is positing it as.     I've ruled on that.    It's a closed issue.

18     Let's move on.

19                MR. BURT:    Okay.   Thank you.   That was my point.

20                THE COURT:   Well, your point has been made.     Go on.

21                MR. BURT:    Thank you.

22     BY MR. BURT

23     Q    You were asked some questions about the Flynn effect,

24     correct?

25     A    Correct.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 148 of 238 PageID #: 16343
                                                                          365
                          B. Shapiro - Redirect/Burt

  1    Q    And your attention was called to this slide, which is

  2    Slide 57, where you quoted a 2003 article, correct?

  3    A    Correct.

  4    Q    Okay.

  5               And the very next slide -- which, again, I'm not

  6    sure we discussed on direct examination -- you set out the

  7    position of the AAIDD on the use of the Flynn effect, correct?

  8    A    Correct.

  9    Q    In Slide 58?

10     A    Correct.

11     Q    And what is the position, as reflected on this slide?

12     A    Well, there are a number of aspects to the position:

13     First, that the instruments that are used must be current.

14     The second is that the best practices require the recognition

15     of the Flynn effect.    When -- older additions -- there's a

16     typo there.   It's not order.    It's older additions of an

17     intelligence test, with the corresponding older norms are used

18     in the assessment and interpretation, that does not allow you

19     to use an older exam when a more current one exists, but

20     requires you to use the most current, as happens that these

21     tests age.    And at that point, you need to recognize a

22     potential Flynn effect at that point.     And in the case where

23     the aging norms are used, you have to correct for the age of

24     the norms.    And that is essentially what the Flynn effect

25     speaks to.

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 149 of 238 PageID #: 16344
                                                                          366
                          B. Shapiro - Redirect/Burt

  1    Q    Okay.

  2               And in this case, looking from Exhibit A at your

  3    chart, what you have is an instrument that was administered to

  4    Mr. Wilson in 1989, the very first WISC-R instrument he was

  5    administered, correct?

  6    A    Correct.

  7    Q    And at that time, the norms for that instrument had been

  8    established in 1972?

  9    A    Correct.   They were quite old.

10     Q    And by the way, there are standards within the

11     psychological profession, are there not, which admonish and

12     guide practitioners to use current norms?      It's not just the

13     AAIDD who says this, correct?

14     A    Correct.

15     Q    For instance, the American Psychological Association has

16     something called the "Standards for Education and

17     Psychological Testing"?

18     A    Correct.

19     Q    And that is a binding ethical guideline on psychologists

20     who practice, correct?

21     A    Correct.

22     Q    And it says, "Do not use outdated norms," does it not?

23     A    Or "outdated instruments," yes.

24     Q    Outdated instruments.    Here the school psychologist was

25     using an instrument that was many years old.      And the score

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 150 of 238 PageID #: 16345
                                                                          367
                          B. Shapiro - Redirect/Burt

  1    that was obtained was a full-scale score of 84, correct?

  2    A    Correct.

  3    Q    When Mr. Wilson was tested two years later with an

  4    updated instrument -- that is, an instrument -- the WISC-C

  5    where the norms were established in 1989, so he's only two

  6    years away from when the test was normed -- he got a much

  7    lower score, much lower full-scale score, did he not?

  8    A    It was lower.

  9    Q    And is that the Flynn effect at play there?      I mean, can

10     you look at those two scores and say this is good evidence

11     that Flynn is right because, otherwise, how do you account for

12     that lower score?

13     A    I'm sorry.    I initially looked at the corrected

14     full-scale scores.    When you look at the full-scale scores,

15     it's half a standard deviation drop between the first and the

16     second score.

17     Q    How many -- without Flynning it, how many points does he

18     go down?

19     A    He went down six points.

20     Q    Six points.    And if you Flynn the scores, they're almost

21     the same, are they not?

22     A    Correct.

23     Q    I mean, they're a point difference after you apply the

24     Flynn effect to those two scores?

25     A    Correct.

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 151 of 238 PageID #: 16346
                                                                          368
                          B. Shapiro - Redirect/Burt

  1    Q    And what does that tell you about the accuracy of using

  2    the Flynn effect?

  3    A    It suggests that the scores on the older normed tests

  4    were elevated and that -- uncorrected, they were elevated.

  5    When they were corrected, they were more in line with the

  6    subsequent testing done when Mr. Wilson was 9 years and 7

  7    months in 1991.

  8    Q    Okay.

  9                Now, even apart from the Flynn test, you talked in

10     your direct examination about other factors that can influence

11     testing.    And one of the things you mentioned, I think, was

12     the age at which the test was given, correct?

13     A    Correct.

14     Q    And one of the things you say in this publication,

15     "Children with Disabilities" --

16     A    Yes.

17     Q    -- is that "The predicted value of infant scores is

18     further limited because such tests are primarily dependent

19     upon non-language items whereas language skills remain the

20     best predictors of futurized IQ scores."

21                 Did you write that?

22     A    Yes.

23     Q    Can you tell us what that means?

24     A    When you -- when you're looking in terms of

25     prognosticating a child that you're evaluating, the best

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 152 of 238 PageID #: 16347
                                                                          369
                          B. Shapiro - Redirect/Burt

  1    prognosticator that we have for future cognition is language.

  2    Q      Okay.

  3                  You also write in that book that "There's

  4    substantial variability in IQ scores on repeated cognitive

  5    testing and, consequently, poor predictive validity until

  6    around 10 years of age."

  7    A      Yes.

  8    Q      Did you write that?

  9    A      I wrote that.

10     Q      And what does that tell you in terms of relying on those

11     scores at age 6 and age 9 to predict what his IQ is at age --

12     around the time of the crime?

13     A      It has limited predictive ability because of the

14     variability that we see even in the typical population, by the

15     way.

16     Q      Now, you were also --

17     A      It's not confined to folks with intellectual

18     disabilities.     It's a characteristic of young children.

19     Q      You were also asked some questions about practice

20     effects, right?

21     A      Yes.

22     Q      And you were asked to look at the scores, for instance,

23     the score -- the performance scores between '93 and '94 where

24     he got a 93 or a 90, depending on which score you choose on

25     that Nagler test, right?

                            JUDI JOHNSON, RPR, CRR, CLR
                              Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 153 of 238 PageID #: 16348
                                                                          370
                          B. Shapiro - Redirect/Burt

  1    A    Correct.

  2    Q    That's the one where she wrote down conflicting scores

  3    for the performance IQ?

  4    A    Yes.

  5    Q    And if you compared the Nagler and the next score down,

  6    which is the -- I'm sorry -- the Aranoff and the Nagler

  7    scores, his performance goes from 93 and then down to 80,

  8    correct?

  9    A    Yes.

10     Q    Now, can you look -- just look at those two scores and

11     say, well, that must mean there's no practice effect, given

12     what you said on direct examination about the number of

13     variables that can play into how one obtains a score?

14     A    No.    And I think that you can't just look at a single

15     score and say this is the cause.     As is true, all

16     assessment -- and, particularly, the cognitive assessment --

17     is evaluating multiple different functions that are

18     interplaying at the same time.     Some of them have to do with

19     the individuals.   Some of them have to do with the examiner.

20     Some of them have to do with the test.      So we can look at

21     these things, but it's hard to say that one thing, and only

22     that thing, operates.

23     Q    For instance, if -- you said the condition of the

24     examinee is one thing that can affect the score, right?

25     A    Yes.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 154 of 238 PageID #: 16349
                                                                          371
                          B. Shapiro - Redirect/Burt

  1    Q    I mean, after all, what you're doing in these IQ tests is

  2    you're taking a snapshot of a kid's performance on a certain

  3    day under certain conditions, correct?

  4    A    And assuming that it is the best performance that child

  5    can do, yes.

  6    Q    And you're hoping that your score is going to reflect

  7    longstanding intellectual traits of that person?

  8    A    You're hoping that the score will reflect the child's

  9    abilities in cognitive areas.

10     Q    However, I think you said on direct examination that

11     there's lots of variables that can predict what happens on a

12     particular day?

13     A    Yes.

14     Q    The examiner makes a mistake, the person being examined

15     is tired, the examiner is someone who overestimates or

16     underestimates.    All those thing can play into it --

17     A    Correct.

18     Q    -- right?

19                 So if you have some variable affecting the score --

20     for instance, saying the person is not performing up to his

21     maximum and at one point he gets a 93 and the next point, he

22     gets an 80 -- does that necessarily mean that there's no

23     practice effect?

24     A    No.    It just may mean that there are other factors that

25     were operational at the same time.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 155 of 238 PageID #: 16350
                                                                          372
                          B. Shapiro - Redirect/Burt

  1    Q     I mean, the literature that you cite in your PowerPoint

  2    seems to indicate, does it not, that the practice effect is

  3    always in play when you give a similar test over and over and

  4    over again.

  5               You've got slides that say that, do you not?

  6    A     I do.

  7    Q     Backed up by the literature?

  8    A     I do.

  9    Q     So is it your opinion that at any point in the series of

10     scores that Mr. Wilson was given, that the practice effect was

11     not in play, that it had no effect given the number of times

12     he was administered these instruments?

13     A     It was in play.   You may not have seen it reflected

14     necessarily in the scores.

15     Q     Because some other variable may be at play that reduces

16     it?

17     A     Correct.

18     Q     So the practice effect may add -- that Kaufman cites, you

19     have, indicates five to eight points on the performance end of

20     it?

21     A     Correct.

22     Q     That five to eight points could have been counterbalanced

23     by some flaw in the scoring or some variable that we don't

24     know about?

25     A     Correct.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 156 of 238 PageID #: 16351
                                                                          373
                          B. Shapiro - Redirect/Burt

  1    Q    But the practice effect is still adding the points?

  2    A    Correct.

  3    Q    At any point in the process?

  4    A    Correct.

  5    Q    Okay.

  6                You were asked some questions about Dr. Aranoff's

  7    report and some of the other prior evaluators' in this case.

  8    Do you recall those questions?

  9    A    Yes.

10     Q    And the point of it, I guess -- and correct me if I'm

11     wrong -- was, well, all these people evaluated him and they

12     used clinical judgment and, therefore, since they didn't

13     diagnose him with intellectual disability, there must be no

14     intellectual disability?

15     A    I believe that was the gist of the questioning.

16     Q    Okay.

17                 And I think that a real point was made in getting

18     you to concede that clinical judgment was important, and you

19     agreed it was important --

20     A    Yes.

21     Q    -- right?

22                 The green book has a whole chapter on clinical

23     judgment, doesn't it?

24     A    Yes.

25     Q    And it says, does it not, on page 87, "Clinical judgment

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 157 of 238 PageID #: 16352
                                                                          374
                          B. Shapiro - Redirect/Burt

  1    should not be thought of as a justification for abbreviated

  2    evaluation, a vehicle for stereotypes or prejudice, a

  3    substitute for insufficiently explored questions, an excuse

  4    for incomplete or missing data, or a way to solve political

  5    problems."

  6                Isn't that what it says in terms of clinical

  7    judgment?

  8    A    Yes.

  9    Q    Okay.

10                 And you reviewed the records in this case, correct?

11     A    Correct.

12     Q    Mr. Wilson started to be evaluated by mental health

13     professionals when he was 6 years old; isn't that correct?

14     A    Correct.

15     Q    And he continued to be evaluated by mental health

16     professionals all the way up until and past when he reached

17     age 18?

18     A    Yes.

19     Q    At any point in time in that chain of events, did any of

20     these mental health professionals have the information that

21     you had available in this case?

22     A    No.

23     Q    Is that significant in terms of the use of clinical

24     judgment?

25     A    I believe so.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 158 of 238 PageID #: 16353
                                                                          375
                          B. Shapiro - Redirect/Burt

  1    Q    Why?

  2    A    Because I think that in terms of understanding some of

  3    his behavior, the fact that he suffered brain injury

  4    associated with his meningitis and documented by the PET scan

  5    of Dr. Buckbaum -- which, by the way, doesn't make the

  6    diagnosis of intellectual disability.     It just points to the

  7    fact that this is a brain that is not working the way the

  8    typical brain works -- suggests -- would be influential in

  9    terms of considering this child's condition in an overall

10     sense.

11                 MS. COHEN:    Your Honor, I'm going to object to that

12     line of questioning in that Dr. Shapiro is asked about what

13     these test administrators had in their records.      I don't think

14     there's been any foundation here as to what they did or did

15     not have in their records when they evaluated Mr. Wilson.

16                 MR. BURT:    Well, the records are in evidence.     So

17     there certainly is 10,000 pages of foundation in terms of what

18     the records show.    And I'm going to develop with him what it

19     shows.   So it's not true that the record doesn't show what

20     they have.   We have the records.    They're in evidence.

21                 MS. COHEN:   Actually, that's not true, because every

22     test evaluator had raw data.     And that is not in the record.

23     So when the records were compiled back in time, there were a

24     lot of records that were missing from this.       So we don't

25     actually know what the evaluators had at the time.

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 159 of 238 PageID #: 16354
                                                                          376
                          B. Shapiro - Redirect/Burt

  1               MR. BURT:    I disagree with that characterization,

  2    but it goes to the weight.     It certainly doesn't affect the

  3    admissibility of the opinions, given what they tried to imply

  4    on cross, which is how could all these people not -- how could

  5    they have missed this diagnosis if it was present.       And

  6    there's an answer to it that I'd like to explore.

  7               THE COURT:   Go ahead.

  8    BY MR. BURT

  9    Q    You were explaining that the -- the information that you

10     looked at in the records did not seem to indicate that the

11     people who were diagnosing had information such as the fact

12     that Mr. Wilson suffered from meningitis, correct?

13     A    Correct.

14     Q    Okay.

15                And the records that you reviewed, beginning at

16     page GOV 27, contain hospital records showing that Mr. Wilson

17     was admitted to the hospital in 1984 and diagnosed with viral

18     meningitis, correct?

19     A    It was meningococcal meningitis.     It was bacterial

20     meningitis.

21     Q    Bacterial meningitis.    Okay.

22                And I think you state in your report and you

23     testified on direct examination that that particular type of

24     meningitis is a risk factor for intellectual disability,

25     correct?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 160 of 238 PageID #: 16355
                                                                          377
                          B. Shapiro - Redirect/Burt

  1    A    Correct.

  2    Q    And you cite in your report some literature that shows

  3    that people with bacterial meningitis are more likely to be

  4    referred to special education programs?

  5    A    Correct.

  6    Q    Now, those -- that hospitalization in 1984 occurred when

  7    Mr. Wilson was very young, correct?

  8    A    When he was 20 months old.

  9    Q    Okay.

10                And what does the literature show in terms of

11     someone getting viral meningitis at that young age in terms of

12     the longterm effects, neuropsychological effects of that

13     disorder, or disease?

14     A    Well, it shows a substantial minority of people who had

15     cognitive dysfunction at follow-up a number of years later.

16     Q    Okay.

17                And in this case, did you have to speculate whether

18     there was longterm effects, given the fact that a snapshot of

19     Mr. Wilson's brain activity was taken around the time of the

20     crime, by Dr. Bucksbaum?

21     A    Could you repeat the question?

22     Q    Yeah.

23                Did you have to speculate about the effects of that

24     meningitis, given the fact that you had testified just a

25     moment ago that you had a PET scan reading around the time of

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 161 of 238 PageID #: 16356
                                                                          378
                          B. Shapiro - Redirect/Burt

  1    Mr. Wilson's trial?

  2               MS. COHEN:   Objection, your Honor.    This is outside

  3    the scope of the cross.     We never went into his PET scan.

  4               MR. BURT:    It goes to why these people missed the

  5    diagnosis, because they didn't have the information that these

  6    experts have and are using to form their opinions.       And he

  7    talked about it on direct.     She brought out on cross that --

  8    well, how could these people possibly have missed the

  9    diagnosis?    And the Court's going to see the answer in a

10     moment, which is they -- there's positive documentation that

11     they were mislead into believing that Mr. Wilson had no prior

12     hospitalizations involving anything as serious as this

13     meningitis.    So I think that that's --

14                THE COURT:   How does he know that?    How does he know

15     that they had no knowledge?

16                MR. BURT:    Because there are records documenting a

17     prior hospitalization inquiry, with an answer.      And those

18     records were relied upon in making the diagnosis.       In other

19     words, the diagnostic records have things like, you know,

20     prior medical history with the words "none" written in there.

21                THE COURT:   What do you need him for if you've got

22     that?

23                MR. BURT:    Well --

24                THE COURT:   You have a record, and you can put it in

25     your papers.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 162 of 238 PageID #: 16357
                                                                          379
                          B. Shapiro - Redirect/Burt

  1               MR. BURT:    Yeah.

  2               THE COURT:   I don't need him to go into it, do I?

  3               MR. BURT:    Well, I need him to explain to the Court

  4    how the testing, the PET testing, around the time of the crime

  5    shows us that the meningitis has a longterm effect that plays

  6    in his opinion.   And his opinion was being attacked on

  7    cross-examination.     This is responsive to the point that he

  8    must be wrong because these other doctors didn't diagnosis him

  9    and, therefore, we should put weight in their opinions.

10                MS. COHEN:   Well, first of all, your Honor, the

11     witness testified that the cause has nothing to do with the

12     diagnosis.   So sometimes you can't determine the cause.      And

13     we weren't going into that.     We were just simply saying --

14     asking the individual -- asking Dr. Shapiro to answer the

15     question of whether or not these other doctors recognized it.

16     And we went through that.

17                But we didn't talk about the PET scan.     The PET scan

18     actually isn't even something that's necessarily used to

19     diagnose mental retardation.     It's used to scan the brain; in

20     this case, to look at the meningitis issue, which would go to

21     cause.

22                What we were talking about was, were there symptoms,

23     did mental retardation exist before the age -- was the onset

24     before age 18.    And that's what we were going through with the

25     record.   We didn't talk about the PET scan and the cause of

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 163 of 238 PageID #: 16358
                                                                          380
                          B. Shapiro - Redirect/Burt

  1    it.

  2               So I don't see how now, on redirect, he's going to

  3    go into the PET scan, which had nothing to do with the cross.

  4               MR. BURT:    That's the very point, that they didn't

  5    talk about it.   And it's relevant.

  6               THE COURT:   Who's "they"?

  7               MR. BURT:    The Government.

  8               THE COURT:    You could have raised that on direct as

  9    to -- these were your statistics.       They're weren't the

10     Government's statistics.

11                MR. BURT:    I understand.    We did -- we did raise it

12     on direct.   And I'm trying to respond to the argument the

13     Government made in terms of, you know, this diagnosis couldn't

14     have been messed early on.    And I'm trying to explain to the

15     Court how it was missed.    That's all.

16                MS. COHEN:    Your Honor, I have no recollection of

17     the PET scan even being discussed on direct examination.       It

18     was not in any of the slides.     And my recollection is when we

19     finished the slides, he asked about adaptive functioning.

20     That was my recollection.

21                But, obviously, the record speaks for itself.

22                MR. BURT:    We put the reports into evidence.     The

23     reports discuss the PET scan.     I'm trying to pinpoint his

24     discussion, which is already admitted, in order to explain the

25     lack of prior diagnosis.    That's all.     And I could've been

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 164 of 238 PageID #: 16359
                                                                          381
                          B. Shapiro - Redirect/Burt

  1    through with this by the time we just spent arguing.

  2               THE COURT:    Yeah, but that's not the point.

  3               MR. BURT:    I understand.

  4               THE COURT:    The point is whether we're going to open

  5    this record up and bring in a lot of other witnesses to talk

  6    about why they -- whether they did or did not consider the

  7    PET scan, whether it was relevant to anything that we're

  8    deciding here today.

  9               You know, you're relying on numbers.     And now, in a

10     way, you're taking issue with the numbers that you're relying

11     on.   So, you know, there's a lot of -- there's a lot of play

12     here.   If you want to ask him about the PET scan, go ahead.

13                MR. BURT:    Thank you.

14                THE COURT:    But I think from my vantage point, a lot

15     of this discussion moves into the area of speculation.

16                MS. COHEN:   Yeah.

17                THE COURT:    And I just warn you that, you know, I'm

18     not encouraged by a litany of speculative discussion about

19     what all this means, because it's just -- we had a lot on the

20     record as to what it means, and now we're going back and

21     you're taking issue with the numbers.       You're not really

22     taking issue with the Government.       You're taking issue with

23     whether much of this is reliable.       And these are your -- you

24     put in this chart, and the question is reliability.       And the

25     question for me is:     If one test administration wasn't

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 165 of 238 PageID #: 16360
                                                                          382
                          B. Shapiro - Redirect/Burt

  1    reliable, why was another test administration reliable?        And I

  2    don't think I've got any answers to that from what I've heard

  3    thus far.

  4                But go ahead.   You can ask.

  5                MR. BURT:    All right, thank you, your Honor.

  6                THE COURT:   And I have a question for this document.

  7                Go ahead.

  8    BY MR. BURT

  9    Q    My only point, Doctor, is the meningitis at this early

10     age, compared against a PET scan of Mr. Wilson's brain around

11     the time of the crime, does that tell you anything in terms of

12     whether there was permanent brain damage from that PET scan?

13     A    The way that I interpret the PET scan data is that

14     Mr. Wilson has an abnormally functioning brain, particularly

15     in the frontal lobe areas.      It could be caused by a wide

16     variety of things; but the most likely, given his history, is

17     probably the meningitis.     But it could have been done by

18     anything that occurred before the time of the PET scan,

19     including things like trauma, fetal drug and alcohol exposure

20     potentially.   So there are a number of things.     I can't put a

21     one-to-one linkage between the meningitis and the scan, only

22     to say that he has an unusual-functioning brain.

23     Q    Okay.

24                 And I think what you also said was meningitis is a

25     risk factor for intellectual disability?

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 166 of 238 PageID #: 16361
                                                                          383
                          B. Shapiro - Redirect/Burt

  1    A    Yes.

  2    Q    Now, in your review of the records, you saw that he was

  3    admitted to Elmhurst psychiatric hospital at a very early age,

  4    correct?

  5    A    Correct.

  6    Q    Eventually given in that hospital, when he was still

  7    about 6 years of age, Thorazine and other drugs?

  8    A    Correct.

  9    Q    And did you see in the records where his aunt reported --

10     I believe it's in the Mitchell Franks record summary -- that

11     despite being given drugs from the age 7 up to the age 14, his

12     behavior did not improve?

13     A    Yes.

14     Q    And what does that tell you in terms of whether what he

15     was suffering from was a psychiatric disorder or an

16     intellectual disability, given the lack of response to

17     psychiatric drugs?

18                 MS. COHEN:   Again, objection, your Honor.    This

19     is -- now we're getting, again, way outside the scope.

20                 MR. BURT:    Well, the scope of nine hours of

21     cross-examination --

22                 THE COURT:   Don't talk to me -- let's -- look,

23     there's no jury here, okay?      So let's not gild the lily about

24     how long the cross-examination took.

25                 MR. BURT:    All right.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 167 of 238 PageID #: 16362
                                                                          384
                          B. Shapiro - Redirect/Burt

  1               THE COURT:   Let's just -- I've listened to it --

  2    you've said it several times.     I heard it the first time.     You

  3    know, I'm not suffering from an intellectual disability.         I

  4    remember what you said, okay?

  5               MR. BURT:    I apologize.

  6               THE COURT:   So let's not do the jury thing here.

  7    Let's just stick with the issues.       And you're doing that to a

  8    great extent.   But we don't have to embellish.      Embellishment

  9    is not appreciated.     I just want to move ahead.

10                MR. BURT:    I understand.

11                THE COURT:   So forget about the nine hours.     Let's

12     talk about the issue.

13                What's the answer to the question -- the argument

14     posed by the Government?

15                MR. BURT:    Your Honor, the issue is it's beyond the

16     scope of cross-examination.     And the scope -- my point was,

17     was that it was very wide and suggested that this witness was

18     incorrect in his diagnosis because prior examiners had not

19     diagnosed this as an intellectual disability.

20                And I will try and show the Court, through this line

21     of questioning, that these doctors at any point in time did

22     not have available the kinds of cross-sectional information

23     which our experts now have available.       For instance, they

24     didn't know that Mr. Wilson had seven or eight years of

25     psychiatric medications, with no response to it.       So, of

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 168 of 238 PageID #: 16363
                                                                          385
                          B. Shapiro - Redirect/Burt

  1    course, they're not going to think intellectual disability,

  2    because they didn't have that information.      So that explains

  3    why they didn't diagnose him with intellectual disability.

  4               And it also explains why this expert is able to

  5    reach that diagnosis, because he had that information.       They

  6    didn't.

  7               MS. COHEN:   Again, your Honor, this is speculation

  8    about what they had, what they did not have.      There's a lot in

  9    the records about the drugs that were administered.       So to say

10     that the people giving the tests didn't know this, or what

11     they knew, it's complete speculation.

12                MR. BURT:    It is not.   If he is given a diagnosis at

13     age 6 and that examiner then -- he's passed on to somebody

14     else who for the next ten years gives him psychiatric meds,

15     and he doesn't respond, then it's not speculation that the

16     first doctor didn't have that information, because it didn't

17     come into existence until after the diagnosis was made.       It's

18     not speculation.

19                THE COURT:   Well, I think he's already answered the

20     question, hasn't he?     You talked about the PET scan, and he

21     said -- the doctor said it could be caused by a wide variety

22     of things, but the most likely, given his history, is probably

23     the meningitis, but it could've been anything that occurred

24     before the time of the PET scan, including things like trauma,

25     the medication, and alcohol exposure potentially.       So he's

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 169 of 238 PageID #: 16364
                                                                          386
                          B. Shapiro - Redirect/Burt

  1    saying -- he says, according to the real-time transcript, "So

  2    there are a number of things."

  3               MR. BURT:    Right.   I'm beyond the PET scan.   I'm now

  4    in a different area, which is what does it tell him that this

  5    child had seven or eight years' worth of drug meds and his

  6    behavior was not improving.      And that is in the evaluation

  7    that the Government featured in its cross; that is, the

  8    Mitchell Franks evaluation that she confronted Dr. Shapiro

  9    with and said, you know, we have all these evaluations.

10                THE COURT:   All right.   I'll let you do it, but he

11     may be here tomorrow on redirect.     So I'm just warning you

12     that you opened -- you're expanding it, and I'm going to give

13     them latitude to go into it.      So I hope Dr. Shapiro has a

14     comfortable bed tonight in a very nice hotel.

15                Go ahead.

16                THE WITNESS:   I will try to be brief.

17                THE COURT:   Well, that will be a nice change for

18     this hearing.

19     A    In terms of when you see a treatment failure, there are a

20     number of things that you need to think about.      You need to

21     think about whether you have the right diagnosis.       Probably

22     more likely in Mr. Wilson's case is the issue of incomplete

23     diagnosis, which is that several of the diagnoses that were

24     made were probably right at the time, but did not capture the

25     full amount.    The third thing would be the wrong medications.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 170 of 238 PageID #: 16365
                                                                          387
                          B. Shapiro - Redirect/Burt

  1    The fourth thing would be the wrong doses of medications.       And

  2    the fifth thing would be compliance, would be the main things

  3    that I would think about if my treatment program wasn't

  4    working.

  5    BY MR. BURT

  6    Q    Okay.

  7               And how about that he doesn't have the disorder that

  8    the meds are supposed to be addressing?

  9    A    That would be placed under the wrong medication.

10     Q    In other words, they're thinking ADHD or some other

11     disorder and he's not responding to the Ritalin or the

12     Thorazine.    I assume they were thinking some psychotic

13     disorder, right?

14     A    They're using it as a nonspecific sedative at that point.

15     Q    And if he's not responding, the inference -- one

16     inference would be maybe he doesn't have ADHD, maybe he's got

17     something else?

18     A    Right.

19     Q    Okay.

20                THE COURT:   Now, Doctor, you seem to imply that

21     language skills at an early age are a significant indicator of

22     the lack of or the existence of intellectual disability.       Is

23     that a fair statement?

24                THE WITNESS:   It's a very common presentation for

25     intellectual disability, is language delay.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 171 of 238 PageID #: 16366
                                                                          388
                          B. Shapiro - Redirect/Burt

  1               THE COURT:   Okay.    But that verbal skills or verbal

  2    statements, as we had in the -- in whatever we call the MDC

  3    tapes, are -- lack indicia of significance in determining the

  4    current state of intellectual disability.      Is that -- is that

  5    a fair summary or conclusion based on what you've already

  6    said?

  7               THE WITNESS:   Yes.   And let me expand on it just a

  8    little bit.

  9               THE COURT:   I'd appreciate it.    And I'd like to know

10     what the difference is between, you know, the two what it

11     would seem are related or overlapping issues.

12                THE WITNESS:   The way that most young children, very

13     young children, present is having too few words, okay?       And

14     what we're talking about relative to the older children and

15     young adults is the usage.      So they have enough words.   It's

16     their usage that seems to be impaired.

17                THE COURT:   And how are we going to know whether

18     someone who's watching the History Channel has too few words

19     as an adult, young adult, or whether the person's not even

20     watching the History Channel or -- or watching the nature

21     channel or watching PBS at the MDC?      How do you have any idea

22     whatsoever whether the language being used in those tapes has

23     any relationship at all to watching any type -- particular

24     type of television?

25                THE WITNESS:   One of the ways that you might

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 172 of 238 PageID #: 16367
                                                                          389
                          B. Shapiro - Redirect/Burt

  1    approximate an answer to that question is looking to see

  2    whether they are fairly stereotyped phrases that are in the

  3    language that is there.

  4               So, for example, in the case of Mr. Wilson, there's

  5    an awful lot of his language that pulls from music songs.       So

  6    when he's talking about things, there's continual leitmotif

  7    that the Government presented that suggested that a good deal

  8    of what his conversation revolves around and he uses as a

  9    means of communication is pulled from contemporary music.

10

11

12                (Continued on the next page.)

13

14

15

16

17

18

19

20

21

22

23

24

25

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 173 of 238 PageID #: 16368
                                                                          390
                          B. Shapiro - Redirect/Burt

  1                THE COURT:    And what does that mean, if anything?

  2                THE WITNESS:    So that he will have bits and phrases

  3    and themes that are there in songs, and pull them in as a

  4    method of communicating, so he uses those kinds of techniques.

  5                THE COURT:    So -- but what does that tell you, if

  6    anything?

  7                THE WITNESS:    Well, it may tell you that in terms of

  8    his own generation of things de novo, that it's limited and he

  9    depends on those other structures to help him communicate.

10                 THE COURT:    Would it be significant to you in any

11     way that Mr. Wilson has experience writing rap?

12                 THE WITNESS:    He may use the same themes that he

13     pulled from other rap songs to write his own rap.

14                 THE COURT:    And does that tell you anything about

15     his intellectual acuity?

16                 THE WITNESS:    It would tell you about his verbal

17     ability.    And the point is that you should not make the

18     inference that he is reasoning just because he is using bits

19     and pieces of things that he pulls from the world around him.

20                 THE COURT:    But you can reaching a conclusion as to

21     whether he's reasoning by -- can you not -- by listening to

22     and understanding his interaction with another person with

23     whom he's having a conversation, as to the substance as

24     opposed to the actual words?

25                 THE WITNESS:    Correct.   And that has to do more with

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 174 of 238 PageID #: 16369
                                                                          391
                          B. Shapiro - Redirect/Burt

  1    the topic that I tried to bring up, in terms of the

  2    superficial language that people use for cocktail talk, is not

  3    very -- shows very much reasoning, that most people talk about

  4    at cocktail parties, whereas the deeper in terms of the how --

  5    how and the why kinds of questions that get to the motivations

  6    and more competencies that are based on reasoning come from

  7    that.

  8               THE COURT:    Well, the conversation that he had with

  9    the woman who claimed or appeared to claim that he was the

10     father of her baby, her child, that wasn't cocktail party

11     conversation.   That was serious, if not terribly articulate on

12     the part of the woman.     That was serious conversation.    He

13     wouldn't have that conversation at a cocktail party -- unless

14     it was in the movies.

15                THE WITNESS:    Correct.

16                THE COURT:    Okay.   So we're not in the movies.

17     We're in the real world here.

18                THE WITNESS:    Okay.

19                THE COURT:    So where does that fit in this overall

20     picture, if you will?

21                THE WITNESS:    Well, I think that when I was

22     listening to it, I must say there was a lot to listen to in a

23     short period of time.     There were some errors in usage that he

24     made during the course of that conversation.

25                The other thing that I thought it expressed was his

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 175 of 238 PageID #: 16370
                                                                          392
                          B. Shapiro - Redirect/Burt

  1    concern for another human being, and the particulars in terms

  2    of the back and forth about the test.     I don't -- can't say

  3    what that was -- what that implied.

  4               THE COURT:    Well, we all learn from lots of

  5    different sources.

  6               THE WITNESS:    Correct.

  7               THE COURT:    And you may learn a lot from television,

  8    right?   And so, your vocabulary is a combination of concepts

  9    of words that you've learned from your overall experience.

10                So you may learn more by talking to the person in

11     the next cell than you're learning from a television show.

12     You have no way of knowing from whence the defendant learned

13     some of words that he used in the conversation with this woman

14     or with anybody else.     Isn't that fair to say?

15                THE WITNESS:    That is absolutely fair to say.

16                THE COURT:    Well, how much more do you have on

17     direct examination?

18                MS. COHEN:    None.

19                THE COURT:    Redirect.

20                MS. COHEN:    Yeah --

21                THE COURT:    I'm doing redirect here.

22                MS. COHEN:    Oh, I'm sorry.

23                THE COURT:    Redirect.

24                MS. COHEN:    I'm sorry, Your Honor.

25                THE COURT:    Mr. Burt?

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 176 of 238 PageID #: 16371
                                                                          393
                          B. Shapiro - Redirect/Burt

  1                MR. BURT:    I probably have a half an hour.

  2                THE COURT:    A half an hour?      We'll take a

  3    fifteen-minute break.

  4                I said redirect.      All right.    Thank you.

  5                (Recess.)

  6                THE COURT:    All right.   The witness will retake the

  7    stand, please.

  8                THE WITNESS:    Thank you.

  9                (Witness resumes the stand.)

10                 THE COURT:    Okay.   You may continue.

11                 Please be seated, everyone.

12                 All right, Mr. Burt.      You may continue.

13                 While we're waiting for the defendant, just have a

14     seat, sir.

15                 THE WITNESS:    Thank you.

16                 THE COURT:    Just waiting for the defendant.

17                 (Defendant enters.)

18                 THE COURT:    All right.   The defendant is present.

19     You may continue, sir.

20                 MR. BURT:    Thank you.

21     BY MR. BURT:

22     Q    I want to focus for a minute on a question the Court

23     asked, which is, how do you know what influences he has been

24     exposed to in a custodial setting in terms of judging his

25     language?    That's context, right.      You've got to know what

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 177 of 238 PageID #: 16372
                                                                          394
                          B. Shapiro - Redirect/Burt

  1    influences he has had and what impact they have had on him in

  2    terms of judging his language?

  3    A    That's correct.

  4    Q    And is that the whole reason why they say don't rely on

  5    verbal behavior, because we don't know enough about the

  6    context?    Is that what they mean when they're referring in the

  7    book to the context?

  8    A    You're talking about the Classification Manual?

  9    Q    Yeah, in the green book.     Do not use verbal behavior?

10     A    Yes.

11     Q    Context in the sense of, we don't know what educational

12     efforts he has been exposed to, what influences, what he's

13     read, what he's seen, those types of things?

14     A    And what people ever taught him.

15     Q    Now, in the earlier time period, there are people who

16     evaluated his verbal skills in a clinical setting, correct?

17     A    Correct.

18     Q    And one of the people that your attention was brought to

19     on cross-examination was Mitchell Franks.      Do you recall those

20     questions on cross-examination?

21     A    Yes.

22     Q    And he was a court evaluator who was evaluating

23     Mr. Wilson in 1997, not for purposes of an educational

24     evaluation, but as part of a court assessment process?

25     A    Correct.

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 178 of 238 PageID #: 16373
                                                                          395
                          B. Shapiro - Redirect/Burt

  1    Q      His information is listed on your chart, is it not, but

  2    there's no scores indicated?

  3    A      That's correct, because he gave a number of subtest

  4    scores, but did not give a full WISC battery.

  5    Q      Okay.    So he didn't give enough of the test to be able to

  6    compute a verbal or a performance or a full IQ test?

  7    A      That's correct.

  8    Q      However, he did write a report that's in the records that

  9    you reviewed, correct?

10     A      Right.

11     Q      And I think you were asked on cross whether you did

12     review it?

13     A      Yes.

14     Q      Okay.    Now, one of the things he says in that report --

15     and this is at GOV 3980.      He says, quote, Earl Wilson, a 14,

16     11 month-year-old male responded, who usual actually sucked

17     his thumb when not replying to questions, was passively

18     cooperative with the interview procedure, replying to

19     questions in brief, occasionally mumbled answers, using a

20     limited and concrete vocabulary.      Do you have that in front of

21     you?

22     A      3980?

23     Q      3980.

24     A      Yes, I do. (Peruses document.)

25     Q      Do you see that under "Clinical Interview"?

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 179 of 238 PageID #: 16374
                                                                          396
                          B. Shapiro - Redirect/Burt

  1    A    Yes.

  2    Q    And this is Dr. Franks not reviewing jail conversations,

  3    but actually clinically evaluating Mr. Wilson for his language

  4    skills in a clinical setting, where he's controlling what the

  5    interaction is, right?

  6    A    Yes.

  7    Q    And what does that mean when he says, "Limited in

  8    concrete vocabulary"?

  9    A    He's using that in terms of the fact that his total scope

10     of words that he used during the interview was not as large as

11     he would have expected for a 14 year, 11 month old, and he

12     felt that the words that he used were not as expansive.

13                 So then in other words, that might be used -- they

14     were much like more like words explaining the who, what, where

15     kind of questions, rather than the more abstract kind of

16     language that's used, like feelings and things like that.

17     Q    Okay.    Then he says on the next page -- this is at 3981

18     -- "Because of the limited vocabulary of the respondent during

19     the interview, the examiner tested respondent with four

20     subtests from the Wechsler Intelligence Scale for Children,

21     Third Edition, and with one nonverbal subtest from the same

22     instrument."

23     A    Yes, I see that.

24     Q    Right?    So in other words, he's giving him a partial

25     battery at this point?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 180 of 238 PageID #: 16375
                                                                          397
                          B. Shapiro - Redirect/Burt

  1    A    Correct.

  2    Q    And he says, "The respondent's score on all four

  3    subtests, which tested for general knowledge, understanding of

  4    social norms, concept for formation ability and arithmetic

  5    calculation yielded scores consistent with a mildly deficient

  6    range of cognitive abilities."

  7                What does that language mean, "Within the range

  8    of -- consistent with mildly deficient range of cognitive

  9    abilities"?

10     A    Well, the four subtests that he used were information,

11     which is the general knowledge that appears to be,

12     comprehensive, which is the understanding of social norms,

13     concept formation abilities, similarities, and arithmetic

14     calculation yielded scores consistent with mildly deficient

15     range of cognitive abilities, which means that that his

16     subtest scores were more than two standard deviations below

17     the mean, equating to subtest scores probably of four or less.

18     Q    Four or less?    Okay.   So he is indicating here scores

19     consistent with a mildly deficient range of cognitive

20     abilities?

21     A    Correct.

22     Q    Meaning intellectual functioning --

23     A    Yes.

24     Q    -- within the first prong that we're talking about?

25     A    Yes.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 181 of 238 PageID #: 16376
                                                                          398
                          B. Shapiro - Redirect/Burt

  1    Q    Okay.    Then he says, "On the other hand, the nonverbal

  2    subtest employed which tests for visual recognition of the

  3    environment and visual scanning ability, indicated average

  4    level abilities in this sphere."     Right?

  5    A    Right.

  6    Q    So he's given one performance subtest?

  7    A    Yes.

  8    Q    And he's coming up with a normal score there?

  9    A    Yes.

10     Q    Which is consistent with a pattern that you observed in

11     all the other scores, correct?

12     A    Correct.

13     Q    Okay.    And then he says, "Overall intelligence is

14     estimated as being in the borderline range, though it is a

15     critical factor that the respondent is significantly limited

16     in the verbal area."    Correct?

17     A    Correct.

18     Q    And then he reaches an Axis II diagnosis of borderline

19     intellectual functioning.    And he says underneath that, "This

20     is a fairly limited youth intellectually, with probably even

21     more debilitating limitations in the way of his social

22     behavioral developmental level.     There is danger that is

23     exploitable criminally because of the above issues."

24                 That was his clinical opinion, correct?

25     A    Correct.

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 182 of 238 PageID #: 16377
                                                                          399
                          B. Shapiro - Redirect/Burt

  1    Q    And is that consistent or inconsistent with your

  2    diagnosis of mild intellectual disability in this case?

  3    A    It's consistent.

  4    Q    And can you tell us why?

  5    A    It's consistent because of fact that even though he did a

  6    limited battery, and I think that we need to be cautious to

  7    some degree about his conclusion to Axis II, because it was a

  8    limited battery -- that he recognized that there was a

  9    substantial verbal performance discrepancy, and then he

10     exercised his clinical judgment as a result of his

11     interactions with Mr. Wilson, and concluded that he was

12     limited, and that the function was limited, as well.

13     Q    Now, the language that -- or his verbal abilities that he

14     characterizes here as limited in concrete, those are different

15     than how would you characterize the jail conversations from

16     2012?

17     A    Correct.

18     Q    And so what accounts for that difference?      How can he go

19     from being intellectually impaired at 14 and-a-half to

20     something better in 2012?    How does one advance in those

21     verbal areas.

22     A    (Peruses document.)    Well, the general knowledge is

23     something that with greater exposure, he might show some

24     improvement on there, information.

25     Q    Greater exposure in what sense?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 183 of 238 PageID #: 16378
                                                                          400
                          B. Shapiro - Redirect/Burt

  1    A    To academics and academic-type pursuits, which would have

  2    to do -- which he did in the jail situation.

  3    Q    And by -- this is an at age 14, right?      This is

  4    pre-Brookwood?

  5    A    Yes.

  6    Q    And Brookwood, as you understood it, was just a lockdown

  7    or was there an actual effort there to try to program these

  8    kids in terms of developing them intellectually and

  9    educationally?

10     A    My impression, after talking to Mr. Gilio was that

11     Brookwood was a -- had a therapeutic aspect to it as well as a

12     penal aspect to it.

13     Q    Is one indication of that the volume of records that were

14     produced from that institution?

15     A    Yes.

16     Q    I mean, in a place that's just a lockdown, you don't tend

17     to get a lot of records, do you?

18     A    I don't know the answer to that question.

19     Q    Okay.    Here, these are the Brookwood records.     This is in

20     C-4, quite a bit of workup on him during that time period,

21     which as you look on the chart there, was for about a year?

22     A    Yes.

23     Q    Right?   Exposed to educational programs, including

24     computer literacy programs.    Did you note that on your

25     records?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 184 of 238 PageID #: 16379
                                                                          401
                          B. Shapiro - Redirect/Burt

  1    A    Yes.

  2    Q    What would you expect if there was efforts to educate

  3    someone with a mild disability?     Would you expect that they

  4    would have no progress, some progress, little progress?

  5    A    I think when we're talking about people with intellectual

  6    disability, they have the capacity for making progress, it's

  7    just at a slower rate.    So he would be expected to make

  8    progress.

  9    Q    Okay.   And you saw the workup that was done on him in

10     November of 1999, just before he was released?

11     A    Are you referring to the workup by Mr. Gilio?

12     Q    Well, I'm referring to the workup from the Brookwood

13     folks and specifically, page 3478, which is sort of a

14     discharge summary.

15     A    I don't remember seeing this one before.

16     Q    Okay.   Let me ask you about it.    This shows skills.

17     Apparently, as is typical in the record, these records, they

18     list what the goals are and then note the progress, right?

19     A    Yes.

20     Q    So on this page, they have skills, personal competency,

21     and they note that in June of 1998, he made some progress.        A

22     year later, he made some progress.     And a year, in November of

23     '99, they note very good progress in the area of academics.

24                 Is that an atypical pattern for someone in a highly

25     structured environment who is exposed to educational programs

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 185 of 238 PageID #: 16380
                                                                          402
                          B. Shapiro - Redirect/Burt

  1    to make that kind of program progress or is that inconsistent?

  2    A    It's has not atypical, especially given his prior social

  3    environment.

  4    Q    Okay.   Then, on the same page its says, another goal was,

  5    independent living, "Youth possesses skills necessary to live

  6    on his or her own."    Right?

  7    A    Correct.

  8    Q    And in June of 1998, some progress.      June of '99, it

  9    says, "Earl has not yet acquired necessary skills needed for

10     successful in living."    And in November, just before his

11     release, it says, "He's made some progress, but he does not

12     yet have all the skills necessary for successful independent

13     living."

14                 Is that consistent or inconsistent with someone with

15     an intellectual disability, given the nature of the program

16     that he was being exposed to at that point in time?

17     A    It is likely that he made progress.      I just don't know

18     which of the skills that he was lacking, to which they're

19     referring.

20     Q    But you do know the evaluation was that he lacked the

21     ability to live independently, despite their educational

22     efforts during that year or year and-a-half period that he was

23     in there?

24     A    Correct.

25     Q    Now, the other people that evaluated him, the first

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 186 of 238 PageID #: 16381
                                                                          403
                          B. Shapiro - Redirect/Burt

  1    evaluation took place when he was six years old, right?

  2    A    Correct.

  3    Q    And do you remember at Elmhurst, in February or January

  4    of 1989, he was admitted to that facility for behavioral

  5    disturbance at school?

  6    A    Correct.

  7    Q    Okay.   Do you recall that his aunt brought him in and

  8    provided some history in the initial entry?

  9    A    Correct.

10     Q    And this is nursing notes dated -- entry notes dated

11     January 25th, '89.    It shows, "Presenting problems,

12     aggressive, compulsive, uncontrollable tantrums, poor

13     attention span, peer difficulties," and then under the section

14     about prior medical history, it says, "Has child been in

15     hospital before?   When and where?"    And the evaluator has

16     written in, "Denies previous hospitalization."      Correct?

17     A    Correct.

18     Q    And you know from your review of the meningitis records

19     that that information is not correct?

20     A    Correct.

21     Q    And shortly after he was admitted, he was evaluated by a

22     resident by the name of Dupree, S.     Dupree, correct?

23     A    Yes.

24     Q    And Dupree filled out a psychiatric evaluation, which is

25     at GOV 105, correct?

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 187 of 238 PageID #: 16382
                                                                          404
                          B. Shapiro - Redirect/Burt

  1    A    Correct.

  2    Q    And the second page of that evaluation, it's got medical

  3    history, and what did he write down there?

  4    A    "None."

  5    Q    And we know that's incorrect information, correct?

  6    A    Correct.

  7    Q    Then he did a formal evaluation, right?

  8    A    Yes.

  9    Q    Very short evaluation reported by this resident, correct,

10     dated February 15th, 1989?

11     A    This may not be the full evaluation.      This is a letter

12     that arose from the evaluation, requesting a special education

13     placement.

14     Q    You're right.    The evaluation I just showed you was the

15     evaluation that was handwritten, correct?

16     A    Right.

17     Q    And the letter notes the detail that he's a black boy, a

18     six-year-old black boy, right?

19     A    Yes.

20     Q    The second paragraph there, but it doesn't know that

21     detail, because he didn't know it, that Mr. Wilson had been

22     diagnosed with meningitis?

23     A    That's correct.

24     Q    And what is the diagnosis that he reaches?

25     A    He speaks to Oppositional Defiant Disorder and Academic

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 188 of 238 PageID #: 16383
                                                                          405
                          B. Shapiro - Redirect/Burt

  1    Skills Disorder.

  2    Q    And does that diagnosis from that point on follow

  3    Mr. Wilson through these Elmhurst records?       Is that repeated

  4    over and over and over again?

  5    A    Yes.

  6    Q    Was it significant that he didn't know of the meningitis

  7    when he's looking at this six-year-old kid who's having

  8    behavioral problems?

  9    A    Yes.

10     Q    Why?

11     A    Well, I think that the question when you see children who

12     you call Oppositional Defiant Disorder, means the child

13     doesn't do something and when they're asked, for example.       And

14     the question always comes down to are they not doing it

15     because they're being willful or are they not doing it because

16     they're unable?    And consequently, the need to distinguish

17     whether they're able or unwilling is really in my mind the key

18     thing that would make for a diagnosis of Oppositional Defiant

19     Disorder.    I see many children who are called ODD,

20     Oppositional Defiant Disorder, who are intellectually limited.

21                 MS. COHEN:    Your Honor, I'm just going to object and

22     move to strike this.      I mean, we asked and gone into this as

23     long as -- it seems on the prior objection.       We've gone well

24     into the meningitis.

25                 Now he's got the reason for the misdiagnosis he is

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 189 of 238 PageID #: 16384
                                                                          406
                          B. Shapiro - Redirect/Burt

  1    now talking about is because of the meningitis, when

  2    Dr. Shapiro's report says there's -- he couldn't determine the

  3    causation from meningitis.     So it's just, again, going down

  4    further and further into this road, and so we object.

  5               MR. BURT:    Your Honor, I'm not sure I understand the

  6    objection, that it's going down a road.      I'm done with this

  7    area, in any event, but I think the question is relevant for

  8    the reasons I stated before, and when we talked about prior

  9    diagnosis, and what information the clinician had when the

10     diagnosis was made.

11                THE COURT:    I'll take it for what it's worth.    I'll

12     take it for what it's worth.     Go ahead.

13                MR. BURT:    Thank you.

14     BY MR. BURT:

15     Q    Now, the Court raised a question which I wanted to

16     address, which is how you can say that some of these scores

17     are reliable and other scores are not reliable.      That's an

18     important question.

19                So first of all, you had some slides about that in

20     your presentation, correct?

21     A    Correct.

22     Q    Where you talk about the various sources of examiner or

23     score differences, when you see a pattern of scores and

24     differences.    What could account for those differences?     What

25     can cause unreliable scores?     One of the things you talked

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 190 of 238 PageID #: 16385
                                                                          407
                          B. Shapiro - Redirect/Burt

  1    about was examiner error?

  2    A    Correct.

  3    Q    Right.    And what one of slides that I think you didn't

  4    get a chance to talk about was the nature of those errors.

  5    This is slide 51, where you talked about the literature on

  6    this, right?    Examiner errors on the Wechsler Scales?

  7    A    Yes.

  8    Q    And this is a study you quote, it says, one of the most

  9    common errors that examiners make is assigning too much credit

10     to examining responses.

11     A    Correct.

12     Q    Correct?    And that's because the nature of these tests

13     have specific questions that are asked, and answers are given.

14     The protocol calls for you to write the answers down and then

15     evaluate the answers?

16     A    Correct.

17     Q    Now, in all the tests you had to look at here, you only

18     had two where you actually had the testing booklets where the

19     answers were written down, where you can see what Mr. Wilson

20     said and whether the scoring was proper, correct?

21     A    Correct.

22     Q    And that was the Nagler examination, correct?

23     A    (Peruses document.)

24     Q    Which is at GOV 3954?

25     A    Correct.   I have that one.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 191 of 238 PageID #: 16386
                                                                          408
                          B. Shapiro - Redirect/Burt

  1    Q    Okay.    And the actual and -- luckily for that test, the

  2    actual answers are -- were in your file and you were able to

  3    retrieve those, right?

  4    A    (Peruses document.)    Correct.

  5    Q    And so, if you look, for instance, at page 3955, this is

  6    the actual part or part of the instrument that she

  7    administered which is the WISC C, right?

  8    A    This is the comprehend subtest.

  9    Q    And comprehension, where that word says, you're asking --

10     giving the examinee a list of words and writing down the

11     responses and then you're using the scoring manual to decide

12     whether the score is a zero, a one or a two.

13     A    The comprehension subtest is a subtest where a scenario

14     is asked.    So for example, why do we have telephone books?

15     Why do we inspect meat?    Those are the types of questions

16     that -- why do we have license plates?      Those are the kinds of

17     questions that are asked on the comprehension subtest and then

18     the responses are recorded.

19     Q    Okay.    And in this case, since you have the testing

20     booklet, you can see what scores she gave him on the right,

21     two for the first, one, zero, one, one.      That's how the scores

22     are derived, right?

23     A    Correct.

24     Q    And you can review that data and see whether she did it

25     correctly?

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 192 of 238 PageID #: 16387
                                                                          409
                          B. Shapiro - Redirect/Burt

  1    A    Correct.

  2    Q    And with the exception of the scoring error, which I

  3    think you talked about, you determine that this test was done

  4    correctly?

  5    A    There is a page missing.     If you see on the previous page

  6    to the subsequent page, it went from eight to ten.       But it

  7    looked as though that she was doing it correctly.

  8    Q    Okay.   But the point is you at least have the booklet so

  9    you can look at this?

10     A    Correct.

11     Q    And determine whether the score is reliable or whether

12     instead, you had the type of scoring errors that you talked

13     about in your PowerPoint, where the examiner is assigning too

14     much weight or credit to the response?

15     A    Correct.

16     Q    The only other testing booklet that you had was

17     Dr. Drob's testing booklet, correct?

18     A    Correct.

19     Q    And you reviewed that and evaluated it, determined that

20     it was done correctly?

21     A    Correct.

22     Q    Now, you also had -- after you wrote your report, you got

23     Dr. Denny's testing booklet, so you were able to look at that

24     raw data, correct?

25     A    Correct.

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 193 of 238 PageID #: 16388
                                                                          410
                          B. Shapiro - Redirect/Burt

  1    Q    And as far as you could tell, that did he make any errors

  2    in his scoring?

  3    A    No overt errors that I was able to determine.

  4    Q    And you were able to determine that because could you

  5    review the testing booklet, look at the manual and see whether

  6    he did it correctly?

  7    A    Correct.

  8    Q    Now, for all the other tests, you couldn't do that,

  9    correct?

10     A    Correct.

11     Q    But there were some notes, for example, in the Pop

12     examination, what you had there were some notes indicating

13     what subtests he had done?

14     A    Right.   Dr. Pop prorated a number of the performance

15     subtests.

16     Q    Although you didn't have the testing booklet, he at least

17     wrote down what subtests he gave and what tests he didn't

18     give?

19     A    Correct.

20     Q    So at least there, you're able to say, well, we know that

21     he didn't give the full battery, that he estimated the scores

22     for the ones that he didn't give somehow, and came up with a

23     score?

24     A    Correct.

25     Q    And the ones he didn't give are the very subtests that

                              LISA SCHMID, CCR, RMR
                                Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 194 of 238 PageID #: 16389
                                                                          411
                          B. Shapiro - Redirect/Burt

  1    Mr. Wilson scored lower on when he was given those subtests by

  2    other people?

  3    A    Correct.

  4    Q    For the other examiners, you couldn't even tell which

  5    subtests they gave, correct?

  6    A    Often, that was the case.

  7    Q    For the Aranoff examination, she had some notes

  8    indicating -- (peruses document.)

  9               You didn't have in the Aranoff examination, you

10     didn't have the raw testing data.      You had this entry, which

11     is 3934, indicating that she gave a WISC-3, and that the

12     testing was done on four separate days, correct?

13     A    (Peruses document.)    Correct.

14     Q    And the dates were ten -- looks like 10-28-93, 11-5 and

15     looks like 11-6?

16     A    It's 11-8.

17     Q    Eleven-eight-93?

18     A    And the first one was 10-27.

19     Q    Although you didn't have the testing booklet from her,

20     you knew that she did the testing over the course of a number

21     of days, correct?

22     A    Correct.

23     Q    And you also knew from the protocol, the manual for that

24     test, that the way she did it by stretching it out over a

25     number of days was not in accord with the protocol for giving

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 195 of 238 PageID #: 16390
                                                                          412
                          B. Shapiro - Redirect/Burt

  1    the test, correct?      Isn't that true?

  2    A    If she did it over the four days, it was a violation of e

  3    protocol.

  4    Q    And what does the protocol say when you're supposed to

  5    give this?

  6                MS. COHEN:    Objection, Your Honor.   I think we're

  7    referring to the date seen.       There is nothing on this page

  8    that indicates the exact date of the test.       So, I mean,

  9    speculation as to whether the test was done given on one of

10     those or spread throughout all the days.

11                 MR. BURT:    Yeah.    That's a good point.

12     BY MR. BURT:

13     Q    The point is, you don't know whether these days refer to

14     whether she gave the test or what it refers to?

15                 THE COURT:    So you don't know if it violated the

16     protocol or not, is the point the government is making.

17                 MR. BURT:    Right.

18                 THE COURT:    So it's all speculation.

19     BY MR. BURT:

20     Q    There is no way to tell whether she followed protocol in

21     the case, correct?

22     A    Correct.

23                 THE COURT:    Is there a presumption of correctness or

24     incorrectness in these situations?       Are these professionals or

25     not professionals?      I'm sorry.   You know, unless you have got

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 196 of 238 PageID #: 16391
                                                                          413
                          B. Shapiro - Redirect/Burt

  1    more, if you tell me this person was drummed out of the

  2    testing business, that would be one thing.

  3                But, you know, why should the Court conclude or

  4    presume that because you don't have this information, that the

  5    testing was not done properly?

  6                MR. BURT:    (No response.)

  7                THE COURT:    Go on.   Ask your next question.

  8    BY MR. BURT:

  9    Q    At page 3939, do you see the entry that was made by her,

10     the handwriting at the bottom?

11     A    (Peruses document.) Yes.

12     Q    What does that say?

13     A    You want the nurse's note or the psychologist's note?

14     Q    No, I want the psychologist's note, Dr. Aranoff.        If you

15     look at the next p"age, you'll see that she signed this note.

16     A    Yes.   It says,     "Earl was tested psychologically on

17     October 27 and 28 and November 5th and 8th.      Earl's

18     cooperation" --

19     Q    That's all I want.      So she is saying he was tested

20     psychologically on October 27th and 28, and November 5th and

21     6.   Now, again, there's ambiguity there because you don't know

22     what test she gave on what date, correct?

23     A    Correct.

24     Q    If you had the booklet, you would be able to tell whether

25     she followed protocol or not?

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 197 of 238 PageID #: 16392
                                                                          414
                          B. Shapiro - Redirect/Burt

  1    A    Presumably.

  2    Q    So, what weight can you give a score like that, given

  3    that you don't have raw data, given that there is a practice

  4    effect issues which we talked about before?

  5    A    (No response.)

  6    Q    In terms of answering the Court's question about which of

  7    these are reliable, which are not, what weight can you give to

  8    this score?

  9    A    I think all you have are the numbers.       You really have no

10     way of validating the numbers that she generated.

11     Q    And in terms of the Court's question about, well, is

12     there a presumption of competency or not competency, I think

13     your slides address that, because you cited the literature,

14     which the studies say --

15                 THE COURT:    Why don't you let him answer the

16     question?   I'm allowing you to lead somewhat, but basically,

17     you're testifying.      He ought to be testifying.   Let him

18     testify.

19                 MR. BURT:    Sure.

20                 THE COURT:    If he's got an answer, he can give it.

21     If he doesn't have an answer, let's move on.       I don't really

22     want you to testify.      I want him to testify.

23     BY MR. BURT:

24     Q    What do the studies that are cited in your presentation

25     tell us about whether there is a presumption that errors are

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 198 of 238 PageID #: 16393
                                                                          415
                          B. Shapiro - Redirect/Burt

  1    made or not made in these tests?

  2    A    What the studies that we put into the slide packet

  3    suggest is that errors are very common in cognitive assessment

  4    batteries, and that they run the range from violations of

  5    protocol to simple addition errors, and errors in technique,

  6    which may not necessarily be a violation of protocol, and then

  7    the other one is the issue of interpretation, which we just

  8    spoke of.

  9                THE COURT:    In the historical situation such as

10     this, where we're looking back, it's clear that the Supreme

11     Court was looking for a way to delineate and differentiate

12     normal intelligence from intelligence that was deficient.       All

13     right?   But precision is not is not really available to us.

14                 Because of all the factors that you've been

15     discussing and Mr. Burt has brought out, that in the testing

16     process, there are -- there are situations which are not

17     equal.   There are different testers use different techniques.

18     You can't go back and identify every technique and everything

19     that was said, in every testing situation.

20                 So apart from the grossest kinds of disparities, how

21     much can a Court, do you think or you rely on these small

22     disparities in reaching a conclusion as to whether someone has

23     mental retardation or an intellectual disability?       With your

24     experience, your years of experience, dealing with this, with

25     individuals in a clinical setting, as well as examining

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 199 of 238 PageID #: 16394
                                                                          416
                          B. Shapiro - Redirect/Burt

  1    records, which is what you did here?

  2               THE WITNESS:    And I think I do a fair amount of

  3    record examining, as well, but I think --

  4               THE COURT:    Speak into the microphone.   I know

  5    you're trying to look at me.       Talk into the microphone.

  6               THE WITNESS:    Okay.    I think that the question is an

  7    extremely important one, because in the clinical setting, we

  8    are permitted a little bit more wobble than we are in this

  9    proceeding.

10                In the clinical setting, if I am off by a couple of

11     points, it isn't going to make that much difference,

12     particularly in the current era, because we no longer have --

13     from people with mild intellectual disability we do not have

14     segregated classes for them anyway.       We're working on

15     inclusion, so if I decide --

16                THE COURT:    Mainstreaming?

17                THE WITNESS:    Mainstreaming.

18                THE COURT:    As we describe it.

19                THE WITNESS:    So that for me, as a clinician,

20     clearly, I want to be as accurate as I can, but there are

21     situations where it may be a point or two one way toward the

22     other that -- then we need to then say, oh, so what other

23     things does this particular child requires, and let's not get

24     so detailed in terms of the diagnosis.

25                The other thing that happens with children is that

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 200 of 238 PageID #: 16395
                                                                          417
                          B. Shapiro - Redirect/Burt

  1    you can do another evaluation down the road to see -- and this

  2    is where we were talking about some of the issues about the

  3    practice effect and why they came up with the recommendation

  4    for every year or every three years, depending on the age of

  5    the child and every five years with adults, to be able to see

  6    just how the person has been progressing.

  7               So I think that the issue of the type of small

  8    disparities that we have been talking about for the past

  9    couple of days is important, but not the overwhelming thing

10     when we're talking about clinical care.

11                THE COURT:    All right.

12     BY MR. BURT:

13     Q     So in light of that, is the best, in your clinical

14     practice, because of what you just said, you can take the test

15     again three years down the line -- in this context, where

16     you're being asked to assess intellectual disability at a

17     specific point in time is the most reliable data point, the

18     one closest in time to whatever event it is you're anchored

19     to?

20     A     And then because of the concerns that I have about the

21     minor disparities that the Judge brought up very nicely, I

22     think that I would advocate for using the 99th ninth

23     percentile competence limit as opposed to the 95th or the

24     90th, because the 95th competence limit around there, you

25     still have a five percent chance of being incorrect, in either

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 201 of 238 PageID #: 16396
                                                                          418
                          B. Shapiro - Redirect/Burt

  1    direction, I might add -- but in terms of the discussion that

  2    we're talking about for today, I would be much more concerned

  3    about being too high than too low.

  4               MR. BURT:    Okay.    That's all I have.   Thank you,

  5    Doctor.

  6               THE COURT:    Do you have the 99th competence limit

  7    here, on this chart?

  8               THE WITNESS:    It's not on the chart, Your Honor.

  9               THE COURT:    Okay.

10                THE WITNESS:    I was doing some --

11                THE COURT:    Would you can you venture a conclusion

12     as to whether we have sufficient raw data to evaluate any of

13     these tests, apart from taking into account the practice

14     effects of subsequent testing after 1989, which was the first

15     test?   If you take this to its -- your comment about the

16     practice effects --

17                THE WITNESS:    Uh-hum (affirmative response).

18                THE COURT:    -- on subsequent testing, are we left

19     only with the 1989 results, to be consistent?

20                THE WITNESS:    I think that that would be one of

21     those disparities that you point to, that would need to kind

22     of be taken into account when you're saying that this is an

23     accurate reputation of this person's incapacities.

24                THE COURT:    Thank you.

25                Do you have anything?

                               LISA SCHMID, CCR, RMR
                                 Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 202 of 238 PageID #: 16397
                                                                          419
                          B. Shapiro - Redirect/Burt

  1                MS. COHEN:    Just a few questions, Your Honor.

  2                THE COURT:    Yes, just a few.

  3                MS. COHEN:    Just a few.

  4    RECROSS-EXAMINATION

  5    BY MS. COHEN:

  6    Q    Dr. Shapiro, you have just talked about -- you just asked

  7    some questions about what you do in your clinical practice.

  8    Do you recall that?

  9    A    Yes.

10     Q    And you were called here to testify about the standard of

11     practice today, right?

12     A    Yes.

13     Q    In addition to actually -- withdrawn.

14                 You were called here to render an opinion based on

15     science, right?

16     A    And my clinical experience, yes.

17     Q    And based on the standard practice, right?

18     A    Right.

19     Q    So in your standard of practice, you rely on

20     psychologists all the time, correct?

21     A    Frequently.

22     Q    And so you were called here to render an opinion on the

23     standard of practice and your opinion on what should be done

24     in an Atkins hearing is really not within your -- that's not

25     what you're here to render an opinion on, correct?       In other

                                LISA SCHMID, CCR, RMR
                                  Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 203 of 238 PageID #: 16398
                                                                          420
                     B. Shapiro - Recross/Cohen

  1    words, you were just saying this a different kind of

  2    proceeding, so things changed, right?     You just said that?

  3    A    I said that is my opinion, that this should be a higher

  4    standard because of letter vagaries of testing, to insure that

  5    we're taking a correct -- making a correct decision.

  6    Q    Now, when you -- you also asked the question about

  7    independent living from Brookwood.     Do you recall that?

  8    A    Yes.

  9    Q    And Mr. Wilson indicated that when he was leaving

10     Brookwood, that he wasn't quite ready to live independently?

11     A    Correct.

12     Q    And you also aware that Mr. Wilson was 17 years old at

13     the time, correct?

14     A    Correct.

15     Q    And you also asked questions about what happened after

16     the cross-examination last night or -- sorry.      You talked

17     about the fact that you went back to your hotel room and

18     looked at some issues, right?

19     A    Correct.

20     Q    And you said that you worked on these issues, right?

21     A    Yes.

22     Q    But it was Mr. Burt really that was working on the

23     issues, correct?

24     A    I asked him to gather some data for me.

25     Q    Right.   In fact, he was the one that emailed Dr. Kaufman,

                             LISA SCHMID, CCR, RMR
                               Official Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 204 of 238 PageID #: 16399
                                                                          421
                     B. Shapiro - Recross/Cohen

  1    correct?

  2    A    Correct.

  3    Q    And Dr. James is the psychologist who's also going to

  4    testify for the defense in this case, correct?

  5    A    Correct.

  6               (Continued on the next page.)

  7

  8

  9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 205 of 238 PageID #: 16400
                                                                          422
                     B. Shapiro - Recross/Cohen

  1    Q    And it was her records that you relied upon, right?

  2    A    I used some of her data.

  3    Q    And you looked at the scores that she compiled, correct?

  4    A    Yes.

  5    Q    And originally you got the normative data from Dr. James,

  6    right?

  7    A    Excuse me?

  8    Q    The normative data for the Flynn effect, you got them

  9    from Dr. James, right?

10     A    Yes.

11     Q    And you testified in the Davis case with Dr. James as

12     well, correct?

13     A    Again, she testified and I testified.      We didn't testify

14     together.

15     Q    You were in the same proceeding?

16     A    Well, we were on the same playing level.      I didn't meet

17     her at that proceeding.

18     Q    But you looked at her report, correct?

19     A    Yes.

20     Q    And in her report at that time in the Davis case, she

21     used for the WAIS-III the 1997 normative date and not the 1999

22     normative data.   In fact, I have her report here if you'd like

23     to see it to refresh your recollection?

24     A    Can you repeat the question?

25     Q    Sure.   The Davis -- in the Davis case, Dr. James used the

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 206 of 238 PageID #: 16401
                                                                          423
                     B. Shapiro - Recross/Cohen

  1    normative date for the WAIS-III as 1997.      And you used it in

  2    1995.   You're saying it's 1995, correct?

  3    A    That's correct.

  4    Q    Okay.

  5    A    From one of the people who participated in the

  6    standardization of that instrument.

  7    Q    But yesterday when I showed you the actual instruments

  8    with the normative copyright date, you agreed with me,

  9    correct?

10     A    At that point in time I needed to do the research to

11     verify.    And it bothered me, which is why I went back to look

12     at it, because I didn't understand precisely what you were --

13     what was -- how that was -- what that was defining.        But the

14     answer to your question specifically is yes.

15     Q    Yes.    And Dr. James who's highly regarded used 1997 in

16     the Davis case, right?

17     A    Correct.

18                 MR. BURT:    I'm going to object to 403 at this point.

19     She's trying to impeach him with another expert's opinion that

20     he didn't rely upon.      I don't think it's helpful.

21                 MS. COHEN:    Your Honor, he relied upon it in the

22     Davis case.

23                 MR. BURT:    There's no foundation for that.

24                 MS. COHEN:   I can lay the foundation.   But I can

25     make another question which gets really to the point.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 207 of 238 PageID #: 16402
                                                                          424
                     B. Shapiro - Recross/Cohen

  1                THE COURT:   All right.   Ask your other question.

  2    BY MS. COHEN

  3    Q    Dr. Shapiro, there are a lot of -- there's a lot of

  4    disagreement on this point, correct?

  5    A    I'm sorry?

  6    Q    There was a lot of disagreement here on this point?

  7    A    On which point?

  8    Q    On the normative data, correct?

  9    A    I don't think so anymore after reviewing Dr. Flynn's

10     article since he was the one that defined the effect and he

11     defined the nomadization and used the data that was based on

12     that to develop his principle.     If he was off by two years in

13     that development then there would've been a systematic error

14     that would've accounted for a greater change than he reported.

15     Q    You would agree that something so important like this,

16     there should be one general standard, right?

17     A    Yes.

18                 MS. COHEN:   Nothing further, your Honor.

19                 THE COURT:   Anything else?

20                 MR. BURT:    No, your Honor.   Thank you.

21                 THE COURT:   All right.   The witness is excused.    You

22     may stand down, sir.

23                 THE WITNESS:   Thank you, sir.

24                 THE COURT:   You're very welcome.   Have a good

25     evening.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 208 of 238 PageID #: 16403
                                                                          425
                     B. Shapiro - Recross/Cohen

  1               Now, the materials that are over here, I'm just

  2    worried someone is going to trip on them actually.       Are you

  3    providing them to the witnesses?

  4               MR. BURT:    Yes.    They're there because all the

  5    witnesses relied on that same group of documents, but I can

  6    certainly move them or put them wherever the court wants them.

  7               THE COURT:   Well, why don't you put them along the

  8    wall where the chairs are now, we'll move the chairs.       I worry

  9    that a witness is going to trip over them.      We have enough

10     trouble with wires.     We don't need trouble with books.     I

11     don't want anyone to get hurt in the process.      After we

12     finish, whatever you can do to sort of straighten that out.

13                MR. BURT:    Sure.

14                THE COURT:   What are we doing tomorrow morning?

15                MR. BURT:    We have Dr. Olley and the full day pretty

16     much with other witnesses.

17                THE COURT:   All right.    And who are the other

18     witnesses for tomorrow?     How long is Dr. Olley going to be on

19     direct?

20                MR. BURT:    I anticipated in the witness scheduling

21     four hours.   I don't think it's going to be that long.       That

22     was a maximum.   And so I think it will be three, three and a

23     half.   Then we have Dr. Drob after Dr. Olley.     He's the one

24     that did the IQ testing in 2003.

25                THE COURT:   Right.

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 209 of 238 PageID #: 16404
                                                                          426
                     B. Shapiro - Recross/Cohen

  1               MR. BURT:    Then we have Mr. Giglio who was the

  2    evaluator, I think, in '97.

  3               THE COURT:   All of that tomorrow?

  4               MR. BURT:    Yes.   They'll be here.   I'm not sure how

  5    far we'll get given how we've been going, but they'll be lined

  6    up.   And we have Ms. Cook who is a lay witness that we need to

  7    get on tomorrow at some point because of her work schedule.

  8               THE COURT:   How long will she be on direct?

  9               MR. BURT:    She will probably be less than an hour.

10                THE COURT:   And so about how much cross do you think

11     you have for Dr. Olley?    Because we can do Ms. Cook after

12     Ms. Dr. Olley if we get done with Dr. Olley.       I don't want to

13     break up Dr. Olley.

14                MR. McGOVERN:   I don't think Dr. Olley should be

15     broken up either.    We're going to have substantial cross for

16     Dr. Olley.   Dr. Olley is probably the central witness that

17     they have for this proposition.     And so we view her as an

18     important witness that has --

19                MR. BURT:    We can start with Ms. Cook.

20                MR. McGOVERN:   There's a lot of material that I

21     expect would be relevant to the court's determination that Dr.

22     Olley is going to opine on that the government has to have the

23     opportunity to address the veracity of.

24                THE COURT:   We'll start with Dr. Olley and then

25     we'll go to Ms. Cook.     Anything else for tonight?

                           JUDI JOHNSON, RPR, CRR, CLR
                             Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 210 of 238 PageID #: 16405
                                                                          427
                     B. Shapiro - Recross/Cohen

  1               MR. McGOVERN:   No, your Honor.    Thank you.

  2               MR. BURT:    No, your Honor.

  3               THE COURT:   Thank you very much.    Have a good

  4    evening.   See you tomorrow morning at 9:00 a.m.

  5

  6    (Whereupon, the matter was adjourned to November 28, 2012 at

  7    9:00 a.m.)

  8

  9                        CERTIFICATE OF REPORTER.

10     I certify that the foregoing is a correct transcript of the

11     record of proceedings in the above-entitled matter.

12

13     _________________________________

14     Judi Johnson, RPR, CRR, CLR
       Official Court Reporter
15

16

17

18

19

20

21

22

23

24

25

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
Case 1:04-cr-01016-NGG Document 1529 Filed 02/09/16 Page 211 of 238 PageID #: 16406
                                                                          428
                     B. Shapiro - Recross/Cohen

  1                                 I N D E X

  2    WITNESSES:                                         PAGE

  3    Cross/Cohen      ..........................223
       Redirect/Burt                              338
  4    Recross/Cohen    ..........................419

  5

  6

  7

  8    DEFENDANT'S EXHIBITS MARKED IN EVIDENCE

  9

10                     C-1 to C-6 ................221
                       D .........................354
11                     E .........................357

12

13

14     GOVERNMENT'S EXHIBITS MARKED IN EVIDENCE

15

16                     1 .........................230
                       39 ........................233
17                     2 .........................238
                       2A ........................241
18                     3 .........................244
                       4 .........................246
19                     5 .........................251
                       7 .........................253
20                     44 ........................259
                       10 ........................271
21                     10A .......................276
                       6 .........................284
22                     51 ........................313
                       15 ........................317
23                     16 ........................319
                       37 ........................327
24

25

                          JUDI JOHNSON, RPR, CRR, CLR
                            Official Court Reporter
                                       2002 [2] 314/6 314/7                   5772 [1] 283/22                    232/12 235/15 235/16 235/17
 $
Case 1:04-cr-01016-NGG2003Document      1529
                           [8] 304/12 304/22 305/1Filed
                                                      58 02/09/16
                                                         [1] 365/9 Page 212 of235/24
                                                                                238236/22
                                                                                     PageID
                                                                                          237/8#: 16407
                                                                                                238/3 239/3
 $338 [1] 323/6                              314/7 363/22 363/24 365/2        5856 [1] 243/20                    241/23 241/25 242/5 242/12
                                             425/24                           5913 [2] 316/23 316/24             242/12 246/15 247/6 247/23
 '                                          2005 [1] 357/11                   5:30 [1] 222/8                     248/8 251/8 253/1 253/2 257/6
 '89 [1] 403/11                             2006 [6] 290/13 302/25 352/19     5th [2] 413/17 413/20              257/15 257/18 257/21 258/4
 '93 [1] 369/23                              353/14 357/11 360/6                                                 258/15 259/23 261/9 262/18
 '94 [1] 369/23                             2010 [1] 357/12
                                                                              6                                  262/21 267/1 267/9 269/3 269/10
 '97 [1] 426/2                              2011 [3] 271/4 273/5 363/21       613-2480 [1] 219/19                269/15 270/4 270/4 270/6 274/6
 '99 [2] 401/23 402/8                       2012 [12] 218/8 253/25 260/12     613-2582 [1] 219/19                274/22 274/23 274/24 275/17
                                             260/13 264/15 264/16 297/17      6132 [1] 327/14                    276/25 278/3 285/14 288/13
 -                                           332/9 363/21 399/16 399/20       69 [1] 344/3                       290/1 290/21 290/21 292/7
 ----------------------------------------x [2]427/6                                                              293/13 293/15 294/11 296/12
  218/2 218/7                               23 [1] 359/20
                                                                              7                                  297/16 300/4 300/23 302/19
                                            2480 [1] 219/19                   7,000 [1] 225/12                   305/19 307/1 309/1 309/4 309/15
 0                                                                            70610 [1] 250/21
                                            2582 [1] 219/19                                                      311/17 312/23 315/21 316/6
 0030 [1] 310/21                            25th [1] 403/11                   718 [2] 219/19 219/19              318/3 318/24 319/24 320/3
 04-CR-1016 [2] 218/3 220/8                 2690 [3] 276/8 276/8 276/14       7th [1] 332/9                      320/23 323/24 325/17 326/3
 0Dr. Ollie [1] 293/24                      27 [4] 218/8 376/16 411/18                                           328/3 329/8 329/10 329/11
                                                                              8
 1                                           413/17
                                                                              80 [2] 370/7 371/22
                                                                                                                 329/12 330/3 331/3 331/14 333/6
                                            271 [1] 218/15                                                       333/9 333/12 334/9 334/21
 10 [7] 270/17 270/18 270/24                2736 [1] 240/14                   84 [1] 367/1                       335/19 335/22 336/5 336/7 336/7
  271/1 276/9 369/6 428/20                  27th [1] 413/20                   85 [1] 340/15                      336/16 337/2 337/19 338/20
 10,000 [1] 375/17                          28 [3] 413/17 413/20 427/6        87 [1] 373/25                      340/9 341/3 341/15 341/21
 10-27 [1] 411/18                           292 [1] 360/22                    8th [2] 219/7 413/17               341/21 341/25 343/2 344/5 344/9
 10-28-93 [1] 411/14                        2:10 [1] 327/2                                                       346/3 346/6 346/15 351/13
 10-minute [1] 256/13                                                         9
                                            2A [6] 240/17 240/22 241/8                                           351/16 355/20 356/2 356/20
 100 [1] 218/21                              241/15 241/17 428/17             90 [1] 369/24                      357/17 358/10 358/14 360/5
 1000 [1] 219/2                             2nd [1] 290/13                    90th [1] 417/24                    361/18 363/3 363/7 364/3 364/10
 10013 [2] 218/21 219/7                                                       91 [1] 327/13                      364/23 368/1 368/10 369/19
 1016 [2] 218/3 220/8                       3                                 93 [5] 369/24 370/7 371/21         370/12 372/24 373/6 375/12
 102 [1] 359/25                             30 [3] 261/10 261/11 261/12       411/14 411/17                      377/23 378/7 379/17 379/22
 105 [1] 403/25                             3005 [1] 267/15                   94103 [1] 219/2                    379/25 380/5 380/19 381/6
 10A [6] 276/13 276/13 276/14               3227 [1] 245/23                   95th [2] 417/23 417/24             381/12 381/18 383/7 383/23
  276/18 276/20 428/21                      3235 [1] 310/24                   97 [3] 341/22 341/22 350/12        384/11 384/12 385/8 385/9
 11 [3] 276/12 395/16 396/11                3302 [1] 229/1                    99 [1] 219/7                       385/20 386/20 386/21 387/3
 11-5 [1] 411/14                            338 [1] 428/3                     99th [2] 417/22 418/6              387/7 388/14 389/6 390/14
 11-6 [1] 411/15                            3478 [1] 401/13                   9:00 [3] 218/9 427/4 427/7         390/16 391/3 392/2 394/5 394/8
 11-8 [1] 411/16                            37 [5] 327/15 327/16 327/18       9:30 [1] 221/19                    397/24 399/7 400/21 401/5
 11201 [2] 218/5 218/16                      327/20 428/23
 1149 [1] 232/15                                                              A                                  401/16 403/14 406/1 406/8
                                            39 [5] 232/16 232/20 232/25                                          406/19 406/22 407/1 407/4 407/5
 11th [1] 349/15                             233/2 428/16                     a.m [3] 218/9 427/4 427/7          409/3 409/13 414/4 414/6 414/11
 14 [6] 346/5 383/11 395/15                 3934 [1] 411/11                   AAIDD [9] 278/3 278/8 278/14       414/25 417/2 417/2 417/8 417/10
  396/11 399/19 400/3                       3939 [1] 413/9                    342/9 352/1 357/12 364/11 365/7    417/20 418/2 418/3 418/15 419/6
 14th [1] 264/14                            3954 [1] 407/24                   366/13                             419/7 419/10 420/6 420/15
 15 [11] 300/14 316/2 317/1                 3955 [1] 408/5                    abbreviated [1] 374/1              420/17 426/10
  317/3 317/5 317/7 320/22 322/19 3980 [3] 395/15 395/22 395/23               abbreviations [1] 233/24           above [6] 230/12 272/5 284/17
  326/3 344/5 428/22                        3981 [1] 396/17                   abilities [12] 286/13 287/17       289/13 398/23 427/11
 15th [1] 404/10                            3rd [2] 260/11 260/13             318/11 358/19 371/9 397/6 397/9    above-entitled [1] 427/11
 16 [5] 319/6 319/7 319/9 319/11                                              397/13 397/15 397/20 398/4         absent [1] 286/21
  428/23                                    4                                 399/13                             absolute [2] 286/12 286/16
 17 [2] 346/5 420/12                        400 [1] 219/2                     ability [21] 226/8 248/11 248/15   absolutely [5] 287/6 287/22
 18 [7] 298/16 338/18 359/1                 403 [2] 255/13 423/18             249/22 249/25 269/10 276/23        299/5 299/16 392/15
  359/2 359/2 374/17 379/24                 41 [3] 302/10 304/6 304/10        284/8 286/2 286/7 286/19 286/19    abstract [21] 227/15 227/17
 19 [5] 249/5 249/5 314/4 331/6 42 [3] 302/10 304/6 305/16                    293/19 337/20 344/8 358/19         227/18 228/3 228/3 228/4 228/11
  331/7                                     43 [3] 302/10 304/5 304/6         369/13 390/17 397/4 398/3          238/3 250/15 253/8 255/16
 1972 [1] 366/8                             44 [6] 258/19 259/3 259/8 304/5   402/21                             266/17 275/17 284/8 284/24
 1984 [2] 376/17 377/6                       351/16 428/20                    able [44] 222/8 224/5 224/22       286/3 286/13 286/19 286/19
 1989 [10] 353/22 355/3 357/9               45 [1] 257/18                     224/23 224/25 225/22 225/24        286/22 396/15
  357/21 366/4 367/5 403/4 404/10 497 [1] 237/4                               226/1 226/2 226/8 227/10 228/19    abstractly [2] 228/21 337/21
  418/14 418/19                                                               232/5 237/9 237/13 237/22          academic [4] 343/7 344/10 400/1
 1991 [2] 357/14 368/7                      5                                 237/23 270/7 275/12 281/13         404/25
 1992 [1] 313/24                            5-6 [2] 253/25 254/3              281/25 286/11 287/10 287/17        academic-type [1] 400/1
 1995 [7] 352/4 353/21 355/6                5-6-2012 [1] 253/25               289/22 290/4 308/17 308/20         academically [1] 343/9
  357/10 357/21 423/2 423/2                 50 [9] 255/2 260/7 260/8 264/11   317/23 317/25 320/24 323/1         academics [3] 249/1 400/1
 1997 [6] 352/5 357/14 394/23                264/12 290/13 307/17 332/5       325/1 329/15 385/4 395/5 405/17    401/23
  422/21 423/1 423/15                        332/7                            408/2 409/23 410/3 410/4 410/20    accept [3] 268/15 290/5 297/8
 1998 [3] 314/4 401/21 402/8                501 [1] 218/21                    413/24 417/5                       acceptable [1] 222/7
 1999 [3] 314/5 401/10 422/21               51 [5] 313/9 313/17 313/19        abnormally [1] 382/14              accepted [2] 329/13 329/22
                                             407/5 428/22                     abortion [3] 291/22 292/9
 2                                          5180 [2] 253/15 253/16            292/25
                                                                                                                 access [1] 240/1
                                                                                                                 accident [1] 248/9
 20 [2] 249/5 377/8                         57 [1] 365/2                      about [208] 221/14 221/23 223/7    accord [1] 411/25
 2000 [1] 314/5                             5702 [2] 270/15 276/10            223/15 224/25 225/1 225/2 225/4    according [1] 386/1
 2001 [1] 314/6                                                               228/3 230/9 230/19 231/18
                                   388/19                            Alan [1] 355/17                   386/25 416/2
 A
Case 1:04-cr-01016-NGGadults
                         Document        1529
                             [4] 250/9 361/4 388/15Filed  02/09/16
                                                       alcohol [2] 382/19Page
                                                                         385/25 213 of 238 [2]
                                                                                     analysis PageID   #: 16408
                                                                                                295/8 358/2
 account [10] 286/24 287/14        417/5                             alive [2] 239/1 239/23            analytical [2] 243/9 243/12
 287/21 297/22 312/24 361/7        advance [1] 399/20                all [139] 220/3 220/20 221/23     anchored [1] 417/18
 367/11 406/24 418/13 418/22       Adventure [1] 305/17              222/22 229/24 230/6 231/22        and-a-half [2] 399/19 402/22
 accounted [1] 424/14              advice [5] 289/18 290/22 291/11   232/20 234/10 235/13 240/20       and/or [1] 248/15
 accounts [1] 399/18               292/9 308/6                       240/25 241/12 241/25 242/25       angle [1] 305/23
 accuracy [1] 368/1                advocacy [1] 364/11               244/16 244/25 245/4 245/7 245/8   angry [4] 277/5 277/21 282/25
 accurate [3] 356/20 416/20        advocate [1] 417/22               248/11 250/25 251/17 251/24       283/11
 418/23                            advocating [1] 337/1              254/19 254/20 255/7 255/20        another [51] 225/2 227/5 227/9
 achieve [1] 343/19                affect [5] 294/3 299/24 363/13    257/1 257/4 257/10 258/5 258/10   227/11 228/4 231/18 232/12
 achievement [2] 343/15 343/17     370/24 376/2                      258/11 258/23 259/3 259/13        237/7 240/8 240/9 243/1 243/17
 acid [1] 221/18                   affecting [1] 371/19              259/17 260/6 260/8 261/11         245/22 247/20 249/22 253/13
 acquaintances [3] 279/18 295/1    affirmative [2] 300/15 418/17     261/13 264/8 264/17 265/15        263/2 266/25 272/8 272/25
 295/11                            affirmatively [4] 314/3 314/19    265/18 268/5 268/16 269/24        277/25 278/21 280/9 281/10
 acquired [1] 402/9                314/21 319/2                      270/18 271/22 272/23 274/7        281/21 289/3 289/18 289/20
 across [3] 277/19 277/21 282/25   afford [1] 269/19                 274/8 276/18 278/18 280/24        290/8 291/23 294/16 298/8 301/5
 act [1] 281/15                    after [26] 223/13 228/19 235/12   284/10 284/11 284/14 285/15       301/6 307/15 308/18 316/6 317/1
 activity [3] 325/7 325/9 377/19   298/15 307/16 315/9 322/21        285/15 286/6 289/20 292/4         317/21 322/1 332/11 344/25
 actual [10] 234/21 306/11         322/22 329/13 332/10 332/12       294/16 298/8 301/22 302/13        345/20 346/14 382/1 390/22
 343/16 358/6 390/24 400/7 408/1   332/18 344/2 363/24 367/23        304/2 306/20 310/11 311/3         392/1 402/4 417/1 423/19 423/25
 408/2 408/6 423/7                 371/1 385/17 400/10 403/21        311/17 311/23 313/17 319/7        answer [38] 224/23 233/9
 actually [36] 221/2 227/3 232/4   409/22 418/14 420/15 424/9        326/4 326/7 330/16 332/4 333/6    272/16 282/23 282/23 283/1
 233/6 241/20 248/20 258/8 263/6   425/11 425/23 426/11              337/10 337/10 337/18 338/22       283/2 283/5 283/8 283/9 283/14
 263/12 267/13 274/15 275/4        afternoon [2] 257/25 349/16       339/22 341/3 344/2 345/14 346/8   283/17 283/18 283/18 283/19
 276/13 294/8 298/18 301/3 301/3   afterwards [1] 221/1              346/11 347/20 351/9 354/5         285/5 286/11 287/7 288/12
 302/24 305/17 311/13 315/19       again [45] 237/2 248/14 260/23    354/10 354/18 354/21 357/1        293/12 296/13 314/24 329/22
 316/1 320/9 323/24 331/6 332/10   261/17 261/20 261/23 263/11       370/15 371/1 371/16 373/11        342/17 353/11 357/6 357/8 376/6
 335/3 357/23 375/21 375/25        265/1 267/3 269/3 271/24 271/24   374/16 376/4 379/10 380/15        378/9 378/17 379/14 384/13
 379/18 395/16 396/3 407/18        274/25 276/22 277/15 282/13       380/25 381/19 382/5 383/25        389/1 400/18 414/15 414/20
 419/13 425/2                      284/7 285/4 289/21 290/10         386/9 386/10 388/23 392/4 393/4   414/21 423/14
 acuity [1] 390/15                 292/13 295/15 305/18 306/21       393/6 393/12 393/18 397/2         answered [3] 261/14 276/5
 ad [1] 231/23                     306/22 314/4 315/25 320/2 320/5   398/11 402/12 406/19 407/17       385/19
 adaptive [27] 225/15 247/22       322/4 322/17 323/19 324/24        410/8 412/10 412/18 413/19        answering [2] 337/11 414/6
 247/25 248/5 248/7 268/18         334/16 346/11 365/5 372/4         414/9 415/12 415/14 417/11        answers [8] 244/8 382/2 395/19
 269/10 278/4 281/4 286/16 287/2   383/18 383/19 385/7 405/4 406/3   418/4 419/20 424/1 424/21 425/4   407/13 407/14 407/15 407/19
 287/5 293/19 293/22 294/4         413/21 417/15 422/13              425/17 426/3                      408/2
 294/10 296/18 328/11 330/18       against [3] 220/9 255/25 382/10   alley [1] 349/8                   anticipated [1] 425/20
 330/19 333/7 338/14 340/4         age [42] 263/15 263/19 263/24     allow [2] 268/14 365/18           anxiety [1] 342/6
 340/11 341/8 360/5 380/19         264/4 275/15 275/21 281/13        allowed [2] 324/21 348/5          any [60] 221/4 221/5 232/23
 adaptive-behavior [2] 340/11      298/16 298/17 299/23 300/1        allowing [1] 414/16               234/2 238/13 241/13 242/1
 341/8                             313/23 316/7 318/12 318/13        almost [5] 261/3 292/20 338/6     243/23 246/2 255/5 256/1 256/7
 adaptive-functioning [2] 330/18   320/22 320/23 321/12 322/19       342/7 367/20                      260/9 262/18 262/21 267/13
 333/7                             344/5 352/2 365/21 365/23         alone [2] 343/20 347/17           267/19 268/14 270/18 274/21
 add [2] 372/18 418/1              368/12 369/6 369/11 369/11        along [7] 229/9 233/12 285/24     276/15 276/16 283/6 283/25
 adding [1] 373/1                  369/11 374/17 377/11 379/23       289/21 297/14 361/16 425/7        287/15 287/22 298/23 300/8
 addition [6] 248/6 287/21         379/24 382/10 383/3 383/7         already [16] 267/5 267/17         302/16 308/24 311/13 312/23
 346/13 355/13 415/5 419/13        383/11 383/11 385/13 387/21       276/10 279/20 302/9 303/1 303/4   313/15 314/17 316/21 317/3
 additional [4] 241/1 296/4        400/3 413/15 417/4                310/20 313/7 324/6 354/15         318/15 318/16 319/7 323/9
 296/11 346/1                      aged [2] 262/8 264/1              357/18 364/16 380/24 385/19       327/16 348/9 355/19 358/18
 additions [2] 365/15 365/16       AGENT [2] 219/12 220/14           388/5                             358/24 372/9 373/3 374/19
 address [9] 252/2 268/12 345/12   ages [1] 264/4                    also [51] 219/11 225/15 226/16    374/19 375/14 380/18 382/2
 347/11 347/25 348/1 406/16        aggressive [1] 403/12             228/7 229/10 237/8 239/25 248/7   384/21 388/21 388/23 388/23
 414/13 426/23                     aging [1] 365/23                  249/1 249/12 249/20 254/15        390/10 406/7 410/1 418/12
 addressing [3] 346/8 348/21       ago [2] 240/9 377/25              264/11 273/24 276/23 279/24       anybody [6] 243/7 243/8 286/9
 387/8                             agoraphobic [1] 287/19            281/2 282/7 282/11 282/18 296/9   300/18 315/10 392/14
 adequate [1] 300/25               agree [12] 258/17 264/3 288/20    301/7 308/6 313/5 314/10 315/21   anymore [2] 277/4 424/9
 adequately [2] 300/7 300/12       296/9 299/11 304/22 305/8 312/9   318/14 322/8 323/16 324/2         anyone [3] 223/6 234/20 425/11
 ADHD [3] 350/20 387/10 387/16     321/15 351/5 362/14 424/15        328/22 336/14 339/17 340/25       anything [21] 221/18 232/15
 adjourned [1] 427/6               agreed [4] 351/21 354/15 373/19   341/8 350/4 350/4 357/12 358/14   303/13 304/13 337/2 338/6 340/9
 adjusting [1] 361/6               423/8                             361/18 369/3 369/16 369/19        341/3 342/7 355/8 378/12 381/7
 administer [2] 339/9 339/9        agreeing [1] 288/21               382/24 385/4 409/22 411/23        382/11 382/18 385/23 390/1
 administered [5] 366/3 366/5      agreement [1] 329/14              420/6 420/12 420/15 421/3         390/6 390/14 418/25 424/19
 372/12 385/9 408/7                agreements [1] 329/5              although [5] 235/23 273/13        426/25
 administration [2] 381/25 382/1   ahead [21] 230/5 236/9 238/18     363/12 410/16 411/19              anyway [1] 416/14
 administrators [1] 375/13         256/10 260/15 261/5 264/17        always [5] 246/14 284/25 299/3    apart [3] 368/9 415/20 418/13
 admissibility [1] 376/3           265/18 275/4 302/13 304/20        372/3 405/14                      apartment [2] 299/20 299/22
 admission [2] 281/21 300/10       306/13 349/18 356/17 376/7        am [3] 254/18 349/8 416/10        apologize [2] 240/17 384/5
 admitted [9] 282/6 288/8 303/12   381/12 382/4 382/7 384/9 386/15   ambiguity [1] 413/21              apparently [2] 275/2 401/17
 327/14 376/17 380/24 383/3        406/12                            AMERICA [3] 218/2 220/8           appear [3] 223/22 230/9 267/13
 403/4 403/21                      AIDD [1] 278/3                    220/12                            appearance [2] 226/13 301/10
 admonish [1] 366/11               aided [1] 219/21                  American [1] 366/15               appearances [1] 220/10
 adult [4] 272/25 273/1 388/19     ain't [1] 268/10                  amount [4] 308/17 317/25          appeared [3] 300/11 300/24
                                   388/11 388/17 389/2 389/2 390/3 380/8 381/20 384/19 387/14            332/17 332/20 332/23 335/12
 A
Case 1:04-cr-01016-NGG391/6
                        Document        1529
                            394/15 399/14 400/19 Filed 02/09/16
                                                     388/2            Page
                                                           388/19 389/8       214 ofaugmented
                                                                        390/3 390/20  238 PageID      #: 16409
                                                                                              [1] 293/24
 appeared... [1] 391/9             401/11 401/18 405/14 405/15        390/23 390/23 394/24 396/10        August [1] 271/4
 appearing [2] 304/16 304/17       405/19 405/20 406/17 406/17        396/10 396/12 398/14 399/10        aunt [7] 271/9 274/18 299/19
 appears [2] 301/11 397/11         407/13 407/13 408/2 408/15         399/12 399/14 400/6 400/11         316/4 318/24 383/9 403/7
 application [7] 322/10 323/14     408/16 408/17 408/18 408/22        400/11 400/21 401/17 405/22        autism [2] 286/6 350/19
 323/21 324/3 324/8 324/12         410/25 412/24 414/7 414/7 414/9    405/23 409/7 410/1 410/1 412/9     available [8] 312/18 339/4 358/1
 324/14                            414/24 414/25 415/3 415/16         415/9 415/22 415/25 415/25         360/7 374/21 384/22 384/23
 applications [1] 323/23           415/16 415/16 415/17 416/8         416/3 416/18 416/19 416/20         415/13
 applied [1] 284/24                416/8 416/20 418/18 424/3 425/1    416/20 417/23 418/12 422/11        avails [1] 315/18
 applies [2] 231/5 285/21          425/2 425/8 425/14 425/17          423/1 426/17                       avenue [2] 345/25 349/6
 apply [12] 227/11 228/11 228/16   area [16] 228/4 247/20 299/24      ask [19] 222/3 222/14 224/13       average [1] 398/3
 243/17 250/14 275/17 284/8        299/24 301/16 305/10 320/19        236/6 249/25 265/10 275/14         aware [18] 230/5 295/4 298/23
 286/8 308/13 312/14 357/25        323/20 348/22 355/22 361/6         277/4 294/11 322/23 332/3 349/5    307/6 307/10 309/23 310/12
 367/23                            381/15 386/4 398/16 401/23         349/18 354/14 381/12 382/4         311/8 311/9 311/10 311/11
 applying [10] 227/15 227/17       406/7                              401/16 413/7 424/1                 316/15 319/18 324/21 325/3
 227/18 228/3 231/14 231/18        areas [8] 224/11 312/5 323/5       asked [32] 228/2 241/23 276/3      327/22 328/2 420/12
 236/18 263/12 275/8 292/15        361/21 364/7 371/9 382/15          283/4 287/4 300/18 320/10          away [4] 233/14 238/22 345/18
 appreciate [6] 234/23 263/20      399/21                             322/22 338/20 351/13 352/13        367/6
 263/23 263/25 268/8 388/9         aren't [3] 235/24 250/19 273/14    355/16 358/14 364/10 364/23        awful [1] 389/5
 appreciated [2] 357/19 384/9      argue [2] 252/24 346/20            369/19 369/22 373/6 375/12         Axis [2] 398/18 399/7
 appreciation [1] 263/19           arguing [1] 381/1                  380/19 393/23 395/11 405/13
 approach [4] 340/9 340/10         argument [7] 255/25 347/2          405/22 407/13 408/14 408/17
                                                                                                         B
 352/23 356/16                     347/16 349/6 362/1 380/12          417/16 419/6 420/6 420/15          babies [2] 292/6 292/24
 appropriate [5] 228/17 266/12     384/13                             420/24                             baby [11] 252/11 254/7 277/1
 289/9 305/14 361/23               arising [1] 342/25                 asking [8] 333/23 333/24 334/24    277/6 291/14 291/16 291/19
 appropriately [5] 299/1 301/15    arithmetic [2] 397/4 397/13        335/15 345/7 379/14 379/14         292/2 293/2 293/6 391/10
 305/15 305/15 306/23              arose [1] 404/12                   408/9                              back [46] 221/19 222/8 222/17
 approximate [1] 389/1             around [19] 222/8 226/8 228/16     asks [2] 252/11 335/3              232/18 241/20 244/8 244/15
 approximation [1] 230/23          270/14 305/20 305/23 305/25        aspect [5] 266/25 268/3 280/25     245/20 254/6 261/14 265/4
 April [3] 260/11 260/13 314/5     306/6 306/8 306/15 369/6 369/12    400/11 400/12                      265/24 277/2 277/6 288/25
 April 2000 [1] 314/5              377/19 377/25 379/4 382/10         aspects [3] 289/1 333/7 365/12     292/19 295/12 297/3 297/17
 April 3rd [2] 260/11 260/13       389/8 390/19 417/24                ass [1] 284/16                     307/4 307/4 314/5 315/5 315/12
 Aranoff [4] 370/6 411/7 411/9     arrest [1] 255/7                   assertions [1] 239/16              316/10 317/25 320/10 322/22
 413/14                            article [18] 352/5 352/13 352/17   assess [1] 417/16                  322/23 334/15 334/15 335/3
 Aranoff's [1] 373/6               352/18 352/19 353/2 353/6 353/7    assessing [1] 340/4                336/4 337/19 348/5 351/25 352/5
 are [204] 221/2 221/7 221/9       353/17 357/11 358/9 359/11         assessment [9] 300/11 355/21       353/2 355/14 375/23 381/20
 226/13 226/23 229/4 229/20        360/10 360/18 360/22 362/17        363/17 364/8 365/18 370/16         392/2 415/10 415/18 420/17
 229/21 230/5 230/6 230/6 230/13   365/2 424/10                       370/16 394/24 415/3                423/11
 231/2 232/20 234/12 235/20        articles [1] 355/20                assholes [2] 265/5 265/25          Backed [1] 372/7
 236/2 236/22 238/8 238/10         articulate [1] 391/11              assigned [1] 354/22                background [5] 271/7 290/19
 239/21 241/1 241/3 241/5 244/6    as [179] 221/1 225/4 227/6 227/6   assigning [2] 407/9 409/13         312/9 318/14 331/23
 244/8 244/9 245/8 246/19 250/9    228/15 228/25 229/1 229/1 229/2    Assistant [2] 218/17 220/13        backs [2] 334/14 335/25
 251/6 251/11 251/14 251/14        229/9 229/13 232/16 233/12         associate [1] 286/2                bacterial [3] 376/19 376/21
 251/21 252/5 252/15 253/14        233/15 234/1 234/12 234/12         associated [3] 264/9 287/18        377/3
 254/15 254/19 254/20 254/21       235/6 237/5 237/20 238/1 238/7     375/4                              bad [1] 284/25
 255/7 255/8 255/11 255/14         238/11 240/16 240/22 241/24        association [2] 263/11 366/15      ball [1] 349/13
 255/16 256/4 258/7 262/24 265/4   243/20 245/5 245/23 249/23         associational [3] 247/7 272/15     ballad [1] 236/20
 265/25 275/16 275/20 275/20       250/9 250/21 250/22 251/21         285/25                             Baltimore [1] 292/5
 275/23 275/23 277/9 277/18        253/15 253/17 255/15 255/25        assume [7] 263/20 280/5 280/5      band [7] 224/15 224/17 224/22
 278/3 279/13 280/25 281/8 285/9   256/6 258/19 260/22 262/11         318/16 331/19 363/9 387/12         224/24 225/1 225/3 237/21
 285/25 286/24 287/1 287/1 287/2   264/3 264/4 265/21 268/17          assumed [3] 245/19 351/22          bandana [3] 305/20 305/22
 287/2 287/3 287/20 288/8 288/10   269/12 270/16 272/5 272/17         354/15                             305/23
 288/10 288/13 288/18 288/21       276/13 278/1 282/16 283/22         assumes [1] 279/21                 bank [5] 286/24 287/14 287/16
 288/21 289/15 294/3 294/14        285/11 285/11 287/12 287/24        assuming [5] 272/25 310/11         287/20 312/24
 295/4 298/23 298/24 300/6         289/6 292/1 293/2 293/2 296/23     344/2 346/20 371/4                 banking [1] 287/18
 302/11 302/13 303/21 303/22       299/5 299/5 300/4 302/18 302/22    assumption [1] 301/24              barbed [1] 324/19
 306/17 307/6 307/10 308/16        303/14 303/14 303/17 303/19        Atkins [2] 363/7 419/24            bargains [1] 317/15
 310/11 311/2 315/1 315/11         303/21 304/17 305/8 306/23         ATM [3] 288/1 311/21 315/16        barring [1] 347/18
 315/11 316/3 316/15 316/17        307/20 308/4 308/4 311/25 313/8    attached [1] 357/11                base [1] 346/22
 317/14 320/6 324/21 328/11        313/9 316/25 320/7 323/16          attacked [1] 379/6                 baseball [1] 305/6
 328/11 328/12 329/21 329/21       327/14 328/9 328/11 328/20         attending [2] 312/3 312/5          based [18] 249/12 249/18 285/7
 329/22 331/17 332/10 332/12       329/6 329/6 329/7 330/3 334/3      attention [9] 230/3 233/4 241/19   293/11 293/23 298/14 317/16
 333/20 339/10 340/19 340/24       334/3 334/11 334/16 334/16         267/9 341/20 342/4 365/1 394/18    337/3 349/16 358/8 358/8 358/9
 343/5 344/5 344/11 345/25 346/2   334/19 336/15 338/14 339/12        403/13                             363/14 388/5 391/6 419/14
 346/4 346/20 348/16 349/7         340/17 342/8 342/23 344/8          Attorney [6] 218/15 218/19         419/17 424/11
 349/16 355/11 355/13 357/7        344/15 347/21 348/22 349/8         218/20 219/1 219/6 220/13          basically [3] 311/24 333/23
 357/15 357/21 358/5 361/5 363/9   349/8 349/15 350/22 352/21         ATTORNEYS [2] 218/13               414/16
 365/12 365/13 365/17 365/23       354/7 354/7 355/14 355/21          218/17                             basis [1] 362/7
 366/10 366/11 367/21 368/18       355/24 357/9 358/22 360/18         attributed [1] 300/2               Bates [24] 228/25 232/15 232/17
 370/17 371/24 375/16 377/3        362/11 363/7 364/6 364/6 364/17    atypical [3] 247/18 401/24 402/2   237/4 240/14 243/19 245/23
 378/6 378/16 381/23 382/20        365/11 365/20 370/15 374/1         audio [12] 260/16 261/4 261/6      250/21 251/4 251/7 251/12
 386/2 386/19 387/8 387/21 388/3   375/14 376/11 378/12 378/12        262/1 264/18 265/6 290/23 291/1    251/12 252/4 253/16 267/14
                                    289/14 289/25 292/24 293/13       398/14 399/19 402/16 405/15       boxes [1] 225/16
 B
Case 1:04-cr-01016-NGG294/22
                        Document       1529
                             295/14 295/25 300/20Filed 02/09/16
                                                     417/16          Page 215 ofboy238
                                                            417/25 418/3                PageID
                                                                                    [3] 335/19     #:404/18
                                                                                               404/17 16410
 Bates... [9] 270/14 276/8 282/21   309/11 310/11 311/12 311/18       being's [1] 291/23                boy's [2] 335/20 335/22
 283/22 302/9 316/24 317/21         311/20 315/3 315/12 318/7 318/9   believe [12] 221/4 261/3 290/11   boys [1] 308/16
 327/13 327/14                      320/6 320/10 320/20 322/18        298/19 337/5 337/15 338/10        BRADY [3] 219/6 219/8 220/17
 Bates-numbered [2] 327/13          329/15 331/23 333/6 341/6         338/13 338/17 373/15 374/25       braiding [1] 302/2
 327/14                             344/13 344/16 345/20 346/2        383/10                            braids [1] 301/11
 batteries [1] 415/4                347/5 347/12 347/25 348/3         believed [2] 297/17 331/25        brain [9] 375/3 375/7 375/8
 battery [6] 364/8 395/4 396/25     348/13 348/14 349/12 350/4        believing [1] 378/11              377/19 379/19 382/10 382/12
 399/6 399/8 410/21                 351/1 351/8 351/23 352/14 356/1   belong [2] 280/3 280/7            382/14 382/22
 be [208] 220/19 221/24 222/8       361/12 363/15 364/2 367/11        below [2] 277/2 397/16            brains [1] 255/19
 222/14 222/16 223/20 223/22        368/18 369/13 372/15 375/2        bench [2] 220/6 327/1             Brannan [1] 219/2
 224/5 224/22 224/23 224/25         375/21 378/5 378/16 379/8         beneath [1] 240/6                 Bread [2] 316/8 316/9
 225/24 225/24 226/1 226/2 226/8    381/19 384/18 385/2 385/5         Bernetta [1] 272/6                break [9] 222/17 222/20 256/13
 227/6 227/10 227/12 227/16         385/16 390/18 394/5 395/3         besides [1] 357/18                256/14 259/23 326/5 331/6 393/3
 227/19 228/10 228/19 230/15        396/18 398/23 399/5 399/7         best [15] 222/18 234/6 246/11     426/13
 230/24 231/8 231/15 231/23         404/21 405/15 405/15 406/1        287/12 318/2 318/2 319/14         breath [1] 281/18
 232/2 233/16 234/22 235/6 235/8    407/12 410/4 413/4 413/21         319/15 320/4 320/11 365/14        Brew [1] 244/8
 236/4 236/17 237/9 237/13          414/13 415/14 416/7 416/12        368/20 368/25 371/4 417/13        brief [2] 386/16 395/19
 237/20 237/22 237/23 238/1         417/14 417/20 417/24 420/4        better [10] 242/3 264/4 264/5     briefly [1] 295/3
 239/16 239/19 240/6 241/25         423/12 425/4 426/7 426/11         271/14 272/20 277/9 285/1 306/4   bring [5] 257/1 284/6 348/3
 242/19 243/5 245/7 245/12          become [2] 251/23 327/24          306/5 399/20                      381/5 391/1
 246/17 247/10 247/18 249/24        bed [3] 321/12 321/15 386/14      between [16] 226/6 233/24         Bro [1] 244/11
 250/4 251/8 252/3 252/3 252/25     been [52] 223/9 233/14 237/3      244/10 260/1 272/15 297/24        broad [3] 287/12 288/12 323/1
 253/8 253/9 253/10 255/2 255/12    237/4 238/7 239/24 240/20         328/8 342/14 343/14 344/7 356/2   broader [2] 248/3 270/3
 255/25 256/3 256/7 261/2 262/8     243/20 245/23 250/21 251/17       358/2 367/15 369/23 382/21        broke [1] 327/11
 262/11 268/6 268/23 270/16         254/18 254/20 254/24 258/12       388/10                            broken [1] 426/15
 271/19 272/6 274/7 274/18          275/3 283/22 284/14 293/23        beyond [5] 239/9 239/11 363/9     Brooklyn [2] 218/5 218/16
 277/15 279/6 280/2 281/13 282/5    304/25 314/11 317/23 320/7        384/15 386/3                      Brookwood [23] 300/10 300/21
 282/18 284/25 285/8 286/11         324/7 324/11 327/14 327/22        bias [1] 331/10                   300/23 300/24 301/4 310/2 311/2
 287/17 287/18 289/22 290/3         333/6 333/9 333/9 343/12 347/21   big [3] 271/17 274/4 311/18       311/9 314/1 314/14 323/25
 290/9 290/25 291/22 292/17         348/23 356/9 358/15 364/20        Bill [2] 252/11 252/20            324/15 324/16 324/17 324/19
 293/12 296/3 297/18 299/6 300/2    366/7 372/22 375/14 380/14        binder [6] 240/19 240/21 251/21   324/21 400/4 400/6 400/11
 300/18 302/17 303/6 303/14         380/25 382/17 385/23 393/23       258/9 258/10 362/21               400/19 401/12 420/7 420/10
 304/8 308/17 308/20 309/12         394/12 403/14 404/21 415/14       binders [7] 220/25 221/2 241/1    brought [6] 345/19 378/7 394/18
 310/7 312/24 314/15 314/16         417/6 417/8 424/13 426/5          241/1 251/22 251/25 258/8         403/7 415/15 417/21
 317/25 320/15 320/25 321/15        before [38] 218/11 228/23 230/5   binding [1] 366/19                Buckbaum [1] 375/5
 322/25 322/25 323/1 323/1          233/6 236/3 239/9 259/23 263/5    birthday [2] 254/3 254/9          Bucksbaum [1] 377/20
 323/15 325/1 325/1 325/8 325/9     264/8 265/10 272/1 273/10 287/4   bit [24] 227/16 228/10 228/13     budget [2] 270/7 309/18
 327/3 329/5 329/11 329/12          296/15 296/19 298/20 300/4        230/9 234/3 249/4 261/25 270/14   bunch [3] 228/16 247/6 318/17
 329/15 331/25 337/4 337/5 337/7    300/24 312/23 316/2 321/20        278/5 278/16 280/1 280/13         BURT [12] 219/1 219/3 220/17
 340/25 342/11 343/24 344/6         324/12 331/22 331/25 338/18       280/14 290/19 308/14 315/1        223/8 252/4 257/20 295/25
 344/14 344/14 345/8 346/7          339/10 349/15 364/3 379/23        320/25 324/8 325/20 329/19        392/25 393/12 415/15 420/22
 346/24 347/6 347/23 348/5 348/9    379/24 382/18 385/24 401/10       362/19 388/8 400/20 416/8         428/3
 348/20 349/14 350/15 357/16        401/15 402/10 403/15 406/8        bits [3] 363/15 390/2 390/18      Burt's [1] 296/6
 357/19 360/15 362/3 362/9          414/4                             black [4] 230/16 231/12 404/17    business [1] 413/2
 363/10 363/16 365/13 372/15        beforehand [1] 301/21             404/18                            businesses [1] 312/2
 373/13 374/1 374/12 374/15         began [2] 331/7 334/17            block [2] 297/22 313/21           busy [1] 299/22
 375/8 377/3 379/8 382/15 385/21    beginning [3] 222/5 284/9         blue [2] 362/21 362/21            Butt [1] 268/17
 386/11 386/16 386/17 386/25        376/15                            book [29] 244/17 245/11 245/18    buy [3] 316/5 316/8 318/2
 387/1 387/2 387/2 387/8 387/9      begins [2] 362/18 362/24          245/20 271/6 327/23 327/24        buying [2] 312/12 318/17
 387/16 388/16 390/10 393/11        behavior [34] 227/6 247/25        329/4 329/11 329/12 329/13
 395/5 396/13 397/11 399/6 401/7    255/11 280/6 282/11 282/14        329/17 329/19 330/1 330/13
                                                                                                        C
 404/11 413/2 413/24 414/17         282/16 286/17 287/2 287/5 287/9   338/15 340/15 352/17 352/18       C-1 [2] 221/11 428/10
 415/6 416/20 416/21 417/5 418/2    287/11 287/13 295/16 295/16       358/9 359/12 359/23 359/25        C-4 [4] 258/6 258/11 310/20
 418/19 418/20 418/22 419/23        295/17 296/19 328/12 338/14       360/3 362/21 369/3 373/22 394/7    400/20
 420/3 424/16 425/18 425/21         339/7 340/4 340/11 341/8 348/15   394/9                             C-5 [4] 258/8 258/9 258/10
 425/22 426/4 426/5 426/8 426/9     359/1 359/7 360/4 360/4 360/5     Booker [4] 244/17 245/11           258/12
 426/14 426/21                      375/3 383/12 386/6 394/5 394/9    245/15 245/18                     C-6 [2] 221/11 428/10
 because [144] 221/22 223/19        behavioral [5] 228/20 342/25      booklet [9] 408/20 409/8 409/16   C1 [6] 221/1 221/3 221/5 221/7
 223/23 224/6 224/19 226/16         398/22 403/4 405/8                409/17 409/23 410/5 410/16         221/9 241/3
 227/4 228/14 230/15 231/8 232/8    behaviors [2] 300/4 337/10        411/19 413/24                     C6 [1] 241/4
 232/18 233/10 233/16 235/7         behind [1] 257/18                 booklets [1] 407/18               Cadman [1] 218/15
 235/12 236/16 239/19 245/13        being [49] 221/15 224/3 225/22    books [4] 329/5 355/20 408/14     cafeteria [2] 222/5 222/13
 245/15 247/1 247/9 247/23          232/5 234/3 234/4 242/19 242/20   425/10                            calculation [2] 397/5 397/14
 248/11 249/7 250/1 250/14 253/5    242/21 242/21 242/23 248/7        borderline [2] 398/14 398/18      California [1] 219/2
 254/7 255/15 255/22 258/7 263/9    251/25 251/25 269/12 270/5        both [11] 227/20 272/6 288/8      call [17] 250/19 254/16 260/1
 268/7 269/18 271/14 271/19         270/7 270/8 272/18 275/12 277/7   342/9 342/17 343/6 343/11          271/22 289/21 291/25 325/10
 271/23 272/4 272/6 272/14          281/25 282/6 287/10 289/17        343/21 344/10 348/6 350/14         325/22 331/21 332/3 332/8
 272/16 273/3 274/12 274/16         291/12 316/25 320/24 323/6        bother [1] 357/7                   334/17 334/20 348/8 361/20
 274/17 275/5 277/16 280/18         328/8 328/16 333/21 333/21        bothered [1] 423/11                388/2 405/12
 281/6 283/3 283/5 284/13 284/17    336/18 347/5 349/4 371/14 379/6   bottom [5] 249/5 253/24 307/17    called [10] 235/11 235/18 271/4
 287/6 287/14 288/1 288/25          380/17 383/11 388/22 392/1        319/14 413/10                      353/12 365/1 366/16 405/19
                                    247/12 247/25 249/20 262/24        333/25 333/25 334/21 335/16        220/17
 C
Case 1:04-cr-01016-NGG271/6
                        Document
                            293/18 296/21529     Filed337/5
                                         300/6 303/3    02/09/16
                                                            339/6 339/6Page   216 ofcollege
                                                                       341/10 341/12  238[4]PageID   #: 16411
                                                                                             319/15 319/16 320/4
 called... [3] 419/10 419/14         324/6 339/23 339/23 341/5 341/7    361/19 368/25 371/4 386/5          320/11
  419/22                             343/20 344/9 344/14 345/22         391/10 403/14 405/12 416/23       colleges [3] 320/3 320/8 320/15
 calling [2] 220/7 324/16            365/22 366/2 373/7 374/10          417/5                             combination [3] 346/24 347/17
 calls [15] 254/17 254/19 254/19     374/21 377/17 379/20 386/22       child's [3] 339/19 371/8 375/9      392/8
  254/20 254/22 255/7 255/23         389/4 399/2 408/19 411/6 412/21   childhood [2] 299/10 348/14        come [20] 232/1 233/12 264/20
  262/22 265/16 293/6 332/10         421/4 422/11 422/20 422/25        childlike [1] 279/16                265/21 277/19 277/21 282/24
  332/12 359/2 361/11 407/14         423/16 423/22                     children [11] 281/14 286/13         284/22 290/5 290/6 308/11
 came [10] 263/18 304/18 313/2      cases [3] 228/10 348/19 353/12      368/15 369/18 388/12 388/13        313/20 322/22 322/23 336/4
  316/10 323/3 334/15 355/14        casual [1] 300/25                   388/14 396/20 405/11 405/19        340/13 348/5 357/8 385/17 391/6
  361/16 410/22 417/3               catch [1] 224/18                    416/25                            comes [5] 263/7 265/4 280/21
 can [147] 221/25 222/4 222/13      categories [3] 278/13 325/21       choice [2] 336/2 336/15             299/3 405/14
  222/17 222/18 224/7 225/20         325/21                            choose [4] 280/6 287/19 317/25     comfortable [1] 386/14
  228/25 229/9 229/12 229/21        categorize [2] 248/6 278/4          369/24                            coming [8] 229/10 232/6 232/7
  230/12 230/16 231/12 233/16       category [4] 277/25 278/1 298/8    chose [3] 236/24 280/23 298/5       265/24 305/24 339/10 345/21
  235/7 235/22 239/19 240/21         326/2                             church [1] 312/3                    398/8
  243/13 246/11 246/12 248/20       category-wise [1] 326/2            circle [2] 230/4 305/18            comment [2] 248/16 418/15
  250/4 255/18 255/25 256/11        causation [1] 406/3                circled [2] 267/25 267/25          commenting [1] 271/10
  257/14 257/19 259/14 261/17       causative [1] 348/19               circling [1] 305/18                comments [1] 363/8
  261/19 261/23 263/3 263/6         cause [9] 218/11 220/7 348/18      circumstance [2] 346/16 346/17     committed [1] 298/20
  263/22 265/1 271/18 271/25         370/15 379/11 379/12 379/21       circumstances [2] 337/8 337/9      common [12] 226/25 226/25
  272/1 272/5 272/17 273/11          379/25 406/25                     cite [3] 357/18 372/1 377/2         266/2 266/3 266/6 301/15 305/10
  273/19 274/5 274/7 275/15 276/2   caused [3] 282/18 382/15 385/21    cited [10] 269/11 309/8 352/17      343/4 343/12 387/24 407/9 415/3
  277/19 277/21 278/2 278/17        causes [1] 300/5                    352/18 357/12 358/25 359/10       commonly [1] 343/13
  282/16 282/22 282/24 286/10       causing [1] 227/5                   360/11 414/13 414/24              communicate [2] 294/10 390/9
  287/12 287/16 287/20 290/20       cautious [1] 399/6                 cites [1] 372/18                   communicated [2] 272/19 285/8
  291/13 297/7 297/13 300/4 303/5   CD [2] 254/22 260/5                citing [4] 309/11 322/8 357/13     communicating [1] 390/4
  303/14 303/19 304/1 304/22        CELIA [2] 218/17 220/13             360/10                            communication [15] 230/24
  305/9 306/6 306/8 307/4 307/14    cell [2] 321/23 392/11             claim [1] 391/9                     231/25 234/18 248/8 248/11
  307/14 311/4 313/20 315/16        central [1] 426/16                 claimed [1] 391/9                   248/14 248/25 249/3 249/6
  318/10 319/14 320/4 320/15        certain [13] 237/10 237/25 288/9   clarify [3] 228/2 244/11 282/22     249/16 266/25 333/20 333/21
  325/11 332/21 335/3 335/15         296/23 321/3 330/4 330/7 334/14   class [1] 344/15                    361/6 389/9
  337/7 342/2 342/4 342/5 342/6      337/8 342/22 343/23 371/2 371/3   classes [1] 416/14                 community [6] 311/17 311/19
  342/7 342/7 342/17 342/22 346/7   certainly [13] 269/7 275/11        classification [2] 340/19 394/8     311/24 311/25 312/2 315/2
  346/18 348/20 348/24 349/1         286/3 293/17 294/1 294/2 298/19   classified [1] 345/9               comorbid [3] 341/9 341/13
  352/6 353/7 357/8 359/6 359/15     299/5 315/16 336/18 375/17        classroom [1] 281/15                348/16
  360/15 362/3 362/8 362/19          376/2 425/6                       cleanest [1] 321/24                Comorbidity [1] 346/6
  363/16 367/9 368/10 368/23        CERTIFICATE [1] 427/9              cleaning [1] 280/16                compare [2] 272/16 273/6
  370/10 370/13 370/20 370/24       certify [1] 427/10                 clear [3] 232/19 308/10 415/10     compared [5] 267/10 274/25
  371/5 371/11 371/16 378/24        cetera [2] 238/4 270/7             clearly [6] 244/12 253/3 272/20     275/1 370/5 382/10
  382/4 390/20 390/21 399/4         chain [5] 305/25 306/6 306/8        277/5 310/5 416/20                compares [1] 275/3
  399/18 406/16 406/25 407/19        306/15 374/19                     clerk [1] 260/24                   comparing [1] 262/8
  408/20 408/24 409/9 414/2 414/7   chairs [2] 425/8 425/8             clinical [21] 351/8 362/5 363/17   competence [3] 417/23 417/24
  414/20 415/21 416/20 417/1        chameleon [2] 279/21 280/2          373/12 373/18 373/22 373/25        418/6
  417/14 418/11 422/24 423/24       chance [4] 235/9 283/2 407/4        374/6 374/23 394/16 395/25        competencies [1] 391/6
  423/24 425/5 425/12 426/11         417/25                             396/4 398/24 399/10 415/25        competency [3] 401/20 414/12
  426/19                            change [3] 268/4 386/17 424/14      416/7 416/10 417/10 417/13         414/12
 can't [34] 223/16 223/23 231/19    changed [3] 230/20 338/7 420/2      419/7 419/16                      compiled [2] 375/23 422/3
  231/25 233/17 235/8 237/21        changes [4] 233/24 234/2 351/21    clinically [1] 396/3               compiles [1] 313/12
  246/22 247/24 252/24 268/4         355/10                            clinician [2] 406/9 416/19         complaining [1] 221/23
  269/19 270/9 281/5 283/10         channel [5] 363/5 363/5 388/18     close [1] 337/18                   complete [3] 251/20 258/17
  284/14 284/21 284/25 285/19        388/20 388/21                     closed [1] 364/17                   385/11
  285/20 286/16 298/5 306/1         chaotic [2] 300/2 302/1            closer [2] 264/20 335/11           complex [3] 273/8 337/21 348/13
  306/25 307/17 315/19 317/16       chapter [1] 373/22                 closest [1] 417/18                 complexity [1] 272/18
  320/5 321/6 370/14 379/12         characteristic [1] 369/18          clothes [2] 300/25 318/18          compliance [1] 387/2
  382/20 392/2 415/18               characteristics [3] 224/25         CLR [2] 219/18 427/14              complicated [1] 341/7
 cannot [4] 288/22 321/3 328/16      237/25 239/4                      clues [2] 279/6 279/8              complies [1] 360/23
  350/19                            characterization [1] 376/1         cocaine [1] 299/17                 comports [1] 236/11
 capabilities [1] 318/9             characterize [1] 399/15            cocktail [6] 224/2 268/22 391/2    comprehend [3] 248/12 248/15
 capacity [1] 401/6                 characterizes [1] 399/14            391/4 391/10 391/13                408/8
 Capital [1] 353/12                 chart [19] 258/16 258/18 258/20    coexisting [2] 342/8 343/21        comprehending [1] 337/21
 capitalized [1] 357/22              259/4 267/3 313/6 353/17 354/21   cognition [3] 248/1 287/3 369/1    comprehension [3] 408/9 408/13
 capture [1] 386/24                  354/25 355/9 355/15 356/20        cognitive [17] 248/7 287/17         408/17
 card [4] 286/24 288/1 310/7         358/10 366/3 381/24 395/1          341/8 344/7 351/9 351/10 363/19   comprehensive [1] 397/12
  310/10                             400/21 418/7 418/8                 364/8 369/4 370/16 371/9 377/15   compulsive [1] 403/12
 cards [1] 309/6                    check [1] 261/3                     397/6 397/8 397/15 397/19 415/3   compute [1] 395/6
 care [8] 291/13 298/9 298/9        checked [3] 261/2 331/5 353/2      COHEN [6] 218/17 220/13            computer [3] 219/21 315/16
  305/19 315/3 331/14 364/16        checks [1] 311/22                   222/25 259/20 327/8 361/11         400/24
  417/10                            chess [7] 309/24 310/2 310/9       coincidence [1] 263/18             Computer-aided [1] 219/21
 caretakers [1] 339/4                310/12 310/13 311/5 311/9         collected [2] 321/1 356/5          computerized [1] 219/20
 carry [1] 221/24                   child [26] 250/4 281/21 295/12     collection [1] 358/2               concede [1] 373/18
 case [40] 225/12 235/24 241/5       297/18 297/18 299/6 321/2 321/3   COLLEEN [3] 219/6 219/8            concept [22] 225/7 227/15
                                    conversation [49] 224/1 224/4      country [1] 236/20                 Daphne [3] 319/16 319/17
 C
Case 1:04-cr-01016-NGG224/7
                        Document        1529265/8Filed
                            225/5 249/8 261/9           02/09/16
                                                     couple            Page416/10
                                                            [4] 323/5 323/18 217 of319/25
                                                                                     238 PageID #: 16412
 concept... [20] 227/15 227/17       265/20 267/2 267/4 267/6 267/14    417/9                             data [21] 358/2 358/3 362/6
  228/3 228/11 228/11 231/5 237/6    268/19 268/21 268/23 272/8        course [11] 259/6 279/6 299/7      363/15 363/23 374/4 375/22
  248/3 250/15 262/7 264/3 266/19    272/15 272/16 276/23 277/11        314/1 314/7 318/25 338/21         382/13 408/24 409/24 411/10
  284/8 284/25 289/9 307/20          284/8 290/20 291/7 291/10          354/23 385/1 391/24 411/20        414/3 417/17 418/12 420/24
  330/13 361/15 397/4 397/13         292/19 292/20 292/25 293/14       court [40] 218/1 219/18 219/18     422/2 422/5 422/8 422/22 424/8
 concepts [4] 231/17 232/9           293/16 294/8 331/24 333/2 333/5    220/1 220/2 220/4 240/18 241/2    424/11
  240/11 392/8                       333/14 334/18 336/19 336/20        256/4 256/6 260/16 261/4 261/6    date [31] 253/25 253/25 254/3
 conceptual [1] 278/7                337/2 337/3 361/12 361/21 389/8    262/1 264/18 265/6 290/23 291/1   260/10 260/11 264/9 264/13
 concern [2] 358/5 392/1             390/23 391/8 391/11 391/12         302/8 302/11 302/19 303/6         298/19 332/7 353/8 353/18
 concerned [5] 303/15 307/21         391/13 391/24 392/13               303/15 303/20 313/9 327/4         354/22 354/23 355/9 356/5 356/5
  335/22 349/8 418/2                conversations [5] 294/3 294/11      352/23 354/7 379/3 380/15         356/6 356/8 356/9 356/10 356/21
 concerns [3] 223/7 346/3 417/20     363/16 396/2 399/15                384/20 393/22 394/22 394/24       357/9 357/11 357/13 357/15
 conclude [1] 413/3                 conveyed [1] 356/11                 406/15 413/3 415/11 415/21        412/7 412/8 413/22 422/21 423/1
 concluded [1] 399/11               convince [2] 290/5 334/12           425/6 427/14                      423/8
 conclusion [9] 290/6 317/16        convincing [1] 290/8               court's [9] 255/9 304/14 306/10    dated [4] 290/13 403/10 403/10
  320/5 339/10 388/5 390/20 399/7   cook [8] 321/4 331/3 331/5 331/9    353/11 364/14 378/9 414/6         404/10
  415/22 418/11                      426/6 426/11 426/19 426/25         414/11 426/21                     dates [13] 353/19 354/21 354/25
 conclusions [1] 340/14             Cooke [6] 298/15 316/11 321/18     Courthouse [1] 218/5               355/10 357/11 357/16 357/17
 concrete [5] 227/17 228/11          321/20 323/3 323/19               courtroom [2] 260/18 349/13        357/20 357/25 358/4 358/5 358/6
  395/20 396/8 399/14               Cooke's [1] 318/21                 cousin [1] 314/16                  411/14
 condemned [1] 363/4                cooperate [1] 222/15               cover [1] 273/19                   dating [1] 331/7
 condition [2] 370/23 375/9         cooperation [1] 413/18             covered [2] 341/14 345/2           daughter [2] 319/18 320/14
 conditions [3] 343/21 348/16       cooperative [1] 395/18             CR [2] 218/3 220/8                 daughters [1] 316/21
  371/3                             copied [2] 308/9 308/10            crack [1] 299/17                   DAVID [2] 218/22 220/18
 conduct [1] 279/21                 copies [3] 229/9 240/17 241/3      created [2] 240/5 308/8            Davis [7] 239/11 422/11 422/20
 conducted [1] 363/21               copy [15] 229/8 229/11 229/13      creativity [2] 329/24 329/25       422/25 422/25 423/16 423/22
 Confers [1] 260/24                  240/18 240/24 243/6 243/10        credit [3] 286/24 407/9 409/14     day [16] 221/23 222/6 234/9
 confined [1] 369/17                 306/11 313/9 352/22 352/23        crew [2] 280/12 282/2              254/7 284/14 284/15 285/15
 conflict [1] 280/23                 354/7 354/13 354/14 354/15        cried [1] 275/5                    285/19 285/20 305/20 322/14
 conflicting [1] 370/2              copying [2] 232/2 243/11           crime [9] 255/8 295/18 296/19      322/22 342/14 371/3 371/12
 conflicts [1] 281/13               copyright [8] 329/5 329/15          298/20 338/16 369/12 377/20       425/15
 confronted [1] 386/8                356/2 356/8 357/14 357/15          379/4 382/11                      days [13] 268/4 322/11 322/14
 confusion [1] 251/8                 357/25 423/8                      criminal [4] 218/11 220/7 360/4    322/23 323/8 325/23 411/12
 connection [1] 229/22              correct [425]                       362/2                             411/21 411/25 412/2 412/10
 consciousness [1] 226/12           corrected [2] 367/13 368/5         criminally [1] 398/23              412/13 417/9
 consent [1] 258/25                 correction [1] 362/10              criteria [6] 296/18 342/10 350/5   daytime [1] 334/5
 consequence [1] 364/6              corrections [1] 258/7               350/16 350/16 350/21              de [1] 390/8
 consequently [4] 247/16 286/20     correctly [10] 263/12 275/13       critical [1] 398/15                dead [1] 349/8
  369/5 405/16                       286/8 286/11 290/9 408/25 409/4   cross [34] 220/21 223/1 223/10     deal [6] 268/25 320/4 328/15
 consider [9] 268/23 307/22          409/7 409/20 410/6                 257/14 259/7 265/17 288/8 327/6   355/18 363/4 389/7
  307/25 308/21 309/24 309/25       correctness [1] 412/23              327/9 338/7 341/25 345/9 345/13   dealing [2] 295/15 415/24
  314/11 318/14 381/6               corresponding [5] 252/9 272/11      347/6 347/14 348/3 359/1 359/5    deals [1] 320/11
 considered [2] 282/5 303/14         297/19 319/24 365/17               376/4 378/3 378/7 379/7 380/3     Deals.com [1] 319/15
 considering [2] 338/25 375/9       cost [2] 317/12 317/14              383/21 383/24 384/16 384/22       death [2] 347/18 363/4
 consistent [12] 322/13 322/16      could [64] 226/16 231/23 232/10     386/7 394/19 394/20 395/11        debilitating [1] 398/21
  397/5 397/8 397/14 397/19          233/18 237/11 237/17 239/23        420/16 426/10 426/15              December [1] 349/15
  398/10 399/1 399/3 399/5 402/14    240/9 249/7 249/8 252/25 267/3    cross-examination [16] 220/21      December 11th [1] 349/15
  418/19                             269/21 273/13 273/13 274/14        223/1 223/10 257/14 327/6 327/9   decide [6] 256/4 318/1 329/14
 construct [1] 226/8                 278/13 279/18 280/8 280/11         338/7 341/25 359/1 379/7 383/21   329/15 408/11 416/15
 consult [1] 303/5                   282/7 282/18 289/23 290/24         383/24 384/16 394/19 394/20       decided [2] 280/18 297/20
 contact [2] 355/16 355/23           294/6 295/1 297/18 299/6 299/24    420/16                            deciding [1] 381/8
 contacted [1] 355/16                300/2 308/18 311/20 311/21        cross-examining [1] 259/7          decision [11] 246/11 246/15
 contain [2] 363/6 376/16            311/21 312/22 315/15 315/23       cross-sectional [1] 384/22         246/18 247/9 247/12 247/16
 contained [2] 230/24 249/19         321/9 322/1 322/9 323/14 324/25   CRR [2] 219/18 427/14              292/1 296/2 297/7 346/22 420/5
 contains [3] 258/10 259/5           328/20 337/5 341/20 346/16        cry [7] 254/8 254/10 268/6 268/7   decisions [4] 246/16 246/16
  310/20                             350/3 353/11 353/11 353/23         268/7 268/7 268/8                 247/7 247/9
 contemporary [1] 389/9              357/6 363/2 372/22 376/4 376/4    crystallized [1] 363/11            deep [1] 243/10
 content [1] 273/15                  377/21 378/8 380/8 382/15         cultural [1] 312/6                 deeper [2] 287/12 391/4
 context [15] 237/18 241/21          382/17 385/21 406/24 410/1        current [8] 295/16 315/17          defendant [15] 218/7 218/19
  266/16 277/2 319/4 319/23          410/4                              365/13 365/19 365/20 366/12       218/20 219/1 219/6 220/2 220/18
  322/18 341/4 349/2 349/3 393/25   could've [2] 380/25 385/23          388/4 416/12                      257/1 327/4 346/22 392/12
  394/6 394/7 394/11 417/15         couldn't [10] 265/21 310/6 316/4   Currently [1] 272/13               393/13 393/16 393/17 393/18
 continual [1] 389/6                 318/24 323/21 362/19 380/13       custodial [2] 255/11 393/24        Defendant's [5] 221/11 352/21
 continue [6] 257/14 327/5 327/8     406/2 410/8 411/4                 custody [5] 334/21 334/24 335/1    354/11 357/3 428/8
  393/10 393/12 393/19              counsel [13] 220/10 229/12          335/4 335/16                      defendants [1] 363/7
 continued [8] 223/1 256/15          233/23 234/1 251/4 251/16                                            defense [19] 221/7 221/9 229/12
  311/9 326/11 327/9 374/15          254/18 258/15 259/6 259/6
                                                                       D                                  229/14 241/3 248/20 251/6
  389/12 421/6                       282/24 302/9 313/7                Daily [2] 225/23 328/13            251/16 254/18 254/24 255/3
 contradicted [1] 361/3             count [1] 307/18                   damage [1] 382/12                  258/15 302/9 311/13 313/7 354/3
 control [1] 251/15                 counter [1] 345/23                 damn [2] 238/25 239/22             354/5 354/18 421/4
 controlling [1] 396/4              counterbalanced [1] 372/22         danger [1] 398/22                  defense's [1] 255/24
                                    359/7 373/13 379/19 385/3         300/5 308/13 308/14 308/16         Disk 50 [1] 332/5
 D
Case 1:04-cr-01016-NGGdiagnosed
                         Document       1529
                                [8] 344/12 345/5 Filed 02/09/16
                                                     313/12           Page
                                                            318/1 339/24 348/9218 of  238 PageID
                                                                                   disorder            #: 16413
                                                                                            [16] 342/5 342/6
 defer [1] 267/9                    346/7 347/6 350/6 376/17 384/19   348/25 352/2 353/19 370/17         344/16 346/7 350/11 350/13
 Defiant [4] 404/25 405/12          404/22                            386/4 392/5 399/14 415/17          377/13 383/15 387/7 387/11
 405/18 405/20                      diagnoses [1] 386/23              415/17 420/1                       387/13 404/25 405/1 405/12
 deficient [5] 397/5 397/8 397/14   diagnosing [4] 341/4 350/1        differentiate [1] 415/11           405/19 405/20
 397/19 415/12                      350/25 376/11                     differently [3] 242/8 274/24       disorders [1] 350/14
 deficit [10] 249/6 249/16 286/17   diagnosis [46] 340/19 341/13      278/5                              disparities [5] 415/20 415/22
 294/4 310/5 311/19 311/19          341/16 342/1 342/8 342/11         difficult [20] 227/16 227/19       417/8 417/21 418/21
 338/10 338/13 342/4                344/22 344/25 345/6 345/16        228/6 255/16 264/21 266/14         distinguish [4] 279/18 295/1
 deficit/hyperactivity [1] 342/4    345/18 345/20 345/23 346/12       277/15 299/10 299/15 308/11        343/8 405/16
 deficits [5] 267/1 296/19 344/10   346/15 347/8 348/1 348/17 350/7   308/15 309/12 314/8 315/1          distinguishing [1] 297/23
 361/5 363/19                       350/14 350/19 350/19 350/23       315/12 318/6 318/8 320/19          DISTRICT [6] 218/1 218/1
 defined [6] 311/25 328/20          375/6 376/5 378/5 378/9 378/18    322/17 324/9                       218/12 218/15 220/4 220/4
 338/14 352/15 424/10 424/11        379/8 379/12 380/13 380/25        difficulties [2] 281/25 403/13     disturbance [4] 282/19 342/25
 defining [2] 361/15 423/13         384/18 385/5 385/12 385/17        difficulty [11] 238/5 267/13       348/16 403/5
 definitely [2] 248/5 260/19        386/21 386/23 398/18 399/2        281/15 287/3 288/23 298/4 298/7    disturbed [2] 282/8 351/23
 definition [4] 225/22 248/22       404/24 405/2 405/18 406/9         315/4 315/8 337/11 361/15          DMS [2] 278/11 278/14
 248/24 312/7                       406/10 416/24                     dig [4] 224/6 231/19 237/23        do [171] 222/16 222/18 223/17
 definitions [1] 226/2              diagnostic [3] 339/16 362/7       277/17                             224/2 224/24 225/4 225/24 229/5
 degree [5] 268/3 273/17 273/18     378/19                            digs [2] 293/4 293/6               229/8 229/21 230/22 232/4 233/8
 362/4 399/7                        diagnostically [1] 348/15         dinner [1] 222/9                   233/12 233/16 235/7 235/9
 degrees [2] 328/11 328/12          diagnosticians [1] 340/17         direct [22] 223/14 237/12 239/10   235/24 236/2 236/5 236/5 238/23
 delay [2] 309/2 387/25             dictionaries [1] 364/5            257/19 268/2 288/8 289/22          240/12 242/2 242/8 242/18
 delayed [1] 298/12                 did [76] 224/17 235/18 236/17     289/25 341/14 358/11 365/6         244/16 244/25 245/4 245/9
 delineate [1] 415/11               249/8 252/10 261/10 262/3 262/4   368/10 370/12 371/10 376/23        245/15 246/11 246/11 246/12
 delve [1] 348/7                    263/23 265/22 267/6 267/17        378/7 380/8 380/12 380/17          246/14 246/14 246/15 246/15
 demands [1] 290/4                  276/13 280/17 280/19 280/22       392/17 425/19 426/8                251/11 251/13 255/6 257/20
 demonstrates [2] 272/14 361/11     293/15 296/21 300/2 301/19        direction [5] 289/2 289/5 289/6    258/25 259/24 262/24 264/22
 demonstrative [2] 313/8 313/10     301/22 309/24 310/3 311/8         334/23 418/1                       264/24 267/11 268/16 271/22
 Denies [1] 403/16                  311/22 318/16 320/11 322/21       directions [1] 249/8               275/15 280/2 286/10 286/12
 Denny [1] 317/12                   322/23 322/24 323/14 325/5        directly [2] 288/12 337/12         287/5 287/17 287/17 288/22
 Denny's [1] 409/23                 325/5 325/7 334/7 348/12 355/8    disabilities [6] 339/1 348/25      289/8 289/23 292/4 294/10 300/7
 dependent [1] 368/18               355/23 356/19 358/20 364/13       349/7 351/9 368/15 369/18          300/12 300/20 300/20 300/25
 depending [3] 339/19 369/24        367/7 368/21 369/8 374/19         disability [86] 223/21 226/17      301/12 301/16 301/23 305/6
 417/4                              375/14 375/14 376/10 377/17       226/20 226/22 247/19 255/10        307/13 307/14 307/17 308/4
 depends [3] 227/14 249/23          377/23 379/23 380/11 380/11       282/12 282/15 282/15 287/6         308/20 310/10 310/22 314/24
 390/9                              381/6 381/6 383/9 383/12 384/21   287/21 324/2 338/18 339/13         315/12 316/1 316/9 316/19
 DePetra [6] 273/12 273/23          385/8 386/24 395/4 395/8 395/11   340/21 341/5 341/16 342/1 342/3    320/24 321/12 324/25 325/17
 274/20 275/4 317/10 320/10         399/5 400/2 400/24 404/3 404/7    342/3 342/10 342/15 342/18         329/16 332/16 335/7 338/10
 DePetra's [1] 319/17               408/24 410/1 410/6 411/20         342/24 343/1 343/2 343/3 343/4     338/12 338/13 338/17 338/19
 depression [1] 342/5               411/24 412/2 416/1 425/24         343/4 343/6 343/6 343/11 343/11    339/1 339/12 339/15 341/18
 derived [1] 408/22                 didn't [81] 221/18 223/11         343/19 344/11 344/11 344/15        342/15 342/16 343/3 343/3 343/8
 describe [10] 237/9 237/13         224/17 224/19 234/8 240/15        344/23 345/5 345/16 345/17         343/10 349/22 350/10 350/16
 237/22 237/23 237/25 240/10        251/7 261/16 262/18 262/21        346/9 346/16 346/21 346/23         351/5 351/16 351/18 355/8 356/4
 240/11 242/5 261/19 416/18         263/20 263/25 264/2 266/21        346/24 347/7 347/10 347/12         358/5 358/9 358/18 360/3 360/24
 described [1] 236/15               270/21 271/19 274/17 276/3        347/13 347/16 347/22 347/23        360/25 362/14 362/25 366/22
 describes [2] 231/11 241/24        277/20 283/2 285/4 285/12 287/5   348/2 348/17 348/19 350/1 350/5    367/11 370/18 370/19 370/20
 describing [4] 230/19 239/2        294/1 295/10 296/15 297/24        350/7 350/8 350/20 350/22 351/1    371/5 372/5 372/6 372/8 373/8
 246/20 328/9                       298/22 307/23 308/19 309/23       351/11 359/8 364/2 373/13          378/21 379/2 379/11 380/3 384/6
 description [3] 239/18 240/8       310/1 310/2 310/4 311/12 312/23   373/14 375/6 376/24 382/25         386/10 388/21 390/25 392/16
 363/18                             314/17 316/8 316/9 316/18         383/16 384/3 384/19 385/1 385/3    393/23 394/9 394/19 395/20
 designer [2] 316/19 316/22         318/15 318/18 322/5 330/6 335/6   387/22 387/25 388/4 399/2 401/3    395/24 395/25 400/2 400/17
 desire [1] 280/3                   341/21 341/25 345/22 346/12       401/6 402/15 415/23 416/13         402/20 403/3 403/7 405/13
 desires [1] 290/4                  351/23 352/1 354/14 373/12        417/16                             408/14 408/15 408/16 410/8
 despite [3] 315/18 383/11 402/21   378/5 379/8 379/17 379/25 380/4   disabled [2] 338/8 363/22          413/9 414/24 415/21 416/2
 detail [3] 225/6 404/17 404/21     384/24 385/2 385/3 385/6 385/10   disagree [2] 258/17 376/1          416/13 417/1 418/6 418/25 419/7
 detailed [1] 416/24                385/16 385/16 395/5 404/21        disagreement [2] 424/4 424/6       419/8 420/7 423/10 425/12
 determination [2] 256/8 426/21     405/6 407/3 410/16 410/17         discern [1] 232/5                  426/10 426/11
 determine [9] 293/19 294/4         410/21 410/22 410/25 411/9        discharge [2] 315/9 401/14         Docket [1] 220/8
 312/18 379/12 406/2 409/3          411/10 411/19 422/13 422/16       disconnected [1] 334/16            doctor [10] 264/19 296/6 296/6
 409/11 410/3 410/4                 423/12 423/20                     discovered [1] 221/1               332/14 346/20 382/9 385/16
 determined [1] 409/19              died [1] 271/9                    discovery [2] 254/21 363/5         385/21 387/20 418/5
 determining [2] 363/18 388/3       difference [12] 224/7 227/9       discrepancy [4] 343/13 343/14      doctors [3] 379/8 379/15 384/21
 develop [2] 375/18 424/12          272/15 272/18 277/17 328/8        344/7 399/9                        document [14] 232/15 234/21
 developed [1] 272/24               342/14 356/2 367/23 388/10        discuss [3] 269/24 346/5 380/23    252/9 279/8 285/13 320/5 382/6
 developing [1] 400/8               399/18 416/11                     discussed [5] 223/5 228/24 360/6   395/24 399/22 407/23 408/4
 development [2] 358/3 424/13       differences [6] 234/13 277/18     365/6 380/17                       411/8 411/13 413/11
 developmental [2] 338/17           290/7 406/23 406/24 406/24        discussing [1] 415/15              documentation [1] 378/10
 398/22                             different [33] 230/9 230/14       discussion [5] 351/16 380/24       documented [2] 221/17 375/4
 deviation [1] 367/15               231/3 232/2 236/6 250/15 254/12   381/15 381/18 418/1                documenting [1] 378/16
 deviations [1] 397/16              258/5 278/19 279/25 280/1         disease [1] 377/13                 documents [3] 251/5 251/11
 diagnose [7] 339/1 339/13 359/7    285/22 285/23 287/10 294/23       Disk [1] 332/5                     425/5
                                   244/5 244/7 244/25 246/9 262/18 278/2 278/2 278/12 278/19 312/7 either [3] 336/15 417/25 426/15
 D
Case 1:04-cr-01016-NGG262/21
                        Document       1529
                             264/22 269/15 269/18Filed 02/09/16
                                                     338/14           Page
                                                            342/9 346/14      219 ofelectronically
                                                                         346/14        238 PageID        #: 16414
                                                                                                   [1] 229/16
 does [60] 231/2 236/20 237/2      274/12 277/17 290/16 290/17       350/10 350/18                      Elephant [1] 353/12
 239/25 244/12 260/3 260/8         290/19 293/4 293/6 322/2 332/14   DSM-IV [1] 350/18                  elevate [1] 363/10
 269/25 272/21 275/2 281/1 281/6   349/7 367/18 367/19 370/2 370/5   dude [2] 233/10 233/12             elevated [2] 368/4 368/4
 281/8 286/16 294/9 298/1 335/24   370/7 404/3 405/14 406/3 406/6    Dupree [3] 403/22 403/22           Eleven [1] 411/17
 340/16 341/24 344/21 345/16       407/14 407/19 408/10 410/17       403/24                             Eleven-eight-93 [1] 411/17
 346/5 347/9 347/12 347/22         417/1 417/15 424/22               during [13] 222/17 223/9 223/14    Elmhurst [4] 281/21 383/3 403/3
 347/22 348/18 350/6 350/10        downstairs [1] 257/9              224/1 259/6 331/6 333/5 358/25      405/3
 350/15 350/17 359/14 362/6        Dr [35] 223/3 230/3 230/18        391/24 396/10 396/18 400/20        Elmo [5] 304/1 304/2 304/4
 363/20 365/18 366/22 367/17       233/4 235/14 249/12 249/13        402/22                              304/7 307/5
 368/1 369/10 371/22 372/2         249/19 290/18 319/21 327/11       duties [1] 280/19                  else [23] 227/16 232/11 243/7
 373/25 377/10 378/14 378/14       327/22 333/2 335/15 338/1 338/6   dutifully [1] 280/19                243/8 245/5 262/11 282/16 286/8
 382/11 383/14 386/4 390/1 390/5   355/17 422/5 422/9 422/11         dysfunction [2] 348/15 377/15       291/16 300/18 302/2 306/3 308/4
 390/14 391/19 396/7 397/7         422/25 423/15 424/3 425/15        dyslexia [2] 226/23 227/2           334/17 342/7 347/17 348/4 355/8
 399/20 402/11 405/2 412/4         425/18 425/23 426/11 426/12                                           385/14 387/17 392/14 424/19
 413/12 416/23                     426/12 426/13 426/14 426/16
                                                                     E                                   426/25
 doesn't [26] 240/3 259/16         426/16 426/21 426/24              E-mail [20] 219/20 225/20 230/7    else's [2] 308/9 334/1
 267/13 273/16 286/22 293/4        Dr. [55] 254/1 259/24 261/8        230/18 232/4 235/14 238/6 239/2   email [26] 263/5 268/2 268/12
 298/4 306/2 343/19 345/11         262/3 265/8 265/9 291/7 297/4      242/4 244/5 244/9 252/10 327/12    268/18 269/4 269/14 271/4
 345/12 345/17 345/18 347/25       300/23 301/3 301/3 301/6 301/14    329/2 329/2 329/10 330/12          271/10 277/1 277/7 277/22
 348/1 350/21 373/23 375/5         304/12 305/10 319/13 319/19        356/14 356/19 358/8                277/23 282/25 283/11 283/18
 375/19 376/2 385/15 387/7         340/1 340/3 340/6 341/16 341/25   E-mailed [1] 254/5                  284/6 284/24 288/25 289/12
 387/16 404/20 405/13 414/21       345/14 345/15 345/18 346/11       E-mailer [1] 225/10                 297/14 297/21 307/15 317/1
 dog's [1] 284/16                  347/6 348/8 349/25 350/6 350/25   E-mailing [1] 244/12                317/9 317/10 319/13
 doing [19] 231/20 234/11 242/3    352/7 355/17 356/2 356/12 357/5   E-mails [10] 225/13 225/21         emailed [1] 420/25
 243/2 248/3 253/4 280/19 311/14   357/20 373/6 375/5 375/12          228/22 230/6 241/22 244/8 254/6   emailing [2] 268/11 297/19
 314/9 347/15 349/1 371/1 384/7    377/20 379/14 386/8 386/13         254/15 255/23 327/12              emails [10] 262/19 267/5 275/2
 392/21 405/14 405/15 409/7        396/2 406/2 409/17 409/23         e.g [1] 248/25                      277/6 283/10 288/20 307/9
 418/10 425/14                     410/14 413/14 419/6 420/25        each [3] 251/21 274/1 274/7         307/19 308/2 320/10
 Dolce [2] 316/17 316/19           421/3 424/9 425/23                Earl [4] 301/9 395/15 402/9        embellish [1] 384/8
 domain [2] 287/2 289/11           Dr. Aranoff [1] 413/14             413/16                            Embellishment [1] 384/8
 domains [7] 269/10 278/10         Dr. Aranoff's [1] 373/6           Earl's [1] 413/17                  emotion [9] 236/15 236/16
 278/19 281/5 289/9 293/20 333/7   Dr. Buckbaum [1] 375/5            earlier [6] 273/5 274/2 300/18      236/22 248/16 268/25 269/15
 don't [119] 221/4 221/21 222/1    Dr. Bucksbaum [1] 377/20           303/14 356/9 394/15                269/15 275/13 283/9
 222/3 227/4 227/9 227/21 227/23   Dr. Denny's [1] 409/23            early [13] 275/21 281/13 299/10    emotional [1] 282/19
 228/14 231/21 233/9 235/24        Dr. Drob [7] 341/25 347/6 348/8    299/12 299/14 299/23 309/24       emotionally [1] 282/8
 237/15 237/17 237/19 240/17       349/25 350/6 350/25 425/23         341/7 348/14 380/14 382/9 383/3   emotions [2] 267/10 275/8
 241/9 241/11 242/22 244/10        Dr. Drob's [4] 341/16 345/15       387/21                            emphasis [3] 292/6 357/24 358/4
 245/7 246/24 247/5 248/18         345/18 409/17                     earnings [1] 323/6                 employed [1] 398/2
 248/18 254/2 258/21 263/10        Dr. Flynn's [1] 424/9             ears [1] 361/12                    employment [1] 325/7
 263/14 263/16 263/17 264/19       Dr. Frank's [1] 300/23            easier [2] 228/10 274/16           enable [1] 328/13
 268/6 268/7 274/21 277/1 277/3    Dr. Franks [1] 396/2              easily [1] 239/24                  encompass [1] 289/5
 277/6 283/5 284/20 289/15         Dr. George [1] 340/6              East [1] 218/15                    encountered [1] 287/1
 289/25 290/6 292/3 292/17         Dr. James [2] 340/1 421/3         EASTERN [3] 218/1 218/15           encouraged [1] 381/18
 293/12 293/13 297/11 297/13       Dr. Kaufman [6] 355/17 356/2       220/4                             end [14] 229/6 230/25 248/24
 298/17 298/19 299/7 302/5 303/8   356/12 357/5 357/20 420/25        easy [1] 243/5                      251/20 252/2 285/12 301/21
 306/21 308/8 308/24 308/24        Dr. Olley [1] 340/3               eat [3] 221/19 221/19 221/20        301/23 301/23 307/23 341/1
 310/21 313/20 315/23 316/7        Dr. Pop [6] 301/3 301/3 301/6     Edition [1] 396/21                  349/8 361/16 372/19
 316/16 316/21 318/25 319/3        301/14 305/10 410/14              educate [1] 401/2                  endorsements [1] 311/22
 319/4 320/9 324/24 331/19         Dr. Shapiro [19] 254/1 259/24     education [4] 340/18 366/16        engage [1] 224/4
 335/19 336/3 336/4 340/12         261/8 262/3 265/8 265/9 291/7      377/4 404/12                      engaging [1] 267/14
 340/12 341/14 345/3 345/6 346/4   297/4 304/12 319/13 319/19        educational [6] 226/5 394/11       English [1] 285/7
 348/8 348/8 349/1 351/9 352/22    345/14 346/11 352/7 375/12         394/23 400/23 401/25 402/21       enough [10] 282/5 292/4 296/17
 363/23 363/23 364/15 364/16       379/14 386/8 386/13 419/6         educationally [1] 400/9             309/2 346/22 360/7 388/15 394/5
 372/23 375/13 375/24 379/2        Dr. Shapiro's [1] 406/2           educator [1] 339/19                 395/5 425/9
 380/2 382/2 383/22 384/8 392/2    draft [1] 329/8                   educators [1] 340/18               ensure [2] 329/15 333/24
 394/4 394/5 394/11 400/16         draw [4] 233/4 241/19 339/3       effect [23] 353/13 357/9 358/5     enter [1] 329/14
 400/18 401/15 402/17 412/13       341/20                             364/23 365/7 365/15 365/22        enters [1] 393/17
 412/15 413/4 413/21 414/3         drawing [1] 230/3                  365/24 367/9 367/24 368/2         entire [3] 295/8 295/19 325/13
 414/15 414/21 423/20 424/9        dressed [5] 301/15 305/9 305/20    370/11 371/23 372/2 372/10        entirely [1] 361/22
 425/7 425/10 425/11 425/21        306/17 306/18                      372/11 372/18 373/1 379/5 414/4   entitled [1] 427/11
 426/12 426/14                     Drob [9] 341/25 345/4 345/4        417/3 422/8 424/10                entry [4] 403/8 403/10 411/10
 done [17] 273/3 280/15 325/22     347/6 348/8 349/25 350/6 350/25   effects [7] 369/20 377/12 377/12    413/9
 329/5 344/2 368/6 382/17 401/9    425/23                             377/18 377/23 418/14 418/16       environment [6] 255/17 255/18
 406/6 409/3 409/20 410/13         Drob's [4] 341/16 345/15 345/18   efficiency [1] 333/20               299/7 398/3 401/25 402/3
 411/12 412/9 413/5 419/23         409/17                            effort [4] 296/11 324/25 364/4     equal [1] 415/17
 426/12                            drop [3] 285/12 349/13 367/15      400/7                             equating [1] 397/17
 door [2] 349/2 349/6              drug [2] 382/19 386/5             efforts [3] 394/12 401/2 402/22    equipment [2] 260/25 261/3
 doses [1] 387/1                   drugs [7] 325/8 325/9 325/11      eight [6] 372/19 372/22 384/24     equivalent [1] 291/22
 double [1] 331/5                  383/7 383/11 383/17 385/9          386/5 409/6 411/17                era [1] 416/12
 double-checked [1] 331/5          drummed [1] 413/1                 Eighty [1] 340/22                  error [3] 407/1 409/2 424/13
 down [38] 224/6 231/19 237/23     DSM [14] 248/8 248/15 248/17      Eighty-five [1] 340/22             errors [11] 391/23 407/4 407/6
                                    evidenced [1] 330/12               304/10 305/16 310/19 310/20        extended [1] 331/2
 E
Case 1:04-cr-01016-NGGexact
                         Document        1529
                            [10] 246/17 247/9     Filed313/8
                                              255/20     02/09/16       Page
                                                             313/10 313/17      220 ofextensive
                                                                           313/19       238 PageID
                                                                                                [1] 355/18#: 16415
 errors... [8] 407/9 409/12 410/1    255/22 272/7 273/14 278/16         316/23 317/1 317/5 317/7 319/6    extent [2] 256/4 384/8
  410/3 414/25 415/3 415/5 415/5     298/17 298/19 412/8                319/9 319/11 327/15 327/16        extra [1] 313/9
 especially [4] 299/5 299/12        exactly [6] 230/22 235/25 255/21    327/18 327/20 332/7 351/16        extraction [1] 224/12
  324/11 402/2                       273/16 278/6 316/16                351/17 352/21 354/11 356/15       extremely [1] 416/7
 ESQ [6] 218/14 218/16 218/17       exam [1] 365/19                     356/24 357/1 357/3 360/18 366/2   eyes [4] 238/24 239/4 239/7
  218/22 219/3 219/8                examination [34] 220/21 223/1      Exhibit 1 [2] 229/18 229/24         239/21
 essentially [1] 365/24              223/10 223/14 237/12 239/10       Exhibit 2 [4] 237/5 238/7 238/12
 established [2] 366/8 367/5         257/14 327/6 327/9 338/4 338/7     238/15
                                                                                                          F
 estimated [2] 398/14 410/21         341/14 341/25 358/11 359/1        Exhibit 2A [3] 240/17 240/22       F-L-Y-N-N [1] 353/13
 et [2] 238/4 270/7                  365/6 368/10 370/12 371/10         241/8                             face [7] 235/10 277/9 277/9
 ethical [1] 366/19                  376/23 379/7 380/17 383/21        Exhibit 3 [1] 243/20                282/3 284/19 289/15 322/18
 evaluate [4] 303/7 322/17           383/24 384/16 392/17 394/19       Exhibit 37 [1] 327/18              face-to-face [1] 277/9
  407/15 418/12                      394/20 407/22 410/12 411/7        Exhibit 39 [2] 232/16 232/25       Facebook [12] 230/8 295/4
 evaluated [10] 301/7 339/6          411/9 419/4 420/16                Exhibit 4 [2] 245/24 246/4          295/9 295/10 297/3 297/4 297/6
  373/11 374/12 374/15 375/15       examine [2] 222/16 316/17          Exhibit 5 [2] 250/22 250/25         297/7 297/19 297/22 315/18
  394/16 402/25 403/21 409/19       examined [1] 371/14                Exhibit 50 [2] 255/2 332/7          315/19
 evaluating [4] 368/25 370/17       examinee [2] 370/24 408/10         Exhibit 5180 [1] 253/15            facile [2] 360/15 362/9
  394/22 396/3                      examiner [9] 370/19 371/14         Exhibit 7 [3] 253/17 253/20        facilities [2] 256/12 312/4
 evaluation [18] 232/4 300/23        371/15 385/13 396/19 406/22        253/24                            facility [2] 322/19 403/4
  300/24 374/2 386/6 386/8 394/24    407/1 407/6 409/13                Exhibit B [1] 360/18               Facsimile [1] 219/19
  402/20 403/1 403/24 404/2 404/7   examiners [3] 384/18 407/9         Exhibit E [2] 356/15 356/24        fact [49] 223/15 225/12 226/10
  404/9 404/11 404/12 404/14         411/4                             exhibits [12] 221/7 221/9 229/5     253/12 261/9 267/5 269/9 283/11
  404/15 417/1                      examining [4] 259/7 407/10          229/6 229/14 251/6 251/21          285/15 287/22 295/24 299/5
 evaluations [2] 339/5 386/9         415/25 416/3                       302/25 303/17 303/21 428/8         300/2 300/10 307/9 309/24
 evaluator [4] 375/22 394/22        example [24] 224/14 227/5           428/14                             309/25 311/8 314/14 315/18
  403/15 426/2                       228/23 232/12 235/25 239/20       exist [4] 343/18 346/17 350/21      318/15 320/1 322/4 322/9 323/7
 evaluators [2] 301/22 375/25        243/1 247/17 250/7 272/8 281/10    379/23                             325/13 331/3 334/7 334/24
 evaluators' [1] 373/7               281/11 281/14 286/6 309/8 343/5   existence [2] 385/17 387/22         336/11 340/15 344/21 347/21
 Eve [1] 349/13                      343/22 343/23 350/18 362/4        exists [1] 365/19                   348/1 348/3 350/6 362/18 362/25
 even [22] 243/8 270/4 272/2         389/4 405/13 408/14 410/11        expand [2] 250/1 388/7              363/3 375/3 375/7 376/11 377/18
  273/11 286/9 292/12 297/1         examples [4] 248/14 262/14         expanding [1] 386/12                377/24 396/9 399/5 420/17
  314/14 315/2 315/3 315/5 318/11    358/18 358/25                     expansive [1] 396/12                420/25 422/22
  318/12 321/3 368/9 369/14         excellent [1] 301/12               expect [5] 257/19 344/18 401/2     factor [5] 288/4 348/19 376/24
  379/18 380/17 388/19 398/20       except [1] 361/13                   401/3 426/21                       382/25 398/15
  399/5 411/4                       exception [2] 362/10 409/2         expected [3] 363/10 396/11         factors [3] 368/10 371/24 415/14
 evening [2] 424/25 427/4           excerpt [1] 254/20                  401/7                             fail [1] 247/14
 event [2] 406/7 417/18             exchanges [1] 278/25               expensive [1] 316/22               failure [1] 386/19
 events [2] 312/6 374/19            exclude [1] 350/7                  experience [12] 322/10 322/14      fair [9] 285/24 291/7 291/9
 Eventually [1] 383/6               exclusion [4] 350/16 350/16         322/16 323/7 337/22 355/18         345/9 387/23 388/5 392/14
 ever [6] 238/24 239/21 287/25       350/21 350/24                      355/19 390/11 392/9 415/24         392/15 416/2
  287/25 314/17 394/14              exclusions [1] 348/16               415/24 419/16                     fairly [2] 389/2 398/20
 every [13] 233/10 236/20 236/20    exclusive [1] 251/15               expert [5] 340/11 340/17 346/1     faith [1] 284/13
  284/14 284/16 285/19 285/20       excuse [8] 233/22 261/8 266/3       355/22 385/4                      fall [4] 235/10 284/18 284/21
  375/21 415/18 415/19 417/4         271/16 327/13 353/7 374/3 422/7   expert's [1] 423/19                 289/15
  417/4 417/5                       excused [1] 424/21                 experts [9] 220/25 255/20          falling [1] 236/15
 everybody [4] 230/16 231/12        excuses [4] 265/4 265/21 265/24     330/24 338/25 339/8 339/9 341/4   falls [1] 289/9
  306/3 328/24                       266/20                             378/6 384/23                      familiar [3] 226/22 235/20 266/8
 Everybody's [2] 265/5 265/25       Executing [1] 279/5                experts' [1] 330/20                family [6] 271/8 291/13 330/25
 everyday [1] 334/3                 Executive [1] 288/16               explain [9] 243/13 264/25           331/1 331/2 331/9
 everyone [10] 257/13 266/2         exercise [1] 301/11                 280/13 280/14 345/18 350/3        famous [1] 246/10
  266/4 271/15 271/16 271/20        exercised [1] 399/10                379/3 380/14 380/24               far [12] 255/8 293/2 301/5
  274/3 274/19 282/16 393/11        exercises [1] 307/6                explained [1] 314/10                303/14 308/4 329/6 334/3 334/16
 everything [4] 234/11 271/15       exerting [2] 244/6 245/8           explaining [8] 231/15 232/9         349/8 382/3 410/1 426/5
  329/9 415/18                      exhibit [105] 221/11 229/1 229/2    243/2 244/19 265/21 266/19        fashion [4] 227/17 227/18
 evidence [69] 221/3 221/10          229/4 229/8 229/18 229/19          376/9 396/14                       247/18 344/3
  221/12 229/20 229/25 230/1         229/24 230/1 232/16 232/20        explains [4] 247/3 307/17 385/2    fast [1] 233/19
  232/21 233/1 233/2 234/5 234/7     232/25 233/2 234/5 234/7 237/5     385/4                             father [1] 391/10
  236/12 238/16 238/17 240/23        238/7 238/12 238/15 238/17        explanation [6] 245/12 245/13      featured [1] 386/7
  241/15 241/17 242/9 243/21         240/17 240/22 240/23 241/3         247/5 296/12 348/7 361/17         February [2] 403/3 404/10
  244/1 244/2 246/1 246/5 246/6      241/8 241/17 243/20 243/25        exploitable [1] 398/23             February 15th [1] 404/10
  250/23 251/1 251/2 251/17          244/2 245/24 246/4 246/6 248/20   explore [3] 287/10 348/22 376/6    fed [2] 221/15 221/22
  251/25 253/18 253/21 253/22        250/22 250/25 251/2 253/15        explored [2] 359/4 374/3           feel [8] 233/9 233/13 233/15
  254/22 256/7 259/4 259/8 267/22    253/16 253/17 253/20 253/22       exposed [5] 393/24 394/12           235/6 235/12 239/6 271/14
  270/25 271/1 276/19 276/20         253/24 255/1 255/2 255/3 258/6     400/23 401/25 402/16               271/21
  284/3 284/4 310/20 313/18          258/19 259/3 259/8 260/4 260/7    exposure [5] 363/10 382/19         feeling [1] 268/3
  313/19 317/6 317/7 319/10          264/11 264/12 267/17 267/17        385/25 399/23 399/25              feelings [5] 235/15 235/16 269/1
  319/11 327/19 327/20 340/15        267/19 267/21 270/17 270/18       expounds [2] 242/11 246/13          279/9 396/16
  344/10 353/25 354/6 354/11         270/24 271/1 272/14 276/9         express [1] 248/12                 feels [1] 269/18
  354/16 354/19 356/23 357/2         276/12 276/12 276/18 276/20       expressed [2] 273/7 391/25         feet [4] 268/16 269/21 315/5
  357/3 360/18 367/10 375/16         282/16 283/23 284/2 284/4         expresses [1] 268/25                315/13
  375/20 380/22 428/8 428/14         290/13 302/10 303/21 303/25       expressing [1] 269/1               felt [2] 341/10 396/12
                                    forgotten [1] 258/15               gathered [1] 293/23                277/2 285/24 287/16 287/19
 F
Case 1:04-cr-01016-NGGformDocument      1529
                           [4] 253/4 253/5 300/11 Filed 02/09/16
                                                      gave             Page255/21
                                                           [14] 224/14 228/23 221 of288/5
                                                                                      238288/25
                                                                                           PageID
                                                                                                290/14#: 16416
                                                                                                       290/20
 fetal [1] 382/19                    378/6                             262/14 296/20 301/8 307/13         292/1 293/15 295/25 299/23
 few [14] 254/22 267/5 268/18       formal [2] 363/17 404/7            395/3 408/20 410/17 411/5          302/3 302/13 304/20 306/13
  284/7 293/21 302/6 302/7 332/3    formation [2] 397/4 397/13         411/11 412/14 413/22               307/4 307/4 311/3 316/5 317/18
  338/22 388/13 388/18 419/1        formed [3] 249/13 296/15           general [8] 312/1 337/14 337/20    317/23 319/14 320/3 322/8
  419/2 419/3                        309/23                            363/11 397/3 397/11 399/22         325/16 332/10 333/16 335/3
 field [1] 247/21                   former [1] 331/1                   424/16                             335/5 338/21 345/10 346/18
 fifteen [1] 393/3                  forming [2] 279/11 356/19          generalization [1] 224/11          349/1 349/18 352/1 356/17
 fifteen-minute [1] 393/3           forth [7] 286/14 290/4 292/19      generalized [1] 225/7              364/15 364/20 367/18 376/7
 fifth [2] 226/6 387/2               353/8 354/25 356/7 392/2          generally [1] 224/20               379/2 379/20 380/3 381/12 382/4
 Fifty [1] 332/6                    Forty [1] 304/5                    generated [1] 414/10               382/7 386/13 386/15 399/18
 Fighting [1] 271/5                 Forty-two [1] 304/5                generation [1] 390/8               406/12 413/7 415/18 426/25
 figure [1] 221/22                  forward [5] 249/4 252/1 284/6      gentlemen [1] 334/5                goal [4] 230/15 231/8 330/11
 file [2] 298/25 408/2               320/12 334/23                     George [1] 340/6                   402/4
 fill [4] 322/9 323/14 323/21       Foster [1] 279/11                  gesture [1] 268/8                  goals [1] 401/18
  323/22                            found [2] 290/22 310/5             get [56] 221/22 221/25 222/8       Gobana [2] 316/17 316/19
 filled [3] 324/12 324/14 403/24    foundation [6] 236/4 302/18        222/12 222/20 225/20 230/4         God [2] 271/17 274/4
 filling [2] 324/3 324/8             375/14 375/17 423/23 423/24       233/6 233/15 236/2 239/19          goes [14] 239/9 242/16 245/10
 final [1] 294/16                   four [12] 287/18 298/1 321/9       240/18 243/12 245/12 264/4         247/6 273/23 279/24 284/15
 finally [1] 334/16                  329/8 396/19 397/2 397/10         265/22 268/15 269/9 271/25         292/25 313/24 334/13 342/13
 find [7] 221/24 233/13 310/1        397/17 397/18 411/12 412/2        274/8 277/12 284/9 284/13 285/1    370/7 376/2 378/4
  310/2 310/3 310/4 348/4            425/21                            286/23 288/1 289/2 290/20 292/6    going [90] 222/3 222/7 222/14
 finder [1] 360/19                  four-year-old [1] 298/1            295/22 296/11 296/11 300/19        222/25 224/5 229/1 229/2 230/4
 finding [1] 347/21                 fourth [2] 226/8 387/1             301/6 307/15 315/12 315/19         230/11 230/22 232/14 233/4
 fine [4] 221/25 233/7 234/8        frames [1] 318/1                   317/15 317/18 319/15 320/4         233/24 236/2 236/10 237/3
  302/19                            Francisco [1] 219/2                334/10 334/10 335/24 336/3         238/21 240/6 240/16 241/19
 finish [3] 222/8 285/5 425/12      Frank's [1] 300/23                 352/6 352/23 353/8 391/5 400/17    241/20 241/20 244/5 245/20
 finished [4] 227/24 285/9 349/14   Franks [4] 383/10 386/8 394/19     407/4 416/23 425/11 426/5 426/7    254/18 254/21 258/19 260/1
  380/19                             396/2                             426/12                             268/2 270/16 273/25 274/8 275/9
 first [30] 222/6 222/20 244/5      free [1] 311/4                     get-go [1] 290/20                  284/9 284/18 287/9 289/14 294/3
  246/9 261/19 263/20 263/23        frequently [5] 339/17 339/18       gets [6] 264/5 269/21 315/11       294/19 300/20 301/18 302/6
  268/19 276/24 287/24 321/16        339/19 340/19 419/21              371/21 371/22 423/25               302/8 302/13 312/10 313/8 315/4
  324/7 324/12 333/3 334/16         friend [2] 297/6 297/8             getting [14] 230/14 231/3 236/7    317/21 318/17 320/14 329/6
  334/18 344/6 360/11 365/13        friends [3] 279/18 295/1 295/11    297/3 299/25 309/3 314/14 315/4    329/11 329/12 331/22 332/22
  366/4 367/15 379/10 384/2         friendships [1] 279/11             330/13 334/6 337/6 373/17          337/5 337/19 338/21 346/1
  385/16 397/24 402/25 406/19       front [4] 248/18 248/22 360/24     377/11 383/19                      346/20 347/1 349/7 349/14
  408/21 411/18 418/14               395/20                            Giglio [1] 426/1                   355/14 358/22 371/6 375/11
 first-grade [1] 344/6              frontal [1] 382/15                 gild [1] 383/23                    375/18 378/9 379/13 379/24
 fit [2] 278/16 391/19              full [13] 281/12 344/1 360/3       Gilio [2] 400/10 401/11            380/2 381/4 381/20 385/1 386/12
 five [5] 340/22 372/19 372/22       367/1 367/7 367/14 367/14         girl [3] 254/7 277/1 277/6         388/17 405/21 406/3 406/6
  417/5 417/25                       386/25 395/4 395/6 404/11         girl's [1] 282/3                   416/11 421/3 423/18 425/2 425/9
 Flags [1] 305/17                    410/21 425/15                     girlfriend [6] 279/17 298/14       425/18 425/21 426/5 426/15
 flaw [1] 372/23                    full-scale [5] 344/1 367/1 367/7   298/15 298/18 331/1 331/6          426/22
 Floor [1] 219/7                     367/14 367/14                     girls [1] 308/16                   gone [2] 405/22 405/23
 fluency [1] 362/4                  fully [2] 225/24 233/8             gist [1] 373/15                    good [34] 220/16 220/19 222/10
 fluid [1] 363/13                   function [3] 293/23 339/11         give [27] 224/17 229/6 235/9       222/19 222/22 223/3 223/4
 Flynn [22] 352/5 352/13 352/15      399/12                            238/4 251/19 257/15 271/7          230/12 230/14 245/2 246/19
  352/19 353/7 353/13 353/13        functional [1] 249/1               276/12 281/18 290/19 293/8         254/7 257/9 257/10 258/2 268/17
  357/9 358/5 358/9 364/23 365/7    functionally [2] 328/9 328/22      317/11 331/22 339/16 343/22        268/25 280/15 280/17 280/19
  365/15 365/22 365/24 367/9        functioning [24] 225/15 247/22     372/3 386/12 395/4 395/5 410/18    281/11 284/12 285/15 299/14
  367/11 367/20 367/24 368/2         248/6 248/7 248/8 268/19 269/10   410/21 410/22 410/25 412/5         307/2 307/3 333/20 361/13
  368/9 422/8                        278/4 281/5 293/20 294/5 294/10   414/2 414/7 414/20                 367/10 389/7 401/23 412/11
 Flynn's [2] 357/11 424/9            309/21 330/18 330/19 333/7        given [27] 222/16 256/7 344/9      424/24 427/3
 Flynning [1] 367/17                 338/11 344/17 344/18 380/19       344/18 345/9 368/12 370/11         Google [1] 240/3
 focus [5] 246/9 267/24 289/1        382/14 382/22 397/22 398/19       372/10 372/11 376/3 377/18         got [39] 221/19 236/10 257/8
  329/2 393/22                      functions [1] 370/17               377/24 382/16 383/6 383/11         261/2 265/5 265/25 285/15 301/4
 focused [3] 255/9 284/12 284/12    funny [2] 250/16 254/13            383/16 385/12 385/22 398/6         305/20 305/25 309/2 314/6
 folks [2] 369/17 401/13            further [10] 230/5 256/6 280/13    402/2 402/15 407/13 411/1 412/9    314/17 315/12 317/25 320/25
 folks' [1] 334/5                    280/14 292/25 338/2 368/18        414/2 414/3 426/5                  323/24 324/15 331/11 343/8
 follow [4] 225/2 249/8 377/15       406/4 406/4 424/18                gives [3] 336/2 336/15 385/14      348/2 348/6 349/10 349/11
  405/2                             future [3] 330/14 335/22 369/1     giving [15] 226/13 255/25          357/10 367/6 369/24 372/5
 follow-up [1] 377/15               futurized [1] 368/20               265/21 279/13 289/5 290/22         378/21 382/2 387/16 393/25
 followed [2] 412/20 413/25                                            291/10 292/9 308/6 317/18          404/2 405/25 409/22 412/25
 follower [1] 336/19                G                                  351/22 385/10 396/24 408/10        414/20 422/5 422/8
 follows [1] 332/18                 game [3] 309/20 309/20 345/9       411/25                             GOV [6] 251/5 310/21 376/16
 food [2] 221/25 257/7              games [6] 309/8 309/11 310/7       glasses [3] 317/11 317/19 317/24   395/15 403/25 407/24
 force [3] 235/11 235/18 246/16     310/10 310/14 311/5                go [78] 222/20 225/6 229/9         government [80] 218/13 229/2
 foregoing [1] 427/10               GARAUFIS [4] 218/11 220/5          230/5 232/3 232/18 235/3 235/12    229/2 229/3 229/18 229/19
 foreman [1] 280/18                 220/6 327/1                        236/9 238/18 238/22 241/20         229/24 232/16 232/20 232/25
 forensic [1] 339/23                gas [1] 312/3                      245/20 249/4 252/1 253/13          237/5 238/7 238/11 238/15
 forever [1] 349/1                  Gates [2] 252/11 252/20            256/10 257/10 259/18 260/15        240/17 240/22 240/23 241/8
 forget [3] 272/1 334/4 384/11      gather [1] 420/24                  261/5 264/17 265/18 274/15         243/19 243/20 243/25 245/23
                                    359/4 361/13 364/7 366/7 372/11 261/12 262/7 262/8 263/10         331/17 336/14 337/18 345/25
 G
Case 1:04-cr-01016-NGG374/21
                        Document       1529
                             375/13 375/22 375/25Filed 02/09/16
                                                     263/12           Page
                                                            265/3 265/3 265/24222 of346/8
                                                                                      238346/18
                                                                                           PageID
                                                                                                348/22#: 16417
                                                                                                       349/12
 government... [58] 245/25 246/4 376/11 377/14 377/24 377/25       266/19 266/19 268/11 269/1         364/7 366/24 375/14 381/8
 250/22 250/23 250/25 253/15     378/11 378/15 380/3 381/19        269/15 269/18 270/2 270/12         381/12 383/23 384/6 386/11
 253/16 253/16 253/17 253/20     384/18 384/24 385/5 385/8 386/5   271/12 272/11 273/8 274/6 275/8    391/17 392/21 397/18 399/14
 253/24 255/2 258/19 259/3 260/7 388/2 391/8 394/1 394/1 400/11    275/10 275/11 277/5 277/22         400/19 407/17 416/1 418/7
 264/11 264/12 267/16 267/17     404/21 406/9 406/19 407/17        279/21 282/3 285/3 285/18          419/10 419/14 419/22 419/25
 267/19 267/21 270/17 270/18     407/18 407/18 409/12 409/16       285/18 285/21 286/7 289/12         422/22 424/6 425/1 426/4
 270/24 276/9 276/12 276/18      409/22 410/12 410/13 411/7        289/17 289/18 290/22 302/3         hers [1] 272/3
 283/22 284/2 290/13 302/9       411/10 413/24                     305/9 305/25 317/18 320/2          herself [1] 293/3
 303/25 304/10 305/16 310/19     hair [2] 301/10 302/2             329/12 329/16 333/23 333/24        hesitate [1] 281/18
 313/8 313/17 316/23 317/1 317/5 half [8] 221/20 257/18 367/15     335/4 335/15 335/17 335/18         hesitating [1] 344/13
 319/6 319/9 327/15 327/18 332/7 393/1 393/2 399/19 402/22         335/22 335/24 336/18 336/23        hey [7] 244/24 281/5 284/25
 354/1 355/11 356/7 357/13       425/23                            336/23 336/24 336/24 336/25        289/13 294/9 320/10 348/6
 364/16 380/7 380/13 381/22      half-hour [1] 257/18              345/15 345/19 346/13 348/2         high [6] 243/9 243/9 249/23
 384/14 386/7 389/7 412/16       hand [5] 229/9 229/12 240/23      348/6 355/19 358/15 367/5 380/2    249/24 301/5 418/3
 426/22                          302/8 398/1                       385/13 385/19 385/25 387/11        high-level [1] 249/23
 government's [21] 230/1 233/2   Handing [10] 243/22 246/1         387/15 387/16 389/6 390/21         higher [13] 223/21 227/12
 238/17 241/17 244/2 246/6 251/2 267/18 276/14 283/23 302/10       390/23 394/12 394/13 396/4         248/25 250/11 252/17 286/3
 251/12 251/15 253/22 259/6      313/9 317/1 327/15 353/24         396/9 396/24 398/6 398/8 402/11    288/18 290/10 290/11 308/24
 259/8 271/1 276/20 284/4 313/19 handle [4] 271/18 271/21 274/5    404/17 405/7 405/25 414/20         309/21 310/9 420/3
 317/7 319/11 327/20 380/10      308/17                            425/23                             highest [1] 310/13
 428/14                          handling [1] 329/3                head [8] 246/18 247/13 289/14      highest-level [1] 310/13
 grade [3] 226/6 226/8 344/6     handsome [1] 301/9                305/21 314/3 314/19 314/21         highlighted [1] 361/2
 grammar [3] 272/20 272/22       handwriting [1] 413/10            319/2                              highlights [1] 338/23
 361/5                           handwritten [1] 404/15            heading [1] 346/5                  highly [3] 255/14 401/24 423/15
 grammatical [1] 234/10          hang [2] 307/14 307/14            health [6] 320/18 320/18 341/9     him [86] 221/19 221/22 221/25
 granddaughter [1] 298/1         happen [3] 228/15 282/7 354/12    374/12 374/15 374/20               222/1 222/5 222/12 222/20 239/6
 Grandma [1] 268/17              happened [2] 293/18 420/15        hear [24] 223/11 230/12 234/9      242/12 246/21 252/10 254/5
 granting [2] 346/23 346/25      happening [3] 286/18 293/10       259/14 261/10 261/16 261/20        254/5 257/9 261/11 261/15
 great [5] 303/23 305/17 355/18  321/16                            262/3 264/21 266/21 270/21         262/15 262/18 262/21 265/10
 363/4 384/8                     happens [3] 365/20 371/11         285/12 290/14 297/16 307/23        265/10 269/22 273/24 280/18
 greater [6] 225/6 284/13 315/8  416/25                            316/18 320/11 330/6 331/23         283/14 285/5 292/9 293/15
 399/23 399/25 424/14            happiest [2] 238/25 239/23        335/6 335/15 346/19 347/19         293/22 294/23 296/20 296/20
 greatest [2] 273/25 274/21      hard [2] 331/23 370/21            354/1                              297/19 297/22 301/19 307/13
 greatly [1] 357/19              has [84] 221/18 221/20 221/24     heard [10] 231/24 232/11           307/13 312/19 316/5 316/8
 green [12] 313/25 338/15 340/15 222/13 222/16 226/15 229/3        261/11 285/21 292/18 292/23        318/25 320/10 322/19 322/22
 352/17 352/18 358/9 359/12      229/14 230/20 234/21 236/4        329/16 335/2 382/2 384/2           322/23 323/22 323/22 327/25
 359/22 359/25 360/3 373/22      238/6 240/10 243/20 245/23        hearing [9] 218/11 220/8 236/3     329/4 335/2 342/1 344/15 345/5
 394/9                           249/6 249/7 249/16 253/16         261/18 303/12 303/14 357/8         345/6 345/16 347/7 347/8 349/18
 Greenspan [2] 360/5 360/10      254/24 255/3 255/10 256/7         386/18 419/24                      350/6 355/23 373/11 373/13
 grew [1] 312/10                 269/25 272/20 282/12 282/14       hears [1] 273/10                   375/18 378/21 379/2 379/3 379/8
 grocery [1] 311/25              283/22 284/14 286/18 287/20       heart [1] 305/6                    381/12 385/3 385/14 386/4 390/9
 groomed [7] 299/1 300/7 300/12  289/3 292/12 292/17 293/18        help [7] 235/10 245/12 264/19      390/19 394/1 394/14 396/24
 301/14 301/20 305/13 306/23     293/23 302/17 306/17 314/11       264/23 291/13 319/15 390/9         400/20 401/9 402/25 403/7
 grooming [4] 298/10 298/13      316/16 319/17 324/2 324/7         helpful [1] 423/20                 408/20 414/15 414/17 414/22
 299/3 309/2                     327/22 329/15 336/11 338/10       helping [1] 320/15                 420/24 423/19
 grossest [1] 415/20             338/13 343/10 343/11 343/12       Henry [2] 273/24 273/24            himself [10] 240/6 253/10
 groundwork [1] 347/16           344/1 344/16 347/12 355/18        her [63] 234/5 234/9 239/3 239/4   280/24 301/20 301/25 315/18
 group [7] 279/22 280/6 280/18   355/20 357/8 358/15 364/4         239/4 239/4 239/6 239/7 242/1      317/24 318/17 322/10 364/4
 313/3 341/1 364/11 425/5        364/20 366/15 369/13 373/22       242/12 242/13 247/13 268/11        his [165] 221/17 222/1 227/24
 growing [2] 318/15 318/16       379/5 379/11 382/14 382/22        269/21 271/22 274/2 277/5          231/25 232/1 235/15 235/16
 guess [4] 248/2 316/21 320/9    386/13 388/18 388/22 390/11       284/19 290/22 291/13 291/13        236/18 242/13 244/22 244/24
 373/10                          390/25 393/23 394/1 394/12        291/13 291/16 291/16 291/19        247/13 254/12 262/9 264/4
 guide [2] 275/10 366/12         402/2 402/9 403/14 403/15         291/19 293/6 293/6 297/18          266/19 267/9 269/15 270/12
 guideline [2] 360/6 366/19      415/15 415/22 417/6 426/18        297/21 297/22 319/16 320/3         271/12 272/5 272/11 272/20
 gullable [1] 280/2              426/22                            320/12 320/14 320/15 331/7         273/7 273/12 275/10 279/16
 gullibility [3] 279/24 337/2    hasn't [1] 385/20                 331/25 333/17 333/18 333/23        279/17 280/10 280/15 280/19
 337/3                           haunt [1] 271/19                  333/24 334/13 334/15 335/24        281/1 281/2 281/17 285/5 286/7
 gullible [7] 336/23 336/25 337/4have [301]                        335/24 336/2 336/7 336/7 336/15    293/11 293/18 293/22 293/24
 337/8 337/9 337/14 337/16       haven't [2] 241/9 269/3           391/10 391/10 402/6 411/19         296/18 297/21 298/3 298/14
 guys [1] 306/17                 having [14] 281/24 285/2 286/24   413/9 422/1 422/2 422/17 422/18    298/18 298/20 298/22 299/3
                                 287/8 291/22 292/19 293/2 337/7   422/20 422/22 426/7 426/17         299/3 299/4 299/12 299/14
 H                               337/11 360/5 361/15 388/13        here [76] 221/25 231/2 231/20      299/16 299/19 300/1 300/10
 had [77] 220/25 223/7 230/22    390/23 405/7                      233/15 233/17 235/2 235/7 242/3    300/10 301/10 301/10 301/11
 231/24 232/1 232/18 247/13      he [433]                          244/5 246/9 247/23 265/3 266/11    302/2 305/21 305/23 305/25
 258/4 258/14 271/9 280/15       he'll [1] 222/8                   269/2 270/8 271/7 271/20 273/19    306/6 306/8 306/15 308/1 311/4
 292/23 294/7 294/11 296/17      he's [112] 227/24 230/21 230/22   274/9 274/18 274/21 281/1 283/5    312/9 312/14 312/17 314/16
 299/9 299/14 299/16 301/20      231/14 231/14 231/16 231/20       284/7 284/20 286/22 292/15         316/4 317/10 317/18 317/19
 306/15 310/5 312/24 316/16      235/16 235/17 242/9 244/12        301/7 305/5 306/22 306/22 309/3    318/10 318/11 318/24 319/13
 317/16 322/13 344/7 345/14      245/4 245/20 245/21 247/3 247/8   310/22 314/4 314/10 315/25         319/24 320/20 321/20 321/23
 346/11 347/8 349/25 352/2 352/3 252/22 254/9 254/12 257/9         317/9 317/11 320/2 320/10          322/5 322/10 322/14 323/6 323/7
 354/15 355/18 355/23 356/14     257/11 257/24 261/9 261/11        321/11 328/4 329/2 331/10          323/19 325/7 329/4 331/1 331/1
                                    235/8 236/2 236/5 237/14 242/2     414/16 423/18 424/5 425/1 426/4 incorporate [2] 228/15 231/24
 H
Case 1:04-cr-01016-NGG242/18
                        Document       1529
                             247/14 257/15 260/20Filed
                                                     I've02/09/16      Page
                                                          [16] 221/2 233/14    223 ofincorrect
                                                                            250/22     238 PageID
                                                                                               [3] 384/18#: 16418
                                                                                                         404/5
 his... [70] 331/2 331/6 334/1      262/8 263/6 268/8 272/10 272/12     251/17 293/21 302/8 313/9 333/9    417/25
 334/21 334/24 335/3 335/15         284/21 290/7 294/3 294/9 296/21     349/15 352/21 356/14 364/15       incorrectly [2] 244/21 277/19
 338/17 344/16 344/18 344/19        297/4 301/20 311/13 323/22          364/17 382/2 382/2 384/1          incorrectness [1] 412/24
 345/3 345/10 345/11 345/16         325/13 325/17 329/11 329/12        ID [4] 341/1 346/8 346/9 360/5     indecision [1] 247/16
 346/12 348/12 348/14 350/25        329/13 329/15 329/16 330/11        idea [5] 237/7 253/5 307/20        indeed [2] 344/24 353/4
 351/2 351/2 355/21 356/3 357/6     333/25 334/23 339/1 343/2 343/8     333/25 388/21                     independent [5] 248/1 340/13
 358/18 358/18 361/21 369/11        343/10 344/9 345/8 367/11          ideas [1] 337/21                    402/5 402/12 420/7
 370/7 371/20 375/3 375/4 378/3     367/17 367/17 370/13 376/4         identification [1] 260/9           independently [2] 402/21 420/10
 379/6 379/6 380/23 382/16 383/9    376/4 378/8 378/14 378/14 379/4    identified [2] 220/25 348/20       indicate [6] 249/6 300/7 311/3
 383/11 384/18 385/22 386/5         380/2 380/15 383/24 387/7          identify [1] 415/18                 346/12 372/2 376/10
 389/5 389/8 390/8 390/13 390/15    388/17 388/21 391/4 391/5          identifying [1] 348/18             indicated [8] 225/15 261/15
 390/16 390/22 391/25 393/24        392/16 393/23 399/15 399/18        ideology [1] 232/5                  268/9 279/15 298/12 395/2 398/3
 394/2 394/16 395/1 395/17 396/3    399/20 406/16 408/21 415/20        if's [1] 294/23                     420/9
 396/9 397/15 398/21 398/24         417/6 423/13 425/18 426/4 426/5    II [2] 398/18 399/7                indicates [3] 355/3 372/19 412/8
 399/7 399/10 399/10 399/13         426/8 426/10                       III [12] 353/21 353/21 355/6       indicating [6] 246/9 346/21
 402/2 402/6 402/10 403/7 410/2     however [4] 268/8 286/23            357/10 357/10 357/12 357/14        397/18 410/12 411/8 411/11
 424/12                             371/10 395/8                        357/15 357/21 357/21 422/21       indication [1] 400/13
 historical [1] 415/9               Hudson [1] 219/7                    423/1                             indicator [2] 322/1 387/21
 history [14] 282/1 296/11 322/13   hum [3] 275/11 300/15 418/17       illegal [4] 325/5 325/7 325/8      indicia [1] 388/3
 339/3 362/3 363/5 378/20 382/16    human [3] 291/23 293/8 392/1        325/9                             individual [2] 342/17 379/14
 385/22 388/18 388/20 403/8         humor [6] 249/9 249/22 249/23      illegitimate [1] 361/18            individual's [3] 294/2 363/11
 403/14 404/3                       250/4 253/2 259/23                 illiterate [12] 225/16 225/18       363/19
 hit [1] 338/22                     hurt [1] 425/11                     225/19 225/20 227/10 228/7        individualized [1] 340/20
 hold [2] 265/9 291/3               hurts [2] 233/17 235/8              328/6 328/8 328/9 328/16 328/22   individuals [5] 223/15 340/24
 home [12] 246/18 247/13 299/7      hurts when [1] 233/17               328/24                             357/22 370/19 415/25
 320/17 320/19 320/20 320/24        hygiene [7] 298/10 298/23 300/1    illness [2] 342/14 342/18          infant [1] 368/17
 320/25 322/1 322/5 351/25 352/1    300/25 301/12 308/1 315/2          illnesses [1] 342/23               infer [1] 360/4
 HON [1] 218/11                     hyperactivity [1] 342/4            illuminating [1] 356/1             inference [3] 387/15 387/16
 honesty [2] 240/11 241/25          hypothetically [1] 236/16          imagine [1] 250/18                  390/18
 Honor [84] 220/16 220/24 221/6                                        immaculate [1] 321/24              inferring [2] 361/2 362/2
 227/25 229/3 229/17 232/17         I                                  immediately [1] 332/18             influence [1] 368/10
 232/22 232/24 233/22 236/6         I'd [8] 229/11 325/25 332/2        impact [1] 394/1                   influences [3] 393/23 394/1
 238/19 240/15 240/24 241/14         344/14 346/2 376/6 388/9 388/9    impaired [2] 388/16 399/19          394/12
 243/24 244/3 246/3 246/7 251/3     I'll [16] 222/20 232/12 235/2      impeach [1] 423/19                 influential [1] 375/8
 251/10 251/22 252/7 254/17          254/10 264/25 277/4 284/9         implication [1] 338/24             information [49] 225/23 226/3
 254/25 255/4 255/14 256/11          307/18 307/19 335/1 349/5         implied [3] 263/15 263/16 392/3     248/12 249/18 253/6 273/8
 257/17 259/2 259/21 260/17          349/17 349/18 386/10 406/11       imply [3] 269/1 376/3 387/20        293/23 296/4 296/17 302/20
 261/1 264/10 267/20 283/3           406/11                            importance [1] 342/2                303/9 303/11 313/12 320/12
 283/20 284/1 285/6 290/14 302/8    I'm [142] 221/23 222/1 222/2       important [21] 235/24 262/24        320/14 321/1 323/3 328/21
 302/12 303/16 306/12 313/7          222/3 222/14 223/11 224/17         294/14 295/19 296/9 296/23         330/18 330/25 331/11 340/13
 313/16 317/4 319/8 325/19 326/6     224/19 226/22 227/18 227/18        307/22 307/25 308/21 308/23        346/12 349/24 349/25 351/22
 326/8 327/17 332/9 335/9 337/25     229/1 230/4 230/21 232/14          311/12 313/5 329/16 347/5          355/24 356/1 356/11 360/7 360/8
 344/22 345/14 346/4 352/24          232/15 233/4 233/10 233/15         373/18 373/19 406/18 416/7         363/7 363/11 363/14 374/20
 353/25 354/4 354/12 356/16          236/9 237/3 237/4 237/11 237/17    417/9 424/15 426/18                376/9 376/11 378/5 384/22 385/2
 356/23 356/25 375/11 378/2          238/11 238/21 239/10 240/16       impossible [1] 292/20               385/5 385/16 395/1 397/10
 379/10 380/16 382/5 383/18          241/19 241/20 241/20 242/3        impression [1] 400/10               399/24 403/19 404/5 406/9 413/4
 384/15 385/7 392/24 405/21          244/9 244/15 244/17 245/7 245/9   impropriety [1] 338/25             information-processing-based [1]
 406/5 412/6 418/8 419/1 423/21      245/11 248/23 250/1 253/1 253/1   improve [3] 364/2 364/4 383/12      363/14
 424/18 424/20 427/1 427/2           254/7 258/14 260/1 261/11         improved [1] 364/7                 informational [1] 361/7
 Honorable [3] 220/5 220/6           261/18 263/22 266/6 266/21        improvement [1] 399/24             informed [1] 303/6
 327/1                               268/2 268/13 268/25 270/21        improving [1] 386/6                infrequent [1] 283/10
 hope [4] 268/13 271/14 357/8        271/3 271/18 272/13 272/25        impulsive [2] 270/5 270/8          infrequently [1] 266/7
 386/13                              274/12 274/17 276/8 276/11        inability [3] 267/2 298/3 300/1    inherent [2] 255/19 288/10
 hoping [2] 371/6 371/8              276/12 276/13 277/2 277/20        inappropriate [1] 306/2            initial [1] 403/8
 hospital [7] 282/6 339/13 376/16    281/17 285/2 285/6 292/5 295/7    incapacities [1] 418/23            initially [1] 367/13
 376/17 383/3 383/6 403/15           299/25 301/3 302/6 302/8 303/25   incarcerated [5] 313/25 324/11     initiative [1] 329/20
 hospitalization [3] 377/6 378/17    304/13 304/15 305/24 307/23        324/13 358/16 358/21              injury [1] 375/3
 403/16                              311/11 314/25 316/6 316/18        incarceration [1] 324/16           inmates [2] 280/22 311/13
 hospitalizations [1] 378/12         318/3 318/7 319/18 319/22         incentive [1] 347/8                input [1] 339/15
 hotel [3] 352/1 386/14 420/17       319/23 321/13 325/7 325/9         incident [1] 316/6                 inquiry [2] 355/25 378/17
 hour [7] 221/20 257/18 257/21       325/22 330/6 330/11 331/22        inclined [1] 344/15                inside [2] 239/6 275/23
 326/5 393/1 393/2 426/9             333/5 333/18 337/7 337/10         include [2] 248/15 350/16          insight [1] 362/5
 hourly [1] 261/3                    338/21 344/13 345/7 345/20        includes [1] 337/20                inspect [1] 408/15
 hours [8] 221/21 325/23 338/7       347/11 348/21 348/24 349/12       including [6] 340/1 340/3 340/6    instance [23] 233/25 234/15
 338/21 358/25 383/20 384/11         352/6 354/1 354/2 358/22 359/4     382/19 385/24 400/23               262/5 263/6 281/4 281/8 285/14
 425/21                              359/17 365/5 367/13 370/6         inclusion [1] 416/15                297/13 297/23 299/9 306/23
 house [1] 287/19                    373/10 375/11 375/18 380/12       income [1] 329/6                    308/10 316/3 317/13 317/21
 household [1] 300/2                 380/14 380/23 381/17 384/3        incomplete [4] 245/10 350/2         330/3 343/2 366/15 369/22
 housekeeping [1] 220/24             386/3 386/3 386/11 386/12          374/4 386/22                       370/23 371/20 384/23 408/5
 how [79] 221/22 225/6 228/14        392/21 392/22 392/24 401/12       inconsistent [3] 399/1 402/1       instances [2] 250/5 281/12
 230/19 233/9 233/21 234/15          405/21 406/5 406/6 412/25          402/14                            instantly [1] 263/9
                                    340/19                             422/11 422/25 423/15               251/3 259/15 271/20 274/19
 I
Case 1:04-cr-01016-NGGinvolves
                         Document        1529330/7Filed
                               [3] 298/9 330/4          02/09/16
                                                      January [3] 314/4Page    224 of284/12
                                                                        403/3 403/11   238284/22
                                                                                            PageID    #:289/14
                                                                                                 289/13  16419
 instead [2] 337/5 409/12           involving [3] 340/10 362/1         January 25th [1] 403/11            292/2 292/6 292/24 294/19
 institution [3] 315/9 315/11        378/12                            jersey [1] 305/6                   332/21
  400/14                            IQ [24] 258/5 258/5 258/10         job [12] 280/15 280/17 280/19      keeps [1] 321/23
 institutionalized [2] 314/20        275/20 288/10 343/16 343/20        322/9 323/14 323/21 323/22        KELTAR [2] 219/12 220/14
  315/10                             343/24 344/2 344/8 344/9 344/19    324/3 324/8 324/12 324/14         key [4] 266/11 317/23 357/21
 instrument [9] 366/3 366/4          351/2 351/3 353/12 363/12          324/25                            405/17
  366/7 366/25 367/4 367/4 396/22    363/17 368/20 369/4 369/11        jobs [1] 322/21                    kid [2] 242/1 405/7
  408/6 423/6                        370/3 371/1 395/6 425/24          John [1] 271/5                     kid's [1] 371/2
 instruments [7] 339/10 353/20      irrelevant [1] 312/25              Johnson [3] 219/18 219/20          kids [3] 242/1 242/13 400/8
  365/13 366/23 366/24 372/12       is [650]                            427/14                            kind [15] 225/3 225/5 232/10
  423/7                             isn't [13] 228/18 231/19 252/14    joint [1] 271/4                    234/17 247/6 252/14 252/17
 insufficiently [1] 374/3            274/8 292/8 328/22 337/9 374/6    joke [13] 250/7 252/12 252/14      260/9 285/24 287/11 396/15
 insure [1] 420/4                    374/13 379/18 392/14 412/1         252/14 252/15 253/1 253/2 253/7   396/15 402/1 418/21 420/1
 intake [1] 300/10                   416/11                             262/5 263/7 265/24 265/25         kinds [11] 225/24 232/9 285/25
 integrating [1] 315/8              isolated [1] 363/15                 266/20                            310/11 348/25 351/9 384/22
 intellect [4] 275/24 288/9 288/9   issue [24] 247/15 277/12 279/24    jokes [3] 250/9 250/11 250/14      390/4 391/5 408/16 415/20
  296/24                             295/11 299/4 299/4 341/24         joking [1] 252/17                  knew [5] 284/18 295/8 385/11
 intellectual [66] 223/21 247/19     342/13 347/11 348/10 348/21       joy [1] 268/6                      411/20 411/23
  255/9 282/12 282/15 282/15         359/6 363/22 364/17 379/20        judge [5] 218/12 314/14 342/13     knock [7] 250/7 250/7 252/14
  287/6 287/21 298/5 309/21          381/10 381/21 381/22 381/22        349/14 417/21                     252/14 252/15 252/15 252/16
  338/11 339/1 339/13 340/21         384/12 384/15 386/22 415/7        judging [3] 297/10 393/24 394/2    knock-knock [3] 250/7 252/14
  341/4 342/3 342/10 342/15          417/7                             judgment [10] 270/12 336/7         252/15
  342/18 342/23 343/1 343/3 343/4   issues [15] 257/6 280/11 299/6      362/7 373/12 373/18 373/23        knock-knocks [1] 252/16
  343/6 343/10 343/19 344/11         340/7 341/8 341/9 341/15 384/7     373/25 374/7 374/24 399/10        knocks [1] 252/16
  344/15 345/16 346/23 346/24        388/11 398/23 414/4 417/2         Judi [3] 219/18 219/20 427/14      know [116] 225/4 225/5 225/9
  347/9 347/13 347/22 348/17         420/18 420/20 420/23              July [2] 233/8 264/14              227/9 228/14 231/21 233/9
  350/5 350/8 350/20 350/22 359/7   it [388]                           July 14th [1] 264/14               235/11 235/12 236/3 238/2
  363/22 364/2 369/17 371/7         it's [139] 221/17 226/14 227/4     June [3] 401/21 402/8 402/8        242/22 245/7 246/24 246/24
  373/13 373/14 375/6 376/24         227/5 228/10 228/17 229/10        jury [4] 236/4 313/21 383/23       247/1 252/20 252/22 252/24
  382/25 383/16 384/3 384/19         230/12 233/25 234/2 234/3 234/4    384/6                             253/25 263/10 263/14 263/17
  385/1 385/3 387/22 387/25 388/4    234/14 234/18 238/24 239/21       just [133] 221/24 223/23 226/11    264/19 264/20 270/9 271/17
  390/15 397/22 398/19 399/2         240/19 246/13 247/5 248/7          226/13 226/22 228/23 230/12       271/23 272/3 274/4 277/4 278/2
  401/5 402/15 415/23 416/13         248/21 249/18 253/2 254/6          232/12 232/19 233/8 233/13        279/13 283/18 284/20 284/25
  417/16                             254/10 255/19 255/19 258/8         234/8 235/3 235/10 236/9 236/16   289/13 290/20 292/3 292/17
 intellectually [5] 338/8 398/20     260/8 260/19 260/21 260/22         239/24 241/24 243/10 243/11       293/12 293/13 294/18 294/22
  399/19 400/8 405/20                261/2 261/18 268/6 269/2 269/6     248/21 251/3 251/7 252/25         295/10 295/19 298/17 298/19
 intelligence [5] 365/17 396/20      269/6 271/17 271/21 272/22         254/21 258/6 258/17 258/24        299/9 302/5 302/20 303/6 303/16
  398/13 415/12 415/12               272/22 272/23 274/4 277/8 278/6    259/9 261/24 263/18 265/9 271/3   304/11 304/11 304/25 306/21
 interact [1] 248/4                  278/16 279/6 279/6 281/6 283/10    271/24 272/4 272/22 272/22        307/18 308/8 309/1 311/18
 interacting [2] 279/2 311/14        284/19 286/19 286/21 290/3         272/23 276/3 277/2 277/4 277/4    311/22 316/9 316/16 316/19
 interaction [4] 279/3 279/16        291/9 292/5 292/19 292/24 293/8    279/6 279/13 281/13 282/22        318/6 318/8 318/25 319/3 319/4
  390/22 396/5                       295/19 296/9 297/1 297/7 297/15    284/6 284/19 284/19 285/2 285/2   320/23 321/23 324/24 329/7
 interactional [1] 290/3             298/4 302/4 304/16 307/2 307/3     285/7 285/10 288/25 289/20        331/19 331/23 334/7 345/8 346/9
 interactions [3] 290/1 294/2        307/25 308/10 308/23 316/19        290/19 292/17 294/7 297/14        348/6 348/8 372/24 375/25
  399/11                             316/21 318/6 318/8 322/17          297/15 304/1 304/5 304/18         378/14 378/14 378/19 380/13
 interdisciplinary [2] 341/1         327/14 328/23 329/4 331/23         307/19 307/20 310/21 313/6        381/9 381/11 381/17 384/3
  341/11                             332/18 338/14 340/12 341/6         313/7 314/17 318/5 319/23 320/7   384/24 385/10 386/9 388/9
 interest [1] 331/10                 344/2 344/13 344/23 345/3 345/4    320/17 322/25 325/21 327/11       388/10 388/17 393/23 393/25
 interesting [5] 334/20 355/13       345/8 345/9 345/10 345/21          327/12 328/3 328/11 331/5         394/5 394/11 400/18 402/17
  362/18 362/24 363/3                345/23 347/14 347/18 349/8         331/21 331/22 334/5 337/14        402/20 403/18 404/5 404/20
 internationally [1] 355/17          349/19 350/2 353/12 356/15         337/18 338/22 345/23 346/8        404/21 405/6 410/20 412/13
 internet [1] 240/1                  364/17 365/16 365/16 366/12        347/12 347/14 348/2 350/6 352/6   412/15 412/25 413/3 413/21
 interpersonal [10] 278/21           367/15 369/17 369/18 370/21        353/8 357/6 366/12 370/10         416/4
  278/24 280/11 280/21 281/2         375/19 379/19 380/5 381/19         370/14 371/24 375/6 377/24        knowing [2] 270/5 392/12
  281/24 289/10 290/1 294/17         383/10 384/15 385/11 385/15        379/13 381/1 381/17 381/19        knowledge [7] 304/24 316/20
  298/3                              385/17 387/24 388/15 390/8         384/1 384/7 384/9 386/11 388/7    339/6 378/15 397/3 397/11
 interplaying [1] 370/18             399/3 399/5 401/6 402/2 404/2      390/18 393/13 393/16 400/6        399/22
 interpret [2] 275/12 382/13         406/3 406/6 406/11 406/12          400/16 401/7 401/10 402/10        known [2] 293/22 355/17
 interpretation [7] 234/12 244/22    411/16 412/18 415/10 418/8         402/17 404/14 405/21 406/3        knows [4] 271/18 274/5 284/21
  244/24 245/3 262/10 365/18         423/2 423/20 425/21                415/7 417/6 417/14 419/1 419/2    293/17
  415/7                             items [1] 368/19                    419/3 419/6 419/6 420/1 420/2
 interpreted [1] 238/1              its [3] 386/7 402/4 418/15          425/1
                                                                                                          L
 interpreting [2] 245/5 293/10      itself [2] 234/5 380/21            justification [1] 374/1            lack [11] 227/5 299/3 320/20
 interview [6] 294/1 362/5 395/18   IV [1] 350/18                      juvenile [2] 314/18 322/18          323/15 324/24 348/22 360/7
  395/25 396/10 396/19                                                 juveniles [1] 314/2                 380/25 383/16 387/22 388/3
 interviewed [1] 311/13             J                                                                     lacked [4] 323/16 325/1 325/3
 interviews [2] 363/16 363/21       jail [10] 271/11 293/15 295/13 K                                       402/20
 introduced [1] 251/25               308/2 308/5 314/2 334/22 396/2 Kaufman [8] 355/17 355/17             lacking [1] 402/18
 investigate [1] 355/8               399/15 400/2                   356/2 356/12 357/5 357/20             Lafayette [1] 218/21
 involve [1] 359/1                  JAMES [10] 218/16 220/13        372/18 420/25                         lag [1] 358/1
 involved [3] 263/15 281/17          340/1 353/13 421/3 422/5 422/9 keep [16] 222/25 229/5 229/6          language [23] 230/23 339/18
                                    322/8 322/18 325/16 329/2 334/9 listen [6] 263/2 265/1 332/14         loop [1] 337/18
 L
Case 1:04-cr-01016-NGG336/4
                        Document        1529
                            359/11 359/24 364/18 Filed 02/09/16
                                                     333/19          Page 225 ofLORETTA
                                                            361/14 391/22        238 PageID     #: 16420
                                                                                        [1] 218/14
 language... [21] 344/16 344/16      383/22 383/23 384/1 384/6 384/7   listened [2] 275/4 384/1           losing [1] 274/12
  358/19 360/15 361/3 362/8          384/11 414/21 416/23              listening [4] 361/10 361/14        loss [1] 271/18
  368/19 368/19 369/1 387/21        letter [4] 248/25 404/11 404/17     390/21 391/22                     lost [1] 274/17
  387/25 388/22 389/3 389/5 391/2    420/4                             litany [1] 381/18                  lot [33] 233/11 234/17 236/22
  393/25 394/2 396/3 396/16 397/7   letters [3] 226/23 227/3 227/4     literacy [8] 225/22 226/2 226/7     250/11 262/14 275/2 278/13
  399/13                            level [30] 224/3 226/5 227/12       328/3 328/12 328/13 328/14         281/4 288/4 294/23 329/4 330/17
 large [2] 279/13 396/10             227/14 230/23 248/25 249/23        400/24                             331/3 333/3 333/14 333/21
 last [20] 221/19 223/5 223/12       249/23 249/24 250/11 252/17       literally [1] 324/25                351/13 358/14 375/24 381/5
  223/13 233/5 244/9 260/2 268/5     266/17 269/2 286/3 287/12         literate [1] 225/24                 381/11 381/11 381/14 381/19
  290/25 306/20 327/12 331/21        290/10 290/11 292/3 309/21        literature [8] 357/18 360/19        385/8 389/5 391/22 392/7 400/17
  332/2 351/25 352/14 353/3          310/9 310/11 310/13 343/20         372/1 372/7 377/2 377/10 407/5     424/3 424/3 424/6 426/20
  356/12 359/24 361/10 420/16        343/23 344/6 360/4 363/18 398/4    414/13                            lots [4] 275/3 287/20 371/11
 later [16] 230/10 256/5 261/25      398/22 422/16                     little [32] 227/12 227/16 228/10    392/4
  269/9 284/13 289/2 297/17         levels [2] 223/21 288/18            230/9 234/3 249/4 253/14 259/15   Lou [1] 318/24
  298/18 321/12 321/20 345/21       libraries [1] 312/4                 261/25 264/20 267/25 270/14       loud [2] 260/20 260/22
  346/2 356/6 367/3 377/15 401/22   license [1] 408/16                  278/5 278/16 280/1 280/13         louder [1] 290/25
 latitude [1] 386/13                life [14] 233/11 271/5 275/10       280/14 281/18 284/7 285/10        love [3] 233/14 236/23 244/11
 LAW [3] 219/1 219/6 353/14          291/23 293/8 293/18 298/22         290/19 297/16 308/14 315/1        low [1] 418/3
 lay [3] 278/18 423/24 426/6         299/14 313/23 314/11 318/10        320/25 324/8 325/20 331/22        lower [12] 226/5 230/25 307/18
 laying [1] 347/15                   321/20 322/5 363/3                 362/19 388/8 401/4 416/8           344/17 344/18 351/2 351/2 367/7
 layman's [1] 227/2                 life's [1] 355/21                  live [4] 299/19 402/5 402/21        367/7 367/8 367/12 411/1
 lead [2] 347/17 414/16             lifted [2] 239/24 240/5             420/10                            loyalness [1] 238/4
 leads [1] 361/7                    light [3] 304/7 306/2 417/13       lived [1] 301/19                   loyalty [2] 241/25 242/16
 learn [4] 255/17 392/4 392/7       like [77] 222/12 222/19 224/14     lives [1] 224/5                    luckily [1] 408/1
  392/10                             224/24 226/9 229/11 230/16        living [14] 268/10 268/13 299/20   lunch [3] 326/4 326/5 326/10
 learned [4] 321/11 363/3 392/9      233/10 233/15 234/14 234/14        302/1 314/16 320/18 320/19        LYNCH [1] 218/14
  392/12                             235/6 235/13 237/10 237/14         320/20 320/25 321/17 402/5        lyrics [9] 235/22 235/23 235/23
 learning [34] 226/16 226/20         237/23 238/1 238/2 238/3 239/20    402/10 402/13 420/7                236/1 236/3 236/8 236/10 236/15
  226/22 324/2 337/22 337/22         240/11 241/23 241/24 243/3        lobe [1] 382/15                     236/18
  341/16 342/1 342/3 343/2 343/3     243/3 246/14 261/22 261/22        local [2] 301/16 305/10
  343/3 343/5 343/11 343/16          261/23 263/25 265/5 265/25        lockdown [2] 400/6 400/16
                                                                                                          M
  344/23 345/5 345/17 346/9          268/7 271/14 271/21 272/4 277/1   logistics [2] 329/11 330/4         ma'am [2] 235/19 235/21
  346/15 346/21 346/24 347/7         277/3 277/6 277/8 277/21 278/18   LOL [1] 254/6                      made [35] 234/18 246/17 247/8
  347/12 347/16 347/22 348/2         282/25 284/15 284/19 284/19       long [12] 221/23 234/12 248/24     253/10 259/5 266/22 295/8 296/2
  350/1 350/7 351/1 351/8 351/11     285/18 286/23 289/25 292/1         281/25 285/11 296/19 309/3        319/5 321/18 323/6 342/11 345/4
  364/6 392/11                       306/17 307/1 307/3 311/25 312/3    383/24 405/23 425/18 425/21       347/6 349/4 350/15 351/21
 lease [1] 328/15                    312/4 315/2 325/25 328/15 329/5    426/8                             355/20 362/1 362/3 364/4 364/20
 least [8] 273/15 282/1 292/4        332/2 332/14 334/13 376/6         longer [7] 273/18 273/24 297/20    373/17 380/13 385/17 386/24
  321/8 341/9 409/8 410/16 410/20    378/19 382/19 385/24 388/9         325/17 325/20 355/11 416/12       391/24 401/21 401/22 402/11
 leave [1] 324/21                    396/14 396/14 396/16 396/16       longest [2] 322/10 323/7           402/17 406/10 413/9 415/1 415/1
 leaving [1] 420/9                   411/14 411/15 414/2 422/22        longstanding [1] 371/7             mail [20] 219/20 225/20 230/7
 left [2] 223/13 418/18              424/15                            longterm [3] 377/12 377/18         230/18 232/4 235/14 238/6 239/2
 legal [2] 329/7 329/14             liked [3] 224/23 225/1 318/1        379/5                             242/4 244/5 244/9 252/10 327/12
 leisure [2] 309/4 309/5            likely [8] 337/4 337/15 363/12     look [62] 226/10 228/22 232/14     329/2 329/2 329/10 330/12
 leitmotif [1] 389/6                 377/3 382/16 385/22 386/22         235/12 235/23 238/6 240/8         356/14 356/19 358/8
 length [1] 346/5                    402/17                             241/11 243/19 244/17 245/11       mailed [1] 254/5
 lengthy [1] 333/2                  likes [6] 230/19 237/20 239/3       245/20 245/22 250/21 268/9        mailer [1] 225/10
 less [5] 272/24 339/18 397/17       242/5 262/8 262/9                  270/14 271/3 273/9 273/12         mailing [1] 244/12
  397/18 426/9                      liking [2] 263/25 264/1             274/16 276/22 276/24 277/24       mails [10] 225/13 225/21 228/22
 let [32] 236/6 244/17 245/11       lily [1] 383/23                     281/5 282/10 285/18 287/7         230/6 241/22 244/8 254/6 254/15
  249/25 261/19 265/10 266/5        limit [3] 417/23 417/24 418/6       300/19 300/22 304/10 305/16       255/23 327/12
  267/9 271/7 274/15 274/15 284/6   limitation [3] 259/5 298/5          306/2 312/17 313/2 314/8 316/1    main [1] 387/2
  285/5 289/15 289/20 290/19         338/11                             316/23 317/9 318/10 320/3 320/7   Mainstreaming [2] 416/16
  299/25 301/6 307/17 310/4 313/6   limitations [1] 398/21              320/19 322/4 336/2 367/10         416/17
  329/8 331/11 333/15 341/20        limited [21] 258/25 286/19          367/14 369/22 370/10 370/10       maintain [1] 322/1
  344/1 349/5 386/10 388/7 401/16    286/20 314/10 315/25 318/10        370/14 370/20 379/20 383/22       major [3] 282/5 292/6 342/5
  414/15 414/17                      320/2 368/18 369/13 390/8          400/21 407/17 408/5 409/9         make [42] 222/7 232/19 233/13
 let's [76] 222/24 222/25 225/9      395/20 396/7 396/18 398/15         409/23 410/5 413/15 416/5         238/25 239/22 241/25 242/2
  227/20 227/22 228/21 232/12        398/20 399/6 399/8 399/12          423/11                            242/12 242/18 246/15 247/12
  236/16 237/6 238/6 240/8 243/19    399/12 399/14 405/20              looked [9] 235/22 301/25 352/1     250/16 251/20 258/17 268/5
  245/22 245/22 247/20 248/5        line [9] 244/10 283/17 286/15       367/13 376/10 409/7 420/18        280/18 292/20 306/25 317/16
  248/6 250/21 252/1 253/13          297/15 313/23 368/5 375/12         422/3 422/18                      320/5 321/9 321/12 322/5 325/11
  256/13 258/2 263/2 264/7 267/14    384/20 417/15                     looking [20] 230/15 235/10         325/14 328/3 329/8 341/11
  267/24 268/5 270/14 276/1 276/7   lined [2] 257/23 426/5              268/17 271/15 271/16 274/3        346/21 347/1 350/13 350/19
  276/12 276/22 276/24 277/2        lines [1] 289/21                    280/25 281/1 281/8 307/25         363/8 375/5 390/17 401/7 402/1
  277/24 281/16 282/10 283/19       linkage [1] 382/21                  327/11 343/13 343/14 349/24       405/18 407/9 410/1 416/11
  284/9 288/25 289/20 290/12        linked [1] 226/13                   366/2 368/24 389/1 405/7 415/10   423/25
  294/7 294/25 298/8 300/22         Linley [2] 323/25 324/14            415/11                            makes [7] 238/24 239/6 239/22
  300/23 302/6 304/10 305/16        list [4] 242/9 285/24 401/18       looks [10] 226/9 239/6 305/8       283/5 336/7 347/25 371/14
  307/19 309/1 309/2 309/4 311/17    408/10                             305/13 305/14 306/21 307/1        making [16] 234/2 246/18
  316/23 317/9 320/17 320/17        listed [1] 395/1                    307/3 411/14 411/15               247/16 252/4 254/13 262/5
                                    MCGOVERN [2] 218/16               mental [46] 223/15 223/19         mommy [1] 317/11
 M
Case 1:04-cr-01016-NGG220/14
                        Document 1529 Filed224/13
                                             02/09/16      Page
                                                  231/19 232/8 237/8226 of 238[1]PageID
                                                                         moms     292/6 #: 16421
 making... [10] 301/24 302/2        MD's [2] 235/11 235/18            237/13 237/22 240/10 243/2        money [27] 261/23 262/7 263/15
 320/24 321/15 345/20 362/7         MDC [5] 230/7 311/10 316/15       243/6 250/18 255/17 266/15        268/9 268/9 268/15 268/16
 378/18 401/6 412/16 420/5          388/2 388/21                      286/9 286/23 288/22 289/22        269/11 269/15 269/18 269/22
 male [1] 395/16                    me [88] 228/2 233/17 233/22       289/23 294/18 309/13 315/6        270/1 270/4 270/9 287/15 287/22
 man [2] 301/9 307/12               235/7 235/10 236/6 237/18         315/7 336/8 336/11 337/20 341/9   288/1 309/18 312/24 314/17
 manages [1] 311/4                  238/23 238/24 239/22 241/25       342/14 342/18 342/23 345/6        317/14 317/25 318/15 318/16
 manifestations [1] 287/2           244/17 245/11 247/2 248/18        345/23 346/15 347/8 348/1 348/2   325/11 325/14 329/17
 manner [3] 292/15 301/15           249/25 251/19 252/10 257/15       348/4 348/17 348/18 350/22        Monica [9] 298/14 298/15
 305/10                             259/14 261/3 261/8 261/19 266/3   374/12 374/15 374/20 379/19       301/19 316/11 318/21 323/3
 manual [9] 352/1 357/12 357/14     266/5 267/9 268/14 268/16 271/7   379/23 415/23                     331/3 331/5 331/11
 357/15 358/3 394/8 408/11 410/5    271/16 271/20 271/21 271/23       mentally [1] 228/7                Monopoly [2] 309/9 309/15
 411/23                             272/4 273/16 273/24 274/15        mention [3] 298/9 321/11 345/17   Montell [1] 334/4
 manuscript [1] 329/25              274/15 274/19 274/19 275/3        mentioned [5] 242/5 278/21        month [2] 395/16 396/11
 manuscripts [1] 329/21             277/3 281/18 284/6 284/19         295/3 331/25 368/11               month-year-old [1] 395/16
 many [14] 234/21 285/18 299/20     286/15 287/4 288/12 289/20        messages [1] 297/23               months [2] 368/7 377/8
 300/5 300/6 310/20 311/2 327/12    290/19 296/3 299/25 301/6         messed [1] 380/14                 morals [1] 268/14
 329/21 329/22 366/25 367/17        307/14 307/17 310/4 312/21        met [2] 296/18 327/25             more [44] 221/2 224/3 227/16
 367/17 405/19                      313/6 317/17 327/13 327/24        method [2] 341/6 390/4            234/14 238/4 243/12 257/15
 March [4] 260/2 260/12 290/13      329/7 329/8 331/11 333/15 335/5   MICHAEL [3] 219/1 219/3           273/7 273/8 274/21 277/15
 314/6                              335/7 341/20 343/22 351/22        220/17                            277/24 279/13 280/3 298/6
 March 2001 [1] 314/6               351/23 352/14 353/7 355/23        microphone [3] 259/9 416/4        308/14 309/12 315/1 315/11
 mark [13] 229/1 229/2 232/15       358/23 361/14 373/10 381/25       416/5                             317/14 318/2 324/8 337/4 337/14
 240/16 240/22 251/20 254/18        383/22 388/7 401/16 413/1 416/5   mid [2] 272/13 344/5              344/14 346/7 350/11 350/13
 258/19 258/24 276/13 303/19        416/19 420/24 422/7 423/8         middle [4] 230/25 238/21 352/8    361/5 365/19 368/5 377/3 386/22
 313/6 313/8                        423/11                            357/7                             390/25 391/6 392/10 392/16
 marked [28] 221/1 221/2 228/25     mean [47] 221/21 227/5 242/10     might [31] 224/1 224/13 225/1     396/14 396/15 397/16 398/21
 229/3 237/4 238/7 240/14 243/20    242/22 247/23 260/3 262/14        226/19 226/23 227/12 237/13       413/1 416/8 418/2
 245/23 250/21 250/22 253/15        265/8 266/5 266/19 269/25         237/25 238/1 240/11 243/2         mores [1] 280/6
 253/17 258/16 258/18 259/4         292/23 293/2 298/4 299/24         262/11 273/21 285/10 287/25       morning [11] 220/16 220/19
 270/16 283/22 302/6 302/7          301/23 314/1 314/1 314/17 316/3   287/25 288/1 294/11 296/12        221/18 222/13 223/3 223/4 254/7
 303/19 304/5 316/25 327/14         318/3 320/2 320/11 320/22         299/23 308/17 309/12 315/4        258/7 258/15 425/14 427/4
 352/21 356/14 428/8 428/14         320/22 325/8 331/14 334/9         321/15 329/13 331/25 337/4        most [17] 224/4 224/4 299/1
 marked-up [1] 258/16               336/15 350/15 350/17 363/20       388/25 396/13 399/23 418/1        331/11 341/11 343/12 343/13
 markets [1] 312/1                  367/9 367/23 370/11 371/1         mild [18] 237/8 237/22 240/10     344/2 348/19 361/12 365/20
 marking [5] 237/4 258/16           371/22 371/24 372/1 390/1 394/6   243/1 243/6 250/18 255/16         382/16 385/22 388/12 391/3
 258/20 260/9 267/16                396/7 397/7 397/17 400/16         266/15 288/22 294/18 298/5        407/8 417/17
 markings [2] 258/21 259/5          405/22 412/8                      309/13 315/5 315/7 361/4 399/2    mother [7] 268/17 272/2 272/2
 marks [1] 244/9                    meaning [4] 227/5 269/1 308/16    401/3 416/13                      273/11 273/13 299/12 299/16
 marshals [6] 222/4 222/6 222/12    397/22                            mildly [5] 228/7 397/5 397/8      mother's [1] 273/18
 222/14 222/15 222/16               meaningful [1] 328/23             397/14 397/19                     motion [2] 346/23 346/25
 match [1] 351/23                   means [17] 231/11 231/15          mind [2] 335/20 405/17            motivations [1] 391/5
 material [2] 362/3 426/20          243/13 244/19 246/21 247/4        minor [1] 417/21                  mouth [2] 238/23 277/8
 materials [3] 251/24 252/2 425/1   269/24 285/22 289/13 298/6        minority [1] 377/14               move [25] 221/3 232/13 237/7
 matter [7] 220/24 255/17 269/7     319/1 368/23 381/19 381/20        minute [7] 240/9 256/13 274/16    245/25 248/5 253/17 254/21
 269/8 284/11 427/6 427/11          389/9 397/15 405/12               288/25 306/22 393/3 393/22        258/2 276/7 277/24 283/19
 Maury [1] 334/3                    meant [2] 262/15 319/3            minutes [2] 257/18 326/3          289/20 297/14 298/8 309/2
 maximum [3] 257/21 371/21          measured [1] 343/16               misconception [1] 226/25          320/17 336/16 353/25 356/23
 425/22                             meat [1] 408/15                   misdiagnosis [1] 405/25           364/18 384/9 405/22 414/21
 may [78] 220/23 225/24 225/24      mechanism [1] 287/13              misinterpreted [1] 277/13         425/6 425/8
 226/1 226/8 227/6 228/10 228/15    medical [3] 378/20 403/14 404/2   mislead [1] 378/11                moved [1] 251/17
 228/15 228/19 232/10 234/22        medication [3] 222/1 385/25       misleading [2] 234/3 363/16       moves [4] 240/23 250/23 335/11
 238/4 239/16 239/19 242/2          387/9                             mismarked [1] 276/11              381/15
 242/18 245/7 245/11 253/9 256/3    medications [3] 384/25 386/25     misread [1] 362/11                movies [2] 391/14 391/16
 257/2 257/14 259/19 264/24         387/1                             miss [1] 252/10                   moving [4] 229/20 232/21
 268/6 277/7 280/1 287/14 287/15    meds [3] 385/14 386/5 387/8       missed [5] 232/18 376/5 378/4     251/17 278/1
 287/15 287/17 287/18 288/23        meet [7] 284/19 296/15 296/20     378/8 380/15                      Mr [38] 221/14 225/9 225/16
 289/22 290/14 290/16 290/16        318/5 342/10 350/21 422/16        misses [1] 286/17                 225/18 230/6 230/18 235/14
 292/17 293/12 297/17 302/4         meeting [1] 296/4                 missing [4] 268/4 374/4 375/24    235/25 236/18 236/24 239/2
 320/7 322/25 327/8 332/9 335/10    meets [2] 350/4 350/4             409/5                             239/25 241/24 242/4 244/5
 339/9 339/17 340/25 342/25         members [6] 330/25 331/1 331/9    missive [1] 235/12                244/15 244/19 246/13 246/20
 343/21 345/10 352/23 352/25        340/16 340/24 340/25              mistake [1] 371/14                246/22 249/6 252/4 253/7 254/3
 356/16 363/8 363/8 363/10 364/2    memorized [1] 248/19              Mister [2] 261/8 293/24           254/9 254/19 255/21 257/20
 364/6 364/7 371/24 372/13          memory [1] 358/22                 Mitchell [3] 383/10 386/8         260/1 318/8 327/22 350/1 360/14
 372/15 372/18 386/11 390/7         meningitis [24] 375/4 376/12      394/19                            361/2 361/4 362/2 362/8 363/9
 390/12 392/7 392/10 393/10         376/18 376/19 376/20 376/21       MJ [1] 271/21                     Mr. [148] 221/13 223/8 241/23
 393/12 393/19 404/11 415/6         376/24 377/3 377/11 377/24        mo [4] 268/10 268/11 268/12       252/10 257/4 261/9 262/5 263/6
 416/21 424/22                      378/13 379/5 379/20 382/9         268/13                            265/20 266/11 267/6 267/13
 May 7th [1] 332/9                  382/17 382/21 382/24 385/23       modify [1] 308/19                 268/2 269/3 269/12 269/14 271/6
 maybe [5] 250/15 316/16 339/20     403/18 404/22 405/6 405/24        moment [9] 232/13 241/21          271/8 272/17 272/24 273/9 274/2
 387/16 387/16                      406/1 406/3                       246/10 251/19 252/5 309/4 322/8   277/12 278/22 279/15 280/23
 MAYERLIN [2] 219/14 220/18         meningococcal [1] 376/19          377/25 378/10                     281/12 284/24 285/14 289/3
                                   Ms. [7] 331/9 361/11 426/6        426/6                           No. 3227 [1] 245/23
 M
Case 1:04-cr-01016-NGG426/11
                        Document       1529
                             426/12 426/19 426/25Filed  02/09/16
                                                     needed           Page
                                                            [3] 356/4 402/9   227 ofNo.238
                                                                            423/10      5180PageID
                                                                                            [1] 253/16 #: 16422
 Mr.... [118] 290/21 291/10        Ms. Cohen [1] 361/11            needs [4] 262/8 290/4 302/19      No. 5856 [1] 243/20
 291/25 292/8 293/14 293/25        Ms. Cook [5] 331/9 426/6        339/20                            Nods [4] 314/3 314/19 314/21
 295/4 295/25 295/25 296/5 296/6   426/11 426/19 426/25            negate [1] 345/12                 319/2
 296/15 297/3 297/18 297/20        Ms. Dr [1] 426/12               Neither [1] 235/22                nomadization [1] 424/11
 297/23 298/12 298/15 298/22       much [50] 221/10 223/22 228/14  neurodevelopmental [1] 348/14     non [3] 325/5 361/2 368/19
 299/9 300/7 301/8 304/25 304/25   229/17 234/23 239/17 242/2      neuropsychiatric [1] 340/7        non-language [1] 368/19
 305/5 305/8 305/18 305/19         242/18 257/8 257/15 263/1       neuropsychiatrist [2] 340/6       non-MR [1] 361/2
 306/20 306/22 307/6 307/9         271/21 272/20 273/7 273/8 278/3 340/11                            none [4] 301/19 378/20 392/18
 307/21 309/5 309/24 311/4         290/25 292/7 298/18 306/5       neuropsychological [1] 377/12     404/4
 311/14 311/20 312/9 313/23        306/17 308/4 310/9 314/11       neuropsychologist [2] 340/1       nonrandomized [1] 362/12
 313/25 314/11 314/15 314/17       316/13 317/12 321/20 322/5      340/10                            nonspecific [1] 387/14
 315/15 316/1 316/16 317/10        322/19 325/17 330/11 332/15     never [7] 271/19 274/18 293/13    nonstandardized [1] 362/11
 317/13 318/14 319/13 319/17       333/18 333/21 344/17 344/18     295/8 309/5 309/8 378/3           nonverbal [2] 396/21 398/1
 319/24 319/24 320/1 320/19        367/6 367/7 381/23 391/3 392/16 new [14] 218/1 218/15 218/16      norm [1] 355/9
 321/11 321/17 321/23 322/4        396/14 407/9 409/14 415/21      218/21 218/21 219/7 219/7 220/4   normal [7] 223/20 360/15 361/3
 322/9 322/17 323/10 323/12        416/11 418/2 425/16 426/10      225/23 292/5 328/14 345/25        361/4 362/8 398/8 415/12
 324/24 328/5 329/3 329/10 330/3   427/3                           349/6 349/13                      normative [15] 352/2 356/3
 330/25 331/15 331/24 332/1        MUI [2] 219/12 220/14           New Year's [1] 349/13             356/3 356/4 356/8 357/13 357/14
 333/16 334/12 338/8 347/9         multi [1] 249/8                 News [2] 225/23 328/13            360/8 422/5 422/8 422/21 422/22
 348/13 350/4 351/1 358/15         multi-step [1] 249/8            newspaper [2] 226/1 226/3         423/1 423/8 424/8
 361/13 363/22 364/4 366/4 367/3   multidisciplinary [2] 339/12    next [20] 246/13 256/15 257/22    normed [11] 352/4 353/18
 368/6 372/10 374/12 375/15        340/10                          263/3 283/3 305/9 326/11 356/14   353/20 353/21 353/22 354/23
 376/12 376/16 377/7 377/19        multiple [2] 244/9 370/17       361/25 362/17 365/5 370/5         355/1 355/3 355/6 367/6 368/3
 378/1 378/11 382/10 382/14        mumbled [1] 395/19              371/21 385/14 389/12 392/11       norming [2] 356/21 357/10
 384/24 386/22 389/4 390/11        music [19] 224/20 225/3 228/23  396/17 413/7 413/15 421/6         norms [10] 358/3 365/17 365/23
 392/25 393/12 394/23 396/3        230/14 230/15 230/19 230/19     NGG [1] 218/4                     365/24 366/7 366/12 366/22
 399/11 400/10 401/11 404/21       231/5 231/6 231/6 231/8 231/24  nice [3] 307/1 386/14 386/17      367/5 397/4 397/12
 405/3 407/19 411/1 415/15 420/9   232/13 237/6 237/7 237/20       nicely [1] 417/21                 not [306]
 420/12 420/22 426/1               275/10 389/5 389/9              NICHOLAS [4] 218/11 220/5         note [14] 220/10 249/12 253/24
 Mr. Burt [6] 223/8 295/25         must [5] 365/13 370/11 373/13   220/6 327/1                       280/14 321/9 323/7 400/24
 392/25 393/12 415/15 420/22       379/8 391/22                    niece [2] 319/17 319/25           401/18 401/21 401/23 413/13
 Mr. Burt's [1] 296/6              my [45] 230/13 235/10 238/23    night [10] 221/19 223/5 223/12    413/13 413/14 413/15
 Mr. Giglio [1] 426/1              238/23 241/24 242/1 251/6 254/7 223/13 287/22 351/25 352/14       noted [1] 256/5
 Mr. Gilio [2] 400/10 401/11       254/10 255/6 258/21 261/18      353/3 356/12 420/16               notes [8] 249/5 279/20 403/10
 Mr. Stern [2] 221/13 257/4        261/22 261/23 261/23 268/14     nine [8] 251/22 251/24 338/6      403/10 404/17 410/11 410/12
 Mr. Wilson [118] 241/23 252/10    268/17 271/19 274/18 282/18     338/7 338/20 358/25 383/20        411/7
 261/9 262/5 263/6 265/20 266/11   283/9 293/21 293/22 293/24      384/11                            nothing [8] 246/12 283/17
 267/6 267/13 269/3 269/12         298/1 315/10 317/11 318/5 336/4 ninth [1] 417/22                  316/10 358/4 379/11 380/3 412/7
 269/14 271/6 271/8 272/17         339/3 351/8 351/23 354/13       no [127] 220/8 221/6 224/19       424/18
 272/24 274/2 277/12 278/22        358/22 364/19 380/18 380/20     226/2 228/25 229/23 232/24        notice [2] 345/22 348/22
 279/15 280/23 281/12 284/24       381/14 382/9 384/16 387/3       233/16 235/6 235/21 238/14        noticed [1] 344/24
 285/14 289/3 290/21 291/10        400/10 405/17 419/16 420/3      239/13 241/14 242/9 243/24        novel [1] 234/15
 291/25 292/8 293/14 295/4         myself [1] 233/12               245/17 246/3 250/24 251/1         November [9] 218/8 314/5 314/7
 295/25 296/5 296/15 297/3                                         252/15 252/19 253/5 253/19        401/10 401/22 402/10 413/17
 297/20 297/23 298/12 298/22       N                               254/2 255/17 261/2 261/2 261/2    413/20 427/6
 299/9 300/7 301/8 304/25 305/5    N.Y [1] 218/5                   261/11 264/2 265/9 267/8 267/20   November 1999 [1] 314/5
 305/8 305/18 305/19 306/20        Nagler [4] 369/25 370/5 370/6   268/20 268/22 270/20 270/22       November 5th [2] 413/17 413/20
 306/22 307/6 307/9 307/21 309/5   407/22                          270/24 271/25 273/13 273/15       novo [1] 390/8
 309/24 311/4 311/14 311/20        name [3] 271/22 334/7 403/22    273/18 273/24 276/3 276/17        now [117] 220/4 220/5 221/2
 312/9 313/25 314/15 314/17        nature [5] 362/6 388/20 402/15 282/11 282/13 282/14 283/9         227/9 229/9 230/3 230/13 231/17
 315/15 316/1 316/16 317/10        407/4 407/12                    284/1 284/11 287/20 288/1 289/7   232/1 232/12 232/15 233/4 237/2
 317/13 319/13 319/17 319/24       near [1] 295/17                 291/16 292/22 293/5 295/6         238/7 239/25 240/5 243/1 247/21
 320/1 320/19 321/11 321/17        nearby [1] 287/16               296/25 297/5 297/20 303/4 304/6   247/21 248/6 248/23 249/3
 321/23 322/4 322/9 322/17         neat [1] 301/11                 304/24 307/11 308/22 310/8        249/11 249/22 252/9 253/13
 323/10 323/12 328/5 329/3         neatly [1] 302/2                311/12 312/20 313/16 315/10       253/24 254/15 254/17 258/8
 329/10 330/3 331/15 331/24        necessarily [9] 237/9 263/15    316/20 317/4 319/8 319/20         259/14 259/15 260/1 263/2
 333/16 334/12 338/8 347/9         294/18 294/22 295/16 371/22     322/13 323/5 323/9 324/18 325/4   266/25 267/24 268/5 268/5
 348/13 350/4 358/15 361/13        372/14 379/18 415/6             327/17 328/18 332/21 333/25       268/15 269/19 270/14 273/9
 363/22 364/4 366/4 367/3 368/6    necessary [7] 229/22 322/24     335/1 338/2 338/9 342/20 347/1    274/2 276/1 277/24 278/20
 372/10 374/12 375/15 376/12       323/15 323/16 402/5 402/9       348/19 348/22 348/24 349/23       282/10 283/19 284/6 284/16
 376/16 377/7 378/11 382/14        402/12                          350/9 350/15 350/24 351/6 354/2   284/24 290/12 294/16 295/3
 384/24 389/4 390/11 394/23        neck [4] 305/25 306/7 306/9     355/11 356/25 359/3 370/11        296/10 297/1 297/3 297/13
 396/3 399/11 404/21 405/3         306/15                          370/14 371/22 371/24 372/11       298/22 304/18 306/7 306/20
 407/19 411/1 420/9 420/12         need [34] 221/21 221/22 221/24 373/13 374/22 378/11 378/15        307/4 307/5 307/6 311/17 311/24
 Mr. Wilson's [18] 268/2 273/9     232/3 238/22 241/6 241/21       380/16 383/23 384/25 392/12       315/15 315/21 315/25 316/25
 293/25 297/18 298/15 304/25       246/17 247/10 258/9 261/3       395/2 401/4 410/3 412/20 413/6    317/21 319/17 321/23 323/12
 313/23 314/11 318/14 319/24       284/16 286/11 287/7 287/10      413/14 414/5 414/9 416/12         324/7 325/5 325/16 329/2 331/9
 324/24 330/25 332/1 351/1         287/11 292/4 297/13 300/20      423/23 424/20 427/1 427/2         331/21 333/6 338/20 341/13
 377/19 378/1 382/10 386/22        318/5 318/5 329/5 365/21 378/21 No. [4] 240/14 243/20 245/23      345/19 345/21 346/13 348/5
 Ms [6] 222/25 259/19 321/18       379/2 379/3 386/20 386/20 399/6 253/16                            351/13 358/14 364/10 368/9
 321/20 323/19 327/8               405/16 416/22 418/21 425/10     No. 2736 [1] 240/14               369/16 370/10 377/6 380/2 381/9
                                    offering [1] 238/11                244/25 245/1 245/2 251/19          original [3] 337/19 352/5 355/9
 N
Case 1:04-cr-01016-NGGoffers
                          Document
                             [1] 273/19 1529 Filed 02/09/16
                                                 253/13          Page
                                                        254/22 258/3      228 oforiginally
                                                                     258/14       238 PageID         #: 16423
                                                                                           [4] 352/3 352/4
 now... [20] 381/20 383/2 383/19    OFFICE [2] 219/1 219/6              259/11 259/12 259/16 263/2         358/10 422/5
 384/23 386/3 387/20 394/15         Official [2] 219/18 427/14          263/3 264/7 265/5 265/25 267/1    originated [1] 338/18
 395/14 399/13 402/25 405/25        often [5] 250/18 266/19 269/11      267/10 271/25 272/10 273/5        other [85] 225/6 233/10 236/20
 406/1 406/15 407/17 409/22          363/4 411/6                        273/5 273/13 275/24 277/3          244/7 245/1 258/14 259/11
 410/8 413/21 420/6 425/1 425/8     oh [18] 241/20 265/12 271/6         277/24 278/14 279/20 281/17        259/12 265/16 267/1 269/10
 nowadays [1] 233/11                 274/11 276/11 277/2 285/11         281/20 282/5 287/15 287/24         274/1 274/7 279/3 280/22 280/22
 Nowhere [1] 345/15                  291/4 301/8 304/14 306/22          288/7 289/1 291/16 294/16          281/14 287/3 289/1 289/6 290/5
 number [35] 232/17 233/25           319/23 325/19 332/21 348/6         297/15 298/2 304/11 306/22         292/12 293/17 297/10 298/25
 255/1 260/3 267/14 270/15 276/8     354/14 392/22 416/22               307/12 309/7 310/13 311/12         299/2 305/9 306/17 307/9 310/9
 283/22 287/10 287/15 287/15        okay [182] 222/24 226/4 226/15      311/18 318/1 322/14 322/21         312/2 312/6 320/13 322/22 323/5
 287/16 287/18 316/24 317/22         227/8 228/21 231/1 231/7 232/12    322/21 322/22 323/9 323/18         323/13 323/19 331/9 332/13
 338/20 339/24 352/6 355/19          235/2 238/6 242/11 242/24          323/19 325/20 325/22 327/12        337/9 338/25 339/4 339/5 339/8
 359/15 359/18 359/20 361/21         245/22 247/20 248/23 249/13        331/21 332/2 332/12 334/4          339/9 339/20 341/4 342/13 346/6
 364/1 365/12 370/12 372/11          253/3 257/22 258/13 259/10         341/20 345/23 346/7 350/11         346/18 355/14 363/6 363/11
 377/15 382/20 386/2 386/20          259/19 261/8 261/21 262/11         350/13 352/3 354/8 355/13          368/10 371/24 372/15 373/7
 395/3 410/14 411/20 411/25          264/7 264/25 266/11 266/23         355/16 359/10 359/11 359/24        378/18 379/8 379/15 381/5 383/7
 numbered [4] 232/15 237/4           267/24 268/1 268/24 269/3 270/2    359/24 360/10 362/18 362/24        387/10 387/10 390/9 390/13
 327/13 327/14                       270/23 271/3 271/13 272/3          363/3 363/8 364/1 364/3 365/19     391/25 396/13 396/24 398/1
 numbering [2] 251/7 252/1           273/23 274/25 275/16 276/4         368/11 368/14 370/2 370/13         398/11 402/25 406/17 409/16
 numbers [11] 251/4 251/6 252/5      276/6 276/14 276/15 276/22         370/21 370/24 371/21 381/25        410/8 411/2 411/4 415/7 416/22
 287/18 303/21 344/9 381/9           277/3 278/18 280/4 280/8 280/25    382/21 382/21 387/15 388/25        416/22 416/25 419/25 424/1
 381/10 381/21 414/9 414/10          281/16 282/3 283/7 283/13 284/9    394/18 395/14 396/21 398/6         425/16 425/17
 nurse's [1] 413/13                  285/13 285/14 286/5 286/22         399/20 400/13 401/15 406/25       others [5] 278/25 279/3 308/6
 nursing [1] 403/10                  287/25 288/7 289/8 289/12 290/8    407/3 407/8 407/25 408/12          311/14 361/7
 nyed.uscourts.gov [1] 219/20        290/12 290/12 291/2 292/8          408/21 408/21 408/21 411/18       otherwise [1] 367/11
                                     293/13 294/25 295/14 295/19        412/9 413/2 415/7 416/7 416/21    ought [2] 303/6 414/17
 O                                   296/6 296/20 297/10 297/13         417/18 418/20 420/25 423/5        our [16] 224/4 229/6 255/19
 oath [3] 220/22 257/11 327/7        297/14 300/6 300/22 301/18         424/10 424/16 425/23               272/2 272/2 273/11 273/13
 object [4] 375/11 405/21 406/4      302/1 302/6 303/16 303/23         one's [2] 244/6 363/13              273/25 274/21 275/24 288/9
  423/18                             303/25 304/10 304/19 305/2        one-to-one [1] 382/21               304/16 340/13 349/15 357/7
 objecting [1] 345/20                305/24 305/25 306/2 306/6         ones [5] 229/4 273/5 364/8          384/23
 objection [65] 221/4 221/5 221/6    306/10 307/4 309/1 309/8 310/4     410/22 410/25                     ours [2] 273/11 273/19
  221/10 229/23 229/25 232/23        310/19 313/25 315/15 317/9        only [25] 222/2 228/6 232/17       out [55] 221/22 222/4 222/11
  233/1 233/23 238/13 238/14         317/18 317/21 319/6 320/9          265/16 269/14 271/17 274/4         222/14 224/19 232/17 233/7
  238/16 241/10 241/13 241/16        320/17 320/18 321/11 321/20        276/23 277/11 315/25 323/14        237/6 238/23 240/21 242/2
  243/23 244/1 246/2 246/3 246/5     323/9 324/16 324/20 325/16         325/19 341/7 344/5 347/7 357/25    242/19 248/20 253/14 277/7
  250/24 251/1 251/24 253/19         325/16 326/6 331/8 331/20 334/8    358/5 358/24 367/5 370/21 382/9    278/18 280/3 281/15 284/17
  253/21 255/5 255/6 255/12          335/9 335/14 337/13 343/2 344/4    382/21 407/17 409/16 418/19        284/18 286/7 286/23 289/14
  255/13 255/25 256/5 267/19         344/20 350/6 351/12 351/19        onset [1] 379/23                    290/22 297/7 301/4 308/4 314/6
  267/22 270/19 270/20 270/22        352/10 352/20 353/5 353/23        open [13] 220/1 220/2 260/16        314/14 314/18 315/4 315/11
  270/24 270/25 276/15 276/16        354/18 355/12 358/7 358/13         261/4 261/6 262/1 264/18 265/6     318/17 322/9 323/14 323/22
  276/17 276/19 283/25 284/3         360/2 360/13 360/21 361/24         290/23 291/1 327/4 349/2 381/4     323/24 324/3 324/8 324/12
  302/16 302/17 303/5 313/15         362/13 362/16 364/9 364/19        opened [1] 386/12                   324/14 324/15 345/19 345/21
  313/16 313/18 317/3 317/6 319/7    365/4 366/1 368/8 369/2 373/5     opening [2] 345/25 349/6            347/12 347/22 348/3 359/5 365/6
  319/10 327/16 327/19 344/22        373/16 374/9 376/14 376/21        operate [1] 339/12                  378/7 403/24 411/24 413/1
  354/2 356/25 357/2 378/2 383/18    377/9 377/16 382/23 383/23        operates [1] 370/22                 415/15 425/12
  405/23 406/6 412/6                 384/4 387/6 387/19 388/1 388/13   operating [5] 230/8 295/4 295/8    outdated [3] 366/22 366/23
 observation [1] 228/20              391/16 391/18 393/10 395/5         295/10 297/22                      366/24
 observed [1] 398/10                 395/14 396/17 397/18 398/1        operational [1] 371/25             outside [5] 223/20 257/24
 obtain [2] 330/18 352/13            398/13 400/19 401/9 401/16        opine [1] 426/22                    287/19 378/2 383/19
 obtained [2] 330/19 367/1           402/4 403/7 408/1 408/19 409/8    opinion [24] 239/17 249/14         over [15] 225/12 227/23 233/15
 obtaining [1] 312/2                 416/6 418/4 418/9 423/4            249/16 255/9 292/9 296/16          364/8 372/3 372/3 372/4 405/4
 obtains [1] 370/13                 old [23] 230/16 231/13 262/7        309/23 338/7 339/16 339/24         405/4 405/4 411/20 411/24 412/2
 obviously [6] 232/2 235/23          268/4 272/10 272/12 273/21         345/11 345/21 356/19 364/14        425/1 425/9
  304/11 320/13 331/9 380/21         298/1 300/14 305/17 313/24         372/9 379/6 379/6 398/24 419/14   overall [5] 349/3 375/9 391/19
 occasionally [2] 363/8 395/19       333/25 335/4 366/9 366/25          419/22 419/23 419/25 420/3         392/9 398/13
 occupational [1] 339/20             374/13 377/8 395/16 396/11         423/19                            overcoat [2] 306/25 307/1
 occurred [3] 377/6 382/18           403/1 404/18 405/7 420/12         opinions [4] 338/25 376/3 378/6    overcoat's [1] 307/1
  385/23                            older [12] 230/13 261/15 263/25     379/9                             overestimates [1] 371/15
 occurring [1] 287/11                272/11 316/13 320/25 365/15       opportunity [2] 301/20 426/23      overlap [1] 248/2
 October [2] 413/17 413/20           365/16 365/17 365/19 368/3        opposed [4] 225/4 362/11 390/24    overlapping [1] 388/11
 October 27 [1] 413/17               388/14                             417/23                            overreach [1] 293/12
 October 27th [1] 413/20            Olley [13] 340/3 425/15 425/18     Oppositional [4] 404/25 405/12     overruled [1] 256/5
 ODD [1] 405/19                      425/23 426/11 426/12 426/12        405/18 405/20                     overshadowed [1] 348/15
 off [15] 232/3 247/6 254/7          426/13 426/14 426/16 426/16       Optical.com [1] 317/12             overt [1] 410/3
  271/20 274/10 274/12 274/12        426/22 426/24                     order [10] 232/17 253/15 280/2     overwhelming [1] 417/9
  274/18 285/12 307/23 334/14       Olley's [3] 249/12 249/13 249/19    293/18 333/24 342/6 349/15        own [8] 232/1 236/18 251/7
  334/15 335/25 416/10 424/12       Ollie [1] 293/24                    356/14 365/16 380/24               354/13 354/15 390/8 390/13
 offending [1] 268/13               one [133] 220/24 225/15 226/2      orders [1] 333/18                   402/6
 offer [1] 243/21                    226/22 228/18 231/17 231/18       organized [1] 273/7
 offered [1] 308/19                  233/18 236/24 244/6 244/25        origin [1] 253/5
                                                                                                          P
                                                                                                          P.C [1] 218/20
                                   325/13 330/17 330/24 331/14       235/10 319/16                     positing [1] 364/17
 P
Case 1:04-cr-01016-NGG339/1
                        Document
                            339/5 360/141529     Filed
                                         362/8 363/9    02/09/16
                                                     picture           Page
                                                             [13] 295/19 295/22229 of 238 [3]
                                                                                    position PageID   #: 16424
                                                                                               365/7 365/11 365/12
 p.m [2] 327/2 349/17              364/2 364/5 373/11 376/4 376/11   304/22 305/5 305/8 305/13         positions [1] 323/2
 packet [1] 415/2                  377/3 377/14 378/4 378/8 385/10   305/19 306/20 306/21 348/14       positive [1] 378/10
 page [36] 230/8 241/12 248/21     391/2 391/3 394/14 394/15         349/10 349/11 391/20              possess [1] 322/24
 249/5 256/15 295/4 295/9 295/10   394/18 401/5 402/25 411/2         pictures [1] 303/6                possesses [1] 402/5
 297/3 297/4 297/7 326/11 340/15   416/13 423/5                      piece [1] 280/21                  possible [1] 343/18
 346/5 348/13 352/6 352/8 359/25   people's [2] 288/9 361/12         piecemeal [1] 251/18              possibly [3] 240/7 346/16 378/8
 360/22 362/17 373/25 376/16       perceived [1] 227/6               pieces [3] 235/11 247/7 390/19    post [1] 255/7
 389/12 396/17 401/13 401/20       percent [2] 329/6 417/25          pile [1] 229/6                    potential [4] 343/14 343/15
 402/4 404/2 408/5 409/5 409/5     percentile [1] 417/23             pill [1] 221/20                   344/7 365/22
 409/6 412/7 413/9 421/6 428/2     perfectly [1] 305/13              pinpoint [1] 380/23               potentially [6] 242/12 324/4
 page 292 [1] 360/22               performance [13] 226/5 351/1      place [9] 246/17 247/10 317/18    324/5 331/12 382/20 385/25
 page 85 [1] 340/15                351/2 369/23 370/3 370/7 371/2    317/24 320/3 320/7 343/22         Povich [1] 334/4
 page GOV 27 [1] 376/16            371/4 372/19 395/6 398/6 399/9    400/16 403/1                      power [1] 246/16
 pages [2] 225/12 375/17           410/14                            placed [1] 387/9                  PowerPoint [2] 372/1 409/13
 paper [4] 229/3 229/11 229/13     performing [2] 343/24 371/20      placement [1] 404/13              practical [1] 278/7
 240/18                            perhaps [2] 227/11 303/5          places [4] 312/6 313/13 317/14    practice [22] 339/2 339/3 351/8
 papers [1] 378/25                 period [7] 314/15 320/8 358/20    321/16                            363/17 366/20 369/19 370/11
 paragraph [12] 226/10 226/11      391/23 394/15 400/20 402/22       Plaintiff [1] 218/3               371/23 372/2 372/10 372/18
 226/14 230/4 233/5 241/19         permanent [1] 382/12              planning [6] 330/5 330/7 330/9    373/1 414/3 417/3 417/14 418/13
 267/25 361/25 362/18 362/24       permission [1] 222/20             330/10 330/12 337/20              418/16 419/7 419/11 419/17
 363/2 404/20                      permitted [1] 416/8               plates [1] 408/16                 419/19 419/23
 paragraphs [2] 225/21 225/21      persists [2] 281/10 282/1         play [31] 254/15 254/22 260/1     practices [1] 365/14
 PARALEGAL [2] 219/13              person [59] 224/1 224/22 226/20   261/17 261/23 261/24 263/3        practitioners [1] 366/12
 219/14                            230/7 233/13 235/9 236/17         263/5 264/7 264/8 265/17 271/22   pre [2] 359/1 400/4
 parenthesis [1] 238/22            237/10 237/13 237/14 237/24       289/20 290/12 310/7 310/11        pre-18 [1] 359/1
 parents [1] 339/4                 237/25 240/11 244/7 244/12        310/17 310/18 311/9 331/21        pre-Brookwood [1] 400/4
 parents' [1] 299/4                247/8 247/8 247/13 252/9 254/5    331/22 332/2 335/19 367/9         precipitated [1] 281/20
 parks [1] 312/4                   265/8 265/20 268/11 269/18        370/13 371/16 372/3 372/11        precise [1] 363/18
 part [29] 232/4 235/18 235/25     269/21 280/9 284/20 287/8         372/13 372/15 381/11              precisely [1] 423/12
 246/13 248/7 251/14 252/5         289/12 289/17 289/18 290/5        played [16] 260/16 261/4 261/6    precision [1] 415/13
 275/23 276/22 291/19 291/19       290/8 294/7 294/8 294/12 294/17   262/1 264/18 265/6 275/5 290/23   predict [2] 369/11 371/11
 293/6 293/9 299/1 299/14 303/1    295/20 295/22 296/9 297/20        291/1 309/5 309/8 309/24 310/2    predicted [3] 343/20 344/8
 303/2 303/13 323/13 335/6         297/21 297/24 297/24 300/11       332/17 332/20 335/12              368/17
 339/15 346/13 346/14 360/11       308/18 313/2 314/9 330/14         players [1] 310/12                predictive [2] 369/5 369/13
 360/18 391/12 394/24 408/6        333/16 343/10 344/15 371/7        playing [3] 311/5 333/6 422/16    predictors [1] 368/20
 408/6                             371/14 371/20 390/22 392/10       plays [1] 379/5                   preferred [1] 341/6
 partial [1] 396/24                413/1 417/6                       Plaza [1] 218/15                  pregnant [1] 290/22
 participated [1] 423/5            person's [6] 296/24 339/7         please [16] 220/10 220/19 235/3   prejudice [1] 374/2
 particular [10] 230/7 247/25      339/11 343/14 388/19 418/23       237/18 251/19 257/2 264/24        preliminary [1] 323/17
 254/22 336/20 347/24 364/7        personage [1] 355/18              266/16 268/5 277/3 327/3 332/16   premarking [1] 232/18
 371/12 376/23 388/23 416/23       personal [4] 298/12 301/12        359/16 359/19 393/7 393/11        preparation [1] 364/13
 particularly [5] 230/11 253/4     309/2 401/20                      plot [1] 334/3                    prepared [1] 345/22
 370/16 382/14 416/12              persons [1] 340/20                pocket [1] 228/16                 present [10] 219/11 220/2
 particulars [1] 392/1             perspective [3] 280/8 293/11      point [59] 221/4 231/2 234/18     281/10 313/24 315/20 327/4
 parties [1] 391/4                 320/6                             252/4 266/22 283/3 285/1 286/17   331/17 376/5 388/13 393/18
 party [5] 224/2 254/8 254/10      pertinent [1] 279/5               294/16 316/15 334/14 335/25       presentation [4] 341/10 387/24
 391/10 391/13                     peruses [10] 279/8 285/13 320/5   337/1 345/4 345/10 345/11 347/5   406/20 414/24
 pass [2] 263/20 267/17            395/24 399/22 407/23 408/4        347/13 349/4 364/19 364/20        presented [3] 301/25 358/19
 passed [1] 385/13                 411/8 411/13 413/11               365/21 365/22 367/23 371/21       389/7
 passively [1] 395/17              pervasive [1] 337/10              371/21 372/9 373/3 373/10         Presenting [1] 403/11
 past [6] 233/8 233/10 268/4       PET [19] 375/4 377/25 378/3       373/17 374/19 379/7 380/4 381/2   presents [1] 348/13
 360/4 374/16 417/8                379/4 379/17 379/17 379/25        381/4 381/14 382/9 384/16         presiding [1] 220/5
 paternity [1] 334/6               380/3 380/17 380/23 381/7         384/21 387/14 390/17 396/25       Presumably [1] 414/1
 pathologist [1] 339/18            381/12 382/10 382/12 382/13       402/16 405/2 409/8 412/11         presume [1] 413/4
 patience [2] 257/13 309/12        382/18 385/20 385/24 386/3        412/13 412/16 416/21 417/17       presumption [3] 412/23 414/12
 pattern [3] 398/10 401/24         PET scan [2] 379/17 381/7         417/17 418/21 423/10 423/18       414/25
 406/23                            phenomena [1] 352/15              423/25 424/4 424/6 424/7 426/7    pretty [8] 243/8 243/9 278/3
 pause [1] 290/24                  phone [20] 254/15 254/17          pointless [1] 310/7               292/7 306/17 334/10 361/13
 pay [1] 317/24                    254/19 254/19 254/20 254/22       points [8] 367/17 367/19 367/20   425/15
 PBS [1] 388/21                    255/7 255/23 260/1 262/22         372/19 372/22 373/1 375/6         previous [5] 296/18 362/1 364/8
 peacefully [1] 246/19             265/16 277/10 289/21 325/22       416/11                            403/16 409/5
 peer [1] 403/13                   331/21 332/2 332/8 332/10         Policy [1] 353/14                 previously [2] 302/7 339/5
 penal [1] 400/12                  332/12 334/17                     political [1] 374/4               prevocational [1] 323/20
 penalty [1] 347/18                photo [2] 304/11 306/11           poor [3] 249/7 369/5 403/12       pride [1] 301/10
 people [57] 223/19 223/21         photos [1] 302/7                  poorly [1] 322/21                 primarily [5] 293/23 318/23
 225/23 226/5 227/3 250/18         phrase [5] 266/2 266/4 266/6      Pop [7] 301/3 301/3 301/6         321/1 342/25 368/18
 271/20 274/18 277/7 282/15        266/8 285/23                      301/14 305/10 410/11 410/14       primary [1] 340/25
 283/11 284/18 286/9 287/2         phrases [2] 389/2 390/2           population [1] 369/14             principle [1] 424/12
 288/22 289/6 289/14 293/17        physical [2] 239/4 339/20         portion [1] 361/1                 printout [1] 240/16
 293/21 294/1 294/9 298/5 299/20   physicians [1] 340/17             posed [5] 241/22 282/24 347/20    prior [17] 258/10 303/22 304/12
 301/19 305/9 307/9 315/7 323/9    pick [5] 225/22 228/19 235/2      357/5 384/14                      304/22 327/11 359/2 359/2 373/7
                                     protector [2] 273/25 274/21        234/10 236/7 237/11 241/22        319/22 328/15 344/5 344/8
 P
Case 1:04-cr-01016-NGGprotest
                         Document
                              [1] 248/16 1529 Filed 02/09/16
                                                  244/9            Page
                                                        250/1 251/23 260/19230 of344/11
                                                                                   238364/5
                                                                                        PageID
                                                                                            377/25#: 16425
 prior... [9] 378/11 378/17 378/20   protocol [10] 407/14 411/23        265/11 266/21 274/14 275/12     ready [3] 257/24 302/3 420/10
 380/25 384/18 402/2 403/14          411/25 412/3 412/4 412/16          275/14 276/3 276/5 277/20       real [13] 233/12 233/17 241/25
 405/23 406/8                        412/20 413/25 415/5 415/6          282/18 282/23 282/24 283/5       242/19 242/21 242/22 242/23
 prison [13] 280/11 280/16 281/1     proud [1] 272/6                    283/14 286/11 288/12 294/6       301/21 330/22 346/3 373/17
 281/6 281/9 295/5 305/1 311/15      proverbs [2] 255/21 255/22         296/13 299/3 300/17 300/17       386/1 391/17
 314/9 314/11 314/18 315/4           provide [5] 222/5 303/8 303/20     304/15 315/7 315/10 317/23      real-time [2] 330/22 386/1
 321/21                              320/14 362/7                       329/22 330/6 334/22 337/7       realize [3] 239/25 262/24 317/24
 prisoners [2] 280/22 363/4          provided [8] 254/18 254/24         337/11 342/15 347/20 348/11     realized [2] 276/13 323/21
 pristine [1] 344/2                  273/8 302/8 317/17 330/24          349/5 349/18 349/22 353/11      really [34] 224/6 226/10 226/11
 privy [1] 334/18                    348/23 403/8                       357/5 357/8 358/24 363/24        227/4 231/25 235/7 238/23 239/9
 probably [23] 222/8 227/10          providing [3] 289/18 303/11        377/21 379/15 381/24 381/25      243/13 250/19 271/19 272/14
 230/24 247/17 257/21 278/13         425/3                              382/6 384/13 385/20 389/1        274/17 275/11 276/24 283/17
 289/10 310/12 310/13 318/2          provision [2] 340/20 340/25        393/22 400/18 405/11 405/14      318/6 318/21 320/9 320/22 322/5
 329/16 329/23 341/11 344/14         psychiatric [6] 383/3 383/15       406/7 406/15 406/18 413/7 414/6  324/24 336/2 346/8 347/13 362/7
 382/17 385/22 386/21 386/24         383/17 384/25 385/14 403/24        414/11 414/16 416/6 420/6        381/21 405/17 414/9 414/21
 393/1 397/17 398/20 426/9           psycholinguistics [1] 361/8        422/24 423/14 423/25 424/1       415/13 419/24 420/22 423/25
 426/16                              psychological [3] 366/11 366/15    questioning [4] 286/15 373/15   reason [12] 238/2 240/15 255/20
 problem [12] 221/15 222/2           366/17                             375/12 384/21                    283/4 309/11 311/19 333/5
 222/10 269/11 269/12 278/22         psychologically [2] 413/16         questions [22] 296/12 332/3      333/15 344/13 346/10 394/4
 289/3 336/14 337/7 347/23 361/2     413/20                             338/2 351/13 358/14 364/10       405/25
 363/13                              psychologist [5] 301/7 339/17      364/23 369/19 373/6 373/8 374/3 reasoning [17] 224/11 228/13
 problems [8] 281/3 296/20           340/3 366/24 421/3                 391/5 394/20 395/17 395/19       228/14 255/15 275/17 288/14
 336/11 337/21 362/2 374/5           psychologist's [2] 413/13 413/14   396/15 407/13 408/15 408/17      290/9 292/15 333/12 333/14
 403/11 405/8                        psychologists [3] 340/17 366/19    419/1 419/7 420/15               333/15 333/19 337/20 390/18
 procedure [1] 395/18                419/20                             quibble [1] 263/14               390/21 391/3 391/6
 proceed [3] 220/23 222/24           Psychology [1] 353/14              quick [4] 325/21 325/21 332/11  reasons [10] 282/5 287/3 287/20
 259/19                              psychotic [1] 387/12               332/19                           314/9 333/17 360/6 364/1 364/1
 proceeding [4] 416/9 420/2          public [3] 311/20 312/4 353/14     quickly [3] 263/6 263/10 337/22  364/3 406/8
 422/15 422/17                       publication [2] 358/4 368/14       QUINN [3] 219/6 219/8 220/17    rebut [1] 345/11
 proceedings [2] 219/20 427/11       published [8] 329/11 329/13        quite [9] 228/13 228/18 247/18  recall [18] 223/17 224/2 240/12
 proceeds [1] 329/17                 330/14 352/4 353/14 354/24         274/24 306/21 329/19 366/9       259/24 267/11 300/8 300/12
 process [7] 290/3 333/3 339/8       356/6 358/1                        400/20 420/10                    300/25 301/12 341/18 342/15
 373/3 394/24 415/16 425/11          publisher [3] 327/24 329/7         quote [21] 243/3 243/4 243/5     358/18 358/24 373/8 394/19
 processing [1] 363/14               329/14                             243/8 243/13 244/13 244/20       403/7 419/8 420/7
 produce [1] 301/18                  publishing [3] 327/23 329/4        245/15 245/22 246/9 246/10      receive [3] 248/16 277/5 354/7
 produced [6] 219/21 240/20          329/19                             246/21 247/4 247/5 247/15       received [41] 221/10 221/11
 251/16 254/21 355/24 400/14         pull [6] 240/21 244/15 244/24      247/17 305/9 341/1 360/3 395/15  229/25 230/1 232/25 233/2
 product [3] 301/22 301/23           248/20 286/7 390/3                 407/8                            238/15 238/17 241/15 241/17
 301/23                              pulled [2] 389/9 390/13            quoted [1] 365/2                 243/25 244/2 246/4 246/6 251/1
 profession [1] 366/11               pulling [3] 244/7 245/1 245/2      quotes [1] 244/6                 251/2 253/20 253/22 255/3 259/4
 professionals [7] 339/24 341/1      pulls [2] 389/5 390/19                                              259/8 267/21 270/24 271/1
 374/13 374/16 374/20 412/24         purchase [2] 309/16 358/1
                                                                        R                                276/19 276/20 284/2 284/4
 412/25                              purchasing [1] 312/1               rain [3] 284/14 285/19 285/20    313/18 313/19 317/5 317/7 319/9
 professions [1] 340/16              purely [1] 362/6                   raise [2] 348/12 380/11          319/11 327/18 327/20 354/5
 profile [1] 351/10                  purpose [3] 258/25 303/18          raised [7] 334/22 341/15 341/25 354/11 354/18 357/1 357/3
 profiles [1] 351/9                  347/15                              342/13 345/13 380/8 406/15     recess [2] 326/10 393/5
 prognosticating [1] 368/25          purposes [3] 303/12 357/9          RAMIREZ [2] 219/13 220/15       recognition [2] 365/14 398/2
 prognosticator [1] 369/1            394/23                             randomized [1] 362/6            recognize [3] 245/16 279/9
 program [7] 292/23 323/20           pursuits [1] 400/1                 range [8] 282/16 397/6 397/7     365/21
 323/22 387/3 400/7 402/1 402/15     pushing [2] 244/7 244/25            397/8 397/15 397/19 398/14     recognized [3] 355/21 379/15
 programs [4] 377/4 400/23           pushup [1] 307/18                   415/4                           399/8
 400/24 401/25                       pushups [1] 307/17                 rap [3] 390/11 390/13 390/13    recognizing [2] 293/8 317/13
 progress [13] 401/4 401/4 401/4     put [25] 236/10 237/18 239/24      rare [1] 346/17                 recollection [5] 351/24 380/16
 401/6 401/8 401/18 401/21           241/21 278/10 278/14 289/10        rate [1] 401/7                   380/18 380/20 422/23
 401/22 401/23 402/1 402/8           290/4 298/2 305/20 305/23          rather [7] 226/11 272/25 294/22 recommendation [1] 417/3
 402/11 402/17                       319/23 322/2 323/22 328/24          318/5 361/7 363/17 396/15      record [41] 220/11 221/17
 progressing [1] 417/6               356/7 361/11 378/24 379/9          raw [5] 375/22 409/24 411/10     233/23 234/9 234/18 234/20
 prolific [1] 225/10                 380/22 381/24 382/20 415/2          414/3 418/12                    236/5 236/10 236/11 238/8
 prompt [1] 357/19                   425/6 425/7                        reach [3] 297/7 339/24 385/5     238/10 251/3 251/14 251/20
 prong [1] 397/24                    puts [4] 271/17 274/4 294/23       reached [1] 374/16               252/5 257/4 258/4 258/6 258/17
 proof [1] 337/6                     357/23                             reaches [2] 398/18 404/24        258/18 258/24 259/1 280/15
 proper [3] 292/15 361/22 407/20     putting [9] 226/15 236/4 236/11    reaching [4] 256/7 339/16        283/16 301/7 303/1 303/13
 properly [3] 234/11 344/12          238/8 238/10 259/1 266/20           390/20 415/22                   354/12 359/16 359/18 375/19
 413/5                               286/14 320/6                       read [17] 225/23 226/1 226/3     375/22 378/24 379/25 380/21
 properties [1] 309/16                                                   227/10 233/7 234/3 234/4 234/6 381/5 381/20 383/10 401/17
 proposed [1] 355/10                 Q                                   244/10 297/14 328/13 328/17     416/3 427/11
 proposition [1] 426/17              qualitative [1] 362/6               328/20 357/6 363/2 364/13      recorded [4] 219/20 330/21
 prorated [1] 410/14                 qualities [2] 238/3 242/5           394/13                          359/2 408/18
 prosecutor [1] 351/20               quality [3] 242/19 242/20          reading [17] 226/7 227/11       recording [6] 264/13 332/17
 protect [3] 271/20 273/25           363/13                              227/14 233/19 233/23 234/1      332/20 332/23 335/11 335/12
 274/18                              question [75] 225/2 227/21          234/9 244/18 245/11 285/3      records [44] 249/20 280/10
                                 remember [8] 301/16 316/7           response [18] 261/22 267/8
 R                                                                                                      S
Case 1:04-cr-01016-NGG321/12
                        Document       1529
                             349/22 351/16 384/4 Filed 02/09/16
                                                     273/10           Page
                                                            293/5 296/25      231 of 238 PageID #: 16426
                                                                         300/15
 records... [42] 281/12 293/25     401/15 403/3                       310/8 312/20 319/20 345/19        sad [1] 271/8
  295/15 296/13 296/18 300/6      remind [1] 220/21                   345/23 346/21 383/16 384/25       safety [2] 320/18 320/18
  309/10 310/1 310/3 311/2 311/23 reminded [2] 257/11 327/6           409/14 413/6 414/5 418/17         said [77] 223/23 224/13 225/19
  330/21 331/5 339/4 345/15       remotely [1] 230/8                 responses [3] 407/10 408/11         230/17 237/17 239/9 244/17
  374/10 375/13 375/15 375/16     removed [1] 255/8                   408/18                             247/11 260/12 261/14 261/22
  375/18 375/20 375/23 375/24     render [3] 419/14 419/22 419/25    responsible [2] 300/19 301/24       262/14 262/15 263/23 266/14
  376/10 376/15 376/16 378/16     rendition [1] 234/5                responsive [3] 345/4 347/14         268/22 269/23 270/11 272/6
  378/18 378/19 383/2 383/9 385/9 repair [3] 307/2 307/3 312/3        379/7                              274/2 274/20 275/1 275/5 280/12
  395/8 400/13 400/17 400/19      repeat [9] 232/10 237/11 249/25    rest [4] 246/18 247/13 252/2        280/13 282/11 284/16 285/20
  400/25 401/17 403/18 405/3       263/22 274/14 292/20 294/6         271/9                              287/6 287/24 296/23 297/21
  416/1 422/1                      377/21 422/24                     restate [2] 266/5 299/25            301/3 301/9 301/14 302/4 307/13
 recreational [1] 312/5           repeated [2] 369/4 405/3           restated [1] 334/18                 307/14 309/4 309/5 311/18
 RECROSS [1] 419/4                repeating [3] 231/23 252/25        result [7] 300/4 346/1 346/25       315/23 316/7 318/24 321/12
 RECROSS-EXAMINATION [1] 292/17                                       355/14 355/24 363/7 399/10         322/2 328/5 329/8 330/4 334/11
  419/4                           repertoire [1] 363/9               resulted [1] 296/4                  335/1 336/6 336/15 348/4 349/15
 red [3] 305/20 305/22 305/23     rephrase [1] 312/21                results [1] 418/19                  350/25 351/4 355/23 358/15
 redirect [10] 338/3 338/4 347/4 replace [3] 272/3 273/11 273/13     resume [1] 220/20                   361/19 370/12 370/23 371/10
  380/2 386/11 392/19 392/21      replay [1] 335/7                   resumed [1] 332/23                  382/24 384/2 384/4 385/21
  392/23 393/4 428/3              reply [1] 357/19                   resumes [1] 393/9                   385/21 386/9 388/6 393/4 407/20
 Redirect/Burt [1] 428/3          replying [2] 395/17 395/18         retake [3] 257/2 265/10 393/6       415/19 417/14 420/2 420/3
 reduces [1] 372/15               report [37] 248/20 248/21 249/4    retakes [3] 257/3 265/14 291/5      420/20
 refer [3] 241/6 354/22 412/13     249/6 249/12 249/13 249/19        retardation [36] 223/15 223/19     same [49] 230/14 231/6 237/7
 reference [3] 234/2 341/24        267/1 293/21 293/22 293/24         224/14 231/19 232/8 237/9          237/20 237/21 241/12 242/3
  359/22                           321/13 328/5 344/24 345/1 345/2    237/13 237/22 240/10 243/2         255/22 264/3 268/3 272/6 273/14
 references [3] 258/11 353/18      345/3 345/10 345/16 345/21         243/6 250/19 255/17 266/15         273/16 273/17 273/18 274/6
  353/19                           346/13 347/25 348/12 348/23        286/10 286/23 288/22 289/22        274/20 274/22 274/23 275/9
 referred [2] 258/5 377/4          349/3 350/25 358/11 373/7          289/23 294/18 309/13 315/6         278/4 278/6 282/16 285/22
 referring [10] 251/4 251/5 271/6 376/22 377/2 395/8 395/14 406/2     315/8 345/6 345/24 346/15 347/8    289/21 289/23 292/7 300/17
  316/3 354/21 394/6 401/11        409/22 422/18 422/20 422/22        348/1 348/2 348/5 348/17 348/18    301/14 303/3 303/21 307/16
  401/12 402/19 412/7             reported [6] 279/17 279/20          350/23 379/19 379/23 415/23        311/3 334/18 342/3 342/5 342/6
 refers [2] 281/2 412/14           295/12 383/9 404/9 424/14         retarded [1] 228/8                  342/7 342/23 361/25 367/21
 reflect [4] 233/24 273/17 371/6 Reporter [4] 219/18 219/18          retract [1] 331/12                  370/18 371/25 390/12 396/21
  371/8                            427/9 427/14                      retrieve [1] 408/3                  402/4 422/15 422/16 425/5
 reflected [3] 234/22 365/11      reports [8] 298/14 298/25 309/7    reverse [1] 227/3                  sample [6] 352/3 356/3 356/3
  372/13                           323/18 330/20 348/9 380/22        review [10] 256/6 293/24 295/15     356/5 356/8 357/23
 reflects [1] 308/24               380/23                             358/8 358/9 383/2 395/12 403/18   San [1] 219/2
 reflux [1] 221/18                repped [1] 230/13                   408/24 410/5                      sandwich [1] 222/12
 refresh [2] 358/22 422/23        representation [1] 303/20          reviewed [6] 249/20 349/24         save [1] 270/5
 regarded [1] 423/15              representative [1] 295/17           374/10 376/15 395/9 409/19        saw [4] 253/7 333/14 383/2
 regarding [2] 338/8 339/11       represents [1] 334/23              reviewing [6] 296/13 296/17         401/9
 regularly [2] 307/7 311/10       reputation [1] 418/23               330/21 355/15 396/2 424/9         say [63] 222/11 224/22 231/2
 rejection [1] 248/17             request [1] 248/16                 reviews [1] 234/20                  231/25 234/10 236/1 236/16
 relate [3] 249/1 278/24 358/20 requesting [1] 404/12                revolves [1] 389/8                  237/21 238/25 239/22 243/9
 related [1] 388/11               require [7] 250/11 290/11          rich [2] 252/11 252/22              245/10 247/15 247/24 248/4
 relates [1] 247/14                309/12 309/21 320/24 348/18       right [416]                         261/11 273/22 282/13 284/10
 relating [2] 247/7 341/9          365/14                            Rikers [1] 314/5                    284/11 284/18 284/20 285/3
 relation [1] 341/15              required [1] 311/22                rise [2] 220/3 254/5                287/20 291/7 291/9 294/7 294/9
 relationship [5] 233/16 235/6    requires [6] 266/17 310/9          risk [2] 376/24 382/25              296/18 305/15 315/15 335/2
  263/24 294/19 388/23             330/11 330/14 365/20 416/23       Ritalin [1] 387/11                  336/4 337/2 342/9 343/8 343/15
 relationships [2] 294/17 298/7 requiring [1] 346/1                  road [3] 406/4 406/6 417/1          344/1 348/6 350/10 350/18
 relative [3] 338/16 350/20       research [2] 361/3 423/10          rock [3] 224/15 224/17 231/23       359/14 361/25 363/21 367/10
  388/14                          resident [3] 300/11 403/22 404/9   Rockaway [1] 301/5                  368/14 370/11 370/15 370/21
 relatively [2] 361/4 363/6       resolve [5] 280/11 280/23 281/13   role [1] 339/8                      372/5 382/22 385/9 391/22 392/2
 release [1] 402/11                281/25 290/7                      RONELL [2] 218/6 220/9              392/14 392/15 394/4 406/16
 released [1] 401/10              resolved [1] 257/6                 room [1] 420/17                     410/20 412/4 413/12 414/14
 relevancy [1] 255/12             resource [1] 245/12                Roosevelt [3] 246/10 246/12         416/22
 relevant [11] 255/12 255/14      resources [6] 311/17 311/20         246/20                            saying [44] 231/16 235/25 236/9
  256/3 256/4 354/23 359/5 363/24 311/24 312/18 315/2 318/18         ROTHMAN [1] 218/20                  237/17 238/1 244/8 244/15 245/4
  380/5 381/7 406/7 426/21        respect [4] 241/25 278/8 279/15    rough [2] 230/23 329/8              245/6 245/7 245/8 245/21 250/2
 reliability [1] 381/24            362/3                             roughly [1] 226/6                   253/7 262/12 263/19 265/3
 reliable [8] 381/23 382/1 382/1 respond [4] 276/2 347/18 380/12     routine [3] 308/7 308/8 308/11      273/14 273/16 274/9 277/22
  406/17 406/17 409/11 414/7       385/15                            routines [2] 307/21 308/13          281/5 283/1 284/15 285/18
  417/17                          responded [3] 272/5 357/20         row [1] 363/4                       285/18 286/22 288/4 292/8 293/2
 relied [5] 220/25 378/18 422/1    395/16                            RPR [2] 219/18 427/14               294/22 295/14 300/19 316/4
  423/21 425/5                    respondent [3] 396/18 396/19       rule [4] 228/15 228/17 347/12       318/5 321/9 350/20 371/20
 rely [6] 355/23 356/19 394/4      398/15                             347/22                             379/13 386/1 413/19 418/22
  415/21 419/19 423/20            respondent's [1] 397/2             ruled [2] 364/16 364/17             420/1 423/2
 relying [7] 318/21 341/3 345/15 responding [7] 263/9 263/10         rules [2] 228/16 236/12            sayings [2] 285/24 285/25
  346/13 369/10 381/9 381/10       274/20 279/5 333/9 387/11         run [2] 281/14 415/4               says [56] 231/4 231/6 231/8
 remain [1] 368/19                 387/15                            running [1] 348/25                  231/10 231/12 242/11 242/15
 remark [1] 303/17                responds [2] 244/15 252/11         runs [1] 334/5                      242/16 248/24 249/2 249/10
                                    306/1 306/6 306/8 311/4 311/5      sharp [1] 300/19                   424/10
 S
Case 1:04-cr-01016-NGG311/7
                        Document        1529
                            311/13 311/18 311/19 Filed
                                                     she02/09/16      Page
                                                         [59] 242/2 242/18     232 ofsinger
                                                                           252/11       238[2]PageID    #: 16427
                                                                                               225/4 225/5
 says... [45] 252/10 253/1 254/6     319/14 342/22 342/25 351/8         261/15 265/21 269/21 272/1        single [1] 370/14
  264/25 265/4 271/4 273/10          352/15 353/23 362/20 362/25        272/2 272/12 273/10 273/11        sir [10] 241/11 257/5 257/12
  273/12 273/23 277/3 317/10         369/14 378/9 380/2 383/9 386/19    273/23 274/20 275/5 277/5 283/3    265/13 290/16 349/23 393/14
  335/4 336/2 336/11 336/15          389/1 395/25 396/23 405/11         284/18 290/21 290/22 297/17        393/19 424/22 424/23
  340/16 340/24 348/2 348/13         405/19 406/23 407/19 408/20        297/18 298/18 301/7 301/9         sister [14] 271/12 272/5 272/10
  353/21 354/21 357/15 360/14        408/24 409/5 410/5 413/9 413/15    301/20 316/4 318/24 319/3 320/4    272/11 272/20 273/12 317/10
  361/9 366/13 366/22 373/25         417/1 417/5 422/23 427/4           320/13 335/4 336/11 338/24         317/18 319/13 319/24 323/19
  374/6 386/1 395/14 395/15 396/7   seeing [3] 223/23 304/13 401/15     351/20 351/22 370/2 378/7 386/8    334/24 335/3 335/16
  396/17 397/2 398/1 398/13         seem [4] 223/19 376/10 387/20       408/6 408/20 408/24 409/7 411/7   sister's [1] 273/7
  398/19 402/4 402/9 402/11          388/11                             411/11 411/20 411/24 412/2        sit [4] 262/18 262/21 271/19
  403/14 406/2 407/8 408/9 413/16   seemed [3] 290/25 334/15            412/14 412/20 413/15 413/19        274/17
 scale [6] 344/1 367/1 367/7         361/14                             413/22 413/25 414/10 422/3        sitting [3] 233/17 235/7 349/12
  367/14 367/14 396/20              seeming [1] 362/4                   422/13 422/20 426/8 426/9         situation [30] 227/11 231/18
 Scales [1] 407/6                   seemingly [1] 301/10               she'll [1] 271/23                   236/18 242/1 242/13 242/23
 scalp [1] 301/11                   seems [5] 286/15 306/23 372/2      she's [6] 234/1 234/11 251/5        243/17 250/15 254/12 254/13
 scan [20] 375/4 377/25 378/3        388/16 405/23                      293/2 320/14 423/19                255/11 263/13 266/12 274/25
  379/17 379/17 379/19 379/25       seen [7] 241/9 267/5 292/12        sheer [1] 272/2                     275/9 280/17 281/15 286/8
  380/3 380/17 380/23 381/7          324/17 372/13 394/13 412/7        sheet [1] 351/14                    292/18 312/14 312/17 342/22
  381/12 382/10 382/12 382/13       sees [1] 297/6                     shine [2] 254/6 284/15              343/18 344/6 344/10 347/7
  382/18 382/21 385/20 385/24       segregated [1] 416/14              shines [1] 284/15                   350/10 400/2 415/9 415/19
  386/3                             selecting [1] 320/15               shop [3] 311/21 315/23 317/14      situational [1] 279/5
 scanning [1] 398/3                 self [6] 289/2 289/5 298/9 298/9   shopping [7] 312/1 315/21 316/1    situations [5] 301/21 308/14
 scenario [1] 408/13                 315/3 334/23                       318/3 318/9 318/11 318/25          412/24 415/16 416/21
 schedule [3] 307/13 322/25         self-care [3] 298/9 298/9 315/3    shops [1] 312/3                    six [7] 258/7 305/17 367/19
  426/7                             self-direction [3] 289/2 289/5     short [3] 314/6 391/23 404/9        367/20 403/1 404/18 405/7
 schedules [2] 307/10 307/12         334/23                            shortcuts [2] 234/17 234/22        six-year-old [2] 404/18 405/7
 scheduling [2] 349/15 425/20       selling [2] 325/8 325/9            shortly [1] 403/21                 sixth [1] 226/6
 SCHEIDER [1] 218/20                send [2] 222/1 269/22              should [26] 234/20 249/12 252/3    skills [25] 248/25 278/21 278/24
 school [8] 230/25 280/10 301/5     sends [1] 252/10                    252/3 256/7 258/11 279/6 292/24    281/2 289/10 298/3 308/25
  301/6 339/5 348/25 366/24 403/5   sense [15] 257/15 270/3 283/6       304/7 305/15 326/4 342/11 345/8    322/24 323/1 323/15 323/16
 science [1] 419/15                  292/21 295/22 323/1 330/4 330/7    347/17 348/5 350/15 350/23         325/1 325/3 368/19 387/21 388/1
 scope [6] 378/3 383/19 383/20       330/9 330/10 341/7 341/11          357/16 374/1 379/9 390/17 413/3    394/16 396/4 401/16 401/20
  384/16 384/16 396/9                375/10 394/11 399/25               419/23 420/3 424/16 426/14         402/5 402/9 402/12 402/18 405/1
 score [24] 345/15 366/25 367/1     sent [5] 307/9 307/16 308/2        should've [1] 356/9                skip [2] 238/21 270/14
  367/7 367/7 367/12 367/16          316/8 330/8                       shouldn't [2] 233/16 235/6         sleepy [2] 238/24 239/22
  369/23 369/24 370/5 370/13        sentence [4] 230/11 231/14         show [24] 222/6 237/3 244/16       slide [19] 337/19 337/23 341/22
  370/15 370/24 371/6 371/8          272/23 284/10                      244/24 263/19 271/23 286/13        341/22 350/12 359/4 359/10
  371/19 397/2 398/8 406/23         sentences [4] 226/9 226/12          288/20 290/10 292/12 302/14        359/15 359/18 359/20 359/22
  408/12 409/11 410/23 414/2         226/15 230/21                      310/4 310/6 310/21 327/12 334/5    360/11 365/1 365/2 365/5 365/9
  414/8                             separate [3] 229/6 260/9 411/12     343/7 352/23 375/18 375/19         365/11 407/5 415/2
 scored [1] 411/1                   separately [1] 251/21               377/10 384/20 392/11 399/23       Slide 57 [1] 365/2
 scores [38] 275/20 351/14          September [1] 314/6                showed [5] 247/1 306/10 313/7      Slide 97 [1] 341/22
  356/20 363/12 363/14 367/10       series [5] 226/12 230/21 251/5      404/14 423/7                      slides [10] 275/24 288/7 341/13
  367/14 367/14 367/20 367/24        355/19 372/9                      shower [1] 302/4                    341/21 372/5 380/18 380/19
  368/3 368/17 368/20 369/4         serious [19] 249/7 267/2 267/3     showered [1] 302/3                  406/19 407/3 414/13
  369/11 369/22 369/23 370/2         267/6 267/14 268/19 268/21        showing [9] 229/4 255/22 275/3     slower [1] 401/7
  370/7 370/10 372/10 372/14         268/23 269/7 269/8 272/8 272/15    336/18 336/23 336/24 347/11       slowly [1] 235/3
  395/2 395/4 397/5 397/14 397/16    276/23 277/11 291/7 291/9          361/4 376/16                      small [4] 299/20 314/15 415/21
  397/17 397/18 398/11 406/16        378/12 391/11 391/12              shows [9] 236/17 363/6 375/19       417/7
  406/17 406/23 406/25 408/20       seriousness [1] 284/7               377/2 377/14 379/5 391/3 401/16   smart [1] 277/7
  408/21 410/21 422/3               services [1] 312/2                  403/11                            smile [4] 238/24 239/4 239/7
 scoring [6] 372/23 407/20          session [1] 220/5                  shy [1] 233/14                      239/22
  408/11 409/2 409/12 410/2         set [4] 226/7 330/11 359/5 365/6   sidewalks [1] 312/5                snapshot [2] 371/2 377/18
 screen [6] 229/5 229/10 230/4      sets [1] 354/25                    sign [1] 271/23                    so [242]
  267/24 304/17 361/1               setting [6] 393/24 394/16 396/4    signed [1] 413/15                  social [16] 278/8 278/21 278/24
 screens [1] 304/16                  415/25 416/7 416/10               significance [1] 388/3              278/24 279/21 280/2 280/21
 seat [1] 393/14                    seven [3] 352/8 384/24 386/5       significant [6] 338/10 338/13       281/25 289/10 298/3 323/6
 seated [3] 220/19 327/3 393/11     several [2] 384/2 386/23            374/23 387/21 390/10 405/6         340/18 397/4 397/12 398/21
 second [17] 230/11 233/18 237/6    severe [3] 324/2 343/13 348/15     significantly [1] 398/15            402/2
  244/25 245/1 265/9 281/21         severely [1] 282/8                 similar [6] 225/3 273/15 278/6     socialize [1] 298/6
  284/10 290/24 307/16 334/20       Shapiro [33] 223/3 230/3 230/18     278/17 318/13 372/3               society [1] 315/9
  359/11 359/22 365/14 367/16        233/4 235/14 254/1 259/24 261/8   similarities [1] 397/13            sociolinguistics [1] 361/6
  404/2 404/20                       262/3 265/8 265/9 290/18 291/7    Similarly [1] 342/4                SOLOWAY [1] 218/20
 section [2] 362/1 403/13            297/4 304/12 319/13 319/19        simple [6] 226/9 226/12 250/4      solution [3] 221/25 222/2 222/19
 sectional [1] 384/22                319/21 327/11 327/22 333/2         282/18 334/11 415/5               solve [1] 374/4
 Security [1] 323/6                  335/15 338/1 338/6 345/14         simply [6] 231/23 234/6 251/15     solving [3] 336/14 337/20 363/13
 sedative [1] 387/14                 346/11 352/7 375/12 379/14         255/12 347/18 379/13              some [86] 223/7 228/22 230/5
 see [56] 224/7 225/6 233/11         386/8 386/13 419/6 424/3          since [16] 223/5 223/9 223/12       233/13 234/9 234/11 236/4
  235/18 242/8 247/14 268/7 272/5   Shapiro's [1] 406/2                 278/18 293/21 297/14 305/1         236/11 240/15 242/4 246/14
  272/17 284/9 286/6 296/21         share [6] 272/2 273/11 273/13       311/8 313/20 347/6 352/15          250/4 250/14 252/3 256/11 264/4
  301/20 304/7 305/6 305/9 305/22    273/19 340/13 343/4                354/15 358/15 373/12 408/19        271/7 275/16 277/9 277/18
                                    soon [1] 354/7                      standard [9] 363/16 367/15         stuff [2] 257/9 329/7
 S
Case 1:04-cr-01016-NGGsophisticated
                         Document        1529 Filed397/16
                                    [1] 363/6        02/09/16      Page
                                                          419/10 419/17    233 ofsubject
                                                                        419/19     238[10]
                                                                                         PageID   #: 16428
                                                                                           229/21 256/5 269/7
 some... [66] 277/21 281/20         sorry [62] 223/11 224/17 227/18      419/23 420/4 424/16                269/8 274/23 303/11 334/9 345/1
  284/15 285/1 286/13 289/1 289/9    233/20 237/11 238/9 243/19         standardization [3] 352/2           347/3 355/20
  290/6 290/22 299/6 300/9 301/8     249/3 253/15 258/14 260/12          357/23 423/6                      submit [1] 329/25
  302/18 305/19 315/2 315/3          261/8 261/11 261/18 263/22         standards [4] 255/11 359/6         submitted [2] 303/17 329/21
  316/15 325/13 335/25 336/14        266/6 266/21 270/21 271/3 276/8     366/10 366/16                     subscale [1] 363/12
  338/24 341/13 341/14 343/5         276/11 276/12 276/13 277/2         stands [1] 290/17                  subsequent [5] 358/2 368/6
  346/2 347/16 351/21 357/24         277/20 281/17 282/13 285/6         start [7] 230/12 238/2 261/25       409/6 418/14 418/18
  364/10 364/23 369/19 370/18        291/4 295/7 299/25 301/4 303/25     359/11 359/24 426/19 426/24       substance [1] 390/23
  370/19 370/20 371/19 372/15        304/15 307/4 307/23 310/19         started [4] 248/2 338/24 352/11    substantial [8] 228/19 272/17
  372/23 372/23 373/6 373/7 375/2    314/25 316/7 316/18 316/24          374/12                             344/7 364/4 369/4 377/14 399/9
  377/2 387/10 387/12 391/23         318/7 319/22 319/23 321/13         starts [1] 233/7                    426/15
  392/13 399/7 399/23 401/4          325/19 326/1 330/6 332/21 333/8    state [3] 336/8 376/22 388/4       substantially [2] 272/24 286/20
  401/21 401/22 402/8 402/11         352/6 354/2 357/7 358/22 359/17    stated [1] 406/8                   substitute [1] 374/3
  403/8 406/16 406/19 410/11         367/13 370/6 392/22 392/24         statement [12] 232/6 232/7         subtest [10] 395/3 396/21 397/16
  410/12 411/7 417/2 418/10 419/7    412/25 420/16 424/5                 232/10 298/24 306/25 310/6         397/17 398/2 398/6 408/8 408/13
  420/18 420/24 422/2 426/7         sort [6] 248/5 278/2 290/6 320/1     318/21 319/4 321/19 356/4 361/9    408/13 408/17
 somebody [32] 231/19 231/25         401/13 425/12                       387/23                            subtests [9] 396/20 397/3 397/10
  232/8 234/9 238/2 243/13 247/17   sorts [2] 234/2 298/10              statements [2] 293/11 388/2         410/13 410/15 410/17 410/25
  265/3 265/4 266/15 282/8 287/5    sought [1] 347/6                    STATES [10] 218/1 218/2 218/5       411/1 411/5
  287/22 289/8 289/21 297/6 298/6   soul [2] 291/20 293/6                218/12 218/15 218/17 220/3        successful [6] 322/25 323/2
  302/2 308/9 308/17 315/3 318/12   sound [1] 260/17                     220/8 220/12 220/13                323/15 325/1 402/10 402/12
  318/12 328/20 334/1 334/17        sounded [1] 361/13                  station [1] 231/24                 succession [1] 332/11
  337/14 337/15 343/9 344/1 344/6   sounds [3] 222/19 234/6 234/10      stations [1] 312/3                 such [9] 233/12 280/17 292/12
  385/13                            sources [3] 359/10 392/5 406/22     statistics [2] 380/9 380/10         314/10 340/17 363/10 368/18
 somebody's [1] 293/19              span [1] 403/13                     status [2] 361/2 362/2              376/11 415/9
 somehow [3] 221/22 221/24          spat [1] 281/21                     stay [4] 271/24 284/11 284/17      sucked [1] 395/16
  410/22                            speak [8] 227/23 246/22 255/20       289/13                            suffered [2] 375/3 376/12
 someone [52] 223/24 224/13          294/9 297/11 297/11 323/9 416/4    stenography [1] 219/20             suffering [2] 383/15 384/3
  225/20 226/7 226/15 226/22        speaking [1] 265/20                 step [3] 249/8 264/22 332/14       sufficient [2] 346/25 418/12
  227/10 228/6 228/7 235/10 237/8   speaks [4] 247/15 365/25 380/21     stereotyped [1] 389/2              suggest [3] 298/24 298/25 415/3
  237/20 237/21 240/9 243/1 243/5    404/25                             stereotypes [1] 374/2              suggested [4] 361/22 364/7
  243/5 247/19 252/25 255/16        special [5] 219/12 220/14 340/18    STERN [5] 218/20 218/22             384/17 389/7
  273/19 277/16 282/12 282/14        377/4 404/12                        220/18 221/13 257/4               suggests [3] 281/24 368/3 375/8
  287/14 287/20 287/25 289/22       specializes [3] 334/5 340/3 340/7   stick [3] 232/13 278/19 384/7      Suite [2] 218/21 219/2
  289/23 292/8 292/10 294/2 294/3   specific [17] 224/3 224/17 227/6    still [21] 220/21 226/8 228/13     summary [5] 279/14 351/14
  302/4 308/19 309/13 315/5 324/2    227/6 236/7 236/24 239/21           233/10 236/4 257/11 268/17         383/10 388/5 401/14
  324/7 328/16 337/4 343/19          248/14 282/11 282/14 325/3          271/11 271/18 274/17 281/3        sun [2] 284/14 284/15
  343/23 348/4 371/15 377/11         328/4 348/19 351/10 351/10          285/12 316/16 327/7 337/8         sunglasses [1] 316/17
  388/18 401/3 401/24 402/14         407/13 417/17                       338/10 338/13 338/17 373/1        superficial [4] 224/4 269/2 269/6
  415/22 425/2                      specifically [5] 288/13 316/3        383/6 417/25                       391/2
 someone's [1] 362/2                 346/14 401/13 423/14               stipulated [1] 324/6               superimposed [3] 344/16 344/23
 someplace [1] 232/11               speculate [2] 377/17 377/23         stipulation [3] 302/19 302/21       345/17
 something [56] 222/4 222/5         speculating [2] 262/11 292/13        302/22                            support [1] 274/7
  222/12 222/21 227/12 227/15       speculation [7] 381/15 385/7        stop [6] 233/18 236/2 271/25       supportive [2] 289/17 291/12
  228/6 233/13 233/15 236/5          385/11 385/15 385/18 412/9          332/21 336/5 336/16               supports [1] 340/20
  236/17 239/19 243/1 243/3 243/3    412/18                             store [3] 316/5 316/8 316/9        suppose [1] 239/20
  245/5 247/3 251/15 252/25         speculative [1] 381/18              stores [1] 312/1                   supposed [2] 387/8 412/4
  255/18 255/19 262/16 266/14       speech [1] 339/18                   stove [1] 321/6                    Supreme [1] 415/10
  269/11 271/5 271/23 273/21        speech-and-language [1] 339/18      straight [1] 251/4                 sure [43] 222/1 222/2 222/7
  275/23 277/15 279/25 280/1        Speed [1] 261/24                    straighten [1] 425/12               227/25 229/12 230/22 235/4
  282/7 282/22 285/21 286/7 290/8   spelled [2] 234/11 277/8            strategize [1] 309/15               237/19 239/10 245/9 246/18
  290/9 295/7 307/22 307/25         spelling [1] 272/23                 strategy [2] 309/12 309/20          247/12 250/1 250/3 256/13
  308/14 311/25 317/11 318/24       spells [1] 319/15                   stream [1] 226/11                   257/17 265/12 272/13 274/11
  325/25 337/9 337/15 347/17        spend [2] 270/5 363/4               Street [3] 218/21 219/2 219/7       281/19 283/15 285/11 292/5
  349/2 366/16 379/18 387/17        spent [1] 381/1                     streets [1] 312/5                   302/2 303/10 305/3 305/24 318/8
  399/20 399/23 405/13 424/15       sphere [1] 398/4                    strength [6] 244/6 244/16           319/18 325/7 325/9 328/3 330/11
 somethings [1] 282/24              spit [1] 282/3                       244/24 271/15 271/16 274/3         333/18 335/8 353/9 359/4 365/6
 sometime [1] 285/15                split [1] 329/16                    stretching [1] 411/24               406/5 414/19 422/25 425/13
 sometimes [11] 228/17 228/18       spoke [7] 223/5 258/15 323/5        strike [4] 243/4 266/22 294/8       426/4
  277/12 277/18 277/21 278/16        331/14 352/14 356/2 415/8           405/22                            surface [3] 239/14 239/17
  281/18 282/24 285/11 314/8        spoken [2] 269/3 333/22             string [1] 226/9                    277/16
  379/12                            spot [1] 226/24                     stringing [2] 230/21 361/16        Sweetheart [1] 233/8
 somewhat [1] 414/16                spread [1] 412/10                   strong [2] 269/1 271/25            switch [1] 304/1
 somewhere [2] 226/6 286/8          stakes [2] 262/24 331/17            structure [1] 272/23               Switzky [1] 360/6
 son [3] 331/25 332/1 336/4         stamp [3] 251/4 251/7 252/4         structured [4] 255/18 280/17       symbol [1] 268/10
 song [16] 235/11 235/18 235/20     stamped [2] 251/12 302/9             281/6 401/25                      symptoms [3] 342/23 343/4
  236/21 236/25 239/24 240/5        stamps [1] 251/12                   structures [1] 390/9                379/22
  254/10 267/10 271/22 275/1        stance [1] 334/19                   struggling [1] 245/13              synagog [1] 312/4
  275/5 275/5 275/8 275/8 275/12    stand [11] 223/9 257/2 257/3        students [2] 301/15 305/10         syndrome [1] 227/7
 songs [5] 236/22 275/3 389/5        265/10 265/14 290/16 291/5         studies [3] 414/14 414/24 415/2    syntax [3] 360/15 361/5 362/8
  390/3 390/13                       358/10 393/7 393/9 424/22          study [1] 407/8                    system [1] 251/7
                                    tasks [1] 225/25                   364/13                             343/15 343/15 343/16 343/20
 S
Case 1:04-cr-01016-NGGtaught
                         Document
                             [1] 394/14 1529 Filed  02/09/16
                                                 testing [28] 259/12Page    234 of344/8
                                                                     301/8 358/6    238361/5
                                                                                         PageID     #: 16429
                                                                                             375/13 375/15 378/6
 systematic [1] 424/13              teach [2] 255/19 323/22             366/17 368/6 368/11 369/5 379/4    379/9 388/16 402/21
                                    teachers [1] 340/18                 379/4 407/18 408/19 409/16        theirs [2] 273/14 337/5
 T                                  team [3] 339/12 339/15 341/11       409/17 409/23 410/5 410/16        them [55] 221/1 221/3 222/16
 T-O-O [1] 233/25                   tears [5] 235/11 235/18 236/15      411/10 411/12 411/19 411/20        226/9 229/5 229/16 232/19 238/4
 Tab [1] 248/21                      267/11 268/6                       413/2 413/5 415/15 415/19          241/6 242/12 251/13 251/16
 table [7] 311/5 353/6 353/17       technique [2] 415/5 415/18          418/14 418/18 420/4 425/24         251/17 251/18 251/21 252/3
  353/19 353/20 353/20 353/23       techniques [2] 390/4 415/17        tests [19] 258/5 258/11 334/6       254/23 255/21 275/9 278/5
 tabs [1] 229/4                     telephone [3] 219/19 361/11         353/18 354/22 355/1 363/12         278/14 278/18 289/15 290/5
 take [48] 221/20 227/20 228/21      408/14                             365/21 368/3 368/18 371/1          290/9 294/11 302/8 302/9 302/14
  232/14 237/6 238/6 238/23         television [4] 292/23 388/24        385/10 398/2 407/12 407/17         303/7 303/17 303/19 311/3
  241/11 243/19 245/22 246/17        392/7 392/11                       410/8 410/17 415/1 418/13          317/15 321/8 329/6 338/22 343/5
  247/9 250/21 256/11 256/13        tell [32] 223/23 224/5 240/9       Tethering [1] 353/12                348/6 351/21 370/18 370/19
  258/21 260/4 265/13 267/14         250/9 263/6 271/20 271/24         than [28] 232/2 234/14 261/15       370/20 386/13 390/3 400/8
  268/9 270/9 274/10 276/22          271/24 274/18 283/10 286/12        272/20 272/24 273/8 292/25         416/14 422/8 425/2 425/3 425/6
  278/13 280/8 280/24 285/11         307/14 335/24 343/10 349/17        294/22 308/4 310/10 318/5          425/6 425/6 425/7 425/9
  291/13 302/4 304/10 326/4 326/5    368/1 368/23 369/10 382/11         325/20 344/18 346/7 350/11        themes [2] 390/3 390/12
  333/16 333/23 333/24 334/13        383/14 386/4 390/5 390/7 390/14    350/13 351/2 351/2 361/7 363/17   themselves [3] 235/23 315/5
  334/24 335/1 335/3 335/16          390/16 399/4 410/1 411/4 412/20    392/11 396/15 397/16 399/15        321/4
  336/16 343/22 349/18 393/2         413/1 413/24 414/25                416/8 418/3 424/14 426/9          then [91] 221/20 221/20 221/20
  406/11 406/12 417/14 418/15       telling [6] 247/8 253/1 289/8      thank [49] 221/10 222/23            222/24 225/1 225/5 227/6 228/15
 taken [11] 221/24 256/14 302/18     289/12 333/16 335/24               229/17 234/19 234/23 238/19        231/5 231/8 231/11 232/13
  302/22 303/7 304/12 304/22        tells [6] 254/5 290/21 291/13       241/8 244/3 246/7 252/7 254/4      235/17 236/7 242/11 244/15
  305/17 363/15 377/19 418/22        291/16 319/13 334/13               256/9 257/8 257/13 258/3 259/19    245/10 247/6 247/20 248/5 250/9
 takes [9] 220/6 228/13 228/14      ten [8] 273/21 276/10 278/10        259/21 262/4 270/23 283/20         251/23 253/13 261/19 263/2
  245/9 252/17 301/10 327/1          313/24 320/22 385/14 409/6         283/24 303/23 306/12 317/2         265/1 269/22 273/23 274/25
  329/19 329/24                      411/14                             326/6 326/8 326/9 332/15 337/25    275/14 276/24 277/24 278/10
 taking [15] 254/7 262/7 266/19     tend [1] 400/16                     338/1 349/20 352/24 353/15         280/8 280/21 284/16 285/21
  275/12 299/16 303/25 334/21       term [9] 223/16 227/2 270/3         359/20 364/19 364/21 381/13        286/16 287/7 287/9 290/5 290/6
  361/7 371/2 381/10 381/21          289/25 328/16 328/22 328/23        382/5 393/4 393/8 393/15 393/20    299/19 303/20 307/15 314/5
  381/22 381/22 418/13 420/5         328/24 350/22                      406/13 418/4 418/24 424/20         314/7 328/14 329/7 334/14
 talk [49] 223/17 223/17 224/25     termed [2] 255/25 288/24            424/23 427/1 427/3                 334/15 334/17 336/3 336/5
  230/9 232/12 235/24 247/24        terminate [1] 294/19               that [1117]                         343/20 346/2 347/3 350/23 352/4
  247/24 262/15 262/18 262/21       terminating [3] 279/2 279/2        that's [144] 221/25 222/10 224/6    352/5 352/13 354/25 355/10
  268/22 269/10 270/4 270/4          298/7                              224/7 226/6 226/25 226/25 227/2    357/20 361/19 361/25 362/17
  271/23 276/1 276/24 277/3 277/9   terms [53] 224/3 225/6 226/7        227/12 228/6 228/6 228/18 230/8    370/7 385/13 385/15 396/13
  285/4 285/10 292/7 293/15          226/12 232/4 253/5 255/9 273/15    230/23 232/3 233/7 233/11 234/7    396/17 398/1 398/13 398/18
  295/24 296/9 297/21 297/24         280/15 285/2 285/7 285/25          234/8 234/13 238/24 242/15         399/9 401/18 402/4 403/13 404/7
  297/25 300/23 307/20 307/20        286/14 287/7 293/22 295/11         242/16 244/16 245/3 245/3          407/14 408/11 408/17 415/6
  309/1 309/4 311/17 315/21 334/9    298/2 323/13 325/23 334/22         245/19 247/22 247/23 248/2         416/22 416/22 417/20 424/13
  341/21 379/17 379/25 380/5         337/11 341/24 343/23 349/6         248/3 248/17 249/2 250/14 254/3    425/23 426/1 426/24
  381/5 383/22 384/12 391/2 391/3    355/9 356/20 361/16 363/20         255/18 260/14 262/10 265/18       Theodore [3] 246/10 246/12
  406/22 407/4 416/5                 368/24 369/10 374/6 374/23         266/2 266/3 266/3 266/6 266/14     246/20
 talked [28] 221/14 223/7 223/14     375/2 375/9 375/17 377/10          267/2 268/11 269/13 269/21        therapeutic [1] 400/11
  237/8 266/25 267/9 293/13          377/11 380/13 382/11 383/14        269/23 270/11 272/18 273/6        therapy [1] 339/21
  293/17 293/21 300/4 312/23         386/19 390/7 391/1 391/4 392/1     273/21 275/9 275/11 276/10        there [165] 221/2 228/10 230/12
  316/6 331/3 333/12 337/19          393/24 394/2 396/9 400/8 414/6     277/9 277/15 277/22 280/1          233/14 234/12 235/8 236/4
  361/18 364/3 368/9 378/7 385/20    414/11 416/24 418/1                280/12 282/25 283/4 283/18         236/22 239/21 239/24 241/1
  406/8 406/25 407/5 409/3 409/12   terribly [1] 391/11                 288/12 289/2 293/8 295/7 295/24    242/9 243/9 244/6 244/9 245/8
  414/4 419/6 420/16                test [39] 255/22 296/23 333/17      296/17 296/23 297/14 298/24        250/9 251/8 251/21 251/24
 talking [61] 228/2 228/21 231/17    333/23 333/24 334/7 334/10         302/19 305/3 305/24 307/22         252/15 252/16 258/7 259/18
  235/14 235/16 235/17 238/3         334/10 334/13 335/25 336/3         307/25 308/10 308/14 308/21        260/10 263/15 264/8 267/3
  247/22 248/8 253/1 253/2 258/4     336/16 354/22 354/24 357/25        310/3 311/16 311/24 312/6 314/1    272/19 274/7 276/15 277/18
  259/23 265/3 265/4 269/14          365/17 367/6 368/9 368/12          318/2 322/16 324/6 325/13          278/2 279/13 280/14 283/16
  271/12 274/6 274/22 274/23         369/25 370/20 372/3 375/13         325/13 329/8 329/16 332/4          283/17 284/17 284/18 285/7
  274/24 275/17 278/3 285/12         375/22 381/25 382/1 392/2 395/5    335/17 336/3 336/6 337/9 337/10    286/1 287/3 287/20 288/4 288/8
  285/14 288/13 290/1 291/22         395/6 408/1 409/3 411/24 412/1     340/15 345/21 346/1 346/8          288/10 289/14 290/15 290/19
  318/3 320/23 323/24 328/2 329/3    412/8 412/9 412/14 413/22          346/17 347/13 348/7 349/1 349/3    292/3 295/17 295/25 298/24
  329/10 329/12 330/3 331/24         417/14 418/15                      349/4 352/14 352/17 352/17         299/2 299/6 299/6 299/19 299/20
  333/6 333/9 334/17 334/21         tested [10] 255/21 260/25 275/20    352/18 353/13 354/3 356/24         300/6 300/9 300/9 300/18 301/5
  335/17 335/18 336/5 336/16         288/10 357/23 367/3 396/19         358/4 358/11 370/2 375/21          301/5 301/6 302/16 302/17
  346/6 361/19 364/5 379/22          397/3 413/16 413/19                378/13 379/18 379/24 380/4         302/18 302/21 309/5 310/11
  388/14 389/6 392/10 394/8         testers [1] 415/17                  380/15 380/25 381/2 393/25         311/2 311/19 313/23 315/11
  397/24 400/10 401/5 406/1 417/2   testified [12] 237/12 239/11        394/3 395/3 395/7 395/8 396/16     317/14 323/5 323/18 328/11
  417/8 417/10 418/2                 240/8 255/10 255/15 358/10         400/16 404/5 404/23 406/17         328/11 328/12 328/12 328/14
 talks [5] 235/17 247/6 261/9        376/23 377/24 379/11 422/11        407/12 408/21 412/11 413/19        328/19 328/22 329/21 332/10
  335/19 346/15                      422/13 422/13                      418/4 419/24 423/3                 332/12 333/20 338/6 338/24
 tantrums [1] 403/12                testify [6] 414/18 414/22 414/22   theater [2] 312/10 312/12           340/9 341/3 341/8 346/7 350/15
 tap [1] 259/9                       419/10 421/4 422/13               theaters [1] 312/5                  351/10 352/11 353/6 353/17
 tape [2] 333/19 359/2              testifying [2] 414/17 414/17       their [25] 226/19 227/3 228/16      355/13 357/17 357/24 358/1
 tape-recorded [1] 359/2            testimony [7] 223/6 224/2           251/7 255/20 271/8 287/19 292/6    359/24 360/6 360/7 360/11
 tapes [2] 388/3 388/22              239/14 286/9 286/10 346/2          294/3 315/5 325/13 339/4 340/24    361/21 362/14 362/24 365/12
                                    378/10 378/11 378/15 380/4         416/2 416/3 416/6 417/7 417/22     384/21 385/24 386/1 386/24
 T
Case 1:04-cr-01016-NGG380/6
                        Document        1529385/2
                            381/6 381/6 384/23 Filed418/20
                                                      02/09/16      Page
                                                           423/20 424/9      235 of391/23
                                                                        425/21       238394/15
                                                                                          PageID    #:402/16
                                                                                               400/20  16430
 there... [53] 365/16 366/10         385/3 385/5 385/8 385/8 385/11     425/22 426/2 426/10 426/14         417/17 417/18 419/20 420/13
  366/11 367/9 371/24 373/13         387/12 388/15 389/2 394/1 394/4   thinking [24] 227/13 243/12         422/20 423/10
  375/17 375/23 377/18 378/16        394/6 396/13 401/3 401/6 401/17    246/22 246/24 249/24 250/12       time-wise [2] 257/16 325/25
  378/20 379/22 382/12 382/20        401/20 401/21 401/23 405/14        252/17 253/8 255/16 266/17        times [8] 298/25 299/2 299/2
  386/2 386/19 389/3 390/3 391/22    405/15 411/5 415/4 417/3 426/17    275/18 286/3 286/22 288/16         300/22 328/14 337/10 372/11
  391/23 394/15 398/8 398/22        they'll [2] 426/4 426/5             288/18 290/10 290/11 310/10        384/2
  399/8 399/24 400/7 400/7 400/21   they're [29] 227/11 273/16 274/8    310/13 320/2 334/23 337/21        tired [1] 371/15
  401/2 402/23 404/3 404/20 409/5    274/22 274/23 274/23 278/6         387/10 387/12                     title [1] 353/8
  410/11 410/12 410/20 412/7         278/17 303/1 303/4 303/12         thinks [2] 277/5 320/13            to mark [1] 254/18
  412/20 412/23 413/21 414/3         303/19 314/9 350/20 360/10        third [3] 359/24 386/25 396/21     today [6] 222/7 247/23 333/12
  414/12 414/25 415/16 415/16        367/20 367/23 375/20 380/9        Thirty [1] 352/8                    381/8 418/2 419/11
  415/17 416/20 417/24 424/3         385/1 387/10 387/14 394/6         Thirty-seven [1] 352/8             together [12] 226/9 226/13
  424/6 424/13 424/16 425/4          402/18 405/13 405/15 405/16       this [413]                          226/16 229/7 230/17 230/21
 there's [43] 221/4 234/17 242/9     405/17 425/4                      Thorazine [2] 383/7 387/12          238/22 268/8 271/25 284/22
  282/11 282/13 282/14 283/9        they've [2] 324/11 348/23          those [58] 221/3 225/24 231/17      300/19 422/14
  284/17 285/24 289/14 304/7        thing [38] 237/20 238/22 246/11     234/2 241/1 241/3 242/4 242/10    told [15] 271/14 271/22 272/1
  308/4 321/3 324/19 328/8 333/18    246/11 246/12 246/14 246/15        250/11 263/2 275/20 275/23         273/10 273/12 273/23 273/24
  346/14 347/21 348/22 348/24        255/22 258/3 263/21 272/7          287/1 287/4 288/10 288/18          274/2 274/2 291/19 295/25
  350/23 362/18 362/24 365/15        273/14 274/6 274/20 274/22         288/21 294/14 296/21 298/10        297/21 307/13 327/24 327/25
  369/3 370/11 371/11 371/22         277/1 277/7 278/4 278/6 285/22     299/2 299/23 300/8 301/19         tomorrow [6] 386/11 425/14
  375/14 376/6 378/10 381/11         289/1 294/17 304/11 311/3          307/12 307/15 311/23 312/14        425/18 426/3 426/7 427/4
  381/11 383/23 385/8 389/4 389/6    321/16 370/21 370/22 370/24        315/1 318/11 318/12 334/4         tonight [2] 386/14 426/25
  395/2 406/2 413/21 423/23 424/3    371/16 384/6 386/25 387/1 387/2    355/10 363/23 364/7 367/10        too [13] 233/19 233/25 270/12
  426/20                             391/25 405/18 413/2 416/25         367/24 369/10 370/10 371/16        271/21 288/12 299/20 305/23
 therefore [5] 280/5 345/5 347/9     417/9                              373/8 377/6 378/17 388/22 390/4    388/13 388/18 407/9 409/13
  373/12 379/9                      things [78] 225/6 230/13 231/2      390/9 394/13 394/19 399/14         418/3 418/3
 these [85] 221/7 228/22 229/3       239/21 242/2 242/18 263/18         399/20 406/24 407/4 408/3         took [4] 249/13 305/19 383/24
  229/5 230/6 230/6 230/9 232/9      268/18 271/18 274/4 275/3          408/15 408/16 411/1 412/10         403/1
  234/21 236/15 239/20 240/20        275/16 275/20 275/23 277/9         418/21                            top [3] 249/5 276/22 317/9
  241/5 248/6 253/14 254/15          277/18 277/21 281/17 281/20       though [14] 272/2 273/9 273/11     topic [2] 291/9 391/1
  254/17 254/19 255/7 255/14         281/20 281/25 284/7 284/12         275/16 280/25 297/1 298/22        total [3] 322/14 323/6 396/9
  255/23 255/23 255/25 256/6         284/22 284/25 286/2 286/23         300/17 323/13 325/5 348/12        totally [1] 250/15
  262/14 262/19 262/21 264/20        286/24 287/1 287/4 288/9 288/10    398/14 399/5 409/7                touch [2] 320/17 325/21
  275/16 277/24 278/13 281/4         288/13 288/18 288/21 288/21       thought [13] 227/1 245/10          touches [2] 268/18 284/7
  286/2 288/20 289/9 293/19 300/4    292/1 292/7 294/14 296/12          272/18 273/6 273/17 273/18        touching [1] 320/1
  301/18 302/11 302/18 302/24        296/23 298/2 298/10 299/23         281/11 296/3 325/20 334/20        toward [1] 416/21
  302/24 302/25 303/16 307/19        300/20 312/14 315/1 315/1          335/1 374/1 391/25                track [2] 271/21 274/19
  308/2 321/16 323/9 330/17 333/7    315/11 316/5 317/14 320/24        three [13] 278/14 287/16 321/9     traditionally [1] 343/12
  337/18 340/24 345/15 357/15        328/15 337/18 338/20 355/14        322/11 322/14 322/23 323/7        trailed [1] 307/23
  365/20 370/21 371/1 372/12         358/15 368/11 368/14 370/21        325/21 359/10 417/4 417/15        traits [1] 371/7
  373/11 374/20 375/13 376/4         378/19 382/16 382/19 382/20        425/22 425/22                     transcript [7] 218/11 219/20
  378/4 378/5 378/8 379/8 379/15     385/22 385/24 386/2 386/20        thriftiness [1] 238/4               234/22 237/19 303/5 386/1
  380/9 381/23 384/21 386/9 400/7    387/2 389/6 390/8 390/19 394/13   through [26] 221/1 221/3 221/5      427/10
  400/19 401/17 405/3 406/16         395/14 396/16 406/25 416/23        221/7 221/9 230/8 271/17 271/18   Transcription [1] 219/21
  407/12 412/13 412/24 412/24        420/2                              271/25 274/3 274/4 274/8 284/14   transportation [1] 311/21
  414/7 415/1 415/21 418/13         think [121] 223/16 224/14 225/4     292/1 311/3 313/24 338/22 346/5   trauma [2] 382/19 385/24
  420/20                             227/2 228/17 233/9 233/10          351/20 364/5 364/5 379/16         traveling [1] 311/25
 they [137] 222/1 223/16 223/16      234/13 237/15 237/17 239/9         379/24 381/1 384/20 405/3         treatment [2] 386/19 387/3
  224/14 224/22 224/23 224/24        241/9 245/13 247/5 247/16         throughout [2] 298/22 412/10       trial [6] 302/24 302/25 303/13
  225/1 225/3 226/1 226/19 226/23    251/21 255/10 255/24 257/18       thumb [1] 395/17                    303/14 303/22 378/1
  227/4 228/15 228/17 232/10         257/20 263/16 268/22 272/14       thus [1] 382/3                     tried [2] 376/3 391/1
  232/10 235/24 237/9 237/14         272/16 273/7 274/16 275/10        tickets [1] 312/12                 tries [1] 334/12
  237/21 237/23 237/23 237/25        277/7 279/6 279/6 281/3 283/11    tightly [1] 301/11                 trip [2] 425/2 425/9
  238/1 238/1 238/2 240/10 240/11    286/17 286/18 286/20 288/7        time [90] 230/14 231/6 235/13      trouble [11] 226/15 226/16
  246/16 247/24 248/2 248/4          288/23 289/3 290/25 291/12         251/25 254/6 255/8 256/11          226/19 232/9 243/2 285/2 287/8
  251/14 251/14 254/20 255/8         292/4 293/10 293/11 294/25         257/16 260/10 260/11 262/3         298/23 324/3 425/10 425/10
  255/21 256/3 256/4 258/17          299/14 302/19 303/5 308/10         265/13 268/1 268/14 271/8 271/8   true [9] 242/21 242/23 298/24
  258/21 273/13 273/14 278/4         308/12 308/20 308/24 308/24        271/9 271/11 271/17 274/4          344/14 361/9 370/15 375/19
  280/18 284/20 284/20 287/15        309/1 311/12 316/4 321/18          281/10 282/1 282/6 284/12          375/21 412/1
  287/15 287/16 287/16 287/18        323/18 324/12 330/14 333/18        285/10 286/6 290/25 295/12        trust [3] 316/4 318/25 319/1
  288/1 288/1 288/23 289/22 290/6    337/1 340/12 340/12 340/12         295/17 299/15 300/14 301/14       trustworthiness [1] 238/3
  292/6 292/7 294/4 294/11 298/4     341/6 341/14 342/2 345/3 345/9     302/4 311/5 313/23 314/6 314/10   try [8] 222/4 232/5 260/23
  298/6 302/22 303/21 313/2 313/3    345/10 346/4 348/8 349/5 350/2     314/15 314/16 315/17 315/20        283/14 292/24 384/20 386/16
  316/7 316/7 316/8 321/6 322/22     350/4 351/10 356/1 361/10          315/25 316/2 318/10 320/2 321/3    400/7
  322/23 323/5 323/20 323/21         363/23 363/23 368/11 370/14        321/18 322/5 322/19 324/8         trying [15] 227/18 233/14
  325/14 329/13 331/17 332/10        371/10 373/17 375/2 375/13         325/24 325/25 330/22 333/3         244/10 285/3 285/7 336/4 347/11
  334/16 339/16 343/20 344/5         376/22 378/13 381/14 382/2         338/16 338/21 342/4 342/5 342/6    348/4 348/21 361/14 380/12
  348/4 348/7 350/18 350/22 352/2    382/24 385/1 385/19 386/20         342/7 358/1 363/5 366/7 369/12     380/14 380/23 416/5 423/19
  361/25 366/9 367/21 368/4 368/5    386/21 387/3 391/21 395/11         370/18 371/25 374/19 375/23       turn [2] 247/20 360/22
  368/5 373/11 373/12 375/14         399/6 401/5 405/11 406/7 407/3     375/25 377/19 377/25 379/4        turning [5] 261/10 261/11
  375/15 375/20 376/3 376/5 378/5    409/3 412/6 414/9 414/12 415/21    381/1 382/11 382/18 384/2          261/12 269/15 269/18
                                   382/22                            385/21                             348/7 349/1 358/23 361/19
 T
Case 1:04-cr-01016-NGGunusual-functioning
                         Document 1529           Filed
                                          [1] 382/22    02/09/16
                                                     various [2] 353/18Page
                                                                        406/22 236 of381/12
                                                                                       238384/9
                                                                                            PageID
                                                                                                393/22#: 16431
                                                                                                       413/13
 TV [5] 292/4 292/13 311/5 334/3   unwilling [1] 405/17              vehicle [1] 374/2             413/14 413/19 414/22 414/22
  363/6                            up [61] 225/2 225/22 228/19       vein [1] 237/21               416/20 425/11 426/12
 tweak [1] 234/14                  229/9 229/10 232/1 235/2 235/10   veneer [2] 239/11 240/6       wanted [9] 231/24 258/3 277/4
 two [34] 221/2 221/21 234/1       235/12 235/22 240/23 243/9        venture [1] 418/11            297/20 297/24 318/18 327/24
  244/6 244/16 245/4 245/5 245/8   243/9 244/7 245/1 245/2 253/10    veracity [1] 426/23           352/15 406/15
  245/9 263/18 265/16 287/15       257/23 258/16 258/18 259/4        verbal [21] 253/4 255/11 351/1wants [2] 242/11 425/6
  304/5 325/21 332/10 332/12       259/15 261/24 263/7 263/18         351/2 358/19 359/1 359/6 360/4
                                                                                                   warm [2] 246/18 247/13
  334/4 343/8 355/13 356/6 360/6   267/24 273/12 274/12 289/14        362/4 362/5 388/1 388/1 390/16
                                                                                                   warn [1] 381/17
  361/10 367/3 367/5 367/10        290/14 290/14 299/3 302/8          394/5 394/9 394/16 395/6 398/16
                                                                                                   warning [1] 386/11
  367/24 370/10 388/10 397/16      304/18 308/11 312/10 313/3         399/9 399/13 399/21          was [341]
  407/18 408/12 408/21 416/21      313/20 318/15 318/16 330/11       verbally [2] 360/15 362/9     Washington [1] 245/15
  424/12                           336/3 343/24 345/25 355/14        verbatim [1] 357/6            WASI [1] 352/3
 two-year-later [1] 356/6          357/8 361/1 371/20 372/7 374/16   verify [1] 423/11             wasn't [12] 240/5 300/22 312/12
 type [8] 225/3 233/14 376/23      377/15 381/5 383/11 391/1 398/8   VERONICA [5] 219/13 220/14    318/17 322/19 345/20 349/2
  388/23 388/24 400/1 409/12       410/22 417/3 417/21 426/6          261/24 304/1 310/22          361/22 381/25 387/3 391/10
  417/7                            426/13 426/15                     versus [2] 218/5 337/15       420/10
 types [4] 312/14 349/7 394/13     updated [1] 367/4                 very [59] 221/10 222/22 223/22watch [3] 284/22 292/4 349/13
  408/15                           upon [8] 221/1 339/3 356/19        228/21 234/23 234/24 239/17  watching [7] 311/5 363/5 388/18
 typical [6] 223/22 225/5 334/3    368/19 378/18 422/1 423/20         239/19 239/23 246/10 248/24  388/20 388/20 388/21 388/23
  369/14 375/8 401/17              423/21                             250/4 255/16 257/8 258/2 263/1
                                                                                                   water [2] 284/17 289/13
 typically [5] 339/15 343/6        us [22] 220/14 220/18 221/23       273/21 280/15 280/19 282/3   way [44] 233/6 233/14 234/3
  343/16 360/14 362/8              224/4 242/3 246/17 247/9 255/9     286/12 299/6 299/9 299/12    234/6 236/11 240/9 247/21 263/5
 typo [2] 279/7 365/16             271/17 272/6 274/4 286/23 318/6    299/14 308/11 316/21 320/19  268/10 268/13 268/14 271/7
                                   329/6 344/1 356/7 363/2 368/23     322/17 322/19 331/2 332/19   273/16 278/1 280/23 284/21
 U                                 379/5 399/4 414/25 415/13          333/20 346/17 346/17 346/17  284/22 289/23 299/20 301/25
 Uh [2] 300/15 418/17              usage [4] 361/22 388/15 388/16     348/21 351/18 360/15 362/9   301/25 311/2 328/2 330/17
 Uh-hum [2] 300/15 418/17          391/23                             362/17 365/5 366/4 377/7 380/4
                                                                                                   334/12 343/12 366/10 369/15
 ULERIO [2] 219/14 220/18          use [27] 256/12 294/25 294/25      383/3 384/17 386/14 387/24   374/4 374/16 375/5 375/7 381/10
 ultimately [1] 295/24             311/20 311/21 311/24 315/16        388/12 391/3 391/3 401/23 404/9
                                                                                                   382/13 383/19 388/12 390/11
 unable [1] 405/16                 315/16 321/6 322/25 350/23         410/25 415/3 417/21 424/24   392/12 398/21 411/24 412/20
 uncontrollable [1] 403/12         355/10 356/5 359/6 360/4 363/8     427/3                        414/10 415/11 416/21
 uncorrected [1] 368/4             363/17 365/7 365/19 365/20        vibe [2] 230/16 231/12        ways [7] 228/18 244/6 245/8
 under [10] 220/22 249/3 257/11    366/12 366/22 374/23 390/12       view [5] 236/5 264/4 301/21   285/18 287/10 329/8 388/25
 327/7 328/24 346/5 371/3 387/9    391/2 394/9 415/17                 337/1 426/17                 we [217]
 395/25 403/13                     used [27] 223/16 239/10 266/6     violated [1] 412/15           we'll [25] 220/20 230/4 230/9
 underachievement [1] 343/7        333/21 339/10 343/13 356/9        violation [2] 412/2 415/6     232/13 233/7 243/21 251/20
 underachieving [2] 343/9 343/9    357/16 365/13 365/17 365/23       violations [1] 415/4          252/2 269/9 269/24 271/25
 underestimates [1] 371/16         373/12 379/18 379/19 388/22       viral [2] 376/17 377/11       276/24 277/24 278/19 289/2
 underneath [1] 398/19             392/13 396/10 396/12 396/13       visit [1] 265/22              297/16 303/17 307/15 326/5
 understand [29] 227/4 227/21      396/16 397/10 422/2 422/21        visiting [1] 312/6            327/5 393/2 425/8 426/5 426/24
 233/8 234/12 234/21 242/1         422/25 423/1 423/15 424/11        visual [2] 398/2 398/3        426/25
 242/13 243/15 244/13 249/9        useful [1] 296/3                  vividly [1] 351/18            we're [43] 222/7 228/21 230/13
 249/22 249/25 262/15 269/11       usefulness [1] 363/20             vocabulary [8] 226/19 249/7   230/17 230/17 241/12 247/21
 277/16 277/18 277/20 287/11       uses [6] 266/2 266/4 309/20        361/5 362/4 392/8 395/20 396/8
                                                                                                   247/22 248/8 255/22 273/25
 287/12 297/4 297/8 331/17         336/14 389/8 390/4                 396/18                       274/8 278/1 289/25 292/13
 333/24 349/9 380/11 381/3         using [25] 234/1 242/4 242/9      volume [1] 400/13             292/19 309/3 313/8 318/21 328/3
 384/10 406/5 423/12               245/12 247/17 254/9 254/12                                      346/6 346/8 347/1 347/15 349/14
 understanding [15] 251/6 253/2    266/11 270/12 275/10 286/24
                                                                   W                               357/9 381/4 381/7 381/20 383/19
 255/7 269/25 270/9 277/12 285/3   299/16 312/4 312/18 357/9 362/3 WAIS [8] 353/21 355/6 357/10 388/14 391/16 391/17 393/13
 291/25 292/3 308/13 328/15        366/25 368/1 378/6 387/14       357/12 357/15 357/21 422/21     397/24 401/5 412/6 415/10
 375/2 390/22 397/3 397/12         390/18 395/19 396/9 408/11      423/1                           416/14 417/10 418/2 420/5
 understands [2] 242/10 307/21     417/22                          WAIS-III [8] 353/21 355/6       426/15
 understood [1] 400/6              usual [1] 395/16                357/10 357/12 357/15 357/21     we've [5] 324/6 333/6 364/3
 undertake [4] 249/7 267/2 267/3   usually [3] 246/16 247/9 339/3  422/21 423/1                    405/23 426/5
 267/6                             utilize [1] 234/7               wait [9] 221/20 221/20 227/23 wear [1] 316/17
 unfortunately [1] 352/22          utilizing [1] 252/1             277/4 278/3 282/13 283/14       wearing [3] 300/25 306/3 306/25
 Union [1] 268/16                                                  290/24 295/7                    wears [1] 301/10
 unique [1] 340/25                 V                               waiting [5] 284/18 289/15 354/1 website [2] 320/6 320/11
 unit [1] 321/24                   vagaries [1] 420/4              393/13 393/16                   Wechsler [3] 355/19 396/20
 UNITED [10] 218/1 218/2 218/5     validating [1] 414/10           walk [5] 223/16 223/16 228/15   407/6
 218/12 218/15 218/17 220/3        validity [1] 369/5              284/21 284/21                   weeks [1] 325/25
 220/8 220/12 220/13               value [1] 368/17                walking [2] 284/22 290/18       weight [8] 256/1 256/7 345/11
 universal [3] 230/15 231/9        Vaness [3] 271/14 272/1 274/3 wall [1] 425/8                    376/2 379/9 409/14 414/2 414/7
 231/15                            Vanessa [6] 272/1 273/10        want [47] 232/19 233/12 233/21 welcome [2] 234/24 424/24
 unless [3] 244/10 391/13 412/25    273/12 314/16 323/25 324/14    234/9 235/8 238/25 239/22       well [117] 222/3 225/2 225/7
 unlike [1] 263/5                  vantage [1] 381/14              244/10 246/14 251/8 254/8       225/9 226/11 227/20 228/21
 unreliable [1] 406/25             variability [2] 369/4 369/14    254/10 254/15 258/6 260/23      229/1 229/13 234/4 234/10 236/6
 unrequited [1] 236/23             variable [3] 371/19 372/15      264/20 264/22 284/17 285/11     237/16 238/6 239/19 240/8 242/7
 until [6] 227/24 282/1 349/12      372/23                         289/1 297/10 297/11 297/25      243/19 245/4 245/12 245/19
 369/5 374/16 385/17               variables [2] 370/13 371/11     312/21 321/8 327/12 328/3       245/22 246/24 247/20 247/25
 unusual [4] 340/9 340/12 341/3    variety [4] 318/1 340/16 382/16 331/21 335/5 335/7 336/3 338/22 249/23 251/23 252/20 254/3
                                     240/10 243/9 246/15 246/22        354/22 355/24 356/6 359/5         252/10 253/7 255/21 260/1 261/9
 W
Case 1:04-cr-01016-NGG251/4
                        Document        1529258/18
                            253/1 253/4 258/4  Filed359/11
                                                      02/09/16       Page
                                                           362/6 362/11 363/6237
                                                                              363/8of262/5
                                                                                       238263/6
                                                                                            PageID     #: 16432
                                                                                                265/20 266/11 267/6
 well... [88] 255/24 261/22 263/14   263/23 267/9 268/7 268/15 269/9   365/1 365/5 366/11 368/12         267/13 269/3 269/12 269/14
 266/17 270/2 271/24 272/20          269/21 270/4 270/5 270/5 273/6    369/24 370/6 375/5 376/4 378/10   271/6 271/8 272/17 272/24 274/2
 272/24 273/21 273/23 274/25         277/17 277/22 281/14 282/3        379/20 380/3 380/24 384/23        277/12 278/22 279/15 280/23
 275/11 275/16 276/24 281/16         282/25 283/11 287/4 289/12        386/4 386/23 393/23 397/3         281/12 284/24 285/14 289/3
 283/4 289/6 289/8 292/23 293/4      292/19 293/8 294/10 294/18        397/11 397/12 397/15 398/2        290/21 291/10 291/25 292/8
 295/7 297/6 298/8 300/22 303/8      295/12 296/20 299/12 299/19       398/10 400/1 400/2 400/21         293/14 295/4 295/25 296/5
 304/25 306/23 309/1 310/4           300/22 301/4 302/18 302/22        401/13 402/18 402/18 403/24       296/15 297/3 297/20 297/23
 310/17 310/18 310/19 313/9          303/6 305/20 307/25 308/2         406/15 406/16 407/24 408/7        298/12 298/22 299/9 300/7 301/8
 316/2 320/7 320/9 320/23 321/1      309/23 314/10 314/14 314/15       409/2 411/4 411/10 414/4 414/6    304/25 305/5 305/8 305/18
 322/21 324/19 334/9 334/19          314/16 315/7 316/1 316/13         414/7 414/14 415/6 415/7 415/16   305/19 306/20 306/22 307/6
 334/23 334/24 335/4 337/4 339/9     316/16 318/3 321/1 321/3 323/20   416/1 418/14 423/11 423/25        307/9 307/21 309/5 309/24 311/4
 341/25 343/5 347/24 348/11          323/24 324/11 324/15 327/11       424/7                             311/14 311/20 312/9 313/25
 348/24 348/24 350/13 355/10         327/25 328/2 331/6 333/16         while [11] 242/3 280/16 280/16    314/15 314/17 315/15 316/1
 359/11 364/20 365/12 370/11         337/19 339/13 346/14 346/16       290/18 314/8 315/15 316/15        316/16 317/10 317/13 319/13
 373/11 375/16 377/14 378/8          348/4 352/14 353/18 353/19        334/22 335/24 344/13 393/13       319/17 319/24 320/1 320/19
 378/23 379/3 379/10 383/20          354/24 354/25 357/22 357/25       white [3] 230/16 231/12 305/6     321/11 321/17 321/23 322/4
 385/19 386/17 390/7 391/8           358/20 361/13 361/18 365/15       who [66] 225/20 225/24 226/15     322/9 322/9 322/17 323/10
 391/21 392/4 392/16 397/10          365/19 367/3 367/6 367/14 368/5   227/10 230/7 234/20 241/22        323/12 327/22 328/5 329/3
 399/12 399/22 400/11 401/12         368/6 368/24 368/24 372/3         247/17 252/20 254/5 282/8         329/10 330/3 331/15 331/24
 405/11 405/23 410/20 414/11         374/13 374/16 375/15 375/23       282/12 282/14 287/2 287/5         333/16 334/12 338/8 347/9
 415/25 416/3 422/12 422/16          377/6 377/8 380/18 383/6 386/19   289/14 290/21 293/22 297/6        348/13 350/1 350/4 358/15
 425/7                               389/6 391/21 394/6 395/17 396/7   297/10 297/11 297/22 301/9        361/13 363/22 364/4 366/4 367/3
 went [25] 255/20 275/4 283/3        401/5 403/1 403/15 405/7 405/11   301/10 315/7 315/10 318/13        368/6 372/10 374/12 375/15
 295/24 296/20 299/19 300/24         405/13 406/1 406/8 406/9 406/23   318/24 321/18 324/2 324/7         376/12 376/16 377/7 378/11
 314/5 320/13 321/21 322/18          411/1 412/4 417/10 418/22 420/6   328/16 328/20 330/24 331/24       382/14 384/24 389/4 390/11
 323/9 325/20 333/19 351/20          420/9 423/7                       331/25 334/17 335/17 339/5        394/23 395/15 396/3 399/11
 351/25 351/25 352/5 353/2           whence [1] 392/12                 339/15 340/3 340/6 343/9 344/1    404/21 405/3 407/19 411/1 420/9
 367/19 378/3 379/16 409/6           whenever [1] 318/18               344/16 355/18 357/17 366/13       420/12
 420/17 423/11                       where [60] 224/7 226/7 230/22     366/20 371/15 376/11 377/14       Wilson's [24] 221/14 230/6
 were [107] 231/17 248/3 258/4       232/6 232/6 232/10 243/12 245/9   385/14 391/9 394/15 394/22        254/3 254/9 254/19 268/2 273/9
 258/5 258/18 259/5 259/23           247/23 251/11 251/13 255/8        395/16 396/14 401/25 405/11       293/25 297/18 298/15 304/25
 275/16 285/12 288/4 299/2           280/21 281/12 290/3 292/5         405/19 405/20 423/5 425/17        313/23 314/11 318/9 318/14
 299/19 302/18 302/22 302/24         305/24 311/18 312/9 313/2 313/2   426/1 426/6                       319/24 324/24 330/25 332/1
 302/24 302/25 303/7 303/17          313/25 318/10 320/11 321/16       who's [12] 228/7 228/7 265/3      351/1 377/19 378/1 382/10
 308/2 311/9 311/23 312/18 318/9     323/5 323/20 342/22 343/18        315/3 329/3 337/4 337/14 380/6    386/22
 318/11 318/12 320/23 323/5          343/22 343/23 344/6 344/10        388/18 405/7 421/3 423/15         wine [5] 261/23 262/7 263/15
 323/16 323/18 325/3 328/2 328/9     347/7 349/16 350/10 352/2 365/2   whole [8] 265/17 286/15 294/23    264/1 264/4
 330/21 330/25 331/1 338/20          365/22 367/5 369/23 370/2 383/9   308/20 346/18 347/13 373/22       wire [1] 324/19
 341/7 341/8 341/9 341/15 346/21     391/19 396/4 396/14 403/15        394/4                             wires [1] 425/10
 346/22 348/4 351/13 353/18          406/22 407/5 407/18 407/18        whom [1] 390/23                   WISC [10] 353/21 355/3 357/10
 353/20 355/1 356/20 357/22          407/19 408/9 408/13 409/13        whoops [1] 271/3                  357/14 357/21 366/4 367/4 395/4
 358/14 358/19 358/25 361/21         415/10 416/21 417/2 417/15        why [50] 222/3 224/23 224/24      408/7 411/11
 363/21 364/10 364/23 366/9          425/8                             230/8 232/3 237/9 237/14 237/21   WISC-3 [1] 411/11
 367/5 368/4 368/4 368/5 368/5       whereas [2] 368/19 391/4          237/23 238/2 241/11 242/8 248/2   WISC-C [2] 355/3 367/4
 369/16 369/19 369/22 371/25         Whereupon [2] 256/14 427/6        255/20 255/21 265/21 277/1        WISC-III [4] 353/21 357/10
 373/6 375/23 375/23 375/24          wherever [1] 425/6                277/6 277/9 282/5 283/4 287/4     357/14 357/21
 376/9 376/11 378/11 378/18          whether [59] 228/2 249/24         287/7 287/10 295/24 303/8 335/4   WISC-R [1] 366/4
 379/13 379/22 379/22 379/24         251/24 252/2 252/3 256/6 256/6    344/13 347/3 350/3 351/7 363/25   wise [3] 257/16 325/25 326/2
 380/9 385/9 386/23 386/24           258/16 263/10 269/6 287/4         375/1 378/4 381/6 382/1 385/3     withdraw [2] 274/15 333/15
 387/12 391/23 395/11 396/12         288/20 292/1 294/4 297/8 308/8    385/4 391/5 394/4 399/4 405/10    withdrawn [4] 253/12 318/7
 396/14 397/10 397/16 400/13         312/24 334/10 338/8 343/10        408/14 408/15 408/16 413/3        330/18 419/13
 407/19 408/2 408/2 409/23 410/4     345/10 347/21 355/8 356/20        414/15 417/3 423/11 425/7         within [9] 251/15 287/1 338/14
 410/11 410/12 411/14 417/2          358/24 359/4 359/6 363/22         wide [3] 382/15 384/17 385/21     349/2 353/20 366/10 397/7
 419/10 419/14 419/22 420/1          364/10 377/17 379/15 381/4        widely [1] 355/21                 397/24 419/24
 422/15 422/16 423/12                381/6 381/7 381/23 382/12         wider [1] 267/25                  without [23] 221/10 229/25
 weren't [5] 311/8 311/10 344/24     383/14 386/21 388/17 388/19       will [29] 229/5 234/7 240/18      233/1 236/7 237/7 238/16 241/15
 379/13 380/9                        388/22 389/2 390/21 395/11        240/22 240/23 245/25 255/2        244/1 246/5 253/21 267/22
 Western [1] 268/16                  405/17 407/20 408/12 408/24       256/4 258/17 271/19 274/18        270/25 276/19 284/3 289/23
 what [241]                          409/11 409/11 410/5 412/9         284/12 284/13 320/12 328/13       299/24 313/18 315/5 317/6
 what's [15] 228/25 233/11 237/3     412/13 412/14 412/20 413/24       339/3 343/6 352/22 354/7 371/8    319/10 327/19 357/2 367/17
 237/4 245/3 250/21 284/9 285/7      414/25 415/22 418/12              384/20 386/16 386/17 390/2        witness [38] 220/21 227/23
 286/18 292/8 293/10 304/15          which [100] 222/6 224/22 230/4    391/20 393/6 425/22 426/8 426/9   241/5 241/6 255/10 255/15 257/2
 330/8 362/14 384/13                 233/23 238/6 240/9 243/20         willful [1] 405/15                257/3 257/11 257/15 257/22
 whatever [7] 222/12 222/15          245/23 247/15 247/15 247/18       Williams [1] 334/4                259/7 265/10 265/14 265/14
 303/21 361/19 388/2 417/18          255/6 256/4 259/3 267/6 268/6     willing [2] 235/9 337/4           290/17 291/5 302/14 304/17
 425/12                              272/3 272/23 280/6 281/3 281/24   WILSON [146] 218/6 220/9          306/10 325/18 327/6 327/6
 whatsoever [1] 388/22               283/22 285/22 287/4 300/18        225/9 225/16 225/18 230/18        335/11 345/7 347/20 347/24
 when [136] 224/6 226/10 227/3       301/22 316/25 318/1 318/2 319/4   235/14 235/25 236/18 236/24       360/23 379/11 384/17 393/6
 228/17 232/18 233/12 233/17         330/4 330/17 334/3 334/4 334/12   239/2 239/25 241/23 241/24        393/9 424/21 425/9 425/20 426/6
 234/6 234/11 235/8 235/9 235/17     342/14 343/13 343/20 345/4        242/4 244/5 244/15 244/19         426/16 426/18
 238/2 239/6 239/11 239/20           346/6 349/24 352/3 353/17         246/13 246/20 246/22 249/6        witness' [2] 344/24 349/3
                                   293/21 296/3 298/24 299/11         219/7 220/4 225/23 292/5 328/14
 W
Case 1:04-cr-01016-NGG300/18
                        Document       1529
                             308/12 308/20 309/20Filed
                                                     you02/09/16
                                                         [786]   Page 238 of 238 PageID #: 16433
 witness's [1] 220/20              310/6 310/7 312/14 312/24          you'd [3] 250/19 252/20 422/22
 witnesses [6] 381/5 425/3 425/5   314/15 314/16 316/1 317/23         you'll [3] 280/5 280/5 413/15
 425/16 425/18 428/2               321/15 324/2 325/8 325/9 325/10    you're [79] 224/5 233/18 234/24
 witty [1] 250/19                  328/14 332/14 332/15 335/4          235/9 236/10 243/11 245/5 245/6
 wobble [1] 416/8                  341/10 343/22 343/23 343/24         250/1 252/1 253/4 253/7 262/11
 woman [24] 238/25 238/25          344/6 344/14 344/18 346/18          263/19 266/8 268/16 272/4 277/7
 239/2 239/23 239/23 241/22        346/24 347/23 348/9 353/25          277/21 277/22 281/1 281/5
 241/23 241/24 260/2 261/14        357/19 360/22 363/12 375/8          282/25 282/25 283/11 283/12
 261/14 267/10 290/21 291/11       379/20 386/25 387/1 387/2 387/2     286/14 286/22 287/9 288/4
 291/12 297/16 307/16 329/3        387/3 387/9 387/16 388/11           288/13 290/9 290/18 293/10
 331/24 334/13 335/18 391/9        390/10 390/16 396/11 399/15         295/14 296/6 297/10 300/20
 391/12 392/13                     400/1 401/2 401/3 401/4 401/7       301/24 309/23 310/12 319/18
 women [7] 233/11 242/5 261/22     405/18 413/2 413/24 417/22          321/9 323/24 324/16 324/21
 262/9 263/25 264/4 292/24         418/2 418/11 418/20 418/21          327/22 328/2 354/21 358/22
 won't [6] 268/14 272/2 273/11     424/15 426/21                       368/24 368/25 371/1 371/2 371/6
 277/4 311/3 317/12                would've [2] 424/13 424/14          371/8 381/9 381/10 381/10
 Wonder [2] 316/8 316/9            wouldn't [12] 224/23 237/9          381/21 381/21 381/22 384/7
 Woods [1] 340/6                   237/22 237/23 253/8 294/18          386/12 392/11 394/8 404/14
 word [4] 233/25 330/8 362/10      294/22 310/5 310/6 321/8 337/2      408/9 408/11 410/20 412/4
 408/9                             391/13                              414/17 416/5 417/16 417/18
 words [33] 226/23 238/23          Wow [1] 272/5                       418/22 419/25 423/2 424/24
 239/11 242/9 242/10 243/11        write [10] 225/20 234/15 330/1     you've [18] 223/9 224/10 236/10
 277/12 292/12 294/25 297/10       368/21 369/3 369/8 390/13 395/8     239/10 257/6 267/5 293/17
 310/9 310/20 320/13 333/21        404/3 407/14                        315/12 320/25 333/9 343/8 372/5
 346/7 363/8 364/6 378/19 378/20   writes [1] 329/4                    378/21 384/2 388/5 392/9 393/25
 387/10 388/13 388/15 388/18       writing [10] 239/20 248/25          415/14
 390/24 392/9 392/13 396/10        277/17 303/20 330/13 356/11        young [19] 230/16 231/12 282/4
 396/12 396/13 396/14 396/24       358/3 358/18 390/11 408/10          286/13 291/11 291/12 299/6
 408/10 420/1                      writings [1] 359/2                  300/1 301/9 306/21 320/23 339/6
 work [36] 222/4 222/11 242/2      written [9] 245/3 247/3 253/5       369/18 377/7 377/11 388/12
 242/18 259/16 272/17 280/12       355/19 358/15 362/14 378/20         388/13 388/15 388/19
 280/22 280/24 282/1 308/11        403/16 407/19                      younger [1] 318/12
 322/8 322/10 322/13 322/14        wrong [11] 233/11 246/15 277/8     your [225]
 322/16 322/19 322/24 322/25       286/4 319/15 349/7 373/11 379/8    yourself [1] 300/19
 323/1 323/7 323/13 323/15         386/25 387/1 387/9                 youth [3] 311/4 398/20 402/5
 323/16 324/25 325/1 325/2 325/5   wrote [9] 246/23 246/25 247/1
 325/6 325/8 325/10 339/17         300/11 352/15 369/9 370/2
                                                                      Z
 339/18 339/19 355/21 426/7        409/22 410/17                      zero [2] 408/12 408/21
 worked [4] 222/14 323/10                                             zoom [1] 362/19
 339/23 420/20                     Y
 workers [1] 340/18                y'all [6] 233/13 233/16 235/7
 working [12] 230/17 230/17         271/15 271/16 274/3
 280/16 308/4 320/18 323/17        Yeah [23] 221/16 234/8 234/14
 327/23 339/20 375/7 387/4          236/20 259/14 261/19 261/19
 416/14 420/22                      265/24 265/24 268/3 271/12
 workout [12] 254/6 307/10          297/2 312/22 316/14 328/23
 307/12 307/16 307/21 308/5         358/24 377/22 379/1 381/2
 308/7 308/8 308/11 308/13          381/16 392/20 394/9 412/11
 308/18 308/20                     year [14] 273/21 298/1 314/20
 workouts [1] 308/1                 356/6 395/16 396/11 400/21
 works [2] 297/4 375/8              401/22 401/22 402/22 402/22
 workup [4] 400/20 401/9 401/11     404/18 405/7 417/4
 401/12                            Year's [1] 349/13
 world [6] 282/17 301/21 302/1     years [20] 300/14 313/24 335/4
 363/7 390/19 391/17                366/25 367/3 367/6 368/6 369/6
 worms [1] 346/18                   374/13 377/15 383/7 384/24
 worried [1] 425/2                  385/14 403/1 415/24 417/4 417/5
 worry [1] 425/8                    417/15 420/12 424/12
 worst [1] 246/12                  years' [1] 386/5
 worth [4] 349/19 386/5 406/11     yellow [2] 274/10 274/12
 406/12                            yes [229]
 would [111] 221/3 222/11          yesterday [19] 220/25 221/14
 224/22 225/5 227/10 227/16         223/14 224/18 237/12 237/19
 230/24 232/2 232/3 232/8 234/15    239/10 248/3 255/15 258/5
 236/17 237/20 240/6 242/19         258/11 258/16 258/18 260/25
 243/5 247/18 248/4 249/1 249/24    266/14 275/17 288/7 295/3 423/7
 250/18 251/23 253/10 255/12       yet [4] 271/19 274/17 402/9
 259/9 264/19 264/23 268/9 272/6    402/12
 274/10 277/15 281/13 281/15       yielded [2] 397/5 397/14
 282/13 286/25 287/5 287/7 289/5   YORK [11] 218/1 218/15
 290/9 290/10 290/11 291/22         218/16 218/21 218/21 219/7
